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                           UNITED STATES BANKRUPTCY COURT

                             EASTERN DISTRICT OF LOUISIANA

   In re:                                       §
                                                §          Case No. 20-10846
   THE ROMAN CATHOLIC CHURCH                    §
   OF THE ARCHDIOCESE OF NEW                    §          Section “A”
   ORLEANS,                                     §
                                                §          Chapter 11
            Debtor.                             §
                                                §


                    GLOBAL NOTES, METHODOLOGY AND SPECIFIC
                DISCLOSURES REGARDING THE DEBTOR’S SCHEDULES OF
            ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

                                           Introduction

           The Roman Catholic Church of the Archdiocese of New Orleans (the “Debtor”) with the
   assistance of i t s advisors, has filed i t s Schedules of Assets and Liabilities (the
   “Schedules”) and Statements of Financial Affairs (the “Statements,” and together with the
   Schedules, the “Schedules and Statements”) with the United States Bankruptcy Court for the
   Southern District of new York (the “Bankruptcy Court”), pursuant to section 521 of title 11 of
   the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of
   Bankruptcy Procedure (the “Bankruptcy Rules”).
           These Global Notes, Methodology, and Specific Disclosures Regarding the
    Debtor’s Schedules of Assets and Liabilities and Statement of Financial Affairs (the
    “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral
    part of t h e Debtor’s Schedules and Statements. The Global Notes should be referred to,
    considered, and reviewed in connection with any review of the Schedules and Statements.
           The Schedules and Statements do not purport to represent financial statements
    prepared in accordance with Generally Accepted Accounting Principles in the United States
    (“GAAP”), nor are they intended to be fully reconciled with the financial statements of the
    Debtor (whether publicly filed or otherwise). Additionally, the Schedules and Statements
    contain unaudited information that is subject to further review and potential adjustment.
           In preparing the Schedules and Statements, the Debtor relied upon information
    derived from its books and records that was available at the time of such preparation.
    Although the Debtor has made reasonable efforts to ensure the accuracy and completeness of
    such financial information, inadvertent errors or omissions, as well as the discovery of
    conflicting, revised, or subsequent information, may cause a material change to the Schedules
    and Statements.




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             The Debtor and its officers, employees, agents, attorneys, and financial advisors do not
    guarantee or warrant the accuracy or completeness of the data that is provided in the
    Schedules and Statements and shall not be liable for any loss or injury arising out of or
    caused in whole or in part by the acts, omissions, whether negligent or otherwise, in
    procuring, compiling, collecting, interpreting, reporting, communicating or delivering the
    information contained in the Schedules and Statements. Except as expressly required by the
    Bankruptcy Code, the Debtor and its officers, employees, agents, attorneys and financial
    advisors expressly do not undertake any obligation to update, modify, revise, or re-categorize
    the information provided in the Schedules and Statements or to notify any third party should
    the information be updated, modified, revised, or re-categorized. The Debtor, on behalf of
    itself, its officers, employees, agents and advisors disclaim any liability to any third party
    arising out of or related to the information contained in the Schedules and Statements and
    reserve all rights with respect thereto.
            Father Patrick Carr, in his capacity as the Third Vice President, Director and Vicar of
    Finance of the Debtor, has signed the Schedules and Statements. Fr. Carr is an authorized
    signatory for the Debtor. In reviewing and signing the Schedules and Statements, Fr. Carr
    necessarily has relied upon the efforts, statements, and representations of various personnel
    employed by the Debtor and its advisors. Fr. Carr has not (nor could have) personally verified
    the accuracy of each statement and representation contained in the Schedules and Statements,
    including, but not limited to, statements and representations concerning amounts owed to
    creditors, classification of such amounts, and creditor addresses.
                             Global Notes and Overview of Methodology
    1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
       and accurate Schedules and Statements; however, inadvertent errors or omissions may
       exist. The Debtor reserves all rights to amend or supplement the Schedules and Statements
       from time to time, in all respects, as may be necessary or appropriate, including,
       without limitation, the right to amend the Schedules and Statements with respect to
       a n y claim (“Claim”) description, designation, dispute or otherwise assert offsets or
       defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
       priority, status, or classification; subsequently designate any Claim as “disputed,”
       “contingent,” or “unliquidated;” or object to the extent, validity, enforceability, priority,
       or avoidability of any Claim. Any failure to designate a Claim in the Schedules and
       Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an
       admission by the Debtor that such Claim or amount is not “disputed,” “contingent,” or
       “unliquidated.” Listing a Claim does not constitute an admission of liability by the
       Debtor. Furthermore, nothing contained in the Schedules and Statements shall constitute
       a waiver of rights with respect to the Debtor’s chapter 11 case, including, without
       limitation, issues involving Claims, substantive consolidation, defenses, equitable
       subordination, recharacterization, and/or causes of action arising under the provisions of
       chapter 5 of the Bankruptcy Code, and any other relevant non- bankruptcy laws to
       recover assets or avoid transfers. Any specific reservation of rights contained
       elsewhere in the Global Notes does not limit in any respect the general reservation of
       rights contained in this paragraph. Notwithstanding the foregoing, the Debtor shall not be
       required to update the Schedules and Statements.
    2. Description of Case and “as of” Information Date. On May 1, 2020 (the “Petition


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          Date”), the Debtor filed a voluntary petition for relief under chapter 11 of the
          Bankruptcy Code. The Debtor is operating its business and managing its property as a
          debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.
          No party has requested the appointment of a trustee or examiner in this chapter 11 case.
          The asset information provided in the Schedules and Statements, except as
          otherwise noted, represents the asset data of the Debtor as of April 30, 2020, and
          the liability information provided herein, except as otherwise noted, represents the
          liability data of the Debtor as of the Petition Date.
          In addition, the Debtor owns and operates eight high schools and one special needs school
          (the “Archdiocesan Schools”).1 The Debtor’s Schedules and Statements contain
          information with respect to each of the Archdiocesan Schools to the extent possible and
          separately classified and identified in the Schedules and Statements to the extent possible.

       3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
          an inefficient use of estate assets for the Debtor to obtain current market valuations for
          all of its assets. Accordingly, unless otherwise indicated, the Debtor’s Schedules and
          Statements reflect net book values as of the close of business on April 30, 2020, in the
          Debtor’s books and records. Additionally, because the book values of certain assets, may
          materially differ from their fair market values, they may be listed as undetermined
          amounts as of the Petition Date. Furthermore, as applicable, assets that have fully
          depreciated or were expensed for accounting purposes may not appear in the Schedules
          and Statements if they have no net book value.
       4. Recharacterization.      Notwithstanding the Debtor’s reasonable efforts to properly
          characterize, classify, categorize, or designate certain Claims, assets, executory
          contracts, unexpired leases, and other items reported in the Schedules and Statements, the
          Debtor may, nevertheless, have improperly characterized, classified, categorized,
          designated, or omitted certain items due to the complexity and size of the Debtor’s
          business. Accordingly, the Debtor reserves all of its rights to recharacterize, reclassify,
          recategorize, redesignate, add, or delete items reported in the Schedules and Statements
          at a later time as is necessary or appropriate as additional information becomes
          available, including, without limitation, whether contracts or leases listed herein were
          deemed executory or unexpired as of the Petition Date and remain executory and
          unexpired postpetition.
       5. Personal Property–Leased. In the ordinary course of its business, the Debtor leased
          various articles of personal property, including, fixtures, and equipment, from certain
          third-party lessors. The Debtor has made reasonable efforts to list all such leases in the
          Schedules and Statements. The Debtor has made reasonable efforts to include lease
          obligations on Schedule D (secured debt) to the extent applicable and to the extent the
          lessor filed a UCC-1. However, nothing in the Schedules or Statements is or shall be
          construed as an admission or determination as to the legal status of any lease

   1
     The Archdiocesan Schools are (i) the Academy of Our Lady High School, (ii) Archbishop Chappelle High School,
   (iii) Archbishop Hannan High School, (iv) Archbishop Rummel High School, (v) Archbishop Shaw High School,
   (vi) Pope John Paul II High School, (vii) St. Charles Catholic High School, (viii) St. Scholastica Academy, and (ix)
   St. Michael’s Special School.


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        (including whether to assume and assign or reject such lease or whether it is a true lease
        or a financing arrangement).
    6. Excluded Assets and Liabilities. The Debtor has sought to allocate liabilities between the
       prepetition and post-petition periods based on the information and research conducted
       in connection with the preparation of the Schedules and Statements. As additional
       information becomes available and further research is conducted, the allocation of
       liabilities between the prepetition and post-petition periods may change.
         The liabilities listed on the Schedules do not reflect any analysis of Claims under
         section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtor reserves all of i t s
         rights to dispute or challenge the validity of any asserted Claims under section
         503(b)(9) of the Bankruptcy Code or the characterization of the structure of any such
         transaction or any document or instrument related to any creditor’s Claim.
         The Debtor has excluded certain categories of assets, tax accruals, and liabilities from the
         Schedules and Statements, including, without limitation, goodwill, accrued salaries,
         employee benefit accruals, and deferred gains. In addition, certain immaterial assets
         and liabilities may have been excluded.
       The Bankruptcy Court has authorized the Debtor to pay, in its discretion, certain
       outstanding Claims on a post-petition basis. Prepetition liabilities which have been paid
       post-petition have been excluded from the Schedules and Statements. To the extent the
       Debtor pays any of the claims listed in the Schedules and Statements pursuant to any orders
       entered by the Bankruptcy Court, the Debtor reserves all rights to amend and supplement the
       Schedules and Statements and take other action, such as filing claims objections, as is
       necessary and appropriate to avoid overpayment or duplicate payment for such liabilities.

    7. Insiders. Solely, for purposes of the Schedules and Statements, the Debtor defines
       “insiders” to include the following: (a) directors; (b) senior level officers; (c) equity
       holders holding in excess of 5% of the voting securities of the Debtor; (d) Debtor
       affiliates; and (e) relatives of any of the foregoing (to the extent known by the Debtor).
       Entities listed as “insiders” have been included for informational purposes and their
       inclusion shall not constitute an admission that those entities are insiders for purposes of
       section 101(31) of the Bankruptcy Code. Moreover, the Debtor does not take any position
       with respect to: (i) any insider’s influence over the control of the Debtor; (ii) the
       management responsibilities or functions of any such insider; (iii) the decision-making or
       corporate authority of any such insider; or (iv) whether the Debtor or any such insider
       could successfully argue that he or she is not an “insider” under applicable law or with
       respect to any theories of liability or for any other purpose.
    8. Intellectual Property Rights. The exclusion of any intellectual property shall not be
       construed as an admission that such intellectual property rights have been abandoned,
       terminated, assigned, expired by their terms, or otherwise transferred pursuant to a
       sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual
       property shall not be construed to be an admission that such intellectual property
       rights have not been abandoned, terminated, assigned, expired by their terms, or
       otherwise transferred pursuant to a sale, acquisition, or other transaction.
    9. Executory Contracts and Unexpired Leases. The Debtor has not necessarily set forth


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        executory contracts and unexpired leases as assets in the Schedules and Statements, even
        though these contracts and leases may have some value to the Debtor’s estate. The
        Debtor’s executory contracts and unexpired leases have been set forth in Schedule G.
    10. Materialman’s/Mechanic’s Liens. The assets listed in the Schedules and Statements
        are presented without consideration of any materialman’s or mechanic’s liens.
    11. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)
        Schedule E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d)
        Schedule G as “executory” or “unexpired,” does not constitute an admission by the
        Debtor of the legal rights of the Claimant, or a waiver of the Debtor’s rights to
        recharacterize or reclassify such Claims or contracts or leases or to exercise their rights to
        setoff against such Claims.
    12. Claims Description. Schedules D and E/F permit t h e Debtor to designate a Claim
        as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on the
        Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does
        not constitute an admission by that Debtor that such amount is not “disputed,”
        “contingent,” or “unliquidated,” or that such Claim is not subject to objection. The Debtor
        reserves all of its rights to dispute, or assert offsets or defenses to, any Claim reflected on
        its Schedules and Statements on any grounds, including liability or classification.
        Additionally, the Debtor expressly reserves all of its rights to subsequently designate such
        Claims as “disputed,” “contingent” or “unliquidated.” Moreover, listing a Claim does not
        constitute an admission of liability by the Debtor.
    13. Causes of Action. Despite its reasonable efforts to identify all known assets, the Debtor
        may not have listed all of its causes of action or potential causes of action against third-
        parties as assets in the Schedules and Statements, including, without limitation, causes of
        actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other
        relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtor reserves all
        of its rights with respect to any cause of action (including avoidance actions),
        controversy, right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on
        contracts or for breaches of duties imposed by law or in equity, demand, right,
        action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account,
        defense, power, privilege, license, and franchise of any kind or character whatsoever,
        known, unknown, fixed           or contingent, matured or unmatured, suspected or
        unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured,
        assertable directly or derivatively, whether arising before, on, or after the Petition Date,
        in contract or in tort, in law, or in equity, or pursuant to any other theory of law
        (collectively, “Causes of Action”) it may have, and neither these Global Notes nor the
        Schedules and Statements shall be deemed a waiver of any Claims or Causes of Action or
        in any way prejudice or impair the assertion of such Claims or Causes of Action.
    14. Summary of Significant Reporting Policies. The following is a summary of
        significant reporting policies:
                   a.      Undetermined Amounts. The description of an amount
                           as “unknown,” “TBD” or “undetermined” is not
                           intended to reflect upon the materiality of such amount.



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                  b.      Totals. All totals that are included in the Schedules
                          and Statements represent totals of all known amounts.
                          To the extent there are unknown or undetermined
                          amounts, the actual total may be different than the listed
                          total.
                   c.     Liens. Property and equipment listed in the Schedules
                          and Statements are presented without consideration of
                          any liens that may attach (or have attached) to such
                          property and equipment.

    15. Estimates and Assumptions. Because of the timing of the filings, management was
        required to make certain estimates and assumptions that affected the reported amounts
        of these assets and liabilities. Actual amounts could differ from those estimates, perhaps
        materially.
    16. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
    17. Intercompany. The listing in the Schedules or Statements (including, without
        limitation, Schedule A/B or Schedule E/F) by the Debtor of any obligation between
        the Debtor and any affiliate of the Debtor is a statement of what appears in the Debtor’s
        books and records and does not reflect any admission or conclusion of the Debtor
        regarding whether such amount would be allowed as a Claim or how such obligations
        may be classified and/or characterized in a plan of reorganization or by the Bankruptcy
        Court.
    18. Setoffs. The Debtor incurs certain offsets and other similar rights during the ordinary
        course of business. Offsets in the ordinary course can result from various items,
        including, without limitation, intercompany transactions, pricing discrepancies, returns,
        refunds, warranties, debit memos, credits, and other disputes between the Debtor and
        its suppliers and/or customers. These offsets and other similar rights are consistent with
        the ordinary course of business in the Debtor’s industry and are not tracked separately.
        Therefore, although such offsets and other similar rights may have been accounted for
        when certain amounts were included in the Schedules, offsets are not independently
        accounted for, and as such, are or may be excluded from the Debtor’s Schedules and
        Statements.
    19. Confidential Information.      Pursuant to the Interim Order Authorizing The Roman
        Catholic Church For The Archdiocese Of New Orleans To File Portions Of The Schedules
        And Sofa, The Master Creditor Mailing Matrix, And Other Pleadings And Documents
        Under Seal [Docket No. 53], (the “Seal Order”), Confidential Information (as defined in
        the Seal Order) has been redacted on the Schedules and Statements. Unredacted versions
        of the Schedules and Statements will be made available to the Office of the United States
        Trustee and the Bankruptcy Court.
    20. Global Notes Control. If the Schedules and Statements differ from these Global Notes,
        the Global Notes shall control.




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                      Specific Disclosures with Respect to the Debtor’s Schedules
    Schedule A/B. All values set forth in Schedule A/B reflect the book value of the Debtor’s
    assets as of the close of business on April 30, 2020, unless otherwise noted below. T he
    Debtor has not included leases and contracts on Schedule A/B. Leases and contracts are listed
    on Schedule G.

             Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3
             as of the close of business on April 30, 2020. Details with respect to the Debtor’s
             cash management system and bank accounts are provided in the Expedited Motion For
             Interim And Final Orders (A) Authorizing Postpetition Use Of Cash Collateral, (B)
             Granting Adequate Protection To Lender, (C) Modifying The Automatic Stay, (D)
             Scheduling A Final Hearing, And (E) Granting Related Relief [Docket No. 5] (the
             “Cash Management Motion”).
             Schedule A/B 8. The Debtor has included in Schedule A/B 8 under prepayments, the
             prepaid tuition for the 2020/2021 school year as well as payments received for certain
             special events such as summer camp, which events are to be held post filing.
             Schedule A/B 11. Accounts receivable do not include intercompany receivables.
             Schedule A/B 2 1 . The value of the book store inventory reported in Schedule
             A/B 21 is valued as of March 30, 2020.
             Schedule A/B 42. The Debtor has listed collectables in response to Schedule A/B 42.
             Unless other disclosed, the value of such collectables is not recorded on the Debtor’s
             financial statements and no current fair market value is available.
             Schedule A/B 55. The Debtor has listed owned real property in Schedule A/B 55
             based upon information derived from its books and records, local Louisiana parish ad
             valorem assessments, and limited searches of the public conveyance records in
             pertinent Louisiana parishes. Addresses are listed for in Schedule A/B 55 for reference
             only. At this time, the Debtor is unable to assign property values to the real property,
             and/or improvement values.
             Schedule A/B 74 & 75. In the ordinary course of its business, the Debtor may have
             accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs, refunds,
             or warranty Claims. Additionally, the Debtor may be a party to pending litigation in
             which the Debtor has asserted, or may assert, Claims as a plaintiff or counter-Claims
             as a defendant. Because such Claims are unknown to the Debtor and not quantifiable
             as of the Petition Date, they are not listed on Schedule A/B 74 or 75. The Debtor’s
             failure to list any contingent and/or unliquidated claim held by the Debtor in
             response to these questions shall not constitute a waiver, release, relinquishment, or
             forfeiture of such claim.
    Schedule D. The Claims listed on Schedule D arose or were incurred on various
    dates; a determination of the date upon which each Claim arose or was incurred would
    be unduly burdensome and cost prohibitive. Accordingly, not all such dates are included. All
    Claims listed on Schedule D, however, appear to have been incurred before the Petition Date.




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    Reference to the applicable loan agreements and related documents is necessary for a
    complete description of the collateral and the nature, extent, and priority of liens. Nothing in
    the Global Notes or the Schedules and Statements shall be deemed a modification or
    interpretation of the terms of such agreements. Except as specifically stated on Schedule D,
    real property lessors, utility companies, and other parties that may hold security deposits
    have not been listed on Schedule D. Nothing herein shall be construed as an admission by
    the Debtor of the legal rights of the Claimant or a waiver of the Debtor’s right to
    recharacterize or reclassify such Claim or contract.
    Moreover, the Debtor has not included on Schedule D parties that may believe their Claims are
    secured through setoff rights, letters of credit, surety bonds, or inchoate statutory lien rights.
    Schedule E/F part 2. The Debtor has used reasonable efforts to report all general unsecured
    Claims against the Debtor on Schedule E/F part 2, based upon the Debtor’s books and
    records as of the Petition Date. Certain claim amounts, such as those relating to medical
    liability claims, may not be reported in their totality on Schedule E/F due to a delay in
    processing of up to three months. In addition, due to the COVID 19 pandemic, the Debtor has
    experienced a delay in processing invoices as a result of not having access to its offices.
    Determining the date upon which each Claim on Schedule E/F part 2 was incurred or
    arose would be unduly burdensome and cost prohibitive and, therefore, the Debtor did not
    list a date for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on
    Schedule E/F part 2 may have been aggregated by unique creditor name and remit to address
    and may include several dates of incurrence for the aggregate balance listed.
    Schedule E/F part 2 contains information regarding pending litigation involving the Debtor.
    The dollar amount of potential Claims associated with any such pending litigation is listed as
    “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
    and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
    subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F part 2 also
    includes potential or threatened litigation claims. Any information contained in Schedule E/F
    part 2 with respect to such potential litigation shall not be a binding representation of the
    Debtor’s liabilities with respect to any of the potential suits and proceedings included therein.
    The Debtor expressly incorporates by reference into Schedule E/F part 2 all parties to
    pending litigation listed in the Debtor’s Statements 7, as contingent, unliquidated, and
    disputed claims, to the extent not already listed on Schedule E/F part 2.
    Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
    contracts and unexpired leases. Such prepetition amounts, however, may be paid in
    connection with the assumption, or assumption and assignment, of executory contracts or
    unexpired leases. Additionally, Schedule E/F part 2 does not include potential rejection
    damage Claims, if any, of the counterparties to executory contracts and unexpired leases that
    may be rejected.
    Schedule G. Although the Debtor’s existing books, records, and financial systems have been
    relied upon to identify and schedule executory contracts and the Debtor has made diligent
    efforts to ensure the accuracy of the Debtor’s Schedule G, inadvertent errors and omissions
    may have occurred. Certain information, such as the contact information of the counter-party,
    may not be included where such information could not be obtained using the Debtor’s
    reasonable efforts. Listing or omitting a contract or agreement on Schedule G does not


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    constitute an admission that such contract or agreement is or is not an executory contract or
    unexpired lease, was in effect on the Petition Date, or is valid or enforceable. Certain of the
    leases and contracts listed on Schedule G may contain certain renewal options, guarantees of
    payment, indemnifications, options to purchase, rights of first refusal, and other
    miscellaneous rights. Such rights, powers, duties, and obligations are not set forth separately
    on Schedule G.
    Certain confidentiality and non-disclosure agreements may not be listed on Schedule
    G.
    Certain of the contracts and agreements listed on Schedule G may consist of several
    parts, including, purchase orders, amendments, restatements, waivers, letters, and other
    documents that may not be listed on Schedule G or that may be listed as a single entry. In
    some cases, the same supplier or provider appears multiple times on Schedule G. This
    multiple listing is intended to reflect distinct agreements between the Debtor and such
    supplier or provider. The Debtor expressly reserves i ts right to challenge whether such
    related materials constitute an executory contract, a single contract or agreement, or multiple,
    severable or separate contracts.
    The contracts, agreements, and leases listed on Schedule G may have expired or may have
    been modified, amended, or supplemented from time to time by various amendments,
    restatements, waivers, estoppel certificates, letters, memoranda and other documents,
    instruments, and agreements that may not be listed therein despite the Debtor’s use of
    reasonable efforts to identify such documents. Further, unless otherwise specified on
    Schedule G, each executory contract or unexpired lease listed thereon shall include all
    exhibits, schedules, riders, modifications, declarations, amendments, supplements,
    attachments, restatements, or other agreements made directly or indirectly by any agreement,
    instrument, or other document that in any manner affects such executory contract or
    unexpired lease, without respect to whether such agreement, instrument, or other document is
    listed thereon.
    In addition, the Debtor may have entered into various other types of agreements in the
    ordinary course of i t s business, such as subordination, nondisturbance, and attornment
    agreements, supplemental agreements, settlement agreements, amendments/letter agreements,
    title agreements and confidentiality agreements. Such documents may not be set forth on
    Schedule G. Certain of the executory agreements may not have been memorialized and could
    be subject to dispute. Executory agreements that are oral in nature have not been included on
    the Schedule G. The Debtor’s omission of a contract or agreement from Schedule G does not
    constitute an admission that such omitted contract or agreement is not an executory contract or
    unexpired lease. The Debtor’s rights under the Bankruptcy Code with respect to any such
    omitted contracts or agreements are not impaired by the omission.
    Schedule H. For purposes of Schedule H, the Debtor may not have identified certain
    guarantees associated with the Debtor’s executory contracts, unexpired leases, secured
    financings, debt instruments, and other such agreements. The Debtor reserves all of its rights to
    amend the Schedules to the extent that additional guarantees are identified or guarantees are
    discovered to have expired or to be unenforceable.
    In the ordinary course of its business, the Debtor may be involved in pending or threatened
    litigation. These matters may involve multiple plaintiffs and defendants, some or all of


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    whom may assert cross-Claims and counter-Claims against other parties. Because the
    Debtor has treated all such Claims as contingent, disputed, or unliquidated, such Claims
    have not been set forth individually on Schedule H. Litigation matters can be found on t h e
    Debtor’s Schedule E/F part 2 and Statement 7, as applicable.
                     Specific Disclosures with Respect to the Debtor’s Statements
    Statement 3. Statement 3 includes any disbursement or other transfer made by the
    Debtor within 90 days before the Petition Date except for those made to insiders (which
    payments appear in response to Statement question 4), employees, and bankruptcy
    professionals (which payments appear in Statement 11 and include any retainers paid to
    bankruptcy professionals). The amounts listed in Statement 3 reflect the Debtor’s
    disbursements netted against any check level detail; thus, to the extent a disbursement was
    made to pay for multiple invoices, only one entry has been listed on Statement 3.
    Statement 4. Statement 4 accounts for the Debtor’s intercompany/affiliate transactions, as
    well as other transfers to insiders as applicable. With respect to individuals, the amounts listed
    reflect the universe of payments and transfers to such individuals including compensation,
    bonus (if any), expense reimbursement, relocation reimbursement, and/or severance.
    Amounts paid on behalf of such employee for certain life and disability coverage, which
    coverage is provided to all of the Debtor’s employees, has not been included.
    The Debtor has included all consulting and payroll distributions and travel, entertainment,
    and other expense reimbursements made over the twelve months preceding the Petition
    Date to any individual that may be deemed an “Insider.”
    Additionally, for the purpose of completeness, the Debtor has listed payments made to the
    following Archdiocesan Schools. See footnote 1.
    Statement 7. A n y information contained in Statement 7 shall not be a binding
    representation of the Debtor’s liabilities with respect to any of the suits and proceedings
    identified therein. The Debtor reserves all rights with respect to the suits and proceedings
    listed in Statement 7, and any claims filed in relation to such suits and proceedings.
    Statement 9. For the purpose of completeness, the Debtor has listed contributions made to
    the Archdiocesan Schools. See footnote 1.
    Statement 10. The Debtor occasionally incurs losses for a variety of reasons, including
    theft and property damage. The Debtor, however, may not have records of all such losses
    if such losses do not have a material impact on the Debtor’s business or are not reported for
    insurance purposes.
    Statement 26d. The Debtor has provided financial statements in the ordinary course of its
    business to numerous financial institutions, creditors, and other parties within two years
    immediately before the Petition Date. Considering the number of such recipients and the
    possibility that such information may have been shared with parties without the Debtor’s
    knowledge or consent or subject to confidentiality agreements, the Debtor has not disclosed
    any parties that may have received such financial statements for the purposes of Statement
    26d.
    Statement 30. Unless otherwise indicated in the Debtor’s specific response to Statement
    30, the Debtor has included a comprehensive response to Statement 30 in Statement 4.


   {N4016208.1}
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Fill in this information to identify the case:
Debtor name: The Roman Catholic Church of the Archdiocese of New Orleans
United States Bankruptcy Court for the: Eastern District of Louisiana
Case number (if known): 20-10846

                                                                                                                    ¨ Check if this is an
                                                                                                                             amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                             04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).



 Part 1:    Income

1. Gross revenue from business
    ¨ None
     Identify the beginning and ending dates of the debtor’s fiscal year,   Sources of revenue                Gross revenue
     which may be a calendar year                                           (Check all that apply)            (before deductions and
                                                                                                              exclusions)


     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $52,077,847.001
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $772,358.002
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $725,665.003
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $4,952,529.004
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $5,815,252.005
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $6,882,899.006
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $7,208,972.007
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $4,418,209.008
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $3,429,202.009
     fiscal year to filing date:
                                                                            þ Other: OPERATING


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     From the beginning of the
                                      From 7/1/2019 to 4/30/2020
                                                                         ¨ Operating a business          $4,329,429.0010
     fiscal year to filing date:
                                                                         þ Other: OPERATING

     From the beginning of the
                                      From 7/1/2019 to 4/30/2020
                                                                         ¨ Operating a business          $2,359,258.0011
     fiscal year to filing date:
                                                                         þ Other: OPERATING

     From the beginning of the
                                      From 7/1/2019 to 4/30/2020
                                                                         ¨ Operating a business          $5,228,232.0012
     fiscal year to filing date:
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $62,896,716.001
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $2,218,829.002
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $845,272.003
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $5,271,809.004
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $6,003,387.005
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $6,923,945.006
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $8,127,563.007
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $4,783,815.008
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $3,288,867.009
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $4,318,955.0010
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $4,019,315.0011
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $5,272,260.0012
                                                                         þ Other: OPERATING


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       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $44,341,175.001
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $2,469,678.002
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $958,825.003
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $5,410,874.004
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $6,311,364.005
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $6,685,081.006
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $7,408,471.007
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $4,857,062.008
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $3,084,917.009
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $4,183,591.0010
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $4,231,877.0011
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $5,662,688.0012
                                                                              þ Other: OPERATING

1
    ARCHDIOCESE OF NEW ORLEANS - ADMINISTRATIVE OFFICES
2
    ST. LOUIS CATHEDRAL
3
    OUR LADY OF GUADALOUPE
4
    ACADEMY OF OUR LADY
5
    ARCHBISHOP CHAPELLE HIGH SCHOOL
6
    ARCHBISHOP HANNON HIGH SCHOOL
7
    ARCHBISHOP RUMMEL HIGH SCHOOL
8
    ARCHBISHOP SHAW HIGH SCHOOL
9
    POPE JOHN PAUL II HIGH SCHOOL
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     ST. CHARLES CATHOLIC HIGH SCHOOL
11
     ST. MICHAEL SPECIAL SCHOOL FOR EXCEPTIONAL CHILDREN
12
     ST. SCHOLASTICA ACADEMY




2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
      lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ¨ None
                                                                                  Description of sources of           Gross revenue from
                                                                                  revenue                             each source
                                                                                                                      (before deductions and
                                                                                                                      exclusions)

                                                                                  RENTS, ROYALTIES,
        From the beginning of the                                                 PROCEEDS FROM SALE OF
                                           From 7/1/2019 to 4/30/2020                                                 $495,886.001
        fiscal year to filing date:                                               ASSETS, GRANTS AND
                                                                                  DONATIONS, OTHER INCOME


                                                                                  RENTAL INCOME, PROCEEDS
                                           From 7/1/2019 to 4/30/2020             FROM SALE OF HISTORIC TAX           $554,911.002
                                                                                  CREDITS


                                           From 7/1/2019 to 4/30/2020             RENTAL INTEREST, INCOME             $3,592.003


                                           From 7/1/2019 to 4/30/2020             INTEREST INCOME                     $59,042.004


                                           From 7/1/2019 to 4/30/2020             INTEREST INCOME                     $89,971.005


                                           From 7/1/2019 to 4/30/2020             INTEREST INCOME                     $52,584.006


                                                                                  INTEREST INCOME, RENTAL
                                           From 7/1/2019 to 4/30/2020                                                 $80,306.007
                                                                                  INCOME


                                                                                  INTEREST INCOME, RENTAL
                                           From 7/1/2019 to 4/30/2020                                                 $46,460.008
                                                                                  INCOME


                                           From 7/1/2019 to 4/30/2020             INTEREST INCOME                     $9,134.009


                                                                                  INTEREST INCOME, RENTAL
                                           From 7/1/2019 to 4/30/2020                                                 $2,613.0010
                                                                                  INCOME


                                                                                  INTEREST INCOME,
                                           From 7/1/2019 to 4/30/2020             PROCEEDS FROM SALE OF               $52,823.0011
                                                                                  ASSETS


                                           From 7/1/2019 to 4/30/2020             INTEREST INCOME                     $63,950.0012


                                                                                  RENTS, ROYALTIES,
                                                                                  PROCEEDS FROM SALE OF
        For prior year:                    From 7/1/2018 to 6/30/2019                                                 $9,333,416.001
                                                                                  ASSETS, GRANTS AND
                                                                                  DONATIONS, OTHER INCOME


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                                                                            INTEREST INCOME, RENTAL
                                         From 7/1/2018 to 6/30/2019         INCOME, INSURANCE               $292,078.002
                                                                            PROCEEDS, MISC INCOME


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $201.003


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $77,607.004


                                                                            INTEREST INCOME,
                                         From 7/1/2018 to 6/30/2019         PROCEEDS FROM SALE OF           $116,471.005
                                                                            ASSETS


                                                                            INTEREST INCOME,
                                         From 7/1/2018 to 6/30/2019         PROCEEDS FROM SALE OF           $77,575.006
                                                                            ASSETS, RENTAL INCOME


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $99,444.007


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $63,190.008


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $11,219.009


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $46,325.0010


                                                                            INTEREST INCOME, LEGAL
                                         From 7/1/2018 to 6/30/2019                                         $1,321,559.0011
                                                                            SETTLEMENT


                                                                            INTEREST INCOME,
                                         From 7/1/2018 to 6/30/2019         PROCEEDS FROM SALE OF           $147,935.0012
                                                                            ASSETS


                                                                            RENTS, ROYALTIES,
                                                                            PROCEEDS FROM SALE OF
     For the year before that:           From 7/1/2017 to 6/30/2018                                         $4,825,376.001
                                                                            ASSETS, GRANTS AND
                                                                            DONATIONS


                                                                            INTEREST INCOME, RENTAL
                                         From 7/1/2017 to 6/30/2018                                         $186,405.002
                                                                            INCOME


                                         From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $146.003


                                         From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $74,076.004


                                         From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $118,075.005


                                                                            INTEREST INCOME, LAWSUIT
                                         From 7/1/2017 to 6/30/2018                                         $268,068.006
                                                                            SETTLEMENT


                                                                            INTEREST INCOME,
                                         From 7/1/2017 to 6/30/2018         PROCEEDS FROM SALE OF           $106,262.007
                                                                            ASSETS



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                                    From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $77,985.008


                                    From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $11,790.009


                                                                       INTEREST INCOME, RENTAL
                                    From 7/1/2017 to 6/30/2018         INCOME, INSURANCE               $10,051.0010
                                                                       PROCEEDS


                                    From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $116,392.0011


                                                                       INTEREST INCOME,
                                    From 7/1/2017 to 6/30/2018         PROCEEDS FROM SALE OF           $134,386.0012
                                                                       ASSTS



1
    ARCHDIOCESE OF NEW ORLEANS - ADMINISTRATIVE OFFICES
2
    ST. LOUIS CATHEDRAL
3
    OUR LADY OF GUADALOUPE
4
    ACADEMY OF OUR LADY
5
    ARCHBISHOP CHAPELLE HIGH SCHOOL
6
    ARCHBISHOP HANNON HIGH SCHOOL
7
    ARCHBISHOP RUMMEL HIGH SCHOOL
8
    ARCHBISHOP SHAW HIGH SCHOOL
9
    POPE JOHN PAUL II HIGH SCHOOL
10
     ST. CHARLES CATHOLIC HIGH SCHOOL
11
     ST. MICHAEL SPECIAL SCHOOL FOR EXCEPTIONAL CHILDREN
12
     ST. SCHOLASTICA ACADEMY




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 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days
       before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
       adjusted on 04/01/2022 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       ¨ None
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.1.     A 1 ELEVATOR SERVICE                                   4/8/2020     $4,620.17                 ¨ Secured debt
         1500 MEHLE AVENUE
         ARABI LA 70032                                                                                ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       þ Services
                                                                                                       ¨ Other _______________
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.2.     A 1 ELEVATOR SERVICE                                   4/2/2020     $4,437.83                 ¨ Secured debt
         1500 MEHLE AVENUE
         ARABI LA 70032                                                                                ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       þ Services
                                                                                                       ¨ Other _______________
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.3.     A 1 ELEVATOR SERVICE                                   3/17/2020    $11,540.00                ¨ Secured debt
         1500 MEHLE AVENUE
         ARABI LA 70032                                                                                ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       þ Services
                                                                                                       ¨ Other _______________
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.4.     A 1 ELEVATOR SERVICE                                   3/3/2020     $3,887.83                 ¨ Secured debt
         1500 MEHLE AVENUE
         ARABI LA 70032                                                                                ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       þ Services
                                                                                                       ¨ Other _______________
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.5.     A 1 ELEVATOR SERVICE                                   2/4/2020     $1,655.00                 ¨ Secured debt
         1500 MEHLE AVENUE
         ARABI LA 70032                                                                                ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       þ Services
                                                                                                       ¨ Other _______________


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        Creditor’s name and address                        Dates        Total amount or value   Reasons for payment or transfer
                                                                                                Check all that apply

3.6.    A.C. SPECIALTIES, INC.                             3/13/2020    $6,274.07               ¨ Secured debt
        P.O. BOX 55090
        METAIRIE LA 70055                                                                       ¨ Unsecured loan repayments
                                                                                                þ Suppliers or vendors
                                                                                                ¨ Services
                                                                                                ¨ Other _______________
        Creditor’s name and address                        Dates        Total amount or value   Reasons for payment or transfer
                                                                                                Check all that apply

3.7.    A.C. SPECIALTIES, INC.                             3/6/2020     $592.76                 ¨ Secured debt
        P.O. BOX 55090
        METAIRIE LA 70055                                                                       ¨ Unsecured loan repayments
                                                                                                þ Suppliers or vendors
                                                                                                ¨ Services
                                                                                                ¨ Other _______________
        Creditor’s name and address                        Dates        Total amount or value   Reasons for payment or transfer
                                                                                                Check all that apply

3.8.    ACADIAN AMBULANCE SERVICES                         4/10/2020    $1,766.56               ¨ Secured debt
        130 E KALISTE SALOOM ROAD
        PO BOX 92970                                                                            ¨ Unsecured loan repayments
        LAFAYETTE LA 70509                                                                      þ Suppliers or vendors
                                                                                                þ Services
                                                                                                ¨ Other _______________
        Creditor’s name and address                        Dates        Total amount or value   Reasons for payment or transfer
                                                                                                Check all that apply

3.9.    ACADIAN AMBULANCE SERVICES                         3/31/2020    $1,654.56               ¨ Secured debt
        130 E KALISTE SALOOM ROAD
        PO BOX 92970                                                                            ¨ Unsecured loan repayments
        LAFAYETTE LA 70509                                                                      þ Suppliers or vendors
                                                                                                þ Services
                                                                                                ¨ Other _______________
         Creditor’s name and address                        Dates       Total amount or value   Reasons for payment or transfer
                                                                                                Check all that apply

3.10.    ACADIAN AMBULANCE SERVICES                         3/27/2020   $6,221.36               ¨ Secured debt
         130 E KALISTE SALOOM ROAD
         PO BOX 92970                                                                           ¨ Unsecured loan repayments
         LAFAYETTE LA 70509                                                                     þ Suppliers or vendors
                                                                                                þ Services
                                                                                                ¨ Other _______________
         Creditor’s name and address                        Dates       Total amount or value   Reasons for payment or transfer
                                                                                                Check all that apply

3.11.    ACADIAN AMBULANCE SERVICES                         3/20/2020   $2,040.48               ¨ Secured debt
         130 E KALISTE SALOOM ROAD
         PO BOX 92970                                                                           ¨ Unsecured loan repayments
         LAFAYETTE LA 70509                                                                     þ Suppliers or vendors
                                                                                                þ Services
                                                                                                ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.12.    ACADIAN AMBULANCE SERVICES                     3/20/2020   $1,912.68               ¨ Secured debt
         130 E KALISTE SALOOM ROAD
         PO BOX 92970                                                                       ¨ Unsecured loan repayments
         LAFAYETTE LA 70509                                                                 þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.13.    ACADIAN AMBULANCE SERVICES                     3/6/2020    $1,508.12               ¨ Secured debt
         130 E KALISTE SALOOM ROAD
         PO BOX 92970                                                                       ¨ Unsecured loan repayments
         LAFAYETTE LA 70509                                                                 þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.14.    ACADIAN AMBULANCE SERVICES                     2/21/2020   $2,826.10               ¨ Secured debt
         130 E KALISTE SALOOM ROAD
         PO BOX 92970                                                                       ¨ Unsecured loan repayments
         LAFAYETTE LA 70509                                                                 þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.15.    ACADIAN AMBULANCE SERVICES                     2/14/2020   $1,480.25               ¨ Secured debt
         130 E KALISTE SALOOM ROAD
         PO BOX 92970                                                                       ¨ Unsecured loan repayments
         LAFAYETTE LA 70509                                                                 þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.16.    ACS PRIMARY CARE PHYSICIANS LA                 4/10/2020   $321.97                 ¨ Secured debt
         PO BOX 634703
         CINCINNATI OH 45263                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.17.    ACS PRIMARY CARE PHYSICIANS LA                 4/3/2020    $3,981.00               ¨ Secured debt
         PO BOX 634703
         CINCINNATI OH 45263                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.18.    ACS PRIMARY CARE PHYSICIANS LA                 3/20/2020   $1,382.25               ¨ Secured debt
         PO BOX 634703
         CINCINNATI OH 45263                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.19.    ACS PRIMARY CARE PHYSICIANS LA                 3/13/2020   $4,301.25               ¨ Secured debt
         PO BOX 634703
         CINCINNATI OH 45263                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.20.    ACS PRIMARY CARE PHYSICIANS LA                 3/6/2020    $950.97                 ¨ Secured debt
         PO BOX 634703
         CINCINNATI OH 45263                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.21.    ACS PRIMARY CARE PHYSICIANS LA                 2/28/2020   $2,700.22               ¨ Secured debt
         PO BOX 634703
         CINCINNATI OH 45263                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.22.    ADMIN OF TULANE EDUCATIONAL FUND               4/30/2020   $297.32                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.23.    ADMIN OF TULANE EDUCATIONAL FUND               4/24/2020   $1,583.16               ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.24.    ADMIN OF TULANE EDUCATIONAL FUND               4/17/2020   $637.27                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.25.    ADMIN OF TULANE EDUCATIONAL FUND               4/10/2020   $977.14                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.26.    ADMIN OF TULANE EDUCATIONAL FUND               4/10/2020   $26.10                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.27.    ADMIN OF TULANE EDUCATIONAL FUND               4/3/2020    $548.64                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.28.    ADMIN OF TULANE EDUCATIONAL FUND               4/3/2020    $13.63                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.29.    ADMIN OF TULANE EDUCATIONAL FUND               3/31/2020   $172.45                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.30.    ADMIN OF TULANE EDUCATIONAL FUND               3/27/2020   $1,132.31               ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.31.    ADMIN OF TULANE EDUCATIONAL FUND               3/27/2020   $13.63                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.32.    ADMIN OF TULANE EDUCATIONAL FUND               3/20/2020   $719.31                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.33.    ADMIN OF TULANE EDUCATIONAL FUND               3/20/2020   $174.86                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.34.    ADMIN OF TULANE EDUCATIONAL FUND               3/20/2020   $44.24                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.35.    ADMIN OF TULANE EDUCATIONAL FUND               3/20/2020   $44.24                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.36.    ADMIN OF TULANE EDUCATIONAL FUND               3/13/2020   $1,532.18               ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.37.    ADMIN OF TULANE EDUCATIONAL FUND               3/6/2020    $1,904.96               ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.38.    ADMIN OF TULANE EDUCATIONAL FUND               2/28/2020   $1,741.96               ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.39.    ADMIN OF TULANE EDUCATIONAL FUND               2/28/2020   $44.24                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.40.    ADMIN OF TULANE EDUCATIONAL FUND               2/28/2020   $13.04                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.41.    ADMIN OF TULANE EDUCATIONAL FUND               2/21/2020   $864.11                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.42.    ADMIN OF TULANE EDUCATIONAL FUND               2/14/2020   $637.04                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.43.    ADMIN OF TULANE EDUCATIONAL FUND               2/14/2020   $15.40                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.44.    ADMIN OF TULANE EDUCATIONAL FUND               2/14/2020   $13.04                  ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.45.    ADMIN OF TULANE EDUCATIONAL FUND               2/7/2020    $731.29                 ¨ Secured debt
         PO BOX 54431
         NEW ORLEANS LA 70154                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.46.    ADVANCED ABSTRACTS L                           4/29/2020   $13,800.00              ¨ Secured debt
         888 N. JEFFERSON AVE.
         PORT ALLEN LA 70767                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.47.    ADVANCED RECONSTRUCTIVE CARE L                 4/30/2020   $133.02                 ¨ Secured debt
         PO BOX 368
         CHESTERLAND OH 44026                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.48.    ADVANCED RECONSTRUCTIVE CARE L                   4/24/2020   $64,095.27              ¨ Secured debt
         PO BOX 368
         CHESTERLAND OH 44026                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.49.    ADVANCED RECONSTRUCTIVE CARE L                   4/3/2020    $58.32                  ¨ Secured debt
         PO BOX 368
         CHESTERLAND OH 44026                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.50.    ADVANCED RECONSTRUCTIVE CARE L                   2/28/2020   $32,095.27              ¨ Secured debt
         PO BOX 368
         CHESTERLAND OH 44026                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.51.    Name and Address Intentionally Omitted           3/17/2020   $7,976.45               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.52.    Name and Address Intentionally Omitted           2/18/2020   $3,689.55               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.53.    Name and Address Intentionally Omitted           2/4/2020    $2,892.47               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.54.    Name and Address Intentionally Omitted           2/4/2020    $392.82                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.55.    ALL STAR ELECTRIC, INC.                          4/10/2020   $3,000.00               ¨ Secured debt
         1208 BERT STREET
         LAPLACE LA 70068                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.56.    ALL STAR ELECTRIC, INC.                          2/19/2020   $7,000.00               ¨ Secured debt
         1208 BERT STREET
         LAPLACE LA 70068                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.57.    ALLIED UNIVERSAL SEC                             4/20/2020   $1,333.92               ¨ Secured debt
         P.O. BOX 828854
         PHILADELPHIA PA 19182-8854                                                           ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.58.    ALLIED UNIVERSAL SEC                             4/8/2020    $2,098.20               ¨ Secured debt
         P.O. BOX 828854
         PHILADELPHIA PA 19182-8854                                                           ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.59.    ALLIED UNIVERSAL SEC                             3/17/2020   $2,098.20               ¨ Secured debt
         P.O. BOX 828854
         PHILADELPHIA PA 19182-8854                                                           ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.60.    ALLIED UNIVERSAL SEC                           3/10/2020   $2,170.08               ¨ Secured debt
         P.O. BOX 828854
         PHILADELPHIA PA 19182-8854                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.61.    ALLIED UNIVERSAL SEC                           3/3/2020    $3,767.15               ¨ Secured debt
         P.O. BOX 828854
         PHILADELPHIA PA 19182-8854                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.62.    ALLIED UNIVERSAL SEC                           2/18/2020   $3,821.40               ¨ Secured debt
         P.O. BOX 828854
         PHILADELPHIA PA 19182-8854                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.63.    ALLIED UNIVERSAL SEC                           2/4/2020    $3,821.40               ¨ Secured debt
         P.O. BOX 828854
         PHILADELPHIA PA 19182-8854                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.64.    AMERIGROUP LA                                  4/24/2020   $33,794.39              ¨ Secured debt
         PO BOX 28147
         NEW YORK NY 10087                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.65.    AT&T MOBILITY                                  3/17/2020   $4,866.71               ¨ Secured debt
         P.O. BOX 6463
         CAROL STREAM IL 60197                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.66.    AT&T MOBILITY                                   3/10/2020   $54.30                  ¨ Secured debt
         P.O. BOX 6463
         CAROL STREAM IL 60197                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.67.    AT&T MOBILITY                                   2/11/2020   $4,597.13               ¨ Secured debt
         P.O. BOX 6463
         CAROL STREAM IL 60197                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.68.    AT&T MOBILITY                                   2/4/2020    $54.28                  ¨ Secured debt
         P.O. BOX 6463
         CAROL STREAM IL 60197                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.69.    ATMOS                                           4/10/2020   $2,956.66               ¨ Secured debt
         P. O. BOX 790311
         ST. LOUIS MO 63179                                                                  ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.70.    ATMOS                                           3/25/2020   $4,959.02               ¨ Secured debt
         P. O. BOX 790311
         ST. LOUIS MO 63179                                                                  ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.71.    ATMOS                                           2/6/2020    $5,251.80               ¨ Secured debt
         P. O. BOX 790311
         ST. LOUIS MO 63179                                                                  ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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                                                                                            Check all that apply

3.72.    ATMOS ENERGY                                   4/13/2020   $4,840.73               ¨ Secured debt
         PO BOX 790311
         ST. LOUIS MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.73.    ATMOS ENERGY                                   3/12/2020   $6,949.47               ¨ Secured debt
         PO BOX 790311
         ST. LOUIS MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.74.    ATMOS ENERGY                                   2/19/2020   $8,279.97               ¨ Secured debt
         PO BOX 790311
         ST. LOUIS MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.75.    ATMOS ENERGY LOUISIA                           4/2/2020    $217.32                 ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.76.    ATMOS ENERGY LOUISIA                           3/17/2020   $26.32                  ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.77.    ATMOS ENERGY LOUISIA                           3/10/2020   $2,139.89               ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.78.    ATMOS ENERGY LOUISIA                           3/10/2020   $29.21                  ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.79.    ATMOS ENERGY LOUISIA                           3/3/2020    $356.55                 ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.80.    ATMOS ENERGY LOUISIA                           3/3/2020    $314.48                 ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.81.    ATMOS ENERGY LOUISIA                           3/3/2020    $297.55                 ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.82.    ATMOS ENERGY LOUISIA                           2/26/2020   $86.71                  ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.83.    ATMOS ENERGY LOUISIA                           2/18/2020   $26.32                  ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.84.    ATMOS ENERGY LOUISIA                           2/11/2020   $3,185.56               ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.85.    ATMOS ENERGY LOUISIA                           2/4/2020    $411.84                 ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.86.    ATMOS ENERGY LOUISIA                           2/4/2020    $369.94                 ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.87.    ATMOS ENERGY LOUISIA                           2/4/2020    $226.19                 ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.88.    ATMOS ENERGY LOUISIA                           2/4/2020    $30.86                  ¨ Secured debt
         P O BOX 790311
         ST LOUIS, MO 63179-0311                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.89.    AVALA                                          4/24/2020   $594.00                 ¨ Secured debt
         67252 INDUSTRY LN
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.90.    AVALA                                          4/17/2020   $34,852.01              ¨ Secured debt
         67252 INDUSTRY LN
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.91.    AVALA                                          4/10/2020   $144.00                 ¨ Secured debt
         67252 INDUSTRY LN
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.92.    AVALA                                          3/20/2020   $255.00                 ¨ Secured debt
         67252 INDUSTRY LN
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.93.    AVALA                                          2/28/2020   $594.00                 ¨ Secured debt
         67252 INDUSTRY LN
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.94.    AVALA                                          2/21/2020   $560.00                 ¨ Secured debt
         67252 INDUSTRY LN
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.95.    AVALA                                          2/14/2020   $18,264.62              ¨ Secured debt
         67252 INDUSTRY LN
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.96.    B & S JANITORIAL SERVICES, INC.                3/4/2020     $200.00                 ¨ Secured debt
         P. O. BOX 573
         MARRERO LA 70073                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.97.    B & S JANITORIAL SERVICES, INC.                3/3/2020     $3,500.00               ¨ Secured debt
         P. O. BOX 573
         MARRERO LA 70073                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.98.    B & S JANITORIAL SERVICES, INC.                3/3/2020     $2,300.00               ¨ Secured debt
         P. O. BOX 573
         MARRERO LA 70073                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.99.    B & S JANITORIAL SERVICES, INC.                2/12/2020    $3,300.00               ¨ Secured debt
         P. O. BOX 573
         MARRERO LA 70073                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.100.    B & S JANITORIAL SERVICES, INC.                2/12/2020   $2,300.00               ¨ Secured debt
          P. O. BOX 573
          MARRERO LA 70073                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.101.    BAILEY-MCCAFFERY, LLC                          4/27/2020   $124.00                 ¨ Secured debt
          1904 CLEARVIEW PKWY
          METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.102.   BAILEY-MCCAFFERY, LLC                          4/22/2020   $320.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.103.   BAILEY-MCCAFFERY, LLC                          4/8/2020    $576.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.104.   BAILEY-MCCAFFERY, LLC                          4/8/2020    $364.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.105.   BAILEY-MCCAFFERY, LLC                          4/3/2020    $879.50                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.106.   BAILEY-MCCAFFERY, LLC                          4/1/2020    $2,826.55               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.107.   BAILEY-MCCAFFERY, LLC                          4/1/2020    $1,196.00               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.108.   BAILEY-MCCAFFERY, LLC                          4/1/2020    $1,152.40               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.109.   BAILEY-MCCAFFERY, LLC                          3/27/2020   $420.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.110.   BAILEY-MCCAFFERY, LLC                          3/20/2020   $2,534.50               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.111.   BAILEY-MCCAFFERY, LLC                          3/20/2020   $555.75                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.112.   BAILEY-MCCAFFERY, LLC                          3/13/2020   $457.40                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.113.   BAILEY-MCCAFFERY, LLC                          3/13/2020   $356.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.114.   BAILEY-MCCAFFERY, LLC                          3/13/2020   $84.00                  ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.115.   BAILEY-MCCAFFERY, LLC                          3/11/2020   $1,267.75               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.116.   BAILEY-MCCAFFERY, LLC                          3/6/2020    $2,905.30               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.117.   BAILEY-MCCAFFERY, LLC                          3/6/2020    $1,105.75               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.118.   BAILEY-MCCAFFERY, LLC                          3/6/2020    $684.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.119.   BAILEY-MCCAFFERY, LLC                          3/6/2020    $668.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                           Check all that apply

3.120.   BAILEY-MCCAFFERY, LLC                          3/6/2020   $625.50                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.121.   BAILEY-MCCAFFERY, LLC                          3/6/2020   $396.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.122.   BAILEY-MCCAFFERY, LLC                          3/6/2020   $388.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.123.   BAILEY-MCCAFFERY, LLC                          3/6/2020   $372.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.124.   BAILEY-MCCAFFERY, LLC                          3/6/2020   $240.80                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.125.   BAILEY-MCCAFFERY, LLC                          3/6/2020   $192.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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                                                                                           Check all that apply

3.126.   BAILEY-MCCAFFERY, LLC                          3/6/2020   $192.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.127.   BAILEY-MCCAFFERY, LLC                          3/6/2020   $172.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.128.   BAILEY-MCCAFFERY, LLC                          3/4/2020   $1,642.00               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.129.   BAILEY-MCCAFFERY, LLC                          3/4/2020   $1,357.75               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.130.   BAILEY-MCCAFFERY, LLC                          3/4/2020   $1,110.40               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.131.   BAILEY-MCCAFFERY, LLC                          3/4/2020   $699.35                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                 ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.132.   BAILEY-MCCAFFERY, LLC                          3/4/2020    $376.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.133.   BAILEY-MCCAFFERY, LLC                          3/2/2020    $1,368.00               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.134.   BAILEY-MCCAFFERY, LLC                          3/2/2020    $1,035.35               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.135.   BAILEY-MCCAFFERY, LLC                          3/2/2020    $624.70                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.136.   BAILEY-MCCAFFERY, LLC                          2/18/2020   $685.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.137.   BAILEY-MCCAFFERY, LLC                          2/13/2020   $252.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.138.   BAILEY-MCCAFFERY, LLC                          2/11/2020   $1,607.45               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.139.   BAILEY-MCCAFFERY, LLC                          2/11/2020   $204.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.140.   BAILEY-MCCAFFERY, LLC                          2/4/2020    $1,164.00               ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.141.   BAILEY-MCCAFFERY, LLC                          2/4/2020    $996.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.142.   BAILEY-MCCAFFERY, LLC                          2/4/2020    $907.35                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.143.   BAILEY-MCCAFFERY, LLC                          2/4/2020    $500.80                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.144.   BAILEY-MCCAFFERY, LLC                            2/4/2020    $360.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.145.   BAILEY-MCCAFFERY, LLC                            2/4/2020    $356.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.146.   BAILEY-MCCAFFERY, LLC                            2/4/2020    $320.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.147.   BAILEY-MCCAFFERY, LLC                            2/4/2020    $241.40                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.148.   BAILEY-MCCAFFERY, LLC                            2/4/2020    $172.00                 ¨ Secured debt
         1904 CLEARVIEW PKWY
         METAIRIE LA 70001                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.149.   Name and Address Intentionally Omitted           4/28/2020   $2,851.98               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.150.   Name and Address Intentionally Omitted           3/31/2020   $2,851.98               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.151.   Name and Address Intentionally Omitted           2/28/2020   $2,851.98               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.152.   BELLE CHASSE EMERGENCY GROUP LLC                 4/30/2020   $3,236.22               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.153.   BELLE CHASSE EMERGENCY GROUP LLC                 4/30/2020   $1,208.52               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.154.   BELLE CHASSE EMERGENCY GROUP LLC                 4/24/2020   $3,111.48               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.155.   BELLE CHASSE EMERGENCY GROUP LLC                 4/24/2020   $2,417.04               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.156.   BELLE CHASSE EMERGENCY GROUP LLC               4/17/2020   $4,444.74               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.157.   BELLE CHASSE EMERGENCY GROUP LLC               4/17/2020   $2,417.04               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.158.   BELLE CHASSE EMERGENCY GROUP LLC               4/10/2020   $2,849.04               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.159.   BELLE CHASSE EMERGENCY GROUP LLC               4/3/2020    $819.18                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.160.   BELLE CHASSE EMERGENCY GROUP LLC               3/27/2020   $1,208.52               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.161.   BELLE CHASSE EMERGENCY GROUP LLC               3/27/2020   $819.18                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.162.   BELLE CHASSE EMERGENCY GROUP LLC               3/20/2020   $2,417.04               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.163.   BELLE CHASSE EMERGENCY GROUP LLC               3/13/2020   $432.00                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.164.   BELLE CHASSE EMERGENCY GROUP LLC               3/6/2020    $3,236.22               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.165.   BELLE CHASSE EMERGENCY GROUP LLC               2/28/2020   $1,177.12               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.166.   BELLE CHASSE EMERGENCY GROUP LLC               2/21/2020   $1,208.52               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.167.   BELLE CHASSE EMERGENCY GROUP LLC               2/7/2020    $2,459.70               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.168.   BELLE CHASSE EMERGENCY GROUP LLC               2/7/2020    $819.18                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.169.   BEN E KEITH CO                                 3/10/2020   $3,224.63               ¨ Secured debt
         P O BOX 2497
         FORT WORTH TX 76113                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.170.   BEN E KEITH CO                                 2/26/2020   $2,052.62               ¨ Secured debt
         P O BOX 2497
         FORT WORTH TX 76113                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.171.   BEN E KEITH CO                                 2/18/2020   $3,219.66               ¨ Secured debt
         P O BOX 2497
         FORT WORTH TX 76113                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.172.   BEN E KEITH CO                                 2/11/2020   $1,161.30               ¨ Secured debt
         P O BOX 2497
         FORT WORTH TX 76113                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.173.   BEN E KEITH CO                                 2/4/2020    $1,340.26               ¨ Secured debt
         P O BOX 2497
         FORT WORTH TX 76113                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.174.   BIANCHINI ESTEVE LLC                           4/10/2020   $1,162.50               ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.175.   BIANCHINI ESTEVE LLC                           3/27/2020   $1,035.00               ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.176.   BIANCHINI ESTEVE LLC                           3/20/2020   $710.00                 ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.177.   BIANCHINI ESTEVE LLC                           3/20/2020   $350.00                 ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.178.   BIANCHINI ESTEVE LLC                           3/20/2020   $300.00                 ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.179.   BIANCHINI ESTEVE LLC                           2/28/2020   $2,302.50               ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                              Check all that apply

3.180.   BIANCHINI ESTEVE LLC                             2/21/2020   $30.00                  ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.181.   BIANCHINI ESTEVE LLC                             2/14/2020   $367.50                 ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.182.   BIANCHINI ESTEVE LLC                             2/7/2020    $2,212.50               ¨ Secured debt
         2901 N I 10 SERVICE RD E
         METAIRIE LA 70002                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.183.   BLACKBAUD, INC                                   3/11/2020   $10,456.00              ¨ Secured debt
         P.O. BOX 930256
         ATLANTA GA 31193-0256                                                                ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.184.   Name and Address Intentionally Omitted           4/28/2020   $2,548.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.185.   Name and Address Intentionally Omitted           3/31/2020   $2,548.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.186.   Name and Address Intentionally Omitted           2/28/2020   $2,548.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.187.   BRIOVARX INFUSION SERVICES 305                   3/20/2020   $13,234.44              ¨ Secured debt
         2902 MOMENTUM PL
         CHICAGO IL 60689                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.188.   BRIOVARX INFUSION SERVICES 305                   2/21/2020   $348.02                 ¨ Secured debt
         2902 MOMENTUM PL
         CHICAGO IL 60689                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.189.   BRIOVARX INFUSION SERVICES 305                   2/14/2020   $424.76                 ¨ Secured debt
         2902 MOMENTUM PL
         CHICAGO IL 60689                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.190.   BRIOVARX INFUSION SERVICES 305                   2/7/2020    $185.00                 ¨ Secured debt
         2902 MOMENTUM PL
         CHICAGO IL 60689                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.191.   BROWN RICE MARKETING                             3/17/2020   $600.00                 ¨ Secured debt
         476 METAIRIE ROAD SUITE 202
         METAIRIE LA 70005                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.192.   BROWN RICE MARKETING                             3/10/2020   $3,150.00               ¨ Secured debt
         476 METAIRIE ROAD SUITE 202
         METAIRIE LA 70005                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.193.   BROWN RICE MARKETING                             2/4/2020    $4,000.00               ¨ Secured debt
         476 METAIRIE ROAD SUITE 202
         METAIRIE LA 70005                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.194.   Name and Address Intentionally Omitted           4/29/2020   $600.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.195.   Name and Address Intentionally Omitted           4/28/2020   $2,569.14               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.196.   Name and Address Intentionally Omitted           4/8/2020    $45.01                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.197.   Name and Address Intentionally Omitted           4/2/2020    $1,008.89               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.198.   Name and Address Intentionally Omitted           3/31/2020   $2,569.14               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.199.   Name and Address Intentionally Omitted           3/31/2020   $600.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.200.   Name and Address Intentionally Omitted           3/23/2020   $2.85                   ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.201.   Name and Address Intentionally Omitted           3/17/2020   $21.00                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.202.   Name and Address Intentionally Omitted           3/10/2020   $143.51                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.203.   Name and Address Intentionally Omitted           2/28/2020   $2,569.14               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.204.   Name and Address Intentionally Omitted           2/28/2020   $600.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.205.   Name and Address Intentionally Omitted           2/26/2020   $35.00                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.206.   Name and Address Intentionally Omitted           2/18/2020   $21.00                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.207.   Name and Address Intentionally Omitted           2/11/2020   $38.01                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.208.   Name and Address Intentionally Omitted           4/28/2020   $2,647.82               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.209.   Name and Address Intentionally Omitted           3/31/2020   $2,647.82               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.210.   Name and Address Intentionally Omitted           2/28/2020   $2,647.82               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.211.   CALUDA'S COTTAGE CAT                             3/10/2020   $14,765.56              ¨ Secured debt
         1536 RIVER OAKS DR WEST SUITE A
         HARAHAN LA 70123                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.212.   CALUDA'S COTTAGE CAT                             2/18/2020   $7,149.74               ¨ Secured debt
         1536 RIVER OAKS DR WEST SUITE A
         HARAHAN LA 70123                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.213.   CALUDA'S COTTAGE CAT                             2/11/2020   $1,342.64               ¨ Secured debt
         1536 RIVER OAKS DR WEST SUITE A
         HARAHAN LA 70123                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.214.   Name and Address Intentionally Omitted           4/29/2020   $2,587.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.215.   Name and Address Intentionally Omitted           3/31/2020   $2,587.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.216.   Name and Address Intentionally Omitted           2/28/2020   $2,587.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.217.   CAPITAL ONE, N.A.                                4/17/2020   $5,520.04               ¨ Secured debt
         P.O. BOX 60024
         NEW ORLEANS LA 70160-0024                                                            ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD PAYMENT
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.218.   CAPITAL ONE, N.A.                                3/3/2020    $1,374.83               ¨ Secured debt
         P.O. BOX 60024
         NEW ORLEANS LA 70160-0024                                                            ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD PAYMENT
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.219.   CAPITAL ONE, N.A.                                2/27/2020   $3,197.91               ¨ Secured debt
         P.O. BOX 60024
         NEW ORLEANS LA 70160-0024                                                            ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD PAYMENT
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.220.   CAPITAL ONE, N.A.                                2/6/2020    $13.92                  ¨ Secured debt
         P.O. BOX 60024
         NEW ORLEANS LA 70160-0024                                                            ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: SERVICE FEE
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.221.   CAPITAL ONE, N.A.                                2/4/2020    $3,375.41               ¨ Secured debt
         P.O. BOX 60024
         NEW ORLEANS LA 70160-0024                                                            ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD PAYMENT


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.222.   Name and Address Intentionally Omitted           4/28/2020   $2,772.68               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.223.   Name and Address Intentionally Omitted           3/31/2020   $2,772.68               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.224.   Name and Address Intentionally Omitted           2/28/2020   $2,772.68               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.225.   CARDIOVASCULAR SPECIALTY CATH                    3/13/2020   $10,639.52              ¨ Secured debt
         PO BOX 51154
         LAFAYETTE LA 70505                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.226.   CARDIOVASCULAR SPECIALTY CATH                    2/14/2020   $10,639.52              ¨ Secured debt
         PO BOX 51154
         LAFAYETTE LA 70505                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.227.   CARR RIGGS & INGRAM                              4/24/2020   $24,215.00              ¨ Secured debt
         111 VETERANS BLVD SUITE 350
         METAIRIE LA 70005                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.228.   CARR RIGGS & INGRAM                            3/24/2020   $25,000.00              ¨ Secured debt
         111 VETERANS BLVD SUITE 350
         METAIRIE LA 70005                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.229.   CATHOLIC CHARITIES                             2/7/2020    $8,883.50               ¨ Secured debt
         1000 HOWARD AVENUE
         NEW ORLEANS LA 70113                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.230.   CATHOLIC CHARITIES                             2/5/2020    $5,266.13               ¨ Secured debt
         1000 HOWARD AVENUE
         NEW ORLEANS LA 70113                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.231.   CATHOLIC CHARITIES                             4/20/2020   $81.48                  ¨ Secured debt
         ARCHDIOCESE OF NEW ORLEANS
         1000 HOWARD AVE SUITE 200                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                               þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.232.   CATHOLIC CHARITIES                             3/17/2020   $488.87                 ¨ Secured debt
         ARCHDIOCESE OF NEW ORLEANS
         1000 HOWARD AVE SUITE 200                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                               þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.233.   CATHOLIC CHARITIES                             3/10/2020   $7,374.50               ¨ Secured debt
         ARCHDIOCESE OF NEW ORLEANS
         1000 HOWARD AVE SUITE 200                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                               þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.234.   CATHOLIC CHARITIES                             2/11/2020   $13,048.38              ¨ Secured debt
         ARCHDIOCESE OF NEW ORLEANS
         1000 HOWARD AVE SUITE 200                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                               þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.235.   CATHOLIC COMMUNITY FOUNDATION                  3/10/2020   $15,466.32              ¨ Secured debt
         1000 HOWARD AVENUE
         NEW ORLEANS LA 70113                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.236.   CATHOLIC COMMUNITY FOUNDATION                  2/11/2020   $18,714.32              ¨ Secured debt
         1000 HOWARD AVENUE
         NEW ORLEANS LA 70113                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.237.   CATHOLIC MUTUAL GROUP                          4/28/2020   $63,666.67              ¨ Secured debt
         P.O. BOX 30104
         OMAHA NE 68103-1204                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.238.   CATHOLIC MUTUAL GROUP                          4/23/2020   $554,500.00             ¨ Secured debt
         P.O. BOX 30104
         OMAHA NE 68103-1204                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.239.   CATHOLIC MUTUAL GROUP                          3/26/2020   $556,000.00             ¨ Secured debt
         P.O. BOX 30104
         OMAHA NE 68103-1204                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.240.   CATHOLIC MUTUAL GROUP                            3/23/2020   $63,666.67              ¨ Secured debt
         P.O. BOX 30104
         OMAHA NE 68103-1204                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.241.   CATHOLIC MUTUAL GROUP                            2/26/2020   $63,666.67              ¨ Secured debt
         P.O. BOX 30104
         OMAHA NE 68103-1204                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.242.   CATHOLIC MUTUAL GROUP                            2/18/2020   $575,941.00             ¨ Secured debt
         P.O. BOX 30104
         OMAHA NE 68103-1204                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.243.   Name and Address Intentionally Omitted           4/28/2020   $2,543.63               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.244.   Name and Address Intentionally Omitted           3/31/2020   $2,543.63               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.245.   Name and Address Intentionally Omitted           2/28/2020   $2,543.63               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.246.   Name and Address Intentionally Omitted           2/11/2020   $100.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.247.   CDW GOVERNMENT INC                               4/29/2020   $21,060.00              ¨ Secured debt
         75 REMITTANCE DRIVE
         CHICAGO IL 60675-1515                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.248.   CDW GOVERNMENT INC                               4/8/2020    $2,395.58               ¨ Secured debt
         75 REMITTANCE DRIVE
         CHICAGO IL 60675-1515                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.249.   CDW GOVERNMENT INC                               2/11/2020   $22,852.80              ¨ Secured debt
         75 REMITTANCE DRIVE
         CHICAGO IL 60675-1515                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.250.   CHAMPAGNE PALACE                                 3/5/2020    $8,450.00               ¨ Secured debt
         701 ELMWOOD PARK BLVD.
         HARAHAN LA 70123                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.251.   CHASE CARDMEMBER SERVICES                        3/27/2020   $15,694.60              ¨ Secured debt
         P.O. BOX 6294
         CAROL STREAM IL 60197-6294                                                           ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.252.   CHASE CARDMEMBER SERVICES                      3/3/2020    $1,814.78               ¨ Secured debt
         P.O. BOX 6294
         CAROL STREAM IL 60197-6294                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.253.   CHATEAU DE NOTRE DAME                          4/2/2020    $6,723.30               ¨ Secured debt
         2832 BURDETTE STREET
         NEW ORLEANS LA 70125                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.254.   CHATEAU DE NOTRE DAME                          3/10/2020   $6,957.41               ¨ Secured debt
         2832 BURDETTE STREET
         NEW ORLEANS LA 70125                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.255.   CHATEAU DE NOTRE DAME                          2/11/2020   $7,996.20               ¨ Secured debt
         2832 BURDETTE STREET
         NEW ORLEANS LA 70125                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.256.   CHATEAU DE NOTRE DAME                          2/11/2020   $6,499.19               ¨ Secured debt
         2832 BURDETTE STREET
         NEW ORLEANS LA 70125                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.257.   CHATEAU DE NOTRE DAME ASSISTED LIVING          4/2/2020    $17,902.00              ¨ Secured debt
         2832 BURDETTE ST
         NEW ORLEANS LA 70125                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.258.   CHATEAU DE NOTRE DAME ASSISTED LIVING          3/10/2020   $17,912.00              ¨ Secured debt
         2832 BURDETTE ST
         NEW ORLEANS LA 70125                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.259.   CHATEAU DE NOTRE DAME ASSISTED LIVING          2/11/2020   $17,922.00              ¨ Secured debt
         2832 BURDETTE ST
         NEW ORLEANS LA 70125                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.260.   CHC DEVELOPMENT, LLC                           3/13/2020   $983.84                 ¨ Secured debt
         1201 HIGHWAY DRIVE
         JEFFERSON LA 70121                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.261.   CHC DEVELOPMENT, LLC                           3/6/2020    $1,455.89               ¨ Secured debt
         1201 HIGHWAY DRIVE
         JEFFERSON LA 70121                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.262.   CHC DEVELOPMENT, LLC                           2/21/2020   $3,735.51               ¨ Secured debt
         1201 HIGHWAY DRIVE
         JEFFERSON LA 70121                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.263.   CHC DEVELOPMENT, LLC                           2/14/2020   $1,817.69               ¨ Secured debt
         1201 HIGHWAY DRIVE
         JEFFERSON LA 70121                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.264.   CHC DEVELOPMENT, LLC                           2/6/2020    $2,958.23               ¨ Secured debt
         1201 HIGHWAY DRIVE
         JEFFERSON LA 70121                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.265.   CHILDRENS HOSPITAL                             4/30/2020   $511.78                 ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.266.   CHILDRENS HOSPITAL                             4/24/2020   $234,517.83             ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.267.   CHILDRENS HOSPITAL                             4/24/2020   $12.11                  ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.268.   CHILDRENS HOSPITAL                             4/17/2020   $5,955.70               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.269.   CHILDRENS HOSPITAL                             4/10/2020   $259.30                 ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.270.   CHILDRENS HOSPITAL                             4/10/2020   $68.38                  ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.271.   CHILDRENS HOSPITAL                             4/3/2020    $4,895.34               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.272.   CHILDRENS HOSPITAL                             3/27/2020   $1,130.00               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.273.   CHILDRENS HOSPITAL                             3/20/2020   $1,429.30               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.274.   CHILDRENS HOSPITAL                             3/20/2020   $29.77                  ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.275.   CHILDRENS HOSPITAL                             3/13/2020   $21.82                  ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.276.   CHILDRENS HOSPITAL                             3/6/2020    $1,288.58               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.277.   CHILDRENS HOSPITAL                             3/6/2020    $277.03                 ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.278.   CHILDRENS HOSPITAL                             3/6/2020    $166.78                 ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.279.   CHILDRENS HOSPITAL                             2/28/2020   $1,464.68               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.280.   CHILDRENS HOSPITAL                             2/28/2020   $68.38                  ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.281.   CHILDRENS HOSPITAL                             2/28/2020   $56.03                  ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.282.   CHILDRENS HOSPITAL                             2/21/2020   $859.51                 ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.283.   CHILDRENS HOSPITAL                             2/21/2020   $47.82                  ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.284.   CHILDRENS HOSPITAL                             2/14/2020   $1,503.85               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.285.   CHILDRENS HOSPITAL                             2/7/2020    $9,820.13               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.286.   CHILDRENS HOSPITAL                             2/7/2020    $9.29                   ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.287.   CHILDRENS HOSPITAL ANESTHESIA                  4/30/2020   $784.00                 ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.288.   CHILDRENS HOSPITAL ANESTHESIA                  4/24/2020   $1,484.00               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.289.   CHILDRENS HOSPITAL ANESTHESIA                  4/17/2020   $403.20                 ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.290.   CHILDRENS HOSPITAL ANESTHESIA                  4/10/2020   $3,864.00               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.291.   CHILDRENS HOSPITAL ANESTHESIA                  3/27/2020   $4,407.20               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.292.   CHILDRENS HOSPITAL ANESTHESIA                  3/20/2020   $2,268.00               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.293.   CHILDRENS HOSPITAL ANESTHESIA                  3/13/2020   $806.40                 ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.294.   CHILDRENS HOSPITAL ANESTHESIA                  3/6/2020    $1,736.00               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.295.   CHILDRENS HOSPITAL ANESTHESIA                  2/28/2020   $3,236.80               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.296.   CHILDRENS HOSPITAL ANESTHESIA                  2/21/2020   $3,455.20               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.297.   CHILDRENS HOSPITAL ANESTHESIA                  2/14/2020   $1,517.60               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.298.   CHILDRENS HOSPITAL ANESTHESIA                  2/7/2020    $2,133.60               ¨ Secured debt
         PO BOX 919228
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.299.   CHILDRENS HOSPITAL MEDICAL PRA                 4/24/2020   $1,027.43               ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.300.   CHILDRENS HOSPITAL MEDICAL PRA                 4/10/2020   $336.66                 ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.301.   CHILDRENS HOSPITAL MEDICAL PRA                 4/3/2020    $75.94                  ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.302.   CHILDRENS HOSPITAL MEDICAL PRA                 3/27/2020   $1,972.26               ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.303.   CHILDRENS HOSPITAL MEDICAL PRA                 3/20/2020   $2,388.69               ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.304.   CHILDRENS HOSPITAL MEDICAL PRA                 3/13/2020   $229.07                 ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.305.   CHILDRENS HOSPITAL MEDICAL PRA                 3/6/2020    $437.72                 ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.306.   CHILDRENS HOSPITAL MEDICAL PRA                 2/28/2020   $2,970.80               ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.307.   CHILDRENS HOSPITAL MEDICAL PRA                 2/21/2020   $1,040.29               ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.308.   CHILDRENS HOSPITAL MEDICAL PRA                 2/14/2020   $2,719.55               ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.309.   CHILDRENS HOSPITAL MEDICAL PRA                 2/7/2020    $577.85                 ¨ Secured debt
         PO BOX 733441
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.310.   CHUCKWAGON CHARTERS, INC.                      3/11/2020   $1,705.00               ¨ Secured debt
         2540 CARDINAL DRIVE
         MARRERO, LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.311.   CHUCKWAGON CHARTERS, INC.                      3/5/2020    $3,015.00               ¨ Secured debt
         2540 CARDINAL DRIVE
         MARRERO, LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.312.   CHUCKWAGON CHARTERS, INC.                      2/19/2020   $3,250.00               ¨ Secured debt
         2540 CARDINAL DRIVE
         MARRERO, LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.313.   CHUCKWAGON CHARTERS, INC.                      2/18/2020   $780.00                 ¨ Secured debt
         2540 CARDINAL DRIVE
         MARRERO, LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.314.   CHUCKWAGON CHARTERS, INC.                      2/5/2020    $4,405.00               ¨ Secured debt
         2540 CARDINAL DRIVE
         MARRERO, LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.315.   CITI CARDS                                     4/8/2020    $217.16                 ¨ Secured debt
         P O BOX 78045
         PHOENIX AZ 85062-8045                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.316.   CITI CARDS                                     3/23/2020   $5,151.30               ¨ Secured debt
         P O BOX 78045
         PHOENIX AZ 85062-8045                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.317.   CITI CARDS                                     3/3/2020    $7,476.30               ¨ Secured debt
         P O BOX 78045
         PHOENIX AZ 85062-8045                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.318.   CITI CARDS                                     3/3/2020    $2,777.64               ¨ Secured debt
         P O BOX 78045
         PHOENIX AZ 85062-8045                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.319.   CITI CARDS                                     2/4/2020    $788.90                 ¨ Secured debt
         P O BOX 78045
         PHOENIX AZ 85062-8045                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.320.   CITIZENS FOR EDUCATI                           3/3/2020    $13,750.00              ¨ Secured debt
         P O BOX 65196
         BATON ROUGE LA 70896                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.321.   CITY OF NEW ORLEANS                            4/30/2020   $1,736.00               ¨ Secured debt
         PO BOX 62948
         NEW ORLEANS LA 70162                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.322.   CITY OF NEW ORLEANS                            4/24/2020   $1,946.00               ¨ Secured debt
         PO BOX 62948
         NEW ORLEANS LA 70162                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.323.   CITY OF NEW ORLEANS                            4/17/2020   $1,821.00               ¨ Secured debt
         PO BOX 62948
         NEW ORLEANS LA 70162                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.324.   CITY OF NEW ORLEANS                            3/6/2020    $3,262.00               ¨ Secured debt
         PO BOX 62948
         NEW ORLEANS LA 70162                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.325.   CITY OF NEW ORLEANS                            2/28/2020   $180.00                 ¨ Secured debt
         PO BOX 62948
         NEW ORLEANS LA 70162                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.326.   CITY OF NEW ORLEANS                            2/14/2020   $2,053.00               ¨ Secured debt
         PO BOX 62948
         NEW ORLEANS LA 70162                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.327.   CLECO POWER LLC                                4/28/2020   $14,401.58              ¨ Secured debt
         P.O. BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.328.   CLECO POWER LLC                                4/20/2020   $1,177.25               ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.329.   CLECO POWER LLC                                4/20/2020   $249.99                 ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.330.   CLECO POWER LLC                                4/2/2020    $64.85                  ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.331.   CLECO POWER LLC                                3/17/2020   $3,541.65               ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.332.   CLECO POWER LLC                                3/17/2020   $1,170.48               ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.333.   CLECO POWER LLC                                3/11/2020   $16,800.52              ¨ Secured debt
         P.O. BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.334.   CLECO POWER LLC                                3/10/2020   $240.53                 ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.335.   CLECO POWER LLC                                2/26/2020   $2,405.52               ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.336.   CLECO POWER LLC                                2/26/2020   $1,351.71               ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.337.   CLECO POWER LLC                                2/18/2020   $3,594.50               ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.338.   CLECO POWER LLC                                2/18/2020   $94.33                  ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.339.   CLECO POWER LLC                                2/12/2020   $21,244.94              ¨ Secured debt
         P.O. BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.340.   CLECO POWER LLC                                2/11/2020   $262.41                 ¨ Secured debt
         P O BOX 660228
         DALLAS TX 75266-0228                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.341.   CORASS ELECTRICAL SERVICE                      4/17/2020   $7,546.74               ¨ Secured debt
         P. O. BOX 73729
         METAIRIE LA 70033                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.342.   CORASS ELECTRICAL SERVICE                      4/10/2020   $12,100.00              ¨ Secured debt
         P. O. BOX 73729
         METAIRIE LA 70033                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.343.   CORPORATE PHARMACY SERVICES, INC.              4/27/2020   $388.25                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.344.   CORPORATE PHARMACY SERVICES, INC.              4/27/2020   $32.02                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.345.   CORPORATE PHARMACY SERVICES, INC.              4/22/2020   $283.01                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.346.   CORPORATE PHARMACY SERVICES, INC.              4/22/2020   $30.47                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.347.   CORPORATE PHARMACY SERVICES, INC.              4/22/2020   $13.90                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.348.   CORPORATE PHARMACY SERVICES, INC.              4/17/2020   $1,402.92               ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.349.   CORPORATE PHARMACY SERVICES, INC.              4/8/2020    $39.04                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.350.   CORPORATE PHARMACY SERVICES, INC.              4/8/2020    $30.17                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.351.   CORPORATE PHARMACY SERVICES, INC.              4/8/2020    $21.63                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.352.   CORPORATE PHARMACY SERVICES, INC.              4/8/2020    $20.28                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.353.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020    $1,402.92               ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.354.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020   $852.07                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.355.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020   $352.76                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.356.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020   $183.01                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.357.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020   $109.50                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.358.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020   $97.27                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.359.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020   $79.35                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.360.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020    $42.10                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.361.   CORPORATE PHARMACY SERVICES, INC.              4/3/2020    $36.93                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.362.   CORPORATE PHARMACY SERVICES, INC.              3/20/2020   $218.63                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.363.   CORPORATE PHARMACY SERVICES, INC.              3/20/2020   $137.74                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.364.   CORPORATE PHARMACY SERVICES, INC.              3/20/2020   $50.38                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.365.   CORPORATE PHARMACY SERVICES, INC.              3/20/2020   $26.50                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.366.   CORPORATE PHARMACY SERVICES, INC.              3/13/2020   $551.60                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.367.   CORPORATE PHARMACY SERVICES, INC.              3/13/2020   $97.27                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.368.   CORPORATE PHARMACY SERVICES, INC.              3/13/2020   $25.63                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.369.   CORPORATE PHARMACY SERVICES, INC.              3/6/2020    $592.05                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.370.   CORPORATE PHARMACY SERVICES, INC.              3/6/2020    $218.63                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.371.   CORPORATE PHARMACY SERVICES, INC.              3/6/2020    $20.28                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.372.   CORPORATE PHARMACY SERVICES, INC.              3/6/2020   $20.28                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.373.   CORPORATE PHARMACY SERVICES, INC.              3/4/2020   $121.48                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.374.   CORPORATE PHARMACY SERVICES, INC.              3/2/2020   $919.51                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.375.   CORPORATE PHARMACY SERVICES, INC.              3/2/2020   $137.74                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.376.   CORPORATE PHARMACY SERVICES, INC.              3/2/2020   $41.95                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.377.   CORPORATE PHARMACY SERVICES, INC.              3/2/2020   $40.98                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                  ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.378.   CORPORATE PHARMACY SERVICES, INC.              3/2/2020    $31.00                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.379.   CORPORATE PHARMACY SERVICES, INC.              3/2/2020    $29.70                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.380.   CORPORATE PHARMACY SERVICES, INC.              2/20/2020   $13.15                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.381.   CORPORATE PHARMACY SERVICES, INC.              2/20/2020   $12.48                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.382.   CORPORATE PHARMACY SERVICES, INC.              2/19/2020   $97.27                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.383.   CORPORATE PHARMACY SERVICES, INC.              2/19/2020   $30.17                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.384.   CORPORATE PHARMACY SERVICES, INC.              2/18/2020   $50.50                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.385.   CORPORATE PHARMACY SERVICES, INC.              2/18/2020   $37.29                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.386.   CORPORATE PHARMACY SERVICES, INC.              2/18/2020   $33.93                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.387.   CORPORATE PHARMACY SERVICES, INC.              2/18/2020   $19.80                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.388.   CORPORATE PHARMACY SERVICES, INC.              2/13/2020   $100.45                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.389.   CORPORATE PHARMACY SERVICES, INC.              2/13/2020   $23.30                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.390.   CORPORATE PHARMACY SERVICES, INC.              2/13/2020   $20.28                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.391.   CORPORATE PHARMACY SERVICES, INC.              2/11/2020   $42.42                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.392.   CORPORATE PHARMACY SERVICES, INC.              2/11/2020   $20.28                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.393.   CORPORATE PHARMACY SERVICES, INC.              2/4/2020    $380.30                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.394.   CORPORATE PHARMACY SERVICES, INC.              2/4/2020    $183.01                 ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.395.   CORPORATE PHARMACY SERVICES, INC.              2/4/2020    $97.03                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.396.   CORPORATE PHARMACY SERVICES, INC.              2/4/2020    $50.43                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.397.   CORPORATE PHARMACY SERVICES, INC.              2/4/2020    $35.64                  ¨ Secured debt
         319 BROAD ST.
         GADSDEN AL 39501                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.398.   CORVUS OF NEW ORLEAN                           4/20/2020   $175.00                 ¨ Secured debt
         815 W WEED STREET
         CHICAGO IL 60642                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.399.   CORVUS OF NEW ORLEAN                           3/10/2020   $485.00                 ¨ Secured debt
         815 W WEED STREET
         CHICAGO IL 60642                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.400.   CORVUS OF NEW ORLEAN                           3/3/2020    $2,962.00               ¨ Secured debt
         815 W WEED STREET
         CHICAGO IL 60642                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.401.   CORVUS OF NEW ORLEAN                           2/18/2020   $2,962.00               ¨ Secured debt
         815 W WEED STREET
         CHICAGO IL 60642                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.402.   CORVUS OF NEW ORLEAN                           2/11/2020   $485.00                 ¨ Secured debt
         815 W WEED STREET
         CHICAGO IL 60642                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.403.   CORVUS OF NEW ORLEAN                           2/4/2020    $1,138.00               ¨ Secured debt
         815 W WEED STREET
         CHICAGO IL 60642                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.404.   COVENANT EYES INC                              3/10/2020   $22,000.00              ¨ Secured debt
         DBA CORP-EYES INC
         P O BOX 637                                                                        ¨ Unsecured loan repayments
         OWOSSO MI 48867                                                                    þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.405.   CREDIT CARD CENTER (WHITNEY)                   4/8/2020    $3,940.00               ¨ Secured debt
         HANCOCK WHITNEY BANK
         P O BOX 23070                                                                      ¨ Unsecured loan repayments
         COLUMBUS GA 31902-3070                                                             þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.406.   CREDIT CARD CENTER (WHITNEY)                   3/10/2020   $4,071.28               ¨ Secured debt
         HANCOCK WHITNEY BANK
         P O BOX 23070                                                                      ¨ Unsecured loan repayments
         COLUMBUS GA 31902-3070                                                             þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.407.   CREDIT CARD CENTER (WHITNEY)                   2/4/2020    $183.00                 ¨ Secured debt
         HANCOCK WHITNEY BANK
         P O BOX 23070                                                                      ¨ Unsecured loan repayments
         COLUMBUS GA 31902-3070                                                             þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.408.   CRESCENT CITY PHYSICIANS INC                   4/24/2020   $295.64                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.409.   CRESCENT CITY PHYSICIANS INC                   4/17/2020   $2,753.11               ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.410.   CRESCENT CITY PHYSICIANS INC                   4/10/2020   $478.36                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.411.   CRESCENT CITY PHYSICIANS INC                   4/3/2020    $214.61                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.412.   CRESCENT CITY PHYSICIANS INC                   3/31/2020   $644.90                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.413.   CRESCENT CITY PHYSICIANS INC                   3/27/2020   $718.50                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.414.   CRESCENT CITY PHYSICIANS INC                   3/20/2020   $1,610.95               ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.415.   CRESCENT CITY PHYSICIANS INC                   3/13/2020   $518.49                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.416.   CRESCENT CITY PHYSICIANS INC                   3/6/2020    $568.41                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.417.   CRESCENT CITY PHYSICIANS INC                   2/28/2020   $706.54                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.418.   CRESCENT CITY PHYSICIANS INC                   2/28/2020   $73.00                  ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.419.   CRESCENT CITY PHYSICIANS INC                   2/21/2020   $1,896.00               ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.420.   CRESCENT CITY PHYSICIANS INC                   2/14/2020   $3,584.99               ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.421.   CRESCENT CITY PHYSICIANS INC                   2/7/2020    $346.74                 ¨ Secured debt
         PO BOX 919168
         DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.422.   CRESCENT CITY SURGICAL CENTRE                  4/27/2020   $5,097.12               ¨ Secured debt
         3017 GALLERIA DRIVE
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.423.   CRESCENT CITY SURGICAL CENTRE                  3/17/2020   $4,287.84               ¨ Secured debt
         3017 GALLERIA DRIVE
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.424.   CRESCENT CITY SURGICAL CENTRE                  2/11/2020   $30,474.09              ¨ Secured debt
         3017 GALLERIA DRIVE
         METAIRIE LA 70001                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.425.   CYPRESS POINTE SURGICAL HOSP                   3/13/2020   $96.80                  ¨ Secured debt
         42570 S AIRPORT RD
         HAMMOND LA 70403                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.426.   CYPRESS POINTE SURGICAL HOSP                   3/2/2020    $8,310.41               ¨ Secured debt
         42570 S AIRPORT RD
         HAMMOND LA 70403                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.427.   CYPRESS POINTE SURGICAL HOSP                   2/21/2020   $3,893.08               ¨ Secured debt
         42570 S AIRPORT RD
         HAMMOND LA 70403                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.428.   DEHECHAUD AND DENECHAUD, LLC                   4/28/2020   $33,983.71              ¨ Secured debt
         201 ST CHARLES AVE SUITE 3920
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.429.   DEHECHAUD AND DENECHAUD, LLC                   4/20/2020   $9,338.61               ¨ Secured debt
         201 ST CHARLES AVE SUITE 3920
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.430.   DEHECHAUD AND DENECHAUD, LLC                   4/14/2020   $75,000.00              ¨ Secured debt
         201 ST CHARLES AVE SUITE 3920
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.431.   DEHECHAUD AND DENECHAUD, LLC                   3/25/2020   $9,825.31               ¨ Secured debt
         1010 COMMON STREET
         NEW ORLEANS LA 70112                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.432.   DEHECHAUD AND DENECHAUD, LLC                     3/6/2020    $400.84                 ¨ Secured debt
         1010 COMMON STREET
         NEW ORLEANS LA 70112                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.433.   DEHECHAUD AND DENECHAUD, LLC                     2/11/2020   $9,237.47               ¨ Secured debt
         201 ST CHARLES AVE SUITE 3920
         NEW ORLEANS LA 70170                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.434.   DEHECHAUD AND DENECHAUD, LLC                     2/4/2020    $2,209.38               ¨ Secured debt
         201 ST CHARLES AVE SUITE 3920
         NEW ORLEANS LA 70170                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.435.   Name and Address Intentionally Omitted           4/2/2020    $9,300.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.436.   DELL MARKETING L. P.                             4/28/2020   $9,419.00               ¨ Secured debt
         C/O DELL USA L. P.
         P O BOX 534118                                                                       ¨ Unsecured loan repayments
         ATLANTA GA 30353-4118                                                                þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.437.   DELL MARKETING L. P.                             4/8/2020    $42.59                  ¨ Secured debt
         C/O DELL USA L. P.
         P O BOX 534118                                                                       ¨ Unsecured loan repayments
         ATLANTA GA 30353-4118                                                                þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.438.   DELL MARKETING L. P.                           3/17/2020   $7,856.14               ¨ Secured debt
         C/O DELL USA L. P.
         P O BOX 534118                                                                     ¨ Unsecured loan repayments
         ATLANTA GA 30353-4118                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.439.   DELL MARKETING L. P.                           2/26/2020   $159.86                 ¨ Secured debt
         C/O DELL USA L. P.
         P O BOX 534118                                                                     ¨ Unsecured loan repayments
         ATLANTA GA 30353-4118                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.440.   DELL MARKETING L. P.                           2/18/2020   $406.37                 ¨ Secured debt
         C/O DELL USA L. P.
         P O BOX 534118                                                                     ¨ Unsecured loan repayments
         ATLANTA GA 30353-4118                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.441.   DELL MARKETING L. P.                           2/11/2020   $1,075.10               ¨ Secured debt
         C/O DELL USA L. P.
         P O BOX 534118                                                                     ¨ Unsecured loan repayments
         ATLANTA GA 30353-4118                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.442.   DELL MARKETING L. P.                           2/4/2020    $2,085.16               ¨ Secured debt
         C/O DELL USA L. P.
         P O BOX 534118                                                                     ¨ Unsecured loan repayments
         ATLANTA GA 30353-4118                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.443.   DEVELOPMENT INNOVATIONS 360                    4/29/2020   $1,976.00               ¨ Secured debt
         P.O. BOX 81521
         LAFAYETTE LA 70598                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.444.   DEVELOPMENT INNOVATIONS 360                    4/23/2020   $1,976.00               ¨ Secured debt
         P.O. BOX 81521
         LAFAYETTE LA 70598                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.445.   DEVELOPMENT INNOVATIONS 360                    3/27/2020   $4,310.00               ¨ Secured debt
         P.O. BOX 81521
         LAFAYETTE LA 70598                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.446.   DEVELOPMENT INNOVATIONS 360                    2/20/2020   $420.00                 ¨ Secured debt
         P.O. BOX 81521
         LAFAYETTE LA 70598                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.447.   DEVELOPMENT INNOVATIONS 360                    2/1/2020    $3,900.00               ¨ Secured debt
         P.O. BOX 81521
         LAFAYETTE LA 70598                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.448.   DIAGNOSTIC IMAGING SERVICES                    4/30/2020   $849.68                 ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.449.   DIAGNOSTIC IMAGING SERVICES                    4/24/2020   $826.72                 ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.450.   DIAGNOSTIC IMAGING SERVICES                    4/17/2020   $335.77                 ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.451.   DIAGNOSTIC IMAGING SERVICES                    4/10/2020   $1,066.18               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.452.   DIAGNOSTIC IMAGING SERVICES                    4/3/2020    $203.17                 ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.453.   DIAGNOSTIC IMAGING SERVICES                    3/27/2020   $2,485.17               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.454.   DIAGNOSTIC IMAGING SERVICES                    3/20/2020   $2,792.63               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.455.   DIAGNOSTIC IMAGING SERVICES                    3/13/2020   $6,065.19               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.456.   DIAGNOSTIC IMAGING SERVICES                    3/6/2020    $2,972.22               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.457.   DIAGNOSTIC IMAGING SERVICES                    2/28/2020   $2,768.71               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.458.   DIAGNOSTIC IMAGING SERVICES                    2/28/2020   $790.13                 ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.459.   DIAGNOSTIC IMAGING SERVICES                    2/21/2020   $2,827.89               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.460.   DIAGNOSTIC IMAGING SERVICES                    2/14/2020   $2,164.17               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.461.   DIAGNOSTIC IMAGING SERVICES                    2/7/2020    $1,913.35               ¨ Secured debt
         4241 VETERANS BLVD
         SUITE 201                                                                          ¨ Unsecured loan repayments
         METAIRIE LA 70006                                                                  þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.462.   DIGITAL SOLUTIONS LL                           3/17/2020   $1,575.00               ¨ Secured debt
         6291 PASSING SKY DRIVE
         COLORADO SPRINGS CO 80911                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.463.   DIGITAL SOLUTIONS LL                           3/3/2020    $5,950.00               ¨ Secured debt
         6291 PASSING SKY DRIVE
         COLORADO SPRINGS CO 80911                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.464.   DIGITAL SOLUTIONS LL                           2/18/2020   $4,200.00               ¨ Secured debt
         6291 PASSING SKY DRIVE
         COLORADO SPRINGS CO 80911                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.465.   DISC OF LOUISIANA                              4/3/2020    $41,025.64              ¨ Secured debt
         76 STARBRUSH CIR
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.466.   DISC OF LOUISIANA                              3/13/2020   $500.00                 ¨ Secured debt
         76 STARBRUSH CIR
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.467.   DISC OF LOUISIANA                              2/7/2020    $3,449.36               ¨ Secured debt
         76 STARBRUSH CIR
         COVINGTON LA 70433                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.468.   DISNEY YOUTH GROUP PROGRAMS                    2/17/2020   $11,600.00              ¨ Secured debt
         PO BOX 10111
         LAKE BUENA VISTA FL 32830-1011                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.469.   DIXIELAND TOURS                                2/1/2020    $12,554.00              ¨ Secured debt
         10520 SOUTH CHOCTAW
         BATON ROUGE LA 70815                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.470.   DOCTOR SAME DAY SURGERY CENTER                 4/15/2020   $6,203.42               ¨ Secured debt
         4633 WICHERS DR STE 200
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.471.   DOCTOR SAME DAY SURGERY CENTER                 3/4/2020    $10,489.36              ¨ Secured debt
         4633 WICHERS DR STE 200
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.472.   DOCTOR SAME DAY SURGERY CENTER                 2/7/2020    $9,894.86               ¨ Secured debt
         4633 WICHERS DR STE 200
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.473.   DOCUMART                                       4/8/2020    $1,021.17               ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.474.   DOCUMART                                        4/2/2020    $1,147.13               ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.475.   DOCUMART                                        3/20/2020   $2,576.78               ¨ Secured debt
         5624 CITRUS BLVD.
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.476.   DOCUMART                                        3/17/2020   $1,695.44               ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.477.   DOCUMART                                        3/10/2020   $848.24                 ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.478.   DOCUMART                                        3/6/2020    $798.38                 ¨ Secured debt
         5624 CITRUS BLVD.
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.479.   DOCUMART                                        3/3/2020    $991.50                 ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.480.   DOCUMART                                        2/26/2020   $694.47                 ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.481.   DOCUMART                                        2/20/2020   $3,714.35               ¨ Secured debt
         5624 CITRUS BLVD.
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.482.   DOCUMART                                        2/18/2020   $1,836.18               ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.483.   DOCUMART                                        2/11/2020   $713.64                 ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.484.   DOCUMART                                        2/7/2020    $332.84                 ¨ Secured debt
         5624 CITRUS BLVD.
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.485.   DOCUMART                                        2/4/2020    $540.31                 ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.486.   DOCUMART                                         2/4/2020    $186.07                 ¨ Secured debt
         5624 CITRUS BLVD
         HARAHAN LA 70123                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.487.   DOMINICAN FATHERS                                2/28/2020   $4,255.33               ¨ Secured debt
         775 HARRISON AVE
         NEW ORLEANS LA 70124                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.488.   DOMINICAN FATHERS                                2/28/2020   $2,887.74               ¨ Secured debt
         775 HARRISON AVE
         NEW ORLEANS LA 70124                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.489.   DOMINICAN FATHERS                                2/4/2020    $40.00                  ¨ Secured debt
         775 HARRISON AVE
         NEW ORLEANS LA 70124                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.490.   Name and Address Intentionally Omitted           4/28/2020   $2,895.07               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.491.   Name and Address Intentionally Omitted           4/8/2020    $26.70                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.492.   Name and Address Intentionally Omitted           3/31/2020   $2,895.07               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.493.   Name and Address Intentionally Omitted           3/3/2020    $23.00                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.494.   Name and Address Intentionally Omitted           2/28/2020   $2,895.07               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.495.   Name and Address Intentionally Omitted           2/26/2020   $125.40                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.496.   EAST JEFFERSON AMBULATORY SURG                   3/31/2020   $2,478.00               ¨ Secured debt
         4320 HOUMA BLVD STE 500
         METAIRIE LA 70006                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.497.   EAST JEFFERSON AMBULATORY SURG                   3/20/2020   $7,844.00               ¨ Secured debt
         4320 HOUMA BLVD STE 500
         METAIRIE LA 70006                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.498.   EAST JEFFERSON AMBULATORY SURG                 3/13/2020   $1,147.34               ¨ Secured debt
         4320 HOUMA BLVD STE 500
         METAIRIE LA 70006                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.499.   EAST JEFFERSON AMBULATORY SURG                 2/7/2020    $806.00                 ¨ Secured debt
         4320 HOUMA BLVD STE 500
         METAIRIE LA 70006                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.500.   EAST JEFFERSON GENERAL HOSPITA                 4/24/2020   $15,234.89              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.501.   EAST JEFFERSON GENERAL HOSPITA                 4/24/2020   $14,562.82              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.502.   EAST JEFFERSON GENERAL HOSPITA                 4/24/2020   $70.79                  ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.503.   EAST JEFFERSON GENERAL HOSPITA                 4/17/2020   $12,821.77              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.504.   EAST JEFFERSON GENERAL HOSPITA                 4/17/2020   $14.72                  ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.505.   EAST JEFFERSON GENERAL HOSPITA                 4/10/2020   $1,622.12               ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.506.   EAST JEFFERSON GENERAL HOSPITA                 4/10/2020   $68.30                  ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.507.   EAST JEFFERSON GENERAL HOSPITA                 4/3/2020    $56,219.22              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.508.   EAST JEFFERSON GENERAL HOSPITA                 4/3/2020    $51,326.33              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.509.   EAST JEFFERSON GENERAL HOSPITA                 3/31/2020   $17,402.55              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.510.   EAST JEFFERSON GENERAL HOSPITA                 3/27/2020   $22,260.29              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.511.   EAST JEFFERSON GENERAL HOSPITA                 3/27/2020   $295.16                 ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.512.   EAST JEFFERSON GENERAL HOSPITA                 3/20/2020   $12,842.54              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.513.   EAST JEFFERSON GENERAL HOSPITA                 3/13/2020   $11,935.69              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.514.   EAST JEFFERSON GENERAL HOSPITA                 3/13/2020   $68.30                  ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.515.   EAST JEFFERSON GENERAL HOSPITA                 3/6/2020    $3,709.15               ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.516.   EAST JEFFERSON GENERAL HOSPITA                 3/6/2020    $68.30                  ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.517.   EAST JEFFERSON GENERAL HOSPITA                 2/28/2020   $11,585.99              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.518.   EAST JEFFERSON GENERAL HOSPITA                 2/21/2020   $13,045.01              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.519.   EAST JEFFERSON GENERAL HOSPITA                 2/14/2020   $16,542.40              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.520.   EAST JEFFERSON GENERAL HOSPITA                 2/14/2020   $219.08                 ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.521.   EAST JEFFERSON GENERAL HOSPITA                 2/7/2020    $11,361.70              ¨ Secured debt
         PO BOX 975479
         DALLAS TX 75397                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.522.   ELEVATOR TECHNICAL SERVICES                    2/18/2020   $2,160.00               ¨ Secured debt
         P O BOX 3662
         PINEVILLE LA 71360                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.523.   ELEVATOR TECHNICAL SERVICES                    2/4/2020    $13,800.00              ¨ Secured debt
         P O BOX 3662
         PINEVILLE LA 71360                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.524.   ENHANCING BEAUTIFUL MINDS                      4/20/2020   $2,500.00               ¨ Secured debt
         6305 ELYSIAN FIELDS AVE SUITE 301B
         NEW ORLEANS LA 70082                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.525.   ENHANCING BEAUTIFUL MINDS                      3/17/2020   $2,500.00               ¨ Secured debt
         6305 ELYSIAN FIELDS AVE SUITE 301B
         NEW ORLEANS LA 70082                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.526.   ENHANCING BEAUTIFUL MINDS                      2/18/2020   $2,500.00               ¨ Secured debt
         6305 ELYSIAN FIELDS AVE SUITE 301B
         NEW ORLEANS LA 70082                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.527.   ENHANCING BEAUTIFUL MINDS                      2/4/2020    $1,500.00               ¨ Secured debt
         6305 ELYSIAN FIELDS AVE SUITE 301B
         NEW ORLEANS LA 70082                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.528.   ENTERGY                                        4/27/2020   $2,311.17               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.529.   ENTERGY                                        4/27/2020   $1,997.44               ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.530.   ENTERGY                                        4/27/2020   $916.51                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.531.   ENTERGY                                        4/27/2020   $834.84                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.532.   ENTERGY                                        4/27/2020   $58.13                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.533.   ENTERGY                                        4/27/2020   $19.95                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.534.   ENTERGY                                        4/24/2020   $8,693.69               ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.535.   ENTERGY                                        4/24/2020   $575.48                 ¨ Secured debt
         P. O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.536.   ENTERGY                                        4/20/2020   $2,964.86               ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.537.   ENTERGY                                        4/20/2020   $1,811.30               ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.538.   ENTERGY                                        4/20/2020   $523.97                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.539.   ENTERGY                                        4/20/2020   $156.99                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.540.   ENTERGY                                        4/20/2020   $74.10                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.541.   ENTERGY                                        4/20/2020   $58.13                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.542.   ENTERGY                                        4/20/2020   $29.47                  ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.543.   ENTERGY                                        4/20/2020   $18.97                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.544.   ENTERGY                                        4/20/2020   $14.07                  ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.545.   ENTERGY                                        4/17/2020   $8,624.27               ¨ Secured debt
         P. O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.546.   ENTERGY                                        4/17/2020   $4,204.35               ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.547.   ENTERGY                                        4/17/2020   $1,671.42               ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.548.   ENTERGY                                        4/17/2020   $493.64                 ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.549.   ENTERGY                                        4/17/2020   $305.12                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.550.   ENTERGY                                        4/17/2020   $280.72                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.551.   ENTERGY                                        4/17/2020   $251.41                 ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.552.   ENTERGY                                        4/17/2020   $111.96                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.553.   ENTERGY                                        4/17/2020   $54.68                  ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.554.   ENTERGY                                        4/17/2020   $19.77                  ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.555.   ENTERGY                                        4/8/2020    $14,562.41              ¨ Secured debt
         P.O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.556.   ENTERGY                                        4/8/2020    $9,179.89               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.557.   ENTERGY                                        4/8/2020    $3,523.16               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.558.   ENTERGY                                        4/8/2020   $2,043.09               ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.559.   ENTERGY                                        4/8/2020   $1,172.13               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.560.   ENTERGY                                        4/8/2020   $608.64                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.561.   ENTERGY                                        4/8/2020   $450.47                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.562.   ENTERGY                                        4/8/2020   $399.79                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.563.   ENTERGY                                        4/8/2020   $315.70                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.564.   ENTERGY                                        4/8/2020   $312.23                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.565.   ENTERGY                                        4/8/2020   $91.21                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.566.   ENTERGY                                        4/8/2020   $47.83                  ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.567.   ENTERGY                                        4/8/2020   $26.22                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.568.   ENTERGY                                        4/8/2020   $18.97                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.569.   ENTERGY                                        4/8/2020   $18.97                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.570.   ENTERGY                                        4/2/2020    $691.15                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.571.   ENTERGY                                        4/2/2020    $165.12                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.572.   ENTERGY                                        3/26/2020   $1,011.79               ¨ Secured debt
         P.O. BOX 8106
         BATON ROUGE LA 70891                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.573.   ENTERGY                                        3/25/2020   $9,495.48               ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.574.   ENTERGY                                        3/23/2020   $7,910.89               ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.575.   ENTERGY                                        3/19/2020   $4,399.96               ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.576.   ENTERGY                                        3/19/2020   $264.60                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.577.   ENTERGY                                        3/19/2020   $223.90                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.578.   ENTERGY                                        3/19/2020   $144.29                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.579.   ENTERGY                                        3/19/2020   $19.40                  ¨ Secured debt
         P. O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.580.   ENTERGY                                        3/17/2020   $3,068.64               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.581.   ENTERGY                                        3/17/2020   $1,228.53               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.582.   ENTERGY                                        3/17/2020   $686.11                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.583.   ENTERGY                                        3/17/2020   $180.09                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.584.   ENTERGY                                        3/17/2020   $38.88                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.585.   ENTERGY                                        3/17/2020   $30.84                  ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.586.   ENTERGY                                        3/16/2020   $213.16                 ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.587.   ENTERGY                                        3/16/2020   $51.45                  ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.588.   ENTERGY                                        3/16/2020   $13.37                  ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.589.   ENTERGY                                        3/13/2020   $10,599.49              ¨ Secured debt
         P. O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.590.   ENTERGY                                        3/12/2020   $1,424.45               ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.591.   ENTERGY                                        3/12/2020   $881.67                 ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.592.   ENTERGY                                        3/11/2020   $2,528.22               ¨ Secured debt
         P.O. BOX 8106
         BATON ROUGE LA 70891                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.593.   ENTERGY                                        3/10/2020   $4,441.77               ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.594.   ENTERGY                                        3/10/2020   $3,586.86               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.595.   ENTERGY                                        3/10/2020   $1,468.95               ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.596.   ENTERGY                                        3/10/2020   $538.11                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.597.   ENTERGY                                        3/10/2020   $523.72                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.598.   ENTERGY                                        3/10/2020   $481.42                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.599.   ENTERGY                                        3/10/2020   $413.41                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.600.   ENTERGY                                        3/10/2020   $386.76                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.601.   ENTERGY                                        3/10/2020   $120.98                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.602.   ENTERGY                                        3/10/2020   $101.86                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.603.   ENTERGY                                        3/10/2020   $18.97                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.604.   ENTERGY                                        3/10/2020   $13.92                  ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.605.   ENTERGY                                        3/10/2020   $5.76                   ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.606.   ENTERGY                                        3/6/2020   $13,998.57              ¨ Secured debt
         P.O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.607.   ENTERGY                                        3/4/2020   $1,044.16               ¨ Secured debt
         P.O. BOX 8106
         BATON ROUGE LA 70891                                                              ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.608.   ENTERGY                                        3/3/2020   $10,335.89              ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.609.   ENTERGY                                        3/3/2020   $604.78                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.610.   ENTERGY                                        3/3/2020   $506.69                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.611.   ENTERGY                                        3/3/2020   $90.45                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.612.   ENTERGY                                        3/3/2020    $25.79                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.613.   ENTERGY                                        3/3/2020    $18.97                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.614.   ENTERGY                                        2/26/2020   $2,260.77               ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.615.   ENTERGY                                        2/26/2020   $16.47                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.616.   ENTERGY                                        2/21/2020   $10,434.10              ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.617.   ENTERGY                                        2/20/2020   $7,226.12               ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.618.   ENTERGY                                        2/18/2020   $4,105.62               ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.619.   ENTERGY                                        2/18/2020   $2,962.60               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.620.   ENTERGY                                        2/18/2020   $703.33                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.621.   ENTERGY                                        2/18/2020   $624.61                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.622.   ENTERGY                                        2/18/2020   $306.37                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.623.   ENTERGY                                        2/18/2020   $263.06                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.624.   ENTERGY                                        2/18/2020   $244.22                 ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.625.   ENTERGY                                        2/18/2020   $32.42                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.626.   ENTERGY                                        2/18/2020   $1.38                   ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.627.   ENTERGY                                        2/14/2020   $10,906.44              ¨ Secured debt
         P. O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.628.   ENTERGY                                        2/14/2020   $279.92                 ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.629.   ENTERGY                                        2/14/2020   $85.92                  ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.630.   ENTERGY                                        2/14/2020   $5.29                   ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.631.   ENTERGY                                        2/12/2020   $1,669.06               ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.632.   ENTERGY                                        2/12/2020   $887.12                 ¨ Secured debt
         PO BOX 8106
         BATON ROUGE LA 70891-8106                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.633.   ENTERGY                                        2/11/2020   $1,393.16               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.634.   ENTERGY                                        2/11/2020   $419.57                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.635.   ENTERGY                                        2/11/2020   $62.59                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.636.   ENTERGY                                        2/11/2020   $10.56                  ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.637.   ENTERGY                                        2/6/2020    $14,156.48              ¨ Secured debt
         P.O BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.638.   ENTERGY                                        2/5/2020    $4,537.98               ¨ Secured debt
         P.O. BOX 8106
         BATON ROUGE LA 70891                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.639.   ENTERGY                                        2/4/2020    $11,281.84              ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.640.   ENTERGY                                        2/4/2020    $10,661.82              ¨ Secured debt
         P.O. BOX 8108
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.641.   ENTERGY                                        2/4/2020    $2,415.85               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.642.   ENTERGY                                        2/4/2020   $1,610.45               ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.643.   ENTERGY                                        2/4/2020   $1,486.00               ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.644.   ENTERGY                                        2/4/2020   $719.05                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.645.   ENTERGY                                        2/4/2020   $600.71                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.646.   ENTERGY                                        2/4/2020   $533.71                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.647.   ENTERGY                                        2/4/2020   $455.04                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.648.   ENTERGY                                        2/4/2020   $429.46                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.649.   ENTERGY                                        2/4/2020   $252.54                 ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.650.   ENTERGY                                        2/4/2020   $101.84                 ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.651.   ENTERGY                                        2/4/2020   $28.65                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.652.   ENTERGY                                        2/4/2020   $19.53                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.653.   ENTERGY                                        2/4/2020   $16.65                  ¨ Secured debt
         P O BOX 8108
         BATON ROUGE LA 70891-8108                                                         ¨ Unsecured loan repayments
                                                                                           þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.654.   ENTERGY                                         2/4/2020    $14.29                  ¨ Secured debt
         P O BOX 8106
         BATON ROUGE LA 70891-8108                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.655.   ETC CATERING                                    3/17/2020   $4,970.88               ¨ Secured debt
         #1 GALLERIA BLVD, SUITE 705A
         METAIRIE LA 70001                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.656.   ETC CATERING                                    3/12/2020   $1,851.79               ¨ Secured debt
         #1 GALLERIA BLVD, SUITE 705A
         METAIRIE LA 70001                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.657.   ETC CATERING                                    3/10/2020   $1,851.79               ¨ Secured debt
         #1 GALLERIA BLVD, SUITE 705A
         METAIRIE LA 70001                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.658.   ETC. CATERING                                   3/16/2020   $72.11                  ¨ Secured debt
         1 GALLERIA BLVD
         SUITE 705 A                                                                         ¨ Unsecured loan repayments
         METAIRIE LA 70001                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.659.   ETC. CATERING                                   2/20/2020   $7,575.00               ¨ Secured debt
         1 GALLERIA BLVD
         SUITE 705 A                                                                         ¨ Unsecured loan repayments
         METAIRIE LA 70001                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.660.   EYE ASSOCIATES LLC                              4/17/2020   $4,359.82               ¨ Secured debt
         3530 HOUMA BLVD STE 203
         METAIRIE LA 70006                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.661.   EYE ASSOCIATES LLC                              4/10/2020   $4,179.38               ¨ Secured debt
         3530 HOUMA BLVD STE 203
         METAIRIE LA 70006                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.662.   EYE ASSOCIATES LLC                              3/27/2020   $2,181.65               ¨ Secured debt
         3530 HOUMA BLVD STE 203
         METAIRIE LA 70006                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.663.   EYE ASSOCIATES LLC                              3/13/2020   $71.92                  ¨ Secured debt
         3530 HOUMA BLVD STE 203
         METAIRIE LA 70006                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.664.   FACTORY SERVICE                                 3/20/2020   $6,060.00               ¨ Secured debt
         2713 ATHANIA PKWY
         METAIRIE LA 70002                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.665.   FACTORY SERVICE                                 3/13/2020   $425.00                 ¨ Secured debt
         2713 ATHANIA PKWY
         METAIRIE LA 70002                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.666.   FACTORY SERVICE                                  2/14/2020   $1,572.50               ¨ Secured debt
         2713 ATHANIA PKWY
         METAIRIE LA 70002                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.667.   FELLOWSHIP OF CATH UNIVERSITY                    4/2/2020    $5,000.00               ¨ Secured debt
         603 PARK POINT DR SUITE 200
         GOLDEN CO 80401-5787                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.668.   FELLOWSHIP OF CATH UNIVERSITY                    2/26/2020   $5,000.00               ¨ Secured debt
         603 PARK POINT DR SUITE 200
         GOLDEN CO 80401-5787                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.669.   FELLOWSHIP OF CATH UNIVERSITY                    2/18/2020   $5,000.00               ¨ Secured debt
         603 PARK POINT DR SUITE 200
         GOLDEN CO 80401-5787                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.670.   FERDIE'S PRINTING                                2/7/2020    $8,736.00               ¨ Secured debt
         3751 SPENCER STREET
         HARVEY LA 70058                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.671.   Name and Address Intentionally Omitted           4/28/2020   $2,499.82               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.672.   Name and Address Intentionally Omitted           3/31/2020   $2,499.82               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.673.   Name and Address Intentionally Omitted           2/28/2020   $2,499.82               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.674.   FIRST BANK AND TRUST                             4/22/2020   $14,984.51              ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                       ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD BILL
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.675.   FIRST BANK AND TRUST                             4/22/2020   $2,490.35               ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                       ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD BILL
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.676.   FIRST BANK AND TRUST                             4/22/2020   $371.13                 ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                       ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD BILL
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.677.   FIRST BANK AND TRUST                             4/7/2020    $4,211.80               ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103-2711                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.678.   FIRST BANK AND TRUST                           3/11/2020   $10,577.77              ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.679.   FIRST BANK AND TRUST                           3/11/2020   $8,407.94               ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.680.   FIRST BANK AND TRUST                           3/11/2020   $200.00                 ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.681.   FIRST BANK AND TRUST                           3/6/2020    $1,341.78               ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103-2711                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.682.   FIRST BANK AND TRUST                           2/12/2020   $18,803.24              ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.683.   FIRST BANK AND TRUST                           2/12/2020   $1,896.01               ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.684.   FIRST BANK AND TRUST                           2/12/2020   $763.66                 ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.685.   FIRST BANK AND TRUST                           2/7/2020    $3,438.65               ¨ Secured debt
         P.O. BOX 2711
         OMAHA NE 68103-2711                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.686.   FOLEY MARKETING                                3/18/2020   $2,970.80               ¨ Secured debt
         317 GREFER LANE
         HARVEY LA 70058                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.687.   FOLEY MARKETING                                3/12/2020   $494.50                 ¨ Secured debt
         317 GREFER LANE
         HARVEY LA 70058                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.688.   FOLEY MARKETING                                3/5/2020    $1,627.24               ¨ Secured debt
         317 GREFER LANE
         HARVEY LA 70058                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.689.   FOLEY MARKETING                                2/20/2020   $482.60                 ¨ Secured debt
         317 GREFER LANE
         HARVEY LA 70058                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.690.   FOLEY MARKETING                                2/13/2020   $552.75                 ¨ Secured debt
         317 GREFER LANE
         HARVEY LA 70058                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.691.   FOLEY MARKETING                                2/6/2020    $715.00                 ¨ Secured debt
         317 GREFER LANE
         HARVEY LA 70058                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.692.   FOUCHER EMERGENCY GROUP LLC                    4/30/2020   $432.00                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.693.   FOUCHER EMERGENCY GROUP LLC                    4/17/2020   $1,208.52               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.694.   FOUCHER EMERGENCY GROUP LLC                    4/17/2020   $824.32                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.695.   FOUCHER EMERGENCY GROUP LLC                    4/3/2020    $3,236.22               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.696.   FOUCHER EMERGENCY GROUP LLC                    4/3/2020    $432.00                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.697.   FOUCHER EMERGENCY GROUP LLC                    3/31/2020   $432.00                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.698.   FOUCHER EMERGENCY GROUP LLC                    3/27/2020   $2,395.44               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.699.   FOUCHER EMERGENCY GROUP LLC                    3/27/2020   $720.90                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.700.   FOUCHER EMERGENCY GROUP LLC                    3/6/2020    $819.18                 ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.701.   FOUCHER EMERGENCY GROUP LLC                    2/7/2020    $1,208.52               ¨ Secured debt
         PO BOX 731587
         DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.702.   Name and Address Intentionally Omitted           4/28/2020   $2,777.33               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.703.   Name and Address Intentionally Omitted           3/31/2020   $2,777.33               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.704.   Name and Address Intentionally Omitted           2/28/2020   $2,777.33               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.705.   GALLAGHER                                        4/30/2020   $45,127.94              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                       ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.706.   GALLAGHER                                        4/30/2020   $2,417.60               ¨ Secured debt
         PO BOX 190
         SELMA AL 36702                                                                       ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.707.   GALLAGHER                                        4/13/2020   $2,417.60               ¨ Secured debt
         PO BOX 190
         SELMA AL 36702                                                                       ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.708.   GALLAGHER                                      4/3/2020    $2,417.60               ¨ Secured debt
         PO BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.709.   GALLAGHER                                      3/23/2020   $45,127.94              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.710.   GALLAGHER                                      2/20/2020   $45,127.94              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.711.   GALLAGHER BENEFIT SERVICES                     4/30/2020   $38,787.80              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.712.   GALLAGHER BENEFIT SERVICES                     4/30/2020   $30,921.83              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.713.   GALLAGHER BENEFIT SERVICES                     4/29/2020   $9,890.73               ¨ Secured debt
         PO BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.714.   GALLAGHER BENEFIT SERVICES                     4/20/2020   $28,390.00              ¨ Secured debt
         2850 WEST GOLF ROAD 5TH FLOOR
         ROLLING MEADOWS IL 60008                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.715.   GALLAGHER BENEFIT SERVICES                     4/20/2020   $28,390.00              ¨ Secured debt
         2850 WEST GOLF ROAD 5TH FLOOR
         ROLLING MEADOWS IL 60008                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.716.   GALLAGHER BENEFIT SERVICES                     4/2/2020    $202,423.79             ¨ Secured debt
         P O BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.717.   GALLAGHER BENEFIT SERVICES                     4/1/2020    $21,995.07              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.718.   GALLAGHER BENEFIT SERVICES                     3/30/2020   $38,787.80              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.719.   GALLAGHER BENEFIT SERVICES                     3/27/2020   $21,596.18              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: INSURANCE


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.720.   GALLAGHER BENEFIT SERVICES                     3/27/2020   $7,073.13               ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.721.   GALLAGHER BENEFIT SERVICES                     3/24/2020   $26,440.33              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.722.   GALLAGHER BENEFIT SERVICES                     3/19/2020   $36,412.22              ¨ Secured debt
         PO BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.723.   GALLAGHER BENEFIT SERVICES                     3/3/2020    $121,672.27             ¨ Secured debt
         P O BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.724.   GALLAGHER BENEFIT SERVICES                     3/3/2020    $89,292.48              ¨ Secured debt
         P O BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.725.   GALLAGHER BENEFIT SERVICES                     3/1/2020    $21,390.67              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.726.   GALLAGHER BENEFIT SERVICES                     2/21/2020   $38,183.40              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.727.   GALLAGHER BENEFIT SERVICES                     2/20/2020   $34,526.22              ¨ Secured debt
         PO BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.728.   GALLAGHER BENEFIT SERVICES                     2/20/2020   $26,440.33              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.729.   GALLAGHER BENEFIT SERVICES                     2/20/2020   $22,200.58              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: INSURANCE
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.730.   GALLAGHER BENEFIT SERVICES                     2/19/2020   $7,073.13               ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.731.   GALLAGHER BENEFIT SERVICES                     2/18/2020   $31,540.00              ¨ Secured debt
         2850 WEST GOLF ROAD 5TH FLOOR
         ROLLING MEADOWS IL 60008                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.732.   GALLAGHER BENEFIT SERVICES                     2/4/2020    $174,978.99             ¨ Secured debt
         P O BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.733.   GALLAGHER BENEFIT SERVICES                     2/1/2020    $23,113.21              ¨ Secured debt
         P.O. BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.734.   GALLAGHER BENEFITS SERVICES                    3/2/2020    $25,980.23              ¨ Secured debt
         P. O. BOX190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.735.   GALLAGHER BENEFITS SERVICES                    2/3/2020    $25,980.23              ¨ Secured debt
         PO BOX 190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.736.   GALLGHER BENEFITS SERVICE                      4/1/2020    $25,375.83              ¨ Secured debt
         P. O. BOX190
         SELMA AL 36702                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.737.   GALLO MECHANICAL SER                           4/20/2020   $9,400.00               ¨ Secured debt
         6750 EXCHEQUER DR, SUITE A
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.738.   GALLO MECHANICAL SER                             2/4/2020    $350.00                 ¨ Secured debt
         6750 EXCHEQUER DR, SUITE A
         BATON ROUGE LA 70809                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.739.   Name and Address Intentionally Omitted           4/29/2020   $300.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.740.   Name and Address Intentionally Omitted           4/28/2020   $2,435.50               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.741.   Name and Address Intentionally Omitted           4/8/2020    $667.56                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.742.   Name and Address Intentionally Omitted           3/31/2020   $2,435.50               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.743.   Name and Address Intentionally Omitted           3/31/2020   $300.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.744.   Name and Address Intentionally Omitted           2/28/2020   $2,435.50               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.745.   Name and Address Intentionally Omitted           2/28/2020   $300.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.746.   Name and Address Intentionally Omitted           2/11/2020   $1,152.66               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.747.   GAUDRY, RANSON, HIGGINS & GREMILLION LLC         4/17/2020   $4,862.70               ¨ Secured debt
         401 WHITNEY AVENUE
         SUITE 500                                                                            ¨ Unsecured loan repayments
         GRETNA LA 70056                                                                      þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.748.   GAUDRY, RANSON, HIGGINS & GREMILLION LLC         4/15/2020   $2,454.00               ¨ Secured debt
         401 WHITNEY AVENUE
         SUITE 500                                                                            ¨ Unsecured loan repayments
         GRETNA LA 70056                                                                      þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.749.   GAUDRY, RANSON, HIGGINS & GREMILLION LLC         4/15/2020   $1,101.84               ¨ Secured debt
         401 WHITNEY AVENUE
         SUITE 500                                                                            ¨ Unsecured loan repayments
         GRETNA LA 70056                                                                      þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.750.   GAUDRY, RANSON, HIGGINS & GREMILLION LLC         4/15/2020   $1,099.10               ¨ Secured debt
         401 WHITNEY AVENUE
         SUITE 500                                                                            ¨ Unsecured loan repayments
         GRETNA LA 70056                                                                      þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.751.   GAUDRY, RANSON, HIGGINS & GREMILLION LLC         2/13/2020   $801.27                 ¨ Secured debt
         401 WHITNEY AVENUE
         SUITE 500                                                                            ¨ Unsecured loan repayments
         GRETNA LA 70056                                                                      þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.752.   GAUDRY, RANSON, HIGGINS & GREMILLION LLC         2/13/2020   $350.00                 ¨ Secured debt
         401 WHITNEY AVENUE
         SUITE 500                                                                            ¨ Unsecured loan repayments
         GRETNA LA 70056                                                                      þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.753.   Name and Address Intentionally Omitted           4/27/2020   $4,785.66               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.754.   Name and Address Intentionally Omitted           4/8/2020    $137.95                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.755.   Name and Address Intentionally Omitted           4/2/2020    $763.27                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.756.   Name and Address Intentionally Omitted           3/17/2020   $4,976.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.757.   Name and Address Intentionally Omitted           3/10/2020   $5,119.80               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.758.   Name and Address Intentionally Omitted           3/3/2020    $2,046.87               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.759.   Name and Address Intentionally Omitted           2/26/2020   $891.20                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.760.   Name and Address Intentionally Omitted           2/18/2020   $1,055.94               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.761.   Name and Address Intentionally Omitted           2/11/2020   $3,625.02               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.762.   Name and Address Intentionally Omitted           2/4/2020    $6,549.25               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.763.   Name and Address Intentionally Omitted           2/4/2020    $75,000.00              ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.764.   GREENKEEPER'S, INC.                              4/10/2020   $3,584.00               ¨ Secured debt
         #3 SANTA ANA AVE
         JEFFERSON LA 70121                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.765.   GREENKEEPER'S, INC.                              3/13/2020   $3,584.00               ¨ Secured debt
         #3 SANTA ANA AVE
         JEFFERSON LA 70121                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.766.   GREENKEEPER'S, INC.                              2/21/2020   $715.00                 ¨ Secured debt
         #3 SANTA ANA AVE
         JEFFERSON LA 70121                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.767.   GREENKEEPER'S, INC.                              2/14/2020   $3,584.00               ¨ Secured debt
         #3 SANTA ANA AVE
         JEFFERSON LA 70121                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.768.   GRUNDMANN'S ATHELIC                            2/13/2020   $13,616.04              ¨ Secured debt
         ATTN: JANET SWAIN
         107 CAROLE SANDER HALL                                                             ¨ Unsecured loan repayments
         NOTRE DAME IN 46556                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.769.   GUARDIAN                                       4/1/2020    $2,288.56               ¨ Secured debt
         P.O. BOX 677458
         DALLAS TX 75267-7458                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.770.   GUARDIAN                                       3/2/2020    $2,288.56               ¨ Secured debt
         P.O. BOX 677458
         DALLAS TX 75267-7458                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.771.   GUARDIAN                                       2/1/2020    $2,288.56               ¨ Secured debt
         P.O. BOX 677458
         DALLAS TX 75267-7458                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.772.   GUARDIAN EMPLOYEE BENEFITS                     4/2/2020    $5,015.12               ¨ Secured debt
         P O BOX 677458
         DALLAS TX 75267-7458                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.773.   GUARDIAN EMPLOYEE BENEFITS                     3/10/2020   $4,949.14               ¨ Secured debt
         P O BOX 677458
         DALLAS TX 75267-7458                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.774.   GUARDIAN EMPLOYEE BENEFITS                       2/4/2020    $6,011.18               ¨ Secured debt
         P O BOX 677458
         DALLAS TX 75267-7458                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.775.   HARD ROCK HOTEL                                  3/10/2020   $10,760.00              ¨ Secured debt
         UNIVERSAL ORLANDO
         6800 LAKEWOOD PLAZA DRIVE                                                            ¨ Unsecured loan repayments
         ORLANDO FL 32819                                                                     þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.776.   Name and Address Intentionally Omitted           4/28/2020   $2,593.86               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.777.   Name and Address Intentionally Omitted           3/31/2020   $2,604.46               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.778.   Name and Address Intentionally Omitted           2/28/2020   $2,583.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.779.   Name and Address Intentionally Omitted           2/18/2020   $120.14                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.780.   Name and Address Intentionally Omitted           4/28/2020   $2,873.69               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.781.   Name and Address Intentionally Omitted           3/31/2020   $2,873.69               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.782.   Name and Address Intentionally Omitted           2/28/2020   $2,873.69               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.783.   Name and Address Intentionally Omitted           4/28/2020   $2,961.81               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.784.   Name and Address Intentionally Omitted           3/31/2020   $2,961.81               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.785.   Name and Address Intentionally Omitted           2/28/2020   $2,961.81               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.786.   HILTON NEW ORLEANS RIVERSIDE                     3/11/2020   $18,842.88              ¨ Secured debt
         #2 POYRDAS ST
         NEW ORLEANS LA 70140                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.787.   HOME BANK, NA                                    3/19/2020   $8,335.52               ¨ Secured debt
         PO BOX 27111
         OMAHA NE 68103                                                                       ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.788.   HOME BANK, NA                                    2/13/2020   $11,005.39              ¨ Secured debt
         PO BOX 27111
         OMAHA NE 68103                                                                       ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: CREDIT CARD
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.789.   Name and Address Intentionally Omitted           4/17/2020   $316.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.790.   Name and Address Intentionally Omitted           4/1/2020    $34,902.90              ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.791.   Name and Address Intentionally Omitted           2/20/2020   $40,000.00              ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.792.   Name and Address Intentionally Omitted           4/28/2020   $3,014.17               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.793.   Name and Address Intentionally Omitted           3/31/2020   $3,014.17               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.794.   Name and Address Intentionally Omitted           2/28/2020   $3,014.17               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.795.   HUNT TELECOMMUNICATI                             4/27/2020   $48,884.70              ¨ Secured debt
         P O BOX 733869
         DALLAS TX 75373-3869                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.796.   HUNT TELECOMMUNICATI                             4/27/2020   $47,208.50              ¨ Secured debt
         P O BOX 733869
         DALLAS TX 75373-3869                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.797.   HUNT TELECOMMUNICATI                             4/8/2020    $7,646.54               ¨ Secured debt
         P O BOX 733869
         DALLAS TX 75373-3869                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.798.   HUNT TELECOMMUNICATI                             3/10/2020   $66,410.65              ¨ Secured debt
         P O BOX 733869
         DALLAS TX 75373-3869                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.799.   HUNT TELECOMMUNICATI                             3/10/2020   $157.95                 ¨ Secured debt
         P O BOX 733869
         DALLAS TX 75373-3869                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.800.   HUNT TELECOMMUNICATI                             2/11/2020   $48,058.70              ¨ Secured debt
         P O BOX 733869
         DALLAS TX 75373-3869                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.801.   HUNT TELECOMMUNICATI                             2/11/2020   $7,737.22               ¨ Secured debt
         P O BOX 733869
         DALLAS TX 75373-3869                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.802.   Name and Address Intentionally Omitted           2/17/2020   $10,674.00              ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.803.   INTERNATIONAL SOLUTI                             4/20/2020   $11,000.00              ¨ Secured debt
         5525 SUPERIOR DRIVE, SUITE C2
         BATON ROUGE LA 70816                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                            Check all that apply

3.804.   INTERNATIONAL SOLUTI                           3/17/2020   $11,000.00              ¨ Secured debt
         5525 SUPERIOR DRIVE, SUITE C2
         BATON ROUGE LA 70816                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.805.   INTERNATIONAL SOLUTI                           2/11/2020   $16,500.00              ¨ Secured debt
         5525 SUPERIOR DRIVE, SUITE C2
         BATON ROUGE LA 70816                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.806.   JANI KING                                      4/22/2020   $6,417.00               ¨ Secured debt
         122 W PINE STREET
         PONCHATOULA LA 70454-3309                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.807.   JANI KING                                      3/13/2020   $6,417.00               ¨ Secured debt
         122 W PINE STREET
         PONCHATOULA LA 70454-3309                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.808.   JANI KING                                      2/19/2020   $6,417.00               ¨ Secured debt
         122 W PINE STREET
         PONCHATOULA LA 70454-3309                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.809.   JDL INNOVATIVE SOLUT                           3/17/2020   $1,000.00               ¨ Secured debt
         6728 LOUISVILLE STREET
         NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.810.   JDL INNOVATIVE SOLUT                           3/10/2020   $2,500.00               ¨ Secured debt
         6728 LOUISVILLE STREET
         NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.811.   JDL INNOVATIVE SOLUT                           2/18/2020   $1,000.00               ¨ Secured debt
         6728 LOUISVILLE STREET
         NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.812.   JDL INNOVATIVE SOLUT                           2/11/2020   $1,000.00               ¨ Secured debt
         6728 LOUISVILLE STREET
         NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.813.   JDL INNOVATIVE SOLUT                           2/4/2020    $1,000.00               ¨ Secured debt
         6728 LOUISVILLE STREET
         NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.814.   JDL INNOVATIVE SOLUT                           2/4/2020    $500.00                 ¨ Secured debt
         6728 LOUISVILLE STREET
         NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.815.   JEFFERSON ORTHOPEDIC CLINIC                    4/17/2020   $43.00                  ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.816.   JEFFERSON ORTHOPEDIC CLINIC                    4/15/2020   $216.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.817.   JEFFERSON ORTHOPEDIC CLINIC                    4/15/2020   $105.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.818.   JEFFERSON ORTHOPEDIC CLINIC                    3/25/2020   $190.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.819.   JEFFERSON ORTHOPEDIC CLINIC                    3/20/2020   $500.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.820.   JEFFERSON ORTHOPEDIC CLINIC                    3/20/2020   $190.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.821.   JEFFERSON ORTHOPEDIC CLINIC                    3/20/2020   $190.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.822.   JEFFERSON ORTHOPEDIC CLINIC                    3/20/2020   $131.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.823.   JEFFERSON ORTHOPEDIC CLINIC                    3/17/2020   $223.02                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.824.   JEFFERSON ORTHOPEDIC CLINIC                    3/13/2020   $1,200.00               ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.825.   JEFFERSON ORTHOPEDIC CLINIC                    3/13/2020   $1,035.00               ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.826.   JEFFERSON ORTHOPEDIC CLINIC                    3/13/2020   $359.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.827.   JEFFERSON ORTHOPEDIC CLINIC                    3/13/2020   $322.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.828.   JEFFERSON ORTHOPEDIC CLINIC                    3/13/2020   $297.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.829.   JEFFERSON ORTHOPEDIC CLINIC                    3/6/2020    $1,449.00               ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.830.   JEFFERSON ORTHOPEDIC CLINIC                    3/6/2020    $1,200.00               ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.831.   JEFFERSON ORTHOPEDIC CLINIC                    3/4/2020    $498.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.832.   JEFFERSON ORTHOPEDIC CLINIC                    3/4/2020    $484.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.833.   JEFFERSON ORTHOPEDIC CLINIC                    3/4/2020    $262.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.834.   JEFFERSON ORTHOPEDIC CLINIC                    3/4/2020    $190.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.835.   JEFFERSON ORTHOPEDIC CLINIC                    2/20/2020   $1,038.00               ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.836.   JEFFERSON ORTHOPEDIC CLINIC                    2/20/2020   $324.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.837.   JEFFERSON ORTHOPEDIC CLINIC                    2/18/2020   $190.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.838.   JEFFERSON ORTHOPEDIC CLINIC                    2/18/2020   $130.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.839.   JEFFERSON ORTHOPEDIC CLINIC                    2/13/2020   $346.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.840.   JEFFERSON ORTHOPEDIC CLINIC                    2/13/2020   $190.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.841.   JEFFERSON ORTHOPEDIC CLINIC                    2/13/2020   $190.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.842.   JEFFERSON ORTHOPEDIC CLINIC                    2/13/2020   $121.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.843.   JEFFERSON ORTHOPEDIC CLINIC                    2/11/2020   $173.00                 ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.844.   JEFFERSON ORTHOPEDIC CLINIC                    2/11/2020   $86.00                  ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.845.   JEFFERSON ORTHOPEDIC CLINIC                    2/4/2020    $1,239.54               ¨ Secured debt
         920 AVENUE B
         MARRERRO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                              Check all that apply

3.846.   Name and Address Intentionally Omitted           4/24/2020   $1,007.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.847.   Name and Address Intentionally Omitted           4/22/2020   $139.42                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.848.   Name and Address Intentionally Omitted           4/17/2020   $1,007.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.849.   Name and Address Intentionally Omitted           3/27/2020   $1,007.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.850.   Name and Address Intentionally Omitted           3/16/2020   $1,007.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.851.   Name and Address Intentionally Omitted           3/9/2020    $1,007.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.852.   Name and Address Intentionally Omitted           3/4/2020    $1,007.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.853.   Name and Address Intentionally Omitted           2/20/2020   $1,007.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.854.   Name and Address Intentionally Omitted           2/11/2020   $1,007.60               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.855.   JONES WALKER LLP                                 4/28/2020   $148,222.80             ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.856.   JONES WALKER LLP                                 4/27/2020   $119,014.95             ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.857.   JONES WALKER LLP                                 4/22/2020   $54,205.00              ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                            Check all that apply

3.858.   JONES WALKER LLP                               4/15/2020   $71,666.56              ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.859.   JONES WALKER LLP                               4/3/2020    $62,700.60              ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.860.   JONES WALKER LLP                               3/31/2020   $90,744.54              ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.861.   JONES WALKER LLP                               3/26/2020   $342,943.14             ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.862.   JONES WALKER LLP                               3/19/2020   $403,956.83             ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.863.   JONES WALKER LLP                               3/18/2020   $129,985.38             ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.864.   JONES WALKER LLP                               3/12/2020   $250,000.00             ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.865.   JONES WALKER LLP                               3/10/2020   $30,000.00              ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.866.   JONES WALKER LLP                               3/10/2020   $13,025.80              ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.867.   JONES WALKER LLP                               2/26/2020   $4,452.91               ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170-5100                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.868.   JONES WALKER LLP                               2/18/2020   $43,843.50              ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170-5100                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.869.   JONES WALKER LLP                               2/4/2020    $125,499.14             ¨ Secured debt
         201 ST CHARLES AVE. 50TH FLOOR
         NEW ORLEANS LA 70170-5100                                                          ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.870.   JOSEPH ESTRADE                                 4/8/2020    $830.00                 ¨ Secured debt
         12 LAUX MANOR DRIVE
         METAIRIE LA 70003                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.871.   JOSEPH ESTRADE                                 3/17/2020   $4,240.00               ¨ Secured debt
         12 LAUX MANOR DRIVE
         METAIRIE LA 70003                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.872.   JOSEPH ESTRADE                                 2/26/2020   $1,500.00               ¨ Secured debt
         12 LAUX MANOR DRIVE
         METAIRIE LA 70003                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.873.   JOSEPH ESTRADE                                 2/11/2020   $2,100.00               ¨ Secured debt
         12 LAUX MANOR DRIVE
         METAIRIE LA 70003                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.874.   JOSTENS, INC.                                  3/24/2020   $2,706.30               ¨ Secured debt
         21336 NETWORK PLACE
         CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.875.   JOSTENS, INC.                                  3/12/2020   $12,822.43              ¨ Secured debt
         21336 NETWORK PLACE
         CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.876.   JOSTENS, INC.                                    2/13/2020   $1,226.00               ¨ Secured debt
         21336 NETWORK PLACE
         CHICAGO IL 60673                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.877.   Name and Address Intentionally Omitted           3/13/2020   $984.32                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.878.   Name and Address Intentionally Omitted           3/6/2020    $2,263.14               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.879.   Name and Address Intentionally Omitted           2/21/2020   $1,809.10               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.880.   Name and Address Intentionally Omitted           2/14/2020   $1,858.82               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.881.   Name and Address Intentionally Omitted           2/6/2020    $1,809.09               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.882.   KELLERMEYER BERGENSONS SERVICES, LLC             3/13/2020   $5,097.75               ¨ Secured debt
         25049 NETWORK PLACE
         CHICAGO IL 60673-1250                                                                ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.883.   KELLERMEYER BERGENSONS SERVICES, LLC             2/14/2020   $5,561.10               ¨ Secured debt
         25049 NETWORK PLACE
         CHICAGO IL 60673-1250                                                                ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.884.   Name and Address Intentionally Omitted           4/15/2020   $848.88                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.885.   Name and Address Intentionally Omitted           4/15/2020   $848.88                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.886.   Name and Address Intentionally Omitted           4/8/2020    $848.88                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.887.   Name and Address Intentionally Omitted           3/16/2020   $848.88                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.888.   Name and Address Intentionally Omitted           3/13/2020   $26.68                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.889.   Name and Address Intentionally Omitted           3/11/2020   $848.88                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.890.   Name and Address Intentionally Omitted           2/28/2020   $848.88                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.891.   Name and Address Intentionally Omitted           2/13/2020   $848.88                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.892.   Name and Address Intentionally Omitted           2/13/2020   $47.28                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.893.   Name and Address Intentionally Omitted           2/11/2020   $848.88                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.894.   KENNER EMERGENCY GROUP LLC                     4/30/2020   $864.00                 ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.895.   KENNER EMERGENCY GROUP LLC                     4/24/2020   $1,208.52               ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.896.   KENNER EMERGENCY GROUP LLC                     4/17/2020   $819.18                 ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.897.   KENNER EMERGENCY GROUP LLC                     3/31/2020   $432.00                 ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.898.   KENNER EMERGENCY GROUP LLC                     3/27/2020   $819.18                 ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.899.   KENNER EMERGENCY GROUP LLC                     3/20/2020   $2,027.70               ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.900.   KENNER EMERGENCY GROUP LLC                     3/13/2020   $2,417.04               ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.901.   KENNER EMERGENCY GROUP LLC                     3/6/2020    $1,638.36               ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.902.   KENNER EMERGENCY GROUP LLC                     2/28/2020   $824.32                 ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.903.   KENNER EMERGENCY GROUP LLC                     2/21/2020   $448.00                 ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.904.   KENNER EMERGENCY GROUP LLC                     2/14/2020   $432.00                 ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.905.   KENNER EMERGENCY GROUP LLC                     2/7/2020    $2,027.70               ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.906.   KENNER EMERGENCY GROUP LLC                       2/7/2020    $12.78                  ¨ Secured debt
         PO BOX 679491
         DALLAS TX 75267                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.907.   KENNWORTH OF LOUISIANA                           2/7/2020    $15,257.05              ¨ Secured debt
         1001 EDWARDS AVENUE
         NEW ORLEANS LA 70123                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.908.   KENT DESIGN BUILD, INC.                          2/19/2020   $31,111.21              ¨ Secured debt
         1875 HIGHWAY 59
         MANDEVILLE LA 70448                                                                  ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.909.   Name and Address Intentionally Omitted           4/28/2020   $2,739.80               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.910.   Name and Address Intentionally Omitted           4/8/2020    $72.48                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.911.   Name and Address Intentionally Omitted           3/31/2020   $2,739.80               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                              Check all that apply

3.912.   Name and Address Intentionally Omitted           3/3/2020    $40.25                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.913.   Name and Address Intentionally Omitted           2/28/2020   $2,739.80               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.914.   KINNEY, ELLINGHAUSEN & DESHAZO                   4/22/2020   $5,165.25               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                             ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.915.   KINNEY, ELLINGHAUSEN & DESHAZO                   4/22/2020   $2,607.50               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                             ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.916.   KINNEY, ELLINGHAUSEN & DESHAZO                   4/8/2020    $5,650.00               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                             ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.917.   KINNEY, ELLINGHAUSEN & DESHAZO                   4/8/2020    $3,801.40               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                             ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                           Check all that apply

3.918.   KINNEY, ELLINGHAUSEN & DESHAZO                 4/8/2020   $3,771.00               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                              þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.919.   KINNEY, ELLINGHAUSEN & DESHAZO                 4/8/2020   $2,276.45               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                              þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.920.   KINNEY, ELLINGHAUSEN & DESHAZO                 4/8/2020   $1,661.04               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                              þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.921.   KINNEY, ELLINGHAUSEN & DESHAZO                 4/8/2020   $650.00                 ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                              þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.922.   KINNEY, ELLINGHAUSEN & DESHAZO                 4/8/2020   $420.00                 ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                              þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.923.   KINNEY, ELLINGHAUSEN & DESHAZO                 4/8/2020   $180.00                 ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                          ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                              þ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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                                                                                            Check all that apply

3.924.   KINNEY, ELLINGHAUSEN & DESHAZO                 3/4/2020    $1,435.50               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                           ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                               þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.925.   KINNEY, ELLINGHAUSEN & DESHAZO                 3/4/2020    $1,395.60               ¨ Secured debt
         1250 POYDRAS ST
         STE 2450                                                                           ¨ Unsecured loan repayments
         NEW ORLEANS LA 70113                                                               þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.926.   LABCORP BIRMINGHAM                             4/30/2020   $141.32                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.927.   LABCORP BIRMINGHAM                             4/24/2020   $373.52                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.928.   LABCORP BIRMINGHAM                             4/24/2020   $53.78                  ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.929.   LABCORP BIRMINGHAM                             4/17/2020   $345.34                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.930.   LABCORP BIRMINGHAM                             4/10/2020   $514.37                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.931.   LABCORP BIRMINGHAM                             4/10/2020   $53.78                  ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.932.   LABCORP BIRMINGHAM                             4/3/2020    $197.14                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.933.   LABCORP BIRMINGHAM                             3/31/2020   $46.35                  ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.934.   LABCORP BIRMINGHAM                             3/27/2020   $776.75                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.935.   LABCORP BIRMINGHAM                             3/27/2020   $401.02                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.936.   LABCORP BIRMINGHAM                             3/20/2020   $1,404.56               ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.937.   LABCORP BIRMINGHAM                             3/20/2020   $228.47                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.938.   LABCORP BIRMINGHAM                             3/13/2020   $1,064.93               ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.939.   LABCORP BIRMINGHAM                             3/13/2020   $325.78                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.940.   LABCORP BIRMINGHAM                             3/6/2020    $381.53                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.941.   LABCORP BIRMINGHAM                             3/6/2020    $46.35                  ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.942.   LABCORP BIRMINGHAM                             2/28/2020   $832.07                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.943.   LABCORP BIRMINGHAM                             2/28/2020   $142.78                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.944.   LABCORP BIRMINGHAM                             2/21/2020   $762.78                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.945.   LABCORP BIRMINGHAM                             2/21/2020   $187.77                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.946.   LABCORP BIRMINGHAM                             2/14/2020   $1,298.44               ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.947.   LABCORP BIRMINGHAM                             2/14/2020   $19.23                  ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.948.   LABCORP BIRMINGHAM                             2/7/2020    $123.86                 ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.949.   LABCORP BIRMINGHAM                             2/7/2020    $19.23                  ¨ Secured debt
         PO BOX 2270
         BURLINGTON NC 27216                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.950.   LABOR FIRST, LLC                               2/11/2020   $18,015.50              ¨ Secured debt
         3000 MIDLANTIC DRIVE, SUITE 101
         MOUNT LAUREL NJ 08054                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.951.   LAKE SURGICAL HOSPITAL                         4/30/2020   $334.59                 ¨ Secured debt
         1700 LINDBERG DR
         SLIDELL LA 70458                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.952.   LAKE SURGICAL HOSPITAL                         3/13/2020   $15,722.49              ¨ Secured debt
         1700 LINDBERG DR
         SLIDELL LA 70458                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.953.   LCMC URGENT CARE LLC                           4/30/2020   $419.24                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.954.   LCMC URGENT CARE LLC                           4/30/2020   $185.86                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.955.   LCMC URGENT CARE LLC                           4/30/2020   $140.83                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.956.   LCMC URGENT CARE LLC                           4/30/2020   $140.83                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.957.   LCMC URGENT CARE LLC                           4/30/2020   $51.33                  ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.958.   LCMC URGENT CARE LLC                           4/24/2020   $446.37                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.959.   LCMC URGENT CARE LLC                           4/24/2020   $185.86                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.960.   LCMC URGENT CARE LLC                           4/24/2020   $134.53                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.961.   LCMC URGENT CARE LLC                           4/24/2020   $44.50                  ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.962.   LCMC URGENT CARE LLC                           4/17/2020   $89.53                  ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.963.   LCMC URGENT CARE LLC                           4/10/2020   $162.48                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.964.   LCMC URGENT CARE LLC                           4/10/2020   $162.48                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.965.   LCMC URGENT CARE LLC                           4/10/2020   $110.13                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.966.   LCMC URGENT CARE LLC                           4/3/2020    $181.27                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.967.   LCMC URGENT CARE LLC                           4/3/2020    $89.53                  ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.968.   LCMC URGENT CARE LLC                           3/31/2020   $363.13                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.969.   LCMC URGENT CARE LLC                           3/31/2020   $162.13                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.970.   LCMC URGENT CARE LLC                           3/31/2020   $136.83                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.971.   LCMC URGENT CARE LLC                           3/31/2020   $121.15                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.972.   LCMC URGENT CARE LLC                           3/27/2020   $303.72                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.973.   LCMC URGENT CARE LLC                           3/27/2020   $229.36                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.974.   LCMC URGENT CARE LLC                           3/27/2020   $110.13                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.975.   LCMC URGENT CARE LLC                           3/27/2020   $91.23                  ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.976.   LCMC URGENT CARE LLC                           3/20/2020   $360.15                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.977.   LCMC URGENT CARE LLC                           3/20/2020   $354.23                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.978.   LCMC URGENT CARE LLC                           3/20/2020   $336.76                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.979.   LCMC URGENT CARE LLC                           3/20/2020   $154.49                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.980.   LCMC URGENT CARE LLC                           3/20/2020   $121.71                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.981.   LCMC URGENT CARE LLC                           3/20/2020   $114.47                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.982.   LCMC URGENT CARE LLC                           3/13/2020   $341.76                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.983.   LCMC URGENT CARE LLC                           3/13/2020   $316.99                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.984.   LCMC URGENT CARE LLC                           3/13/2020   $244.61                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.985.   LCMC URGENT CARE LLC                           3/13/2020   $219.96                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.986.   LCMC URGENT CARE LLC                           3/13/2020   $192.61                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.987.   LCMC URGENT CARE LLC                           3/13/2020   $160.43                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.988.   LCMC URGENT CARE LLC                           3/13/2020   $94.80                  ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.989.   LCMC URGENT CARE LLC                           3/6/2020    $282.14                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.990.   LCMC URGENT CARE LLC                           3/6/2020    $263.71                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.991.   LCMC URGENT CARE LLC                           3/6/2020    $181.31                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.992.   LCMC URGENT CARE LLC                           3/6/2020    $170.72                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.993.   LCMC URGENT CARE LLC                           3/6/2020    $149.83                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.994.   LCMC URGENT CARE LLC                           3/6/2020    $135.70                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.995.   LCMC URGENT CARE LLC                           2/28/2020   $574.38                 ¨ Secured debt
         10319 JEFFERSON HWY
         BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.996.    LCMC URGENT CARE LLC                           2/28/2020   $254.96                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.997.    LCMC URGENT CARE LLC                           2/28/2020   $132.86                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.998.    LCMC URGENT CARE LLC                           2/28/2020   $121.43                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.999.    LCMC URGENT CARE LLC                           2/28/2020   $110.11                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
           Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1000.    LCMC URGENT CARE LLC                          2/21/2020   $261.54                 ¨ Secured debt
           10319 JEFFERSON HWY
           BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
           Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1001.    LCMC URGENT CARE LLC                          2/21/2020   $232.38                 ¨ Secured debt
           10319 JEFFERSON HWY
           BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1002.   LCMC URGENT CARE LLC                          2/21/2020   $121.71                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1003.   LCMC URGENT CARE LLC                          2/21/2020   $121.01                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1004.   LCMC URGENT CARE LLC                          2/14/2020   $597.33                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1005.   LCMC URGENT CARE LLC                          2/14/2020   $275.20                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1006.   LCMC URGENT CARE LLC                          2/14/2020   $182.64                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1007.   LCMC URGENT CARE LLC                          2/14/2020   $139.83                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1008.   LCMC URGENT CARE LLC                          2/14/2020   $121.71                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1009.   LCMC URGENT CARE LLC                          2/7/2020    $244.96                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1010.   LCMC URGENT CARE LLC                          2/7/2020    $193.96                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1011.   LCMC URGENT CARE LLC                          2/7/2020    $131.71                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1012.   LCMC URGENT CARE LLC                          2/7/2020    $115.40                 ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1013.   LCMC URGENT CARE LLC                          2/7/2020    $91.41                  ¨ Secured debt
          10319 JEFFERSON HWY
          BATON ROUGE LA 70809                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1014.   LD DESIGN LLC                                  4/15/2020   $3,954.62               ¨ Secured debt
          318 STAFFORD PLACE
          NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1015.   LD DESIGN LLC                                  3/13/2020   $562.12                 ¨ Secured debt
          318 STAFFORD PLACE
          NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1016.   LD DESIGN LLC                                  3/6/2020    $1,968.75               ¨ Secured debt
          318 STAFFORD PLACE
          NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1017.   LD DESIGN LLC                                  2/14/2020   $1,135.15               ¨ Secured debt
          318 STAFFORD PLACE
          NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1018.   LD DESIGN LLC                                  2/7/2020    $1,411.20               ¨ Secured debt
          318 STAFFORD PLACE
          NEW ORLEANS LA 70124                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1019.   LMG LLC                                        4/30/2020   $388.37                 ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1020.   LMG LLC                                        4/24/2020   $404.21                 ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1021.   LMG LLC                                        4/17/2020   $705.32                 ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1022.   LMG LLC                                        4/15/2020   $400.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1023.   LMG LLC                                        4/15/2020   $144.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1024.   LMG LLC                                        4/15/2020   $105.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1025.   LMG LLC                                        4/10/2020   $202.69                 ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1026.   LMG LLC                                        4/10/2020   $35.88                  ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1027.   LMG LLC                                        4/8/2020    $130.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1028.   LMG LLC                                        4/3/2020    $281.81                 ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1029.   LMG LLC                                        3/31/2020   $735.42                 ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1030.   LMG LLC                                        3/27/2020   $2,421.80               ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1031.   LMG LLC                                        3/27/2020   $477.56                 ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1032.   LMG LLC                                        3/27/2020   $303.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1033.   LMG LLC                                        3/20/2020   $1,378.00               ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1034.   LMG LLC                                        3/20/2020   $1,052.18               ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1035.   LMG LLC                                        3/20/2020   $158.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1036.   LMG LLC                                        3/17/2020   $129.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1037.   LMG LLC                                        3/13/2020   $1,616.41               ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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                                                                                             Check all that apply

3.1038.   LMG LLC                                        3/13/2020   $431.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1039.   LMG LLC                                        3/13/2020   $144.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1040.   LMG LLC                                        3/13/2020   $105.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1041.   LMG LLC                                        3/9/2020    $1,172.00               ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1042.   LMG LLC                                        3/9/2020    $165.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1043.   LMG LLC                                        3/6/2020    $709.14                 ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1044.   LMG LLC                                        3/6/2020    $204.40                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1045.   LMG LLC                                        3/6/2020    $126.40                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1046.   LMG LLC                                        3/2/2020    $1,115.00               ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1047.   LMG LLC                                        3/2/2020    $400.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1048.   LMG LLC                                        3/2/2020    $79.20                  ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1049.   LMG LLC                                        2/28/2020   $1,003.87               ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1050.   LMG LLC                                        2/26/2020   $219.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1051.   LMG LLC                                        2/21/2020   $1,295.88               ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1052.   LMG LLC                                        2/20/2020   $158.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1053.   LMG LLC                                        2/18/2020   $158.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1054.   LMG LLC                                        2/14/2020   $1,412.09               ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1055.   LMG LLC                                        2/11/2020   $105.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1056.   LMG LLC                                        2/7/2020    $1,438.82               ¨ Secured debt
          PO BOX 14236
          BELFAST ME 04915                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1057.   LMG LLC                                        2/4/2020    $192.00                 ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1058.   LMG LLC                                        2/4/2020    $68.00                  ¨ Secured debt
          2731 NAPOLEAN
          NEW ORLEANS LA 70115                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1059.   LOUISIANA CONFERENCE OF CATHOLIC               3/23/2020   $21,395.00              ¨ Secured debt
          BISHOPS
          2431 S. ACADIAN THRUWAY, SUITE 250                                                 ¨ Unsecured loan repayments
          BATON ROUGE LA 70808                                                               þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1060.   LOUISIANA STATE UNIVERSITY                     3/19/2020   $40,800.00              ¨ Secured debt
          OFFICE OF BURSAR OPERATIONS
          125 THOMAS BOYD HALL                                                               ¨ Unsecured loan repayments
          BATON ROUGE LA 70803                                                               ¨ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1061.   LSU HEALTHCARE NETWORK                         4/30/2020   $679.40                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             þ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1062.   LSU HEALTHCARE NETWORK                        4/30/2020   $73.01                  ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1063.   LSU HEALTHCARE NETWORK                        4/24/2020   $451.34                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1064.   LSU HEALTHCARE NETWORK                        4/24/2020   $103.87                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1065.   LSU HEALTHCARE NETWORK                        4/17/2020   $248.62                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1066.   LSU HEALTHCARE NETWORK                        4/17/2020   $99.04                  ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1067.   LSU HEALTHCARE NETWORK                        4/10/2020   $629.21                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1068.   LSU HEALTHCARE NETWORK                        4/10/2020   $274.77                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1069.   LSU HEALTHCARE NETWORK                        4/3/2020    $118.08                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1070.   LSU HEALTHCARE NETWORK                        4/3/2020    $62.66                  ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1071.   LSU HEALTHCARE NETWORK                        3/31/2020   $541.40                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1072.   LSU HEALTHCARE NETWORK                        3/31/2020   $295.20                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1073.   LSU HEALTHCARE NETWORK                        3/27/2020   $1,413.97               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1074.   LSU HEALTHCARE NETWORK                        3/27/2020   $1,129.45               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1075.   LSU HEALTHCARE NETWORK                        3/27/2020   $51.22                  ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1076.   LSU HEALTHCARE NETWORK                        3/20/2020   $2,780.07               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1077.   LSU HEALTHCARE NETWORK                        3/20/2020   $1,140.25               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1078.   LSU HEALTHCARE NETWORK                        3/13/2020   $2,618.99               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1079.   LSU HEALTHCARE NETWORK                        3/13/2020   $572.14                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1080.   LSU HEALTHCARE NETWORK                        3/6/2020    $629.23                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1081.   LSU HEALTHCARE NETWORK                        3/6/2020    $380.15                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1082.   LSU HEALTHCARE NETWORK                        2/28/2020   $1,316.02               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1083.   LSU HEALTHCARE NETWORK                        2/28/2020   $555.74                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1084.   LSU HEALTHCARE NETWORK                        2/21/2020   $1,778.13               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1085.   LSU HEALTHCARE NETWORK                        2/21/2020   $189.62                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1086.   LSU HEALTHCARE NETWORK                          2/14/2020   $2,228.91               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1087.   LSU HEALTHCARE NETWORK                          2/14/2020   $329.37                 ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1088.   LSU HEALTHCARE NETWORK                          2/14/2020   $18.06                  ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1089.   LSU HEALTHCARE NETWORK                          2/7/2020    $1,089.67               ¨ Secured debt
          PO BOX 919100
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1090.   Name and Address Intentionally Omitted          4/28/2020   $2,786.07               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1091.   Name and Address Intentionally Omitted          4/8/2020    $985.30                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1092.   Name and Address Intentionally Omitted          3/31/2020   $2,786.07               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1093.   Name and Address Intentionally Omitted          2/28/2020   $2,786.07               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1094.   LYKE FOUNDATION                                 2/11/2020   $25,000.00              ¨ Secured debt
          102 ANN COURT
          MONTZ LA 70068-8980                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1095.   Name and Address Intentionally Omitted          4/30/2020   $4,900.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1096.   Name and Address Intentionally Omitted          3/20/2020   $4,900.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1097.   Name and Address Intentionally Omitted          4/28/2020   $2,613.31               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1098.   Name and Address Intentionally Omitted          3/31/2020   $2,613.31               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1099.   Name and Address Intentionally Omitted          2/28/2020   $2,613.31               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1100.   MARY BIRD PERKINS CANCER CENTE                  4/30/2020   $255.31                 ¨ Secured debt
          DEPT 1299
          PO BOX 11407                                                                        ¨ Unsecured loan repayments
          BIRMINGHAM AL 35246                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1101.   MARY BIRD PERKINS CANCER CENTE                  3/6/2020    $2,936.64               ¨ Secured debt
          DEPT 1299
          PO BOX 11407                                                                        ¨ Unsecured loan repayments
          BIRMINGHAM AL 35246                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1102.   MARY BIRD PERKINS CANCER CENTE                  2/28/2020   $7,377.64               ¨ Secured debt
          DEPT 1299
          PO BOX 11407                                                                        ¨ Unsecured loan repayments
          BIRMINGHAM AL 35246                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1103.   MARY BIRD PERKINS CANCER CENTE                  2/21/2020   $27,102.66              ¨ Secured debt
          DEPT 1299
          PO BOX 11407                                                                        ¨ Unsecured loan repayments
          BIRMINGHAM AL 35246                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1104.   MARY BIRD PERKINS CANCER CENTE                  2/14/2020   $10,080.42              ¨ Secured debt
          DEPT 1299
          PO BOX 11407                                                                        ¨ Unsecured loan repayments
          BIRMINGHAM AL 35246                                                                 þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1105.   Name and Address Intentionally Omitted          4/28/2020   $2,914.01               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1106.   Name and Address Intentionally Omitted          3/31/2020   $2,914.01               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1107.   Name and Address Intentionally Omitted          2/28/2020   $2,914.01               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1108.   Name and Address Intentionally Omitted          4/1/2020    $3,699.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1109.   Name and Address Intentionally Omitted          3/2/2020    $3,699.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1110.   Name and Address Intentionally Omitted          2/4/2020    $10,000.00              ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1111.   Name and Address Intentionally Omitted          4/28/2020   $2,937.57               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1112.   Name and Address Intentionally Omitted          3/31/2020   $2,937.57               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1113.   Name and Address Intentionally Omitted          2/28/2020   $2,937.57               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1114.   MCVAN, INC.                                     4/9/2020    $1,582.00               ¨ Secured debt
          35 FRANK MOSSBERG DRIVE
          ATTLEBORO MA 02703                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1115.   MCVAN, INC.                                     3/20/2020   $2,234.50               ¨ Secured debt
          35 FRANK MOSSBERG DRIVE
          ATTLEBORO MA 02703                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1116.   MCVAN, INC.                                   3/12/2020   $1,256.25               ¨ Secured debt
          35 FRANK MOSSBERG DRIVE
          ATTLEBORO MA 02703                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1117.   MCVAN, INC.                                   3/3/2020    $2,440.75               ¨ Secured debt
          35 FRANK MOSSBERG DRIVE
          ATTLEBORO MA 02703                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1118.   MCVAN, INC.                                   2/3/2020    $8,474.10               ¨ Secured debt
          35 FRANK MOSSBERG DRIVE
          ATTLEBORO MA 02703                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1119.   MD ANDERSON CANCER CENT                       4/17/2020   $14,729.50              ¨ Secured debt
          PO BOX 4434
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1120.   MD ANDERSON CANCER CENT                       4/3/2020    $4,701.55               ¨ Secured debt
          PO BOX 4434
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1121.   MD ANDERSON CANCER CENT                       3/31/2020   $7,197.29               ¨ Secured debt
          PO BOX 4434
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1122.   MD ANDERSON CANCER CENT                       3/27/2020   $5,245.48               ¨ Secured debt
          PO BOX 4434
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1123.   MD ANDERSON CANCER CENT                       3/20/2020   $146.16                 ¨ Secured debt
          PO BOX 4434
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1124.   MD ANDERSON CANCER CENT                       3/13/2020   $5,219.52               ¨ Secured debt
          PO BOX 4434
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1125.   MD ANDERSON CANCER CENT                       2/28/2020   $10,353.84              ¨ Secured debt
          PO BOX 4434
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1126.   MD ANDERSON CANCER CENT                       2/21/2020   $2,211.12               ¨ Secured debt
          PO BOX 4434
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1127.   MEASE COUNTRYSIDE HOSPITAL                    2/7/2020    $19,054.30              ¨ Secured debt
          PO BOX 404763
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1128.   MEMORIAL HOSPITAL AT GULFPORT                 4/30/2020   $64.71                  ¨ Secured debt
          PO BOX 15219
          HATTIESBURG MS 39404                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1129.   MEMORIAL HOSPITAL AT GULFPORT                 4/17/2020   $59.44                  ¨ Secured debt
          PO BOX 15219
          HATTIESBURG MS 39404                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1130.   MEMORIAL HOSPITAL AT GULFPORT                 4/3/2020    $15,701.00              ¨ Secured debt
          PO BOX 15219
          HATTIESBURG MS 39404                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1131.   MEMORIAL HOSPITAL AT GULFPORT                 3/20/2020   $69.88                  ¨ Secured debt
          PO BOX 15219
          HATTIESBURG MS 39404                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1132.   MEMORIAL HOSPITAL AT GULFPORT                 3/6/2020    $248.19                 ¨ Secured debt
          PO BOX 15219
          HATTIESBURG MS 39404                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1133.   MEMORIAL HOSPITAL AT GULFPORT                 2/28/2020   $231.62                 ¨ Secured debt
          PO BOX 15219
          HATTIESBURG MS 39404                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1134.   MERCIER REALTY & INVESTMENT CO.               4/15/2020   $1,500.00               ¨ Secured debt
          306 DAUPHINE STREET
          NEW ORLEANS LA 70112                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1135.   MERCIER REALTY & INVESTMENT CO.               4/15/2020   $1,000.76               ¨ Secured debt
          306 DAUPHINE STREET
          NEW ORLEANS LA 70112                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1136.   MERCIER REALTY & INVESTMENT CO.               3/3/2020    $2,500.76               ¨ Secured debt
          306 DAUPHINE STREET
          NEW ORLEANS LA 70112                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1137.   MERCIER REALTY & INVESTMENT CO.               2/4/2020    $1,500.00               ¨ Secured debt
          306 DAUPHINE STREET
          NEW ORLEANS LA 70112                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1138.   MERCIER REALTY & INVESTMENT CO.               2/4/2020    $1,000.76               ¨ Secured debt
          306 DAUPHINE STREET
          NEW ORLEANS LA 70112                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1139.   MESALAIN CONSULTING GROUP, LLC                4/9/2020    $13,380.60              ¨ Secured debt
          37 DRIFTWOOD BLVD
          KENNER LA 70065                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1140.   MESALAIN CONSULTING GROUP, LLC                3/12/2020   $8,775.00               ¨ Secured debt
          37 DRIFTWOOD BLVD
          KENNER LA 70065                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1141.   MESALAIN CONSULTING GROUP, LLC                2/20/2020   $8,775.00               ¨ Secured debt
          37 DRIFTWOOD BLVD
          KENNER LA 70065                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1142.   METAIRIE HEALTHCARE                           2/28/2020   $1,532.00               ¨ Secured debt
          6401 RIVERSIDE DR
          METAIRIE LA 70003                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1143.   METAIRIE HEALTHCARE                           2/14/2020   $6,511.00               ¨ Secured debt
          6401 RIVERSIDE DR
          METAIRIE LA 70003                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1144.   METAIRIE PHYSICIAN SERVICES                   4/30/2020   $2,760.97               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1145.   METAIRIE PHYSICIAN SERVICES                   4/24/2020   $86.45                  ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1146.   METAIRIE PHYSICIAN SERVICES                   4/17/2020   $700.83                 ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1147.   METAIRIE PHYSICIAN SERVICES                   4/17/2020   $10.63                  ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1148.   METAIRIE PHYSICIAN SERVICES                   4/10/2020   $4,033.39               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1149.   METAIRIE PHYSICIAN SERVICES                   4/3/2020    $378.43                 ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1150.   METAIRIE PHYSICIAN SERVICES                   4/3/2020    $10.63                  ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1151.   METAIRIE PHYSICIAN SERVICES                   3/31/2020   $1,679.26               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1152.   METAIRIE PHYSICIAN SERVICES                   3/31/2020   $25.57                  ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1153.   METAIRIE PHYSICIAN SERVICES                   3/27/2020   $1,506.37               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1154.   METAIRIE PHYSICIAN SERVICES                   3/27/2020   $21.26                  ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1155.   METAIRIE PHYSICIAN SERVICES                   3/20/2020   $4,740.73               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1156.   METAIRIE PHYSICIAN SERVICES                   3/20/2020   $250.39                 ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1157.   METAIRIE PHYSICIAN SERVICES                   3/13/2020   $2,945.64               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1158.   METAIRIE PHYSICIAN SERVICES                   3/13/2020   $173.13                 ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1159.   METAIRIE PHYSICIAN SERVICES                   3/6/2020    $1,781.21               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1160.   METAIRIE PHYSICIAN SERVICES                   3/6/2020    $811.17                 ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1161.   METAIRIE PHYSICIAN SERVICES                   2/28/2020   $1,851.20               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1162.   METAIRIE PHYSICIAN SERVICES                   2/28/2020   $21.26                  ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1163.   METAIRIE PHYSICIAN SERVICES                   2/21/2020   $3,682.01               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1164.   METAIRIE PHYSICIAN SERVICES                   2/14/2020   $1,910.75               ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1165.   METAIRIE PHYSICIAN SERVICES                   2/14/2020   $295.91                 ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1166.   METAIRIE PHYSICIAN SERVICES                   2/7/2020    $942.01                 ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1167.   METAIRIE PHYSICIAN SERVICES                   2/7/2020    $31.89                  ¨ Secured debt
          PO BOX 54842
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1168.   METROPOLITAN ANESTHESIA LLC                   4/17/2020   $295.00                 ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1169.   METROPOLITAN ANESTHESIA LLC                   4/10/2020   $605.00                 ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1170.   METROPOLITAN ANESTHESIA LLC                   3/27/2020   $1,280.00               ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1171.   METROPOLITAN ANESTHESIA LLC                   3/20/2020   $1,515.00               ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1172.   METROPOLITAN ANESTHESIA LLC                   3/13/2020   $1,380.00               ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1173.   METROPOLITAN ANESTHESIA LLC                   3/6/2020    $580.00                 ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1174.   METROPOLITAN ANESTHESIA LLC                   2/28/2020   $1,945.00               ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1175.   METROPOLITAN ANESTHESIA LLC                   2/21/2020   $560.00                 ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1176.   METROPOLITAN ANESTHESIA LLC                   2/14/2020   $1,770.00               ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1177.   METROPOLITAN ANESTHESIA LLC                   2/7/2020    $705.00                 ¨ Secured debt
          PO BOX 305250
          NASHVILLE TN 37230                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1178.   METROPOLITAN GASTROENTEROLOGY                 4/30/2020   $104.34                 ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1179.   METROPOLITAN GASTROENTEROLOGY                 4/24/2020   $373.62                 ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1180.   METROPOLITAN GASTROENTEROLOGY                 4/17/2020   $253.41                 ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1181.   METROPOLITAN GASTROENTEROLOGY                 4/10/2020   $573.03                 ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1182.   METROPOLITAN GASTROENTEROLOGY                 4/3/2020    $134.49                 ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1183.   METROPOLITAN GASTROENTEROLOGY                 3/31/2020   $586.83                 ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1184.   METROPOLITAN GASTROENTEROLOGY                 3/27/2020   $771.64                 ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1185.   METROPOLITAN GASTROENTEROLOGY                 3/20/2020   $2,836.84               ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1186.   METROPOLITAN GASTROENTEROLOGY                 3/20/2020   $24.19                  ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1187.   METROPOLITAN GASTROENTEROLOGY                 3/13/2020   $3,025.37               ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1188.   METROPOLITAN GASTROENTEROLOGY                 3/6/2020    $1,479.16               ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1189.   METROPOLITAN GASTROENTEROLOGY                 2/28/2020   $2,604.91               ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1190.   METROPOLITAN GASTROENTEROLOGY                 2/21/2020   $1,683.14               ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1191.   METROPOLITAN GASTROENTEROLOGY                 2/14/2020   $1,533.95               ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1192.   METROPOLITAN GASTROENTEROLOGY                 2/14/2020   $14.94                  ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1193.   METROPOLITAN GASTROENTEROLOGY                 2/7/2020    $3,779.40               ¨ Secured debt
          PO BOX 1520
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1194.   Name and Address Intentionally Omitted          4/28/2020   $2,678.14               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1195.   Name and Address Intentionally Omitted          3/31/2020   $2,678.14               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1196.   Name and Address Intentionally Omitted          2/28/2020   $2,678.14               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1197.   Name and Address Intentionally Omitted          2/4/2020    $574.78                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1198.   MINIMED DISTRIBUTION CORP                       4/24/2020   $506.40                 ¨ Secured debt
          13101 COLLECTION CTR DR
          CHICAGO IL 60693                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1199.   MINIMED DISTRIBUTION CORP                       4/17/2020   $1,491.60               ¨ Secured debt
          13101 COLLECTION CTR DR
          CHICAGO IL 60693                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1200.   MINIMED DISTRIBUTION CORP                     4/10/2020   $336.00                 ¨ Secured debt
          13101 COLLECTION CTR DR
          CHICAGO IL 60693                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1201.   MINIMED DISTRIBUTION CORP                     3/31/2020   $187.20                 ¨ Secured debt
          13101 COLLECTION CTR DR
          CHICAGO IL 60693                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1202.   MINIMED DISTRIBUTION CORP                     3/27/2020   $2,159.52               ¨ Secured debt
          13101 COLLECTION CTR DR
          CHICAGO IL 60693                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1203.   MINIMED DISTRIBUTION CORP                     2/28/2020   $1,324.56               ¨ Secured debt
          13101 COLLECTION CTR DR
          CHICAGO IL 60693                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1204.   MINIMED DISTRIBUTION CORP                     2/21/2020   $665.60                 ¨ Secured debt
          13101 COLLECTION CTR DR
          CHICAGO IL 60693                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1205.   MINIMED DISTRIBUTION CORP                     2/7/2020    $420.00                 ¨ Secured debt
          13101 COLLECTION CTR DR
          CHICAGO IL 60693                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1206.   MMG PROPERTIES                                  4/8/2020    $3,850.00               ¨ Secured debt
          3431 GENTILLY BLVD
          NEW ORLEANS LA 70122                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1207.   MMG PROPERTIES                                  3/3/2020    $3,850.00               ¨ Secured debt
          3431 GENTILLY BLVD
          NEW ORLEANS LA 70122                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1208.   MMG PROPERTIES                                  2/4/2020    $3,850.00               ¨ Secured debt
          3431 GENTILLY BLVD
          NEW ORLEANS LA 70122                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1209.   Name and Address Intentionally Omitted          4/28/2020   $2,653.89               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1210.   Name and Address Intentionally Omitted          4/8/2020    $85.47                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1211.   Name and Address Intentionally Omitted          3/31/2020   $2,653.89               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                              Check all that apply

3.1212.   Name and Address Intentionally Omitted          3/17/2020   $50.00                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1213.   Name and Address Intentionally Omitted          2/28/2020   $2,653.89               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1214.   Name and Address Intentionally Omitted          2/11/2020   $125.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1215.   Name and Address Intentionally Omitted          4/28/2020   $2,498.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1216.   Name and Address Intentionally Omitted          3/31/2020   $2,498.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1217.   Name and Address Intentionally Omitted          2/28/2020   $2,498.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1218.   MUSIC USA INC.                                2/18/2020   $8,324.60               ¨ Secured debt
          505 SOUTH SPRING GARDEN AVENUE
          SUITE 104                                                                         ¨ Unsecured loan repayments
          DELAND FL 32720                                                                   ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1219.   NEW ORLEANS LA UPTOWN WEST BAN                4/10/2020   $517.00                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1220.   NEW ORLEANS LA UPTOWN WEST BAN                3/20/2020   $707.52                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1221.   NEW ORLEANS LA UPTOWN WEST BAN                3/20/2020   $517.00                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1222.   NEW ORLEANS LA UPTOWN WEST BAN                3/13/2020   $792.50                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1223.   NEW ORLEANS LA UPTOWN WEST BAN                2/28/2020   $1,876.09               ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1224.   NEW ORLEANS LA UPTOWN WEST BAN                2/28/2020   $1,034.00               ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1225.   NEW ORLEANS LA UPTOWN WEST BAN                2/21/2020   $575.50                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1226.   NEW ORLEANS LA UPTOWN WEST BAN                2/21/2020   $517.00                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1227.   NEW ORLEANS LA UPTOWN WEST BAN                2/14/2020   $534.00                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1228.   NEW ORLEANS LA UPTOWN WEST BAN                2/7/2020    $517.00                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1229.   NEW ORLEANS LA UPTOWN WEST BAN                2/7/2020    $317.00                 ¨ Secured debt
          PO BOX 1187
          MARRERO LA 70073                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1230.   NEW ORLEANS PHYSICIAN SERVICES                4/30/2020   $232.34                 ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1231.   NEW ORLEANS PHYSICIAN SERVICES                4/30/2020   $217.77                 ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1232.   NEW ORLEANS PHYSICIAN SERVICES                4/24/2020   $394.70                 ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1233.   NEW ORLEANS PHYSICIAN SERVICES                4/17/2020   $270.50                 ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1234.   NEW ORLEANS PHYSICIAN SERVICES                4/17/2020   $217.77                 ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1235.   NEW ORLEANS PHYSICIAN SERVICES                4/10/2020   $1,144.28               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1236.   NEW ORLEANS PHYSICIAN SERVICES                4/3/2020    $741.58                 ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1237.   NEW ORLEANS PHYSICIAN SERVICES                3/31/2020   $3,208.01               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1238.   NEW ORLEANS PHYSICIAN SERVICES                3/27/2020   $1,908.06               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1239.   NEW ORLEANS PHYSICIAN SERVICES                3/20/2020   $3,242.38               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1240.   NEW ORLEANS PHYSICIAN SERVICES                3/13/2020   $2,258.27               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1241.   NEW ORLEANS PHYSICIAN SERVICES                3/6/2020    $2,002.90               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1242.   NEW ORLEANS PHYSICIAN SERVICES                2/28/2020   $2,614.98               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1243.   NEW ORLEANS PHYSICIAN SERVICES                2/21/2020   $2,203.71               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1244.   NEW ORLEANS PHYSICIAN SERVICES                2/14/2020   $2,633.69               ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1245.   NEW ORLEANS PHYSICIAN SERVICES                2/14/2020   $16.05                  ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1246.   NEW ORLEANS PHYSICIAN SERVICES                2/7/2020    $812.73                 ¨ Secured debt
          PO BOX 733564
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1247.   NFIP DIRECT SERVICIN                          4/20/2020   $2,455.00               ¨ Secured debt
          P O BOX 913111
          DENVER CO 80291-3111                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1248.   NFIP DIRECT SERVICIN                          3/17/2020   $6,694.00               ¨ Secured debt
          P O BOX 913111
          DENVER CO 80291-3111                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1249.   NORTH OAKS MEDICAL CENTER LLC                 4/30/2020   $364.00                 ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1250.   NORTH OAKS MEDICAL CENTER LLC                 3/31/2020   $281.40                 ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1251.   NORTH OAKS MEDICAL CENTER LLC                 3/27/2020   $5,439.09               ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1252.   NORTH OAKS MEDICAL CENTER LLC                 3/13/2020   $275.04                 ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1253.   NORTH OAKS MEDICAL CENTER LLC                 2/28/2020   $1,239.59               ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1254.   NORTH OAKS MEDICAL CENTER LLC                 2/28/2020   $145.21                 ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1255.   NORTH OAKS MEDICAL CENTER LLC                 2/21/2020   $7,662.00               ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1256.   NORTH OAKS MEDICAL CENTER LLC                 2/14/2020   $92.63                  ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1257.   NORTH OAKS MEDICAL CENTER LLC                 2/7/2020    $275.04                 ¨ Secured debt
          PO BOX 1609
          HAMMOND LA 70404                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1258.   NOTRE DAME SEMINARY                           4/8/2020    $101,141.00             ¨ Secured debt
          2901 S CARROLLTON AVE.
          NEW ORLEANS LA 70118                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1259.   NOTRE DAME SEMINARY                           4/2/2020    $117,584.00             ¨ Secured debt
          2901 S CARROLLTON AVE.
          NEW ORLEANS LA 70118                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1260.   NOTRE DAME SEMINARY                           3/10/2020   $117,585.25             ¨ Secured debt
          2901 S CARROLLTON AVE.
          NEW ORLEANS LA 70118                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1261.   NOTRE DAME SEMINARY                           2/18/2020   $117,585.25             ¨ Secured debt
          2901 S CARROLLTON AVE.
          NEW ORLEANS LA 70118                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1262.   OBLATES OF MARY IMMACULATE                    4/6/2020    $4,969.00               ¨ Secured debt
          391 MICHIGAN AVE NE
          WASHINGTON DC 20017                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1263.   OBLATES OF MARY IMMACULATE                    3/3/2020    $4,969.00               ¨ Secured debt
          391 MICHIGAN AVE NE
          WASHINGTON DC 20017                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1264.   OBLATES OF MARY IMMACULATE                    2/18/2020   $4,969.00               ¨ Secured debt
          391 MICHIGAN AVE NE
          WASHINGTON DC 20017                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1265.   OBLATES OF MARY IMMACULATE                    2/13/2020   $4,656.00               ¨ Secured debt
          391 MICHIGAN AVE NE
          WASHINGTON DC 20017                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1266.   OCHSNER BAPTIST A CAMPUS OF O                 4/30/2020   $36,635.55              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1267.   OCHSNER BAPTIST A CAMPUS OF O                 4/30/2020   $3,017.00               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1268.   OCHSNER BAPTIST A CAMPUS OF O                 4/24/2020   $15,806.11              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1269.   OCHSNER BAPTIST A CAMPUS OF O                 4/24/2020   $772.65                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1270.   OCHSNER BAPTIST A CAMPUS OF O                 4/17/2020   $46,339.37              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1271.   OCHSNER BAPTIST A CAMPUS OF O                 4/17/2020   $5,324.00               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1272.   OCHSNER BAPTIST A CAMPUS OF O                 4/17/2020   $4,649.52               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1273.   OCHSNER BAPTIST A CAMPUS OF O                 4/10/2020   $34,970.67              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1274.   OCHSNER BAPTIST A CAMPUS OF O                 4/3/2020    $28,975.91              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1275.   OCHSNER BAPTIST A CAMPUS OF O                 3/31/2020   $8,114.42               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1276.   OCHSNER BAPTIST A CAMPUS OF O                 3/27/2020   $22,934.87              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1277.   OCHSNER BAPTIST A CAMPUS OF O                 3/20/2020   $15,032.25              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1278.   OCHSNER BAPTIST A CAMPUS OF O                 3/20/2020   $696.65                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1279.   OCHSNER BAPTIST A CAMPUS OF O                 3/13/2020   $34,756.96              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1280.   OCHSNER BAPTIST A CAMPUS OF O                 3/6/2020    $26,185.52              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1281.   OCHSNER BAPTIST A CAMPUS OF O                 2/28/2020   $4,263.34               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1282.   OCHSNER BAPTIST A CAMPUS OF O                 2/28/2020   $1,334.00               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1283.   OCHSNER BAPTIST A CAMPUS OF O                 2/28/2020   $289.80                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1284.   OCHSNER BAPTIST A CAMPUS OF O                 2/21/2020   $16,402.98              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1285.   OCHSNER BAPTIST A CAMPUS OF O                 2/14/2020   $13,776.79              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1286.   OCHSNER BAPTIST A CAMPUS OF O                 2/11/2020   $1,738.80               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1287.   OCHSNER BAPTIST A CAMPUS OF O                 2/7/2020    $18,701.41              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1288.   OCHSNER CLINIC LLC NO                         4/30/2020   $16,548.51              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1289.   OCHSNER CLINIC LLC NO                         4/24/2020   $17,647.50              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1290.   OCHSNER CLINIC LLC NO                         4/24/2020   $356.61                 ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1291.   OCHSNER CLINIC LLC NO                         4/24/2020   $268.22                 ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1292.   OCHSNER CLINIC LLC NO                         4/17/2020   $16,653.08              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1293.   OCHSNER CLINIC LLC NO                         4/17/2020   $127.99                 ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1294.   OCHSNER CLINIC LLC NO                         4/10/2020   $21,880.82              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1295.   OCHSNER CLINIC LLC NO                         4/3/2020    $13,026.34              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1296.   OCHSNER CLINIC LLC NO                         3/31/2020   $19,356.97              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1297.   OCHSNER CLINIC LLC NO                         3/27/2020   $40,306.03              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1298.   OCHSNER CLINIC LLC NO                         3/20/2020   $40,631.32              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1299.   OCHSNER CLINIC LLC NO                         3/13/2020   $54,634.43              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1300.   OCHSNER CLINIC LLC NO                         3/6/2020    $32,594.32              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1301.   OCHSNER CLINIC LLC NO                         2/28/2020   $45,295.80              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1302.   OCHSNER CLINIC LLC NO                         2/21/2020   $45,905.03              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1303.   OCHSNER CLINIC LLC NO                         2/14/2020   $43,276.18              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1304.   OCHSNER CLINIC LLC NO                         2/7/2020    $31,632.20              ¨ Secured debt
          PO BOX 54851
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1305.   OCHSNER HOME MEDICAL EQUIPMENT                4/30/2020   $109.96                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1306.   OCHSNER HOME MEDICAL EQUIPMENT                4/24/2020   $825.28                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1307.   OCHSNER HOME MEDICAL EQUIPMENT                4/17/2020   $588.24                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1308.   OCHSNER HOME MEDICAL EQUIPMENT                4/10/2020   $1,715.67               ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1309.   OCHSNER HOME MEDICAL EQUIPMENT                3/27/2020   $694.21                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1310.   OCHSNER HOME MEDICAL EQUIPMENT                3/20/2020   $443.88                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1311.   OCHSNER HOME MEDICAL EQUIPMENT                3/13/2020   $715.04                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1312.   OCHSNER HOME MEDICAL EQUIPMENT                3/9/2020    $206.40                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1313.   OCHSNER HOME MEDICAL EQUIPMENT                3/6/2020    $1,396.63               ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1314.   OCHSNER HOME MEDICAL EQUIPMENT                2/28/2020   $520.15                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1315.   OCHSNER HOME MEDICAL EQUIPMENT                2/21/2020   $51.71                  ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1316.   OCHSNER HOME MEDICAL EQUIPMENT                2/14/2020   $55.78                  ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1317.   OCHSNER HOME MEDICAL EQUIPMENT                2/7/2020    $463.98                 ¨ Secured debt
          501 COOLIDGE ST
          NEW ORLEANS LA 70121                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1318.   OCHSNER MEDICAL CENTER                        4/30/2020   $51,216.86              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1319.   OCHSNER MEDICAL CENTER                        4/29/2020   $3,798.90               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1320.   OCHSNER MEDICAL CENTER                        4/24/2020   $7,684.81               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1321.   OCHSNER MEDICAL CENTER                        4/20/2020   $1,439.77               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1322.   OCHSNER MEDICAL CENTER                        4/17/2020   $14,260.61              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1323.   OCHSNER MEDICAL CENTER                        4/10/2020   $14,118.51              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1324.   OCHSNER MEDICAL CENTER                        4/7/2020    $9,298.83               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1325.   OCHSNER MEDICAL CENTER                        4/3/2020    $21,624.56              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1326.   OCHSNER MEDICAL CENTER                        3/31/2020   $20,764.32              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1327.   OCHSNER MEDICAL CENTER                        3/27/2020   $70,453.81              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1328.   OCHSNER MEDICAL CENTER                        3/20/2020   $20,912.75              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1329.   OCHSNER MEDICAL CENTER                        3/13/2020   $23,257.15              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1330.   OCHSNER MEDICAL CENTER                        3/13/2020   $313.20                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1331.   OCHSNER MEDICAL CENTER                        3/9/2020    $724.50                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1332.   OCHSNER MEDICAL CENTER                        3/6/2020    $29,914.37              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1333.   OCHSNER MEDICAL CENTER                        2/28/2020   $61,483.09              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1334.   OCHSNER MEDICAL CENTER                        2/21/2020   $48,789.44              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1335.   OCHSNER MEDICAL CENTER                        2/18/2020   $1,518.30               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1336.   OCHSNER MEDICAL CENTER                        2/14/2020   $82,458.18              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1337.   OCHSNER MEDICAL CENTER                        2/7/2020    $12,932.20              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1338.   OCHSNER MEDICAL CENTER                        2/7/2020    $115.00                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1339.   OCHSNER MEDICAL CENTER                        2/4/2020    $626.40                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1340.   OCHSNER MEDICAL CENTER                        2/3/2020    $305.31                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1341.   OCHSNER MEDICAL CENTER KENNER                 4/17/2020   $974.07                 ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1342.   OCHSNER MEDICAL CENTER KENNER                 4/10/2020   $4,500.92               ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1343.   OCHSNER MEDICAL CENTER KENNER                 4/3/2020    $1,406.00               ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1344.   OCHSNER MEDICAL CENTER KENNER                 3/27/2020   $5,772.38               ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1345.   OCHSNER MEDICAL CENTER KENNER                 3/20/2020   $6,151.92               ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1346.   OCHSNER MEDICAL CENTER KENNER                 3/13/2020   $681.49                 ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1347.   OCHSNER MEDICAL CENTER KENNER                 3/6/2020    $2,721.58               ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1348.   OCHSNER MEDICAL CENTER KENNER                 2/28/2020   $1,907.82               ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1349.   OCHSNER MEDICAL CENTER KENNER                 2/21/2020   $1,130.37               ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1350.   OCHSNER MEDICAL CENTER KENNER                 2/14/2020   $6,430.13               ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1351.   OCHSNER MEDICAL CENTER KENNER                 2/7/2020    $26,810.12              ¨ Secured debt
          PO BOX 54741
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1352.   OCHSNER MEDICAL CENTER NORTHSH                4/30/2020   $11,290.23              ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1353.   OCHSNER MEDICAL CENTER NORTHSH                4/17/2020   $1,546.96               ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1354.   OCHSNER MEDICAL CENTER NORTHSH                4/10/2020   $790.65                 ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1355.   OCHSNER MEDICAL CENTER NORTHSH                4/3/2020    $2,060.00               ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1356.   OCHSNER MEDICAL CENTER NORTHSH                3/31/2020   $20,808.82              ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1357.   OCHSNER MEDICAL CENTER NORTHSH                3/27/2020   $65.42                  ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1358.   OCHSNER MEDICAL CENTER NORTHSH                3/20/2020   $484.18                 ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1359.   OCHSNER MEDICAL CENTER NORTHSH                3/13/2020   $4,015.94               ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1360.   OCHSNER MEDICAL CENTER NORTHSH                2/14/2020   $1,280.56               ¨ Secured debt
          PO BOX 54169
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1361.   OCHSNER MEDICAL CENTER WESTBAN                4/24/2020   $73,315.75              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1362.   OCHSNER MEDICAL CENTER WESTBAN                4/17/2020   $16,214.30              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1363.   OCHSNER MEDICAL CENTER WESTBAN                4/10/2020   $8,047.10               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1364.   OCHSNER MEDICAL CENTER WESTBAN                3/31/2020   $10,684.09              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1365.   OCHSNER MEDICAL CENTER WESTBAN                3/27/2020   $7,828.58               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1366.   OCHSNER MEDICAL CENTER WESTBAN                3/20/2020   $22,458.80              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1367.   OCHSNER MEDICAL CENTER WESTBAN                3/20/2020   $5,401.85               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1368.   OCHSNER MEDICAL CENTER WESTBAN                3/13/2020   $2,363.40               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1369.   OCHSNER MEDICAL CENTER WESTBAN                3/6/2020    $18,055.00              ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1370.   OCHSNER MEDICAL CENTER WESTBAN                2/28/2020   $5,131.21               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1371.   OCHSNER MEDICAL CENTER WESTBAN                2/21/2020   $2,281.82               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1372.   OCHSNER MEDICAL CENTER WESTBAN                2/20/2020   $8,311.00               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1373.   OCHSNER MEDICAL CENTER WESTBAN                2/14/2020   $961.79                 ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1374.   OCHSNER MEDICAL CENTER WESTBAN                  2/7/2020    $3,460.31               ¨ Secured debt
          PO BOX 919140
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1375.   Name and Address Intentionally Omitted          4/28/2020   $2,733.62               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1376.   Name and Address Intentionally Omitted          3/31/2020   $2,733.62               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1377.   Name and Address Intentionally Omitted          2/28/2020   $2,733.62               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1378.   OPTION CARE HEALTH                              4/30/2020   $180.00                 ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1379.   OPTION CARE HEALTH                              4/24/2020   $11.54                  ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                            Check all that apply

3.1380.   OPTION CARE HEALTH                            4/24/2020   $6.12                   ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1381.   OPTION CARE HEALTH                            4/24/2020   $6.12                   ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1382.   OPTION CARE HEALTH                            4/24/2020   $6.12                   ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1383.   OPTION CARE HEALTH                            4/17/2020   $6,090.07               ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1384.   OPTION CARE HEALTH                            4/10/2020   $4,325.68               ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1385.   OPTION CARE HEALTH                            3/27/2020   $6,133.96               ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1386.   OPTION CARE HEALTH                            3/20/2020   $238.50                 ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1387.   OPTION CARE HEALTH                            3/13/2020   $180.00                 ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1388.   OPTION CARE HEALTH                            2/28/2020   $4,155.68               ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1389.   OPTION CARE HEALTH                            2/21/2020   $371.70                 ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1390.   OPTION CARE HEALTH                            2/21/2020   $318.60                 ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1391.   OPTION CARE HEALTH                            2/7/2020    $1,487.14               ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1392.   OPTION CARE HEALTH                            2/7/2020    $547.10                 ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1393.   OPTION CARE HEALTH                            2/7/2020    $547.10                 ¨ Secured debt
          1330 PAYSPHERE CIRCLE
          CHICAGO IL 60674                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1394.   OPTUMRX                                       4/24/2020   $351,938.01             ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1395.   OPTUMRX                                       4/3/2020    $505,153.41             ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1396.   OPTUMRX                                       3/20/2020   $441,113.92             ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1397.   OPTUMRX                                       3/20/2020   $33.25                  ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1398.   OPTUMRX                                       3/6/2020    $306,491.49             ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1399.   OPTUMRX                                       3/6/2020    $26.25                  ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1400.   OPTUMRX                                       2/21/2020   $355,160.89             ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1401.   OPTUMRX                                       2/21/2020   $5.25                   ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1402.   OPTUMRX                                       2/7/2020    $434,450.23             ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1403.   OPTUMRX                                       2/7/2020    $64.75                  ¨ Secured debt
          OPTUM RX SOLUTIONS
          DEPT 8765                                                                         ¨ Unsecured loan repayments
          LOS ANGELES CA 90088-8765                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1404.   ORTHOPAEDIC ASSOCIATES OF NEW                 3/4/2020    $2,500.00               ¨ Secured debt
          ORLEANS
          3434 PRYTANIA ST                                                                  ¨ Unsecured loan repayments
          SUITE 430
          NEW ORLEANS LA 70115
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1405.   ORTHOPAEDIC ASSOCIATES OF NEW                 2/26/2020   $2,500.00               ¨ Secured debt
          ORLEANS
          3434 PRYTANIA ST                                                                  ¨ Unsecured loan repayments
          SUITE 430
          NEW ORLEANS LA 70115
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1406.   ORTHOPAEDIC ASSOCIATES OF NEW                 2/5/2020    $2,500.00               ¨ Secured debt
          ORLEANS
          3434 PRYTANIA ST                                                                  ¨ Unsecured loan repayments
          SUITE 430
          NEW ORLEANS LA 70115
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1407.   OUR LADY OF LOURDES                           4/8/2020    $10,366.50              ¨ Secured debt
          345 WESTCHESTER PLACE
          SLIDELL LA 70458                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1408.   OUR LADY OF LOURDES                           4/8/2020    $6,500.00               ¨ Secured debt
          345 WESTCHESTER PLACE
          SLIDELL LA 70458                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1409.   OUR LADY OF THE LAKE RMC                      4/30/2020   $4,798.21               ¨ Secured debt
          DEPT A PO
          BOX 679308                                                                        ¨ Unsecured loan repayments
          DALLAS TX 75267                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1410.   OUR LADY OF THE LAKE RMC                      4/24/2020   $2,479.95               ¨ Secured debt
          DEPT A PO
          BOX 679308                                                                        ¨ Unsecured loan repayments
          DALLAS TX 75267                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1411.   OUR LADY OF THE LAKE RMC                      2/28/2020   $9,606.12               ¨ Secured debt
          DEPT A PO
          BOX 679308                                                                        ¨ Unsecured loan repayments
          DALLAS TX 75267                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1412.   OUR LADY OF THE LAKE RMC                      2/7/2020    $30,306.00              ¨ Secured debt
          DEPT A PO
          BOX 679308                                                                        ¨ Unsecured loan repayments
          DALLAS TX 75267                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1413.   OUR LADY OF WISDOM H                          4/8/2020    $15,057.60              ¨ Secured debt
          5600 GENERAL DE GAULLE DR
          NEW ORLEANS LA 70131-7247                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1414.   OUR LADY OF WISDOM H                          3/10/2020   $12,798.96              ¨ Secured debt
          5600 GENERAL DE GAULLE DR
          NEW ORLEANS LA 70131-7247                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1415.   OUR LADY OF WISDOM H                          2/11/2020   $7,277.84               ¨ Secured debt
          5600 GENERAL DE GAULLE DR
          NEW ORLEANS LA 70131-7247                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1416.   P&L PAINTING CONTRACTORS                        3/12/2020   $8,565.29               ¨ Secured debt
          6026 CONSTANCE STREET
          NEW ORLEANS LA 70118                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1417.   PARTNERS IN MISSION SCHOOL LEADERSHIP           2/4/2020    $17,215.61              ¨ Secured debt
          SEARCH SOLUTIONS
          124 SYCAMORE DRIVE                                                                  ¨ Unsecured loan repayments
          WESTWOOD MA 02090                                                                   ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1418.   Name and Address Intentionally Omitted          4/28/2020   $2,399.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1419.   Name and Address Intentionally Omitted          3/31/2020   $2,399.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1420.   Name and Address Intentionally Omitted          2/28/2020   $2,399.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1421.   Name and Address Intentionally Omitted          4/28/2020   $2,539.17               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1422.   Name and Address Intentionally Omitted          3/31/2020   $2,530.07               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1423.   Name and Address Intentionally Omitted          2/28/2020   $2,530.07               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1424.   PHYSICIANS REFERRAL SERVICE                     4/17/2020   $638.68                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1425.   PHYSICIANS REFERRAL SERVICE                     4/3/2020    $773.69                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1426.   PHYSICIANS REFERRAL SERVICE                     3/31/2020   $862.54                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1427.   PHYSICIANS REFERRAL SERVICE                     3/27/2020   $317.37                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1428.   PHYSICIANS REFERRAL SERVICE                   3/20/2020   $253.70                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1429.   PHYSICIANS REFERRAL SERVICE                   3/13/2020   $196.50                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1430.   PHYSICIANS REFERRAL SERVICE                   3/6/2020    $3,641.70               ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1431.   PHYSICIANS REFERRAL SERVICE                   2/28/2020   $509.30                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1432.   PHYSICIANS REFERRAL SERVICE                   2/21/2020   $317.37                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1433.   PHYSICIANS REFERRAL SERVICE                   2/7/2020    $635.04                 ¨ Secured debt
          PO BOX 4439
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1434.   PINNACLE ELEVATOR                             4/2/2020    $10,170.00              ¨ Secured debt
          2201 GREENWOOD STREET
          KENNER LA 70062                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1435.   PINNACLE ELEVATOR                             3/17/2020   $5,600.00               ¨ Secured debt
          2201 GREENWOOD STREET
          KENNER LA 70062                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1436.   PINNACLE ELEVATOR                             3/10/2020   $26,173.50              ¨ Secured debt
          2201 GREENWOOD STREET
          KENNER LA 70062                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1437.   PINNACLE ELEVATOR                             2/18/2020   $950.00                 ¨ Secured debt
          2201 GREENWOOD STREET
          KENNER LA 70062                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1438.   POLO TRANSPORTATION                           3/27/2020   $15,575.00              ¨ Secured debt
          101 JANET DR.
          AVONDALE LA 70094                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1439.   POLO TRANSPORTATION                           2/19/2020   $20,470.00              ¨ Secured debt
          101 JANET DR.
          AVONDALE LA 70094                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1440.   QUEST DIAGNOSTICS ATLANTA                     4/30/2020   $656.40                 ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1441.   QUEST DIAGNOSTICS ATLANTA                     4/24/2020   $780.74                 ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1442.   QUEST DIAGNOSTICS ATLANTA                     4/17/2020   $691.51                 ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1443.   QUEST DIAGNOSTICS ATLANTA                     4/10/2020   $992.30                 ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1444.   QUEST DIAGNOSTICS ATLANTA                     4/3/2020    $128.68                 ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1445.   QUEST DIAGNOSTICS ATLANTA                     3/31/2020   $408.91                 ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1446.   QUEST DIAGNOSTICS ATLANTA                     3/27/2020   $1,202.43               ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1447.   QUEST DIAGNOSTICS ATLANTA                     3/27/2020   $18.70                  ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1448.   QUEST DIAGNOSTICS ATLANTA                     3/20/2020   $1,750.18               ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1449.   QUEST DIAGNOSTICS ATLANTA                     3/13/2020   $1,970.66               ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1450.   QUEST DIAGNOSTICS ATLANTA                     3/6/2020    $1,410.71               ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1451.   QUEST DIAGNOSTICS ATLANTA                     2/28/2020   $1,631.08               ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1452.   QUEST DIAGNOSTICS ATLANTA                     2/21/2020   $1,557.83               ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1453.   QUEST DIAGNOSTICS ATLANTA                     2/14/2020   $2,057.92               ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1454.   QUEST DIAGNOSTICS ATLANTA                     2/7/2020    $1,478.15               ¨ Secured debt
          PO BOX 41733
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1455.   RADIOLOGY INTERVENTIONAL                      4/30/2020   $138.27                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1456.   RADIOLOGY INTERVENTIONAL                      4/24/2020   $533.51                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1457.   RADIOLOGY INTERVENTIONAL                      4/17/2020   $53.33                  ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1458.   RADIOLOGY INTERVENTIONAL                      4/17/2020   $46.06                  ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1459.   RADIOLOGY INTERVENTIONAL                      4/10/2020   $639.90                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1460.   RADIOLOGY INTERVENTIONAL                      4/3/2020    $100.29                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1461.   RADIOLOGY INTERVENTIONAL                      3/31/2020   $448.68                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1462.   RADIOLOGY INTERVENTIONAL                      3/31/2020   $8.43                   ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1463.   RADIOLOGY INTERVENTIONAL                      3/27/2020   $837.25                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1464.   RADIOLOGY INTERVENTIONAL                      3/20/2020   $1,382.61               ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1465.   RADIOLOGY INTERVENTIONAL                      3/17/2020   $17.00                  ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1466.   RADIOLOGY INTERVENTIONAL                      3/13/2020   $1,035.14               ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1467.   RADIOLOGY INTERVENTIONAL                      3/13/2020   $16.86                  ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1468.   RADIOLOGY INTERVENTIONAL                      3/6/2020    $799.86                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1469.   RADIOLOGY INTERVENTIONAL                      2/28/2020   $1,064.98               ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1470.   RADIOLOGY INTERVENTIONAL                        2/28/2020   $12.84                  ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1471.   RADIOLOGY INTERVENTIONAL                        2/28/2020   $11.78                  ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1472.   RADIOLOGY INTERVENTIONAL                        2/21/2020   $349.02                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1473.   RADIOLOGY INTERVENTIONAL                        2/14/2020   $1,415.12               ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1474.   RADIOLOGY INTERVENTIONAL                        2/7/2020    $510.55                 ¨ Secured debt
          PO BOX 8090
          METAIRIE LA 70011                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1475.   Name and Address Intentionally Omitted          4/28/2020   $2,930.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1476.   Name and Address Intentionally Omitted          3/31/2020   $2,930.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1477.   Name and Address Intentionally Omitted          2/28/2020   $2,930.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1478.   RED STICK SPORTS                                4/8/2020    $3,915.41               ¨ Secured debt
          5770 ESSEN LANE
          BATON ROUGE LA 70809                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1479.   RED STICK SPORTS                                3/11/2020   $302.76                 ¨ Secured debt
          5770 ESSEN LANE
          BATON ROUGE LA 70809                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1480.   RED STICK SPORTS                                2/14/2020   $3,627.17               ¨ Secured debt
          5770 ESSEN LANE
          BATON ROUGE LA 70809                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1481.   REGIONAL RADIOLOGY, LLC                         4/30/2020   $397.72                 ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1482.   REGIONAL RADIOLOGY, LLC                       4/24/2020   $191.05                 ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1483.   REGIONAL RADIOLOGY, LLC                       4/17/2020   $462.20                 ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1484.   REGIONAL RADIOLOGY, LLC                       4/10/2020   $2,001.03               ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1485.   REGIONAL RADIOLOGY, LLC                       4/3/2020    $714.83                 ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1486.   REGIONAL RADIOLOGY, LLC                       3/27/2020   $487.40                 ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1487.   REGIONAL RADIOLOGY, LLC                       3/27/2020   $79.07                  ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1488.   REGIONAL RADIOLOGY, LLC                       3/20/2020   $1,084.30               ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1489.   REGIONAL RADIOLOGY, LLC                       3/13/2020   $1,390.28               ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1490.   REGIONAL RADIOLOGY, LLC                       3/6/2020    $1,072.18               ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1491.   REGIONAL RADIOLOGY, LLC                       2/28/2020   $1,368.90               ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1492.   REGIONAL RADIOLOGY, LLC                       2/21/2020   $1,181.18               ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1493.   REGIONAL RADIOLOGY, LLC                       2/14/2020   $1,389.29               ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1494.   REGIONAL RADIOLOGY, LLC                       2/7/2020    $686.67                 ¨ Secured debt
          PO BOX 2189
          CHALMETTE LA 70044                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1495.   REGIONS BANK (CREDIT CARD)                    3/23/2020   $15,896.77              ¨ Secured debt
          P.O. BOX 11007
          BIRMINGHAM AL 35246                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1496.   REGIONS BANK (CREDIT CARD)                    3/4/2020    $3,607.88               ¨ Secured debt
          P.O. BOX 11007
          BIRMINGHAM AL 35246                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1497.   REGIONS BANK (CREDIT CARD)                    2/25/2020   $4,885.29               ¨ Secured debt
          P.O. BOX 11007
          BIRMINGHAM AL 35246                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1498.   REGIONS BANK (CREDIT CARD)                    2/14/2020   $5,632.63               ¨ Secured debt
          P.O. BOX 11007
          BIRMINGHAM AL 35246                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: CREDIT CARD BILL
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1499.   RENAISSANCE MONTGOME                          2/11/2020   $11,970.40              ¨ Secured debt
          201 TALLAPOOSA ST.
          MONTGOMERY AL 36104                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1500.   RESTO GROUP, INC.                             4/29/2020   $4,400.00               ¨ Secured debt
          1470 ANNUNCIATION ST #3315
          NEW ORLEANS LA 70130                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1501.   RESTO GROUP, INC.                             4/8/2020    $337.76                 ¨ Secured debt
          1470 ANNUNCIATION ST #3315
          NEW ORLEANS LA 70130                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1502.   RESTO GROUP, INC.                             3/31/2020   $4,400.00               ¨ Secured debt
          1470 ANNUNCIATION ST #3315
          NEW ORLEANS LA 70130                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1503.   RESTO GROUP, INC.                             2/28/2020   $4,400.00               ¨ Secured debt
          1470 ANNUNCIATION ST #3315
          NEW ORLEANS LA 70130                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1504.   RESTO GROUP, INC.                             2/26/2020   $1,200.00               ¨ Secured debt
          1470 ANNUNCIATION ST #3315
          NEW ORLEANS LA 70130                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1505.   RESTO GROUP, INC.                             2/4/2020    $962.90                 ¨ Secured debt
          1470 ANNUNCIATION ST #3315
          NEW ORLEANS LA 70130                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1506.   RETIREE DRUG SUBSIDY                            4/2/2020    $33,714.50              ¨ Secured debt
          ATTN PAYMENTS
          P O BOX 7247                                                                        ¨ Unsecured loan repayments
          PHILADELPHIA PA 19170-6054                                                          þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1507.   RETIREMENT FUND FOR                             2/26/2020   $224,834.55             ¨ Secured debt
          3211 FOURTH STREET, NE
          WASHINGTON DC 20017                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1508.   Name and Address Intentionally Omitted          4/28/2020   $2,615.94               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1509.   Name and Address Intentionally Omitted          3/31/2020   $2,615.94               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1510.   Name and Address Intentionally Omitted          2/28/2020   $2,615.94               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1511.   Name and Address Intentionally Omitted          2/13/2020   $30,000.00              ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1512.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $3,383.60               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1513.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $3,103.50               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1514.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $2,913.15               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1515.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $2,795.15               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1516.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $2,573.15               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1517.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $2,479.90               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1518.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $1,699.50               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1519.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $1,698.00               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1520.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $1,310.00               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1521.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $1,306.55               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1522.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $1,303.50               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1523.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $918.80                 ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1524.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $859.95                 ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1525.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $787.50                 ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1526.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $577.50                 ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1527.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/20/2020   $82.50                  ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1528.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/13/2020   $231.00                 ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1529.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          3/4/2020    $6,428.15               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1530.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          2/18/2020   $660.50                 ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1531.   ROEDEL PARSONS KOCH BLACHE BALHOFF &          2/4/2020    $4,936.80               ¨ Secured debt
          MCCOLLIST
          1515 POYDRAS ST                                                                   ¨ Unsecured loan repayments
          NEW ORLEANS LA 70112                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1532.   ROTOLO CONSULTANTS, INC                       4/7/2020    $2,407.50               ¨ Secured debt
          38001 BROWNSVILLE ROAD
          SLIDELL LA 70460                                                                  ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1533.   ROTOLO CONSULTANTS, INC                       3/30/2020   $560.00                 ¨ Secured debt
          38001 BROWNSVILLE ROAD
          SLIDELL LA 70460                                                                  ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1534.   ROTOLO CONSULTANTS, INC                       3/27/2020   $2,407.50               ¨ Secured debt
          38001 BROWNSVILLE ROAD
          SLIDELL LA 70460                                                                  ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1535.   ROTOLO CONSULTANTS, INC                       3/13/2020   $2,952.50               ¨ Secured debt
          38001 BROWNSVILLE ROAD
          SLIDELL LA 70460                                                                  ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1536.   SALESIAN SOCIETY                                4/13/2020   $7,137.17               ¨ Secured debt
          PROVINCIAL TREASURER
          PROVINCIAL RESIDENCE                                                                ¨ Unsecured loan repayments
          148 MAIN STREET, P.O. BOOX 639
          NEW ROCHELLE NY 10802-0639
                                                                                              ¨ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              þ Other: X
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1537.   SALESIAN SOCIETY                                3/9/2020    $30.03                  ¨ Secured debt
          PROVINCIAL TREASURER
          PROVINCIAL RESIDENCE                                                                ¨ Unsecured loan repayments
          148 MAIN STREET, P.O. BOOX 639
          NEW ROCHELLE NY 10802-0639
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1538.   SAUVIAC + DANG                                  2/18/2020   $50,000.00              ¨ Secured debt
          7388 HIGHLAND ROAD, SUITE 6
          BATON ROUGE LA 70808                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1539.   Name and Address Intentionally Omitted          4/29/2020   $1,889.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1540.   Name and Address Intentionally Omitted          3/31/2020   $1,889.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1541.   Name and Address Intentionally Omitted          3/17/2020   $522.35                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1542.   Name and Address Intentionally Omitted          2/28/2020   $1,889.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1543.   Name and Address Intentionally Omitted          2/4/2020    $938.76                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1544.   SECOND HARVEST FOOD BANK OF GREATER             4/29/2020   $27,575.40              ¨ Secured debt
          NEW
          700 EDWARDS AVE                                                                     ¨ Unsecured loan repayments
          NEW ORLEANS LA 70123                                                                þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1545.   SECOND HARVEST FOOD BANK OF GREATER             4/29/2020   $606.64                 ¨ Secured debt
          NEW
          700 EDWARDS AVE                                                                     ¨ Unsecured loan repayments
          NEW ORLEANS LA 70123                                                                þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1546.   SEWERAGE & WATER BOA                            4/27/2020   $83.58                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1547.   SEWERAGE & WATER BOA                            4/20/2020   $943.57                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                            Check all that apply

3.1548.   SEWERAGE & WATER BOA                          4/20/2020   $274.16                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1549.   SEWERAGE & WATER BOA                          4/20/2020   $98.47                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1550.   SEWERAGE & WATER BOA                          4/20/2020   $1.40                   ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1551.   SEWERAGE & WATER BOA                          4/8/2020    $1,974.98               ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1552.   SEWERAGE & WATER BOA                          4/8/2020    $197.18                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1553.   SEWERAGE & WATER BOA                          4/8/2020    $89.61                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1554.   SEWERAGE & WATER BOA                          4/2/2020    $583.65                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1555.   SEWERAGE & WATER BOA                          4/2/2020    $182.31                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1556.   SEWERAGE & WATER BOA                          4/2/2020    $142.97                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1557.   SEWERAGE & WATER BOA                          4/2/2020    $133.27                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1558.   SEWERAGE & WATER BOA                          3/17/2020   $854.40                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1559.   SEWERAGE & WATER BOA                          3/17/2020   $657.87                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1560.   SEWERAGE & WATER BOA                          3/17/2020   $48.65                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1561.   SEWERAGE & WATER BOA                          3/10/2020   $104.21                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1562.   SEWERAGE & WATER BOA                          3/10/2020   $98.47                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1563.   SEWERAGE & WATER BOA                          3/10/2020   $35.11                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1564.   SEWERAGE & WATER BOA                          3/3/2020    $274.18                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1565.   SEWERAGE & WATER BOA                          3/3/2020    $189.83                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1566.   SEWERAGE & WATER BOA                          3/3/2020    $186.11                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1567.   SEWERAGE & WATER BOA                          3/3/2020    $141.26                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1568.   SEWERAGE & WATER BOA                          3/3/2020    $122.06                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1569.   SEWERAGE & WATER BOA                          2/26/2020   $1,730.13               ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1570.   SEWERAGE & WATER BOA                          2/26/2020   $657.87                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1571.   SEWERAGE & WATER BOA                          2/26/2020   $429.00                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1572.   SEWERAGE & WATER BOA                          2/26/2020   $170.26                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1573.   SEWERAGE & WATER BOA                          2/26/2020   $89.61                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1574.   SEWERAGE & WATER BOA                          2/18/2020   $964.44                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1575.   SEWERAGE & WATER BOA                          2/18/2020   $585.12                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1576.   SEWERAGE & WATER BOA                          2/18/2020   $312.03                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1577.   SEWERAGE & WATER BOA                          2/18/2020   $94.04                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1578.   SEWERAGE & WATER BOA                          2/18/2020   $74.54                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1579.   SEWERAGE & WATER BOA                          2/18/2020   $44.23                  ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1580.   SEWERAGE & WATER BOA                          2/4/2020    $532.78                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1581.   SEWERAGE & WATER BOA                          2/4/2020    $189.68                 ¨ Secured debt
          625 ST JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1582.   SEWERAGE AND WATER BOARD                      4/8/2020    $11.96                  ¨ Secured debt
          625 SAINT JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1583.   SEWERAGE AND WATER BOARD                      4/2/2020    $1,455.08               ¨ Secured debt
          625 SAINT JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1584.   SEWERAGE AND WATER BOARD                      3/11/2020   $100.00                 ¨ Secured debt
          625 SAINT JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1585.   SEWERAGE AND WATER BOARD                      3/4/2020    $3,225.00               ¨ Secured debt
          625 SAINT JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1586.   SEWERAGE AND WATER BOARD                      2/19/2020   $871.85                 ¨ Secured debt
          625 SAINT JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1587.   SEWERAGE AND WATER BOARD                      2/12/2020   $292.86                 ¨ Secured debt
          625 SAINT JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1588.   SEWERAGE AND WATER BOARD                      2/7/2020    $200.00                 ¨ Secured debt
          625 SAINT JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1589.   SEWERAGE AND WATER BOARD                      2/5/2020    $1,244.05               ¨ Secured debt
          625 SAINT JOSEPH ST
          NEW ORLEANS LA 70165                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1590.   SISTERS OF MOUNT CARMEL                       4/29/2020   $10,595.74              ¨ Secured debt
          62284 FISH HATCHERY ROAD
          LACOMBE LA 70445                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1591.   SISTERS OF MOUNT CARMEL                       3/31/2020   $5,311.68               ¨ Secured debt
          62284 FISH HATCHERY ROAD
          LACOMBE LA 70445                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1592.   SISTERS OF MOUNT CARMEL                       3/31/2020   $5,284.06               ¨ Secured debt
          62284 FISH HATCHERY ROAD
          LACOMBE LA 70445                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1593.   SISTERS OF MOUNT CARMEL                       2/28/2020   $5,311.68               ¨ Secured debt
          62284 FISH HATCHERY ROAD
          LACOMBE LA 70445                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1594.   SISTERS OF MOUNT CARMEL                       2/28/2020   $5,284.06               ¨ Secured debt
          62284 FISH HATCHERY ROAD
          LACOMBE LA 70445                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1595.   SLIDELL MEMORIAL HOSPITAL                     4/30/2020   $540.10                 ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1596.   SLIDELL MEMORIAL HOSPITAL                     4/17/2020   $144.22                 ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1597.   SLIDELL MEMORIAL HOSPITAL                     4/10/2020   $1,164.53               ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1598.   SLIDELL MEMORIAL HOSPITAL                     4/3/2020    $1,063.15               ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1599.   SLIDELL MEMORIAL HOSPITAL                     3/27/2020   $16,316.91              ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1600.   SLIDELL MEMORIAL HOSPITAL                     3/20/2020   $6,830.09               ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1601.   SLIDELL MEMORIAL HOSPITAL                     3/13/2020   $5,187.86               ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                              Check all that apply

3.1602.   SLIDELL MEMORIAL HOSPITAL                       3/6/2020    $32.50                  ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1603.   SLIDELL MEMORIAL HOSPITAL                       2/28/2020   $34,404.73              ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1604.   SLIDELL MEMORIAL HOSPITAL                       2/21/2020   $5,291.83               ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1605.   SLIDELL MEMORIAL HOSPITAL                       2/14/2020   $4,229.93               ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1606.   SLIDELL MEMORIAL HOSPITAL                       2/7/2020    $273.59                 ¨ Secured debt
          PO BOX 679504
          DALLAS TX 75267                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1607.   Name and Address Intentionally Omitted          4/20/2020   $249.44                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                              Check all that apply

3.1608.   Name and Address Intentionally Omitted          3/10/2020   $1,963.42               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1609.   Name and Address Intentionally Omitted          3/3/2020    $347.96                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1610.   Name and Address Intentionally Omitted          2/18/2020   $152.50                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1611.   Name and Address Intentionally Omitted          2/11/2020   $143,198.59             ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1612.   SOUTHEASTERN LA UNIVERSITY                      3/11/2020   $10,800.00              ¨ Secured debt
          SLU BOX 10720
          HAMMOND LA 70402                                                                    ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1613.   SOUTHEASTERN LA UNIVERSITY                      2/21/2020   $8,100.00               ¨ Secured debt
          ATTN: JEANETTE IPPOLITO
          SLU10720                                                                            ¨ Unsecured loan repayments
          HAMMOND LA 70402                                                                    ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1614.   SOUTHEASTERN LOUISIANA UNIVERSITY             3/19/2020   $10,575.00              ¨ Secured debt
          ATTN: JOHNETTE IPPOLITO
          SLU 10720                                                                         ¨ Unsecured loan repayments
          HAMMOND LA 70402                                                                  ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1615.   SOUTHEASTERN LOUISIANA UNIVERSITY             3/5/2020    $16,200.00              ¨ Secured debt
          SLU 10720
          HAMMOND LA 70402                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1616.   SOUTHEASTERN LOUISIANA UNIVERSITY             4/3/2020    $13,950.00              ¨ Secured debt
          JOHNETTE IPPOLITO
          SLU 10720                                                                         ¨ Unsecured loan repayments
          HAMMOND, LA 70402                                                                 þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1617.   SOUTHERN DOMINICAN P                          4/29/2020   $7,143.07               ¨ Secured debt
          1611 MIRABEAU AVENUE
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1618.   SOUTHERN DOMINICAN P                          3/31/2020   $4,255.33               ¨ Secured debt
          1611 MIRABEAU AVENUE
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1619.   SOUTHERN DOMINICAN P                          3/31/2020   $2,887.74               ¨ Secured debt
          1611 MIRABEAU AVENUE
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1620.   SOUTHERN DOMINICAN P                          3/23/2020   $1,166.68               ¨ Secured debt
          1611 MIRABEAU AVENUE
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1621.   SOUTHERN DOMINICAN P                          3/23/2020   $583.34                 ¨ Secured debt
          1611 MIRABEAU AVENUE
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1622.   SOUTHERN DOMINICAN P                          2/26/2020   $1,166.68               ¨ Secured debt
          1611 MIRABEAU AVENUE
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1623.   SOUTHERN DOMINICAN P                          2/26/2020   $583.34                 ¨ Secured debt
          1611 MIRABEAU AVENUE
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1624.   SOUTHERN DOMINICAN P                          2/18/2020   $50.00                  ¨ Secured debt
          1611 MIRABEAU AVENUE
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1625.   SOUTHERN EAGLE SALES & SERVICES               3/13/2020   $10,309.69              ¨ Secured debt
          5300 BLAIR STREET
          METAIRIE LA 70003                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: X


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1626.   SOUTHERN PAIN AND ANESTHESIA                  4/27/2020   $450.00                 ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1627.   SOUTHERN PAIN AND ANESTHESIA                  4/17/2020   $68.00                  ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1628.   SOUTHERN PAIN AND ANESTHESIA                  3/27/2020   $11,090.30              ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1629.   SOUTHERN PAIN AND ANESTHESIA                  3/25/2020   $11,090.30              ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1630.   SOUTHERN PAIN AND ANESTHESIA                  3/20/2020   $550.00                 ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1631.   SOUTHERN PAIN AND ANESTHESIA                  3/17/2020   $115.00                 ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1632.   SOUTHERN PAIN AND ANESTHESIA                  3/4/2020    $105.00                 ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1633.   SOUTHERN PAIN AND ANESTHESIA                  2/18/2020   $68.00                  ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1634.   SOUTHERN PAIN AND ANESTHESIA                  2/11/2020   $500.00                 ¨ Secured debt
          3434 HOUMA BLVD
          METAIRIE LA 70006                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1635.   ST ANTHONY PRIORY                             3/23/2020   $4,098.33               ¨ Secured debt
          FR. THOMAS SCHAEFGEN OP
          4640 CANAL STREET                                                                 ¨ Unsecured loan repayments
          NEW ORLEANS LA 70119-5808                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1636.   ST ANTHONY PRIORY                             2/26/2020   $4,098.33               ¨ Secured debt
          FR. THOMAS SCHAEFGEN OP
          4640 CANAL STREET                                                                 ¨ Unsecured loan repayments
          NEW ORLEANS LA 70119-5808                                                         þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1637.   ST ANTHONY PRIORY                             3/23/2020   $4,581.37               ¨ Secured debt
          FRIAR SERGIO A SERRANO OP
          4640 CANAL STREET                                                                 ¨ Unsecured loan repayments
          NEW ORLEANS LA 70119                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1638.   ST ANTHONY PRIORY                             2/26/2020   $4,581.37               ¨ Secured debt
          FRIAR SERGIO A SERRANO OP
          4640 CANAL STREET                                                                 ¨ Unsecured loan repayments
          NEW ORLEANS LA 70119                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1639.   ST ANTHONY'S GARDENS                          4/2/2020    $14,515.00              ¨ Secured debt
          601 HOLY TRINITY DRIVE
          COVINGTON LA 70433                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1640.   ST ANTHONY'S GARDENS                          3/3/2020    $14,515.00              ¨ Secured debt
          601 HOLY TRINITY DRIVE
          COVINGTON LA 70433                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1641.   ST ANTHONY'S GARDENS                          2/4/2020    $14,515.00              ¨ Secured debt
          601 HOLY TRINITY DRIVE
          COVINGTON LA 70433                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1642.   ST BERNARD PARISH HOSPITAL                    4/17/2020   $10.02                  ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1643.   ST BERNARD PARISH HOSPITAL                    4/10/2020   $11.18                  ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1644.   ST BERNARD PARISH HOSPITAL                    4/3/2020    $112.61                 ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1645.   ST BERNARD PARISH HOSPITAL                    3/31/2020   $7.58                   ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1646.   ST BERNARD PARISH HOSPITAL                    3/27/2020   $85.44                  ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1647.   ST BERNARD PARISH HOSPITAL                    3/20/2020   $357.27                 ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1648.   ST BERNARD PARISH HOSPITAL                    3/13/2020   $779.01                 ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1649.   ST BERNARD PARISH HOSPITAL                    3/6/2020    $8,215.22               ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1650.   ST BERNARD PARISH HOSPITAL                    2/28/2020   $258.99                 ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1651.   ST BERNARD PARISH HOSPITAL                    2/21/2020   $315.09                 ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1652.   ST BERNARD PARISH HOSPITAL                    2/14/2020   $5,372.19               ¨ Secured debt
          PO BOX 733893
          DALLAS TX 75373                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1653.   ST JAMES MAJOR CHURC                          2/11/2020   $10,000.00              ¨ Secured debt
          3736 GENTILLY BLVD
          NEW ORLEANS LA 70122                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1654.   ST JOSEPH ABBEY                               2/11/2020   $11,765.00              ¨ Secured debt
          CHRISTIAN LIFE CENTER
          75376 RIVER ROAD                                                                  ¨ Unsecured loan repayments
          ST BENEDICT LA 70457                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1655.   ST JOSEPH ABBEY                               2/11/2020   $500.00                 ¨ Secured debt
          CHRISTIAN LIFE CENTER
          75376 RIVER ROAD                                                                  ¨ Unsecured loan repayments
          ST BENEDICT LA 70457                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1656.   ST JOSEPH SEMINARY C                          2/26/2020   $84,488.00              ¨ Secured debt
          75376 RIVER ROAD
          ST BENEDICT LA 70457                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1657.   ST MICHAEL SPECIAL S                          3/17/2020   $13,735.00              ¨ Secured debt
          1522 CHIPPEWA ST
          NEW ORLEANS LA 70130-4513                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1658.   ST PATRICK CHURCH                             3/10/2020   $75,276.00              ¨ Secured debt
          724 CAMP STREET
          NEW ORLEANS LA 70130-3757                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1659.   ST PATRICK CHURCH                             3/10/2020   $3,200.00               ¨ Secured debt
          724 CAMP STREET
          NEW ORLEANS LA 70130-3757                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1660.   ST TAMMANY EMERGENCY PHYSICIAN                4/30/2020   $1,838.00               ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1661.   ST TAMMANY EMERGENCY PHYSICIAN                4/24/2020   $927.45                 ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1662.   ST TAMMANY EMERGENCY PHYSICIAN                3/27/2020   $2,100.69               ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1663.   ST TAMMANY EMERGENCY PHYSICIAN                3/13/2020   $684.37                 ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1664.   ST TAMMANY EMERGENCY PHYSICIAN                3/6/2020    $552.57                 ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1665.   ST TAMMANY EMERGENCY PHYSICIAN                2/28/2020   $197.44                 ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1666.   ST TAMMANY EMERGENCY PHYSICIAN                2/21/2020   $552.57                 ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1667.   ST TAMMANY EMERGENCY PHYSICIAN                2/14/2020   $1,124.89               ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1668.   ST TAMMANY EMERGENCY PHYSICIAN                2/7/2020    $733.86                 ¨ Secured debt
          PO BOX 721736
          NORMAN OK 73070                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1669.   ST TAMMANY PARISH HOSPITAL                    4/30/2020   $120.13                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1670.   ST TAMMANY PARISH HOSPITAL                    4/30/2020   $102.66                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1671.   ST TAMMANY PARISH HOSPITAL                    4/24/2020   $39,539.28              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1672.   ST TAMMANY PARISH HOSPITAL                    4/24/2020   $2,797.46               ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1673.   ST TAMMANY PARISH HOSPITAL                    4/24/2020   $83.92                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1674.   ST TAMMANY PARISH HOSPITAL                    4/24/2020   $73.94                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1675.   ST TAMMANY PARISH HOSPITAL                    4/24/2020   $32.97                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1676.   ST TAMMANY PARISH HOSPITAL                    4/17/2020   $1,062.55               ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1677.   ST TAMMANY PARISH HOSPITAL                    4/17/2020   $117.00                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1678.   ST TAMMANY PARISH HOSPITAL                    4/17/2020   $54.21                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1679.   ST TAMMANY PARISH HOSPITAL                    4/10/2020   $9,254.91               ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1680.   ST TAMMANY PARISH HOSPITAL                    4/10/2020   $2,247.57               ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1681.   ST TAMMANY PARISH HOSPITAL                    4/10/2020   $136.68                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1682.   ST TAMMANY PARISH HOSPITAL                    4/10/2020   $73.94                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1683.   ST TAMMANY PARISH HOSPITAL                    4/3/2020    $13,240.56              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1684.   ST TAMMANY PARISH HOSPITAL                    4/3/2020    $73.94                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1685.   ST TAMMANY PARISH HOSPITAL                    4/3/2020    $47.97                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1686.   ST TAMMANY PARISH HOSPITAL                    4/3/2020    $47.38                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1687.   ST TAMMANY PARISH HOSPITAL                    3/31/2020   $531.30                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1688.   ST TAMMANY PARISH HOSPITAL                    3/31/2020   $308.11                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1689.   ST TAMMANY PARISH HOSPITAL                    3/31/2020   $171.25                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1690.   ST TAMMANY PARISH HOSPITAL                    3/27/2020   $59,584.27              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1691.   ST TAMMANY PARISH HOSPITAL                    3/27/2020   $248.75                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1692.   ST TAMMANY PARISH HOSPITAL                    3/27/2020   $147.88                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1693.   ST TAMMANY PARISH HOSPITAL                    3/27/2020   $42.97                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1694.   ST TAMMANY PARISH HOSPITAL                    3/20/2020   $16,525.42              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1695.   ST TAMMANY PARISH HOSPITAL                    3/20/2020   $551.27                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1696.   ST TAMMANY PARISH HOSPITAL                    3/20/2020   $510.45                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1697.   ST TAMMANY PARISH HOSPITAL                    3/20/2020   $145.76                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1698.   ST TAMMANY PARISH HOSPITAL                    3/20/2020   $81.65                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1699.   ST TAMMANY PARISH HOSPITAL                    3/13/2020   $10,136.57              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1700.   ST TAMMANY PARISH HOSPITAL                    3/13/2020   $262.90                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1701.   ST TAMMANY PARISH HOSPITAL                    3/13/2020   $217.85                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1702.   ST TAMMANY PARISH HOSPITAL                    3/13/2020   $190.96                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1703.   ST TAMMANY PARISH HOSPITAL                    3/13/2020   $165.49                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1704.   ST TAMMANY PARISH HOSPITAL                    3/13/2020   $43.61                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1705.   ST TAMMANY PARISH HOSPITAL                    3/13/2020   $42.97                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1706.   ST TAMMANY PARISH HOSPITAL                    3/13/2020   $27.97                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1707.   ST TAMMANY PARISH HOSPITAL                    3/6/2020    $16,058.12              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1708.   ST TAMMANY PARISH HOSPITAL                    3/6/2020    $482.95                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1709.   ST TAMMANY PARISH HOSPITAL                    3/6/2020    $77.30                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1710.   ST TAMMANY PARISH HOSPITAL                    2/28/2020   $19,495.77              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1711.   ST TAMMANY PARISH HOSPITAL                    2/28/2020   $432.80                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1712.   ST TAMMANY PARISH HOSPITAL                    2/28/2020   $73.94                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1713.   ST TAMMANY PARISH HOSPITAL                    2/28/2020   $32.97                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1714.   ST TAMMANY PARISH HOSPITAL                    2/28/2020   $28.34                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1715.   ST TAMMANY PARISH HOSPITAL                    2/21/2020   $4,100.34               ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1716.   ST TAMMANY PARISH HOSPITAL                    2/21/2020   $300.32                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1717.   ST TAMMANY PARISH HOSPITAL                    2/21/2020   $137.88                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1718.   ST TAMMANY PARISH HOSPITAL                    2/21/2020   $116.42                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1719.   ST TAMMANY PARISH HOSPITAL                    2/21/2020   $67.57                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1720.   ST TAMMANY PARISH HOSPITAL                    2/14/2020   $27,380.30              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1721.   ST TAMMANY PARISH HOSPITAL                    2/14/2020   $595.86                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1722.   ST TAMMANY PARISH HOSPITAL                    2/14/2020   $158.43                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1723.   ST TAMMANY PARISH HOSPITAL                    2/14/2020   $158.33                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1724.   ST TAMMANY PARISH HOSPITAL                    2/14/2020   $75.37                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1725.   ST TAMMANY PARISH HOSPITAL                    2/14/2020   $31.48                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1726.   ST TAMMANY PARISH HOSPITAL                    2/7/2020    $42,526.32              ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1727.   ST TAMMANY PARISH HOSPITAL                    2/7/2020    $501.59                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1728.   ST TAMMANY PARISH HOSPITAL                    2/7/2020    $252.08                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1729.   ST TAMMANY PARISH HOSPITAL                    2/7/2020    $190.96                 ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1730.   ST TAMMANY PARISH HOSPITAL                    2/7/2020    $71.65                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1731.   ST TAMMANY PARISH HOSPITAL                    2/7/2020    $30.25                  ¨ Secured debt
          PO BOX 54482
          NEW ORLEANS LA 70154                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1732.   ST. CLEMENT OF ROME CHURCH                    2/28/2020   $500.00                 ¨ Secured debt
          4317 RICHLAND AVE.
          METAIRIE LA 70002                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1733.   ST. CLEMENT OF ROME CHURCH                    2/11/2020   $24,529.50              ¨ Secured debt
          4317 RICHLAND AVE.
          METAIRIE LA 70002                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1734.   ST. CLEMENT OF ROME CHURCH                    2/4/2020    $9,755.62               ¨ Secured debt
          4317 RICHLAND AVE.
          METAIRIE LA 70002                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1735.   ST. MARY MAGDALEN                             4/27/2020   $35,333.00              ¨ Secured debt
          6421 W METAIRIE
          METAIRIE LA 70002                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1736.   STALLINGS CONSTRUCTION COMPANY INC            4/7/2020    $19,031.00              ¨ Secured debt
          424 S. ANTHONY ST.
          NEW ORLEANS LA 70119                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1737.   STALLINGS CONSTRUCTION COMPANY INC            2/14/2020   $34,867.00              ¨ Secured debt
          424 S. ANTHONY ST.
          NEW ORLEANS LA 70119                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1738.   STAR SERVICE, INC                             3/13/2020   $458.40                 ¨ Secured debt
          117 PINTAIL ST
          ST. ROSE LA 70087                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1739.   STAR SERVICE, INC                             3/11/2020   $4,083.33               ¨ Secured debt
          117 PINTAIL ST
          ST. ROSE LA 70087                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1740.   STAR SERVICE, INC                             2/12/2020   $4,083.33               ¨ Secured debt
          117 PINTAIL ST
          ST. ROSE LA 70087                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1741.   STAR SERVICE, INC.                            3/24/2020   $7,374.00               ¨ Secured debt
          177 PINTAIL ST.
          ST. ROSE LA 70087                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1742.   SYSCO FOOD SERVICES                           3/23/2020   $1,827.46               ¨ Secured debt
          P O BOX 10950
          NEW ORLEANS LA 70181-0950                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1743.   SYSCO FOOD SERVICES                           3/17/2020   $85.72                  ¨ Secured debt
          P O BOX 10950
          NEW ORLEANS LA 70181-0950                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1744.   SYSCO FOOD SERVICES                           3/10/2020   $949.66                 ¨ Secured debt
          P O BOX 10950
          NEW ORLEANS LA 70181-0950                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1745.   SYSCO FOOD SERVICES                           3/3/2020    $2,403.26               ¨ Secured debt
          P O BOX 10950
          NEW ORLEANS LA 70181-0950                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1746.   SYSCO FOOD SERVICES                             2/18/2020   $1,633.81               ¨ Secured debt
          P O BOX 10950
          NEW ORLEANS LA 70181-0950                                                           ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1747.   SYSCO FOOD SERVICES                             2/11/2020   $829.59                 ¨ Secured debt
          P O BOX 10950
          NEW ORLEANS LA 70181-0950                                                           ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1748.   SYSCO FOOD SERVICES                             2/11/2020   $726.63                 ¨ Secured debt
          P O BOX 10950
          NEW ORLEANS LA 70181-0950                                                           ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1749.   SYSCO FOOD SERVICES                             2/4/2020    $2,817.68               ¨ Secured debt
          P O BOX 10950
          NEW ORLEANS LA 70181-0950                                                           ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1750.   Name and Address Intentionally Omitted          4/28/2020   $2,932.79               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1751.   Name and Address Intentionally Omitted          3/31/2020   $2,932.79               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1752.   Name and Address Intentionally Omitted          3/3/2020    $64.00                  ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1753.   Name and Address Intentionally Omitted          2/28/2020   $2,932.79               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1754.   Name and Address Intentionally Omitted          2/26/2020   $251.00                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1755.   TCHOUPITOULAS SALES                             3/16/2020   $2,377.25               ¨ Secured debt
          408 CHRISTIANA DRIVE
          MARRERO LA 70072                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1756.   TCHOUPITOULAS SALES                             3/16/2020   $217.04                 ¨ Secured debt
          408 CHRISTIANA DRIVE
          MARRERO LA 70072                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1757.   TCHOUPITOULAS SALES                             3/10/2020   $1,981.05               ¨ Secured debt
          408 CHRISTIANA DRIVE
          MARRERO LA 70072                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1758.   TCHOUPITOULAS SALES                           3/3/2020    $3,995.76               ¨ Secured debt
          408 CHRISTIANA DRIVE
          MARRERO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1759.   TCHOUPITOULAS SALES                           2/13/2020   $4,674.27               ¨ Secured debt
          408 CHRISTIANA DRIVE
          MARRERO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1760.   TCHOUPITOULAS SALES                           2/4/2020    $1,465.97               ¨ Secured debt
          408 CHRISTIANA DRIVE
          MARRERO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1761.   TEXAS DIGESTIVE DISEASE CONSUL                4/17/2020   $6,292.48               ¨ Secured debt
          PO BOX 206239
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1762.   TEXAS DIGESTIVE DISEASE CONSUL                4/10/2020   $114.70                 ¨ Secured debt
          PO BOX 206239
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1763.   TEXAS DIGESTIVE DISEASE CONSUL                3/27/2020   $58.12                  ¨ Secured debt
          PO BOX 206239
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1764.   TEXAS DIGESTIVE DISEASE CONSUL                3/20/2020   $107.73                 ¨ Secured debt
          PO BOX 206239
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1765.   TEXAS DIGESTIVE DISEASE CONSUL                2/28/2020   $169.28                 ¨ Secured debt
          PO BOX 206239
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1766.   TEXAS DIGESTIVE DISEASE CONSUL                2/21/2020   $6,178.48               ¨ Secured debt
          PO BOX 206239
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1767.   TEXAS UBS INC.                                4/20/2020   $3,837.00               ¨ Secured debt
          P O BOX 2734
          HUMBLE TX 77347-2734                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1768.   TEXAS UBS INC.                                3/10/2020   $5,542.34               ¨ Secured debt
          P O BOX 2734
          HUMBLE TX 77347-2734                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1769.   TEXAS UBS INC.                                2/11/2020   $5,542.34               ¨ Secured debt
          P O BOX 2734
          HUMBLE TX 77347-2734                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1770.   THE APOSTOLIC NUNCIA                          3/3/2020    $46,000.00              ¨ Secured debt
          3339 MASSACHUSETTS AVE NW
          WASHINGTON DC 20008                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1771.   THE DELTA PATHOLOGY GROUP LLC                 4/30/2020   $331.36                 ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1772.   THE DELTA PATHOLOGY GROUP LLC                 4/24/2020   $3,087.35               ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1773.   THE DELTA PATHOLOGY GROUP LLC                 4/10/2020   $2,372.02               ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1774.   THE DELTA PATHOLOGY GROUP LLC                 3/31/2020   $3,595.63               ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1775.   THE DELTA PATHOLOGY GROUP LLC                 3/27/2020   $632.41                 ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1776.   THE DELTA PATHOLOGY GROUP LLC                 3/20/2020   $1,741.47               ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1777.   THE DELTA PATHOLOGY GROUP LLC                 3/13/2020   $759.44                 ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1778.   THE DELTA PATHOLOGY GROUP LLC                 3/6/2020    $110.59                 ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1779.   THE DELTA PATHOLOGY GROUP LLC                 2/28/2020   $1,705.04               ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1780.   THE DELTA PATHOLOGY GROUP LLC                 2/21/2020   $3,423.45               ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1781.   THE DELTA PATHOLOGY GROUP LLC                 2/14/2020   $620.89                 ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1782.   THE DELTA PATHOLOGY GROUP LLC                 2/7/2020    $1,308.39               ¨ Secured debt
          DEPT NUMBER 10016
          PO BOX 3780                                                                       ¨ Unsecured loan repayments
          TUPELO MS 38803                                                                   þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1783.   THE EHRHARDT GROUP                            4/30/2020   $4,500.00               ¨ Secured debt
          1100 POYDRAS STREET, SUITE 1325
          NEW ORLEANS LA 70163                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1784.   THE EHRHARDT GROUP                            4/8/2020    $10,000.00              ¨ Secured debt
          1100 POYDRAS STREET, SUITE 1325
          NEW ORLEANS LA 70163                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1785.   THE EHRHARDT GROUP                            3/23/2020   $10,000.00              ¨ Secured debt
          1100 POYDRAS STREET, SUITE 1325
          NEW ORLEANS LA 70163                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1786.   THE MCENERY COMPANY                           4/27/2020   $26,500.00              ¨ Secured debt
          810 UNION STREET FOURTH FLOOR
          NEW ORLEANS LA 70112                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1787.   THE MCENERY COMPANY                           4/20/2020   $7,475.00               ¨ Secured debt
          170 MOORES ROAD
          MANDEVILLE LA 70471                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1788.   THE MCENERY COMPANY                           4/2/2020    $12,500.00              ¨ Secured debt
          170 MOORES ROAD
          MANDEVILLE LA 70471                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1789.   THE METHODIST HOSPITAL                        4/24/2020   $4,256.20               ¨ Secured debt
          PO BOX 47551
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1790.   THE METHODIST HOSPITAL                        3/13/2020   $3,344.29               ¨ Secured debt
          PO BOX 47551
          HOUSTON TX 77210                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1791.   THE NEUROMEDICAL CENTER                       4/10/2020   $5,067.32               ¨ Secured debt
          PO BOX 98509
          BATON ROUGE LA 70884                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1792.   THE NEUROMEDICAL CENTER                       3/13/2020   $4,505.18               ¨ Secured debt
          PO BOX 98509
          BATON ROUGE LA 70884                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1793.   THE NEUROMEDICAL CENTER                       3/6/2020    $118.90                 ¨ Secured debt
          PO BOX 98509
          BATON ROUGE LA 70884                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1794.   THE RENY COMPANY                              4/17/2020   $35,417.00              ¨ Secured debt
          1820 PRESTON PARK BLVD
          STE 1900                                                                          ¨ Unsecured loan repayments
          PLANO TX 75093                                                                    þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1795.   THE RENY COMPANY                              3/20/2020   $2,461.00               ¨ Secured debt
          1820 PRESTON PARK BLVD
          STE 1900                                                                          ¨ Unsecured loan repayments
          PLANO TX 75093                                                                    þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1796.   THE RENY COMPANY                              3/2/2020    $2,691.00               ¨ Secured debt
          1820 PRESTON PARK BLVD
          STE 1900                                                                          ¨ Unsecured loan repayments
          PLANO TX 75093                                                                    þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1797.   THE RENY COMPANY                              2/19/2020   $6,622.00               ¨ Secured debt
          1820 PRESTON PARK BLVD
          STE 1900                                                                          ¨ Unsecured loan repayments
          PLANO TX 75093                                                                    þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1798.   THE RHEUMATOLOGY GROUP, LLC                   4/10/2020   $6,374.24               ¨ Secured debt
          2633 NAPOLEON AVE STE 530
          NEW ORLEANS LA 70115                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1799.   THE RHEUMATOLOGY GROUP, LLC                   3/27/2020   $30.00                  ¨ Secured debt
          2633 NAPOLEON AVE STE 530
          NEW ORLEANS LA 70115                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1800.   THE RHEUMATOLOGY GROUP, LLC                   3/13/2020   $6,374.24               ¨ Secured debt
          2633 NAPOLEON AVE STE 530
          NEW ORLEANS LA 70115                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1801.   THE RHEUMATOLOGY GROUP, LLC                   3/6/2020    $15.00                  ¨ Secured debt
          2633 NAPOLEON AVE STE 530
          NEW ORLEANS LA 70115                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1802.   THE RHEUMATOLOGY GROUP, LLC                   2/28/2020   $15.00                  ¨ Secured debt
          2633 NAPOLEON AVE STE 530
          NEW ORLEANS LA 70115                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1803.   THIBODAUX REGIONAL HEALTH SYS                 4/24/2020   $275.00                 ¨ Secured debt
          602 N ACADIA RD
          THIBODAUX LA 70301                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1804.   THIBODAUX REGIONAL HEALTH SYS                 4/10/2020   $4,900.12               ¨ Secured debt
          602 N ACADIA RD
          THIBODAUX LA 70301                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1805.   THIBODAUX REGIONAL HEALTH SYS                 4/3/2020    $35.68                  ¨ Secured debt
          602 N ACADIA RD
          THIBODAUX LA 70301                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1806.   THIBODAUX REGIONAL HEALTH SYS                   3/27/2020   $521.01                 ¨ Secured debt
          602 N ACADIA RD
          THIBODAUX LA 70301                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1807.   THIBODAUX REGIONAL HEALTH SYS                   3/20/2020   $15,604.43              ¨ Secured debt
          602 N ACADIA RD
          THIBODAUX LA 70301                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1808.   THIBODAUX REGIONAL HEALTH SYS                   3/13/2020   $113.80                 ¨ Secured debt
          602 N ACADIA RD
          THIBODAUX LA 70301                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1809.   THIBODAUX REGIONAL HEALTH SYS                   2/28/2020   $23.31                  ¨ Secured debt
          602 N ACADIA RD
          THIBODAUX LA 70301                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1810.   Name and Address Intentionally Omitted          4/28/2020   $2,382.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1811.   Name and Address Intentionally Omitted          3/31/2020   $2,382.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1812.   Name and Address Intentionally Omitted          3/17/2020   $511.28                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1813.   Name and Address Intentionally Omitted          2/28/2020   $2,382.00               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1814.   THYSSENKRUPP ELEVATO                            4/20/2020   $32,172.87              ¨ Secured debt
          P O BOX 3796
          CAROL STREAM IL 60132-3796                                                          ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1815.   THYSSENKRUPP ELEVATO                            2/4/2020    $5,108.29               ¨ Secured debt
          P O BOX 3796
          CAROL STREAM IL 60132-3796                                                          ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1816.   TOBIN TRIAL CONSULTI                            3/17/2020   $7,371.96               ¨ Secured debt
          4402 MCDERMED
          HOUSTON TX 77035                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1817.   TOURO INFIRMARY HOSPITAL                        4/30/2020   $2,532.00               ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1818.   TOURO INFIRMARY HOSPITAL                      4/24/2020   $20,592.79              ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1819.   TOURO INFIRMARY HOSPITAL                      4/17/2020   $46,704.96              ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1820.   TOURO INFIRMARY HOSPITAL                      4/10/2020   $25,068.49              ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1821.   TOURO INFIRMARY HOSPITAL                      4/10/2020   $497.49                 ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1822.   TOURO INFIRMARY HOSPITAL                      4/10/2020   $28.06                  ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1823.   TOURO INFIRMARY HOSPITAL                      4/10/2020   $26.26                  ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1824.   TOURO INFIRMARY HOSPITAL                      4/3/2020    $3,480.72               ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1825.   TOURO INFIRMARY HOSPITAL                      3/31/2020   $1,498.97               ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1826.   TOURO INFIRMARY HOSPITAL                      3/31/2020   $28.06                  ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1827.   TOURO INFIRMARY HOSPITAL                      3/27/2020   $1,510.92               ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1828.   TOURO INFIRMARY HOSPITAL                      3/20/2020   $31,018.23              ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1829.   TOURO INFIRMARY HOSPITAL                      3/20/2020   $1,226.70               ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1830.   TOURO INFIRMARY HOSPITAL                      3/13/2020   $22,227.14              ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1831.   TOURO INFIRMARY HOSPITAL                      3/6/2020    $11,974.12              ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1832.   TOURO INFIRMARY HOSPITAL                      2/28/2020   $13,424.72              ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1833.   TOURO INFIRMARY HOSPITAL                      2/21/2020   $21,352.22              ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1834.   TOURO INFIRMARY HOSPITAL                      2/14/2020   $4,752.27               ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1835.   TOURO INFIRMARY HOSPITAL                      2/7/2020    $4,543.78               ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1836.   TOURO INFIRMARY HOSPITAL                      2/7/2020    $30.32                  ¨ Secured debt
          PO BOX 919279
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1837.   TRC MEMORIAL DLYS                             4/30/2020   $3,437.00               ¨ Secured debt
          PO BOX 402946
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1838.   TRC MEMORIAL DLYS                             4/24/2020   $3,437.00               ¨ Secured debt
          PO BOX 402946
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1839.   TRC MEMORIAL DLYS                             4/17/2020   $3,437.00               ¨ Secured debt
          PO BOX 402946
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1840.   TRC MEMORIAL DLYS                             4/3/2020    $3,412.83               ¨ Secured debt
          PO BOX 402946
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1841.   TRIPS UNLIMITED                               2/12/2020   $50,698.00              ¨ Secured debt
          5056 TARAVELLA ROAD
          MARRERO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1842.   TUJAY'S SERVICES INC.                         3/12/2020   $9,895.00               ¨ Secured debt
          P.O. BOX 2831
          MARRERO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1843.   TUJAY'S SERVICES INC.                         2/6/2020    $9,895.00               ¨ Secured debt
          P.O. BOX 2831
          MARRERO LA 70072                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1844.   TULANE UNIV HOSP AND CLN                      4/30/2020   $1,235.92               ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1845.   TULANE UNIV HOSP AND CLN                      4/24/2020   $5,608.29               ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1846.   TULANE UNIV HOSP AND CLN                      4/17/2020   $7,840.37               ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1847.   TULANE UNIV HOSP AND CLN                      4/10/2020   $34.01                  ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1848.   TULANE UNIV HOSP AND CLN                      4/3/2020    $34,593.00              ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1849.   TULANE UNIV HOSP AND CLN                      3/27/2020   $878.72                 ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1850.   TULANE UNIV HOSP AND CLN                      3/20/2020   $4,506.37               ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1851.   TULANE UNIV HOSP AND CLN                      3/20/2020   $248.48                 ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1852.   TULANE UNIV HOSP AND CLN                      3/20/2020   $124.24                 ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1853.   TULANE UNIV HOSP AND CLN                      3/13/2020   $6,101.33               ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1854.   TULANE UNIV HOSP AND CLN                      3/13/2020   $1,316.00               ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1855.   TULANE UNIV HOSP AND CLN                      3/6/2020    $22,132.71              ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1856.   TULANE UNIV HOSP AND CLN                      2/28/2020   $4,421.88               ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1857.   TULANE UNIV HOSP AND CLN                      2/28/2020   $124.24                 ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1858.   TULANE UNIV HOSP AND CLN                      2/21/2020   $746.84                 ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1859.   TULANE UNIV HOSP AND CLN                      2/14/2020   $22,796.00              ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1860.   TULANE UNIV HOSP AND CLN                        2/14/2020   $15,424.67              ¨ Secured debt
          PO BOX 402872
          ATLANTA GA 30384                                                                    ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1861.   Name and Address Intentionally Omitted          4/29/2020   $1,090.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1862.   Name and Address Intentionally Omitted          4/17/2020   $1,090.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1863.   Name and Address Intentionally Omitted          3/27/2020   $1,090.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1864.   Name and Address Intentionally Omitted          3/20/2020   $1,090.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1865.   Name and Address Intentionally Omitted          3/6/2020    $1,090.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1866.   Name and Address Intentionally Omitted          2/26/2020   $1,090.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1867.   Name and Address Intentionally Omitted          2/11/2020   $1,090.67               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1868.   UMCMC DBA INTERIM LSU HOSPITAL                  4/30/2020   $1,243.93               ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1869.   UMCMC DBA INTERIM LSU HOSPITAL                  4/24/2020   $4,673.07               ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1870.   UMCMC DBA INTERIM LSU HOSPITAL                  4/10/2020   $757.30                 ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1871.   UMCMC DBA INTERIM LSU HOSPITAL                  4/3/2020    $19.63                  ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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                                                                                            Check all that apply

3.1872.   UMCMC DBA INTERIM LSU HOSPITAL                3/31/2020   $107.78                 ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1873.   UMCMC DBA INTERIM LSU HOSPITAL                3/27/2020   $523.24                 ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1874.   UMCMC DBA INTERIM LSU HOSPITAL                3/20/2020   $13,610.54              ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1875.   UMCMC DBA INTERIM LSU HOSPITAL                3/13/2020   $6,054.65               ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1876.   UMCMC DBA INTERIM LSU HOSPITAL                3/6/2020    $114.39                 ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1877.   UMCMC DBA INTERIM LSU HOSPITAL                2/28/2020   $126.44                 ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1878.   UMCMC DBA INTERIM LSU HOSPITAL                2/21/2020   $4,318.89               ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1879.   UMCMC DBA INTERIM LSU HOSPITAL                2/14/2020   $233.07                 ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1880.   UMCMC DBA INTERIM LSU HOSPITAL                2/7/2020    $670.72                 ¨ Secured debt
          PO BOX 919133
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1881.   UMR CRS FEES                                  4/17/2020   $4,885.89               ¨ Secured debt
          PO BOX 88822
          MILWAUKEE WI 53288-0822                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1882.   UMR CRS FEES                                  3/27/2020   $6,385.24               ¨ Secured debt
          PO BOX 88822
          MILWAUKEE WI 53288-0822                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1883.   UMR CRS FEES                                  2/21/2020   $5,917.14               ¨ Secured debt
          PO BOX 88822
          MILWAUKEE WI 53288-0822                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                              Check all that apply

3.1884.   UNIVERSITY OF NOTRE DAME                        2/20/2020   $30,600.00              ¨ Secured debt
          107 CAROLE SANDNER HALL
          NOTRE DAME IN 46556                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1885.   UNIVERSITY OF NOTRE DAME                        2/10/2020   $22,400.00              ¨ Secured debt
          203 MAIN BUILDING
          NOTRE DAME IN 46556                                                                 ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1886.   Name and Address Intentionally Omitted          4/17/2020   $8,151.26               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1887.   Name and Address Intentionally Omitted          4/10/2020   $1,159.38               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1888.   Name and Address Intentionally Omitted          3/27/2020   $148.61                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1889.   Name and Address Intentionally Omitted          3/13/2020   $122.33                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1890.   Name and Address Intentionally Omitted          2/28/2020   $819.73                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1891.   Name and Address Intentionally Omitted          2/14/2020   $790.49                 ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1892.   VI COMMUNICATIONS IN                            4/8/2020    $24,392.00              ¨ Secured debt
          46 SUSSEX STREET
          KENNER LA 70062                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1893.   VIRCO INC                                       3/12/2020   $8,070.24               ¨ Secured debt
          PO BOX 677610
          DALLAS TX 75267-7610                                                                ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1894.   VISA                                            4/16/2020   $764.62                 ¨ Secured debt
          P.O. BOX 4512
          CAROL STREAM IL 60197-4512                                                          ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1895.   VISA                                            3/11/2020   $1,151.32               ¨ Secured debt
          P.O. BOX 4512
          CAROL STREAM IL 60197-4512                                                          ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1896.   VISA                                            2/7/2020    $5,041.36               ¨ Secured debt
          P.O. BOX 4512
          CAROL STREAM IL 60197-4512                                                          ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1897.   VOLKER WATERPROOFING                            3/16/2020   $8,500.00               ¨ Secured debt
          4229 AVRON BLVD
          METAIRIE LA 70006                                                                   ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1898.   Name and Address Intentionally Omitted          4/28/2020   $2,497.01               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1899.   Name and Address Intentionally Omitted          3/31/2020   $2,497.01               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1900.   Name and Address Intentionally Omitted          2/28/2020   $2,497.01               ¨ Secured debt
                                                                                              ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.1901.   WASH-ST TAMMANY ELECTRIC CO INC                 4/23/2020   $5,276.28               ¨ Secured debt
          P.O. BOX 697
          FRANKLINTON LA 70438-0792                                                           ¨ Unsecured loan repayments
                                                                                              ¨ Suppliers or vendors
                                                                                              þ Services
                                                                                              ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1902.   WASH-ST TAMMANY ELECTRIC CO INC               3/13/2020   $4,611.21               ¨ Secured debt
          P.O. BOX 697
          FRANKLINTON LA 70438-0792                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1903.   WASH-ST TAMMANY ELECTRIC CO INC               2/12/2020   $5,566.01               ¨ Secured debt
          P.O. BOX 697
          FRANKLINTON LA 70438-0792                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1904.   WATER WORKS PUMP & W                          3/17/2020   $10,290.27              ¨ Secured debt
          21220 HWY. 36
          COVINGTON LA 70433                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1905.   WEST JEFFERSON MEDICAL CENTER                 4/30/2020   $5,923.99               ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1906.   WEST JEFFERSON MEDICAL CENTER                 4/24/2020   $592.00                 ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1907.   WEST JEFFERSON MEDICAL CENTER                 4/17/2020   $3,933.35               ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1908.   WEST JEFFERSON MEDICAL CENTER                 4/17/2020   $1,817.10               ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1909.   WEST JEFFERSON MEDICAL CENTER                 4/10/2020   $26,200.05              ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1910.   WEST JEFFERSON MEDICAL CENTER                 4/10/2020   $19,211.23              ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1911.   WEST JEFFERSON MEDICAL CENTER                 4/3/2020    $6,714.00               ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1912.   WEST JEFFERSON MEDICAL CENTER                 3/31/2020   $854.23                 ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1913.   WEST JEFFERSON MEDICAL CENTER                 3/27/2020   $17,906.06              ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1914.   WEST JEFFERSON MEDICAL CENTER                 3/20/2020   $6,262.62               ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1915.   WEST JEFFERSON MEDICAL CENTER                 3/13/2020   $3,824.62               ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1916.   WEST JEFFERSON MEDICAL CENTER                 3/6/2020    $3,583.55               ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1917.   WEST JEFFERSON MEDICAL CENTER                 2/28/2020   $12,224.29              ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1918.   WEST JEFFERSON MEDICAL CENTER                 2/21/2020   $10,866.57              ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1919.   WEST JEFFERSON MEDICAL CENTER                 2/14/2020   $8,320.60               ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1920.   WEST JEFFERSON MEDICAL CENTER                 2/7/2020    $12,295.57              ¨ Secured debt
          PO BOX 919351
          DALLAS TX 75391                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1921.   WESTWEGO DIALYSIS                             4/3/2020    $5,892.00               ¨ Secured debt
          PO BOX 784172
          PHILA PA PA 19178                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1922.   WESTWEGO DIALYSIS                             3/27/2020   $1,964.00               ¨ Secured debt
          PO BOX 784172
          PHILA PA PA 19178                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1923.   WHITE OAK CONSULTING                          2/11/2020   $9,345.25               ¨ Secured debt
          MANAGING PARTNER
          88 MELROSE DRIVE                                                                  ¨ Unsecured loan repayments
          DESTREHAN LA 70047-2008                                                           þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1924.   WHITE OAK CONSULTING                          2/11/2020   $8,359.27               ¨ Secured debt
          MANAGING PARTNER
          88 MELROSE DRIVE                                                                  ¨ Unsecured loan repayments
          DESTREHAN LA 70047-2008                                                           þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1925.   WHITNEY                                       4/21/2020   $1,720.83               ¨ Secured debt
          HANCOCK WHITNEY CENTER
          701 POYDRAS ST                                                                    ¨ Unsecured loan repayments
          NEW ORLEANS LA 70139                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1926.   WHITNEY                                       4/17/2020   $1,851.33               ¨ Secured debt
          HANCOCK WHITNEY CENTER
          701 POYDRAS ST                                                                    ¨ Unsecured loan repayments
          NEW ORLEANS LA 70139                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1927.   WHITNEY                                       4/2/2020    $10.00                  ¨ Secured debt
          HANCOCK WHITNEY CENTER
          701 POYDRAS ST                                                                    ¨ Unsecured loan repayments
          NEW ORLEANS LA 70139                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1928.   WHITNEY                                       3/16/2020   $1,989.23               ¨ Secured debt
          HANCOCK WHITNEY CENTER
          701 POYDRAS ST                                                                    ¨ Unsecured loan repayments
          NEW ORLEANS LA 70139                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1929.   WHITNEY                                       3/6/2020    $20.00                  ¨ Secured debt
          HANCOCK WHITNEY CENTER
          701 POYDRAS ST                                                                    ¨ Unsecured loan repayments
          NEW ORLEANS LA 70139                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1930.   WHITNEY                                       3/2/2020    $10.00                  ¨ Secured debt
          HANCOCK WHITNEY CENTER
          701 POYDRAS ST                                                                    ¨ Unsecured loan repayments
          NEW ORLEANS LA 70139                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1931.   WHITNEY                                       2/18/2020   $2,017.04               ¨ Secured debt
          HANCOCK WHITNEY CENTER
          701 POYDRAS ST                                                                    ¨ Unsecured loan repayments
          NEW ORLEANS LA 70139                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1932.   WHITNEY                                       2/3/2020    $10.00                  ¨ Secured debt
          HANCOCK WHITNEY CENTER
          701 POYDRAS ST                                                                    ¨ Unsecured loan repayments
          NEW ORLEANS LA 70139                                                              þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1933.   WRIGHT NATIONAL FLOO                          4/20/2020   $18,893.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1934.   WRIGHT NATIONAL FLOO                          4/20/2020   $7,883.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1935.   WRIGHT NATIONAL FLOO                          4/20/2020   $7,056.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1936.   WRIGHT NATIONAL FLOO                          4/20/2020   $6,514.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1937.   WRIGHT NATIONAL FLOO                          4/20/2020   $5,625.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1938.   WRIGHT NATIONAL FLOO                          4/20/2020   $5,572.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1939.   WRIGHT NATIONAL FLOO                          4/20/2020   $5,457.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1940.   WRIGHT NATIONAL FLOO                          4/20/2020   $4,262.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1941.   WRIGHT NATIONAL FLOO                          4/20/2020   $2,500.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1942.   WRIGHT NATIONAL FLOO                          4/20/2020   $2,138.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1943.   WRIGHT NATIONAL FLOO                          3/17/2020   $81,033.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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                                                                                            Check all that apply

3.1944.   WRIGHT NATIONAL FLOO                          3/17/2020   $32,157.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1945.   WRIGHT NATIONAL FLOO                          3/17/2020   $27,847.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1946.   WRIGHT NATIONAL FLOO                          3/17/2020   $17,914.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1947.   WRIGHT NATIONAL FLOO                          3/17/2020   $17,371.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1948.   WRIGHT NATIONAL FLOO                          3/17/2020   $15,045.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1949.   WRIGHT NATIONAL FLOO                          3/17/2020   $14,199.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1950.   WRIGHT NATIONAL FLOO                          3/17/2020   $13,867.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1951.   WRIGHT NATIONAL FLOO                          3/17/2020   $12,727.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1952.   WRIGHT NATIONAL FLOO                          3/17/2020   $7,949.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1953.   WRIGHT NATIONAL FLOO                          3/17/2020   $7,846.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1954.   WRIGHT NATIONAL FLOO                          3/17/2020   $7,068.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1955.   WRIGHT NATIONAL FLOO                          3/17/2020   $6,896.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1956.   WRIGHT NATIONAL FLOO                          3/17/2020   $6,847.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1957.   WRIGHT NATIONAL FLOO                          3/17/2020   $6,602.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1958.   WRIGHT NATIONAL FLOO                          3/17/2020   $4,385.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1959.   WRIGHT NATIONAL FLOO                          3/17/2020   $3,697.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1960.   WRIGHT NATIONAL FLOO                          3/17/2020   $2,808.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1961.   WRIGHT NATIONAL FLOO                          3/17/2020   $2,246.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1962.   WRIGHT NATIONAL FLOO                          3/17/2020   $2,070.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1963.   WRIGHT NATIONAL FLOO                          3/17/2020   $1,902.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1964.   WRIGHT NATIONAL FLOO                          3/17/2020   $1,509.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1965.   WRIGHT NATIONAL FLOO                          3/17/2020   $1,453.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1966.   WRIGHT NATIONAL FLOO                          3/17/2020   $1,035.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1967.   WRIGHT NATIONAL FLOO                          3/17/2020   $807.00                 ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1968.   WRIGHT NATIONAL FLOO                          3/17/2020   $712.00                 ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1969.   WRIGHT NATIONAL FLOO                          3/3/2020    $15,395.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1970.   WRIGHT NATIONAL FLOO                          3/3/2020    $14,864.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1971.   WRIGHT NATIONAL FLOO                          3/3/2020    $11,226.00              ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1972.   WRIGHT NATIONAL FLOO                          3/3/2020    $7,481.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1973.   WRIGHT NATIONAL FLOO                          3/3/2020    $6,457.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1974.   WRIGHT NATIONAL FLOO                          3/3/2020    $5,357.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1975.   WRIGHT NATIONAL FLOO                          3/3/2020    $4,745.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1976.   WRIGHT NATIONAL FLOO                          3/3/2020    $3,048.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1977.   WRIGHT NATIONAL FLOO                          3/3/2020    $3,042.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1978.   WRIGHT NATIONAL FLOO                          3/3/2020    $2,406.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1979.   WRIGHT NATIONAL FLOO                          3/3/2020    $1,723.00               ¨ Secured debt
          P O BOX 33070
          ST PETERSBURG FL 33733-8070                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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            Creditor’s name and address                              Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1980.     WRIGHT NATIONAL FLOO                                     3/3/2020      $873.00                     ¨ Secured debt
            P O BOX 33070
            ST PETERSBURG FL 33733-8070                                                                        ¨ Unsecured loan repayments
                                                                                                               þ Suppliers or vendors
                                                                                                               þ Services
                                                                                                               ¨ Other _______________
            Creditor’s name and address                              Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1981.     WRIGHT NATIONAL FLOO                                     3/3/2020      $816.00                     ¨ Secured debt
            P O BOX 33070
            ST PETERSBURG FL 33733-8070                                                                        ¨ Unsecured loan repayments
                                                                                                               þ Suppliers or vendors
                                                                                                               þ Services
                                                                                                               ¨ Other _______________
            Creditor’s name and address                              Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1982.     WRIGHT NATIONAL FLOO                                     3/3/2020      $729.00                     ¨ Secured debt
            P O BOX 33070
            ST PETERSBURG FL 33733-8070                                                                        ¨ Unsecured loan repayments
                                                                                                               þ Suppliers or vendors
                                                                                                               þ Services
                                                                                                               ¨ Other _______________
            Creditor’s name and address                              Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1983.     WRIGHT NATIONAL FLOO                                     3/3/2020      $701.00                     ¨ Secured debt
            P O BOX 33070
            ST PETERSBURG FL 33733-8070                                                                        ¨ Unsecured loan repayments
                                                                                                               þ Suppliers or vendors
                                                                                                               þ Services
                                                                                                               ¨ Other _______________


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 04/01/2022 and every 3 years after that with respect to cases filed on or after the date of
    adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
    and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
    managing agent of the debtor. 11 U.S.C. § 101(31).

    ¨ None
         Insider’s name and address                                Dates         Total amount or value       Reasons for payment or transfer

4.1.1    ACADEMY OF OUR LADY SCHOOL                                1/2/2020      $1,000.00                   ARCHDIOCESE OF NEW ORLEANS -
         5501 WESTBANK EXPRESSWAY                                                                            TRADE PAYABLE
         MARRERO LA 70072
         Relationship to debtor
         SCHOOL




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         Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.2.1    ACADEMY OF OUR LADY SCHOOL                          10/1/2019   $1,500.00               ARCHDIOCESE OF NEW ORLEANS -
         5501 WESTBANK EXPRESSWAY                                                                TRADE PAYABLE
         MARRERO LA 70072
         Relationship to debtor
         SCHOOL

         Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.3.1    ACADEMY OF OUR LADY SCHOOL                          8/8/2019    $22,447.00              ARCHDIOCESE OF NEW ORLEANS -
         5501 WESTBANK EXPRESSWAY                                                                TRADE PAYABLE
         MARRERO LA 70072
         Relationship to debtor
         SCHOOL

         Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.4.1    ACADEMY OF OUR LADY SCHOOL                          6/4/2019    $4,500.00               ARCHDIOCESE OF NEW ORLEANS -
         5501 WESTBANK EXPRESSWAY                                                                TRADE PAYABLE
         MARRERO LA 70072
         Relationship to debtor
         SCHOOL

         Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.5.     AKPOGHIRAN, PETER O. THE VERY REVEREND              4/30/2020   $2,059.00               PAYROLL -OFFICER
         7887 WALMSLEY AVE.
         NEW ORLEANS LA 70125
         Relationship to debtor
         OFFICER

         Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.6.     AKPOGHIRAN, PETER O. THE VERY REVEREND              4/29/2020   $600.00                 OFFICER EXPENSES
         7887 WALMSLEY AVE.
         NEW ORLEANS LA 70125
         Relationship to debtor
         OFFICER

         Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.7.     AKPOGHIRAN, PETER O. THE VERY REVEREND              3/31/2020   $2,059.00               PAYROLL -OFFICER
         7887 WALMSLEY AVE.
         NEW ORLEANS LA 70125
         Relationship to debtor
         OFFICER

         Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.8.     AKPOGHIRAN, PETER O. THE VERY REVEREND              3/31/2020   $600.00                 OFFICER EXPENSES
         7887 WALMSLEY AVE.
         NEW ORLEANS LA 70125
         Relationship to debtor
         OFFICER




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         Insider’s name and address                          Dates        Total amount or value   Reasons for payment or transfer

4.9.     AKPOGHIRAN, PETER O. THE VERY REVEREND              3/3/2020     $465.86                 OFFICER EXPENSES
         7887 WALMSLEY AVE.
         NEW ORLEANS LA 70125
         Relationship to debtor
         OFFICER

          Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.10.     AKPOGHIRAN, PETER O. THE VERY REVEREND              2/28/2020   $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.11.     AKPOGHIRAN, PETER O. THE VERY REVEREND              2/28/2020   $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.12.     AKPOGHIRAN, PETER O. THE VERY REVEREND              2/4/2020    $288.28                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.13.     AKPOGHIRAN, PETER O. THE VERY REVEREND              1/31/2020   $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.14.     AKPOGHIRAN, PETER O. THE VERY REVEREND              1/31/2020   $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                          Dates       Total amount or value   Reasons for payment or transfer

4.15.     AKPOGHIRAN, PETER O. THE VERY REVEREND              1/7/2020    $257.85                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER




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          Insider’s name and address                       Dates      Total amount or value   Reasons for payment or transfer

4.16.     AKPOGHIRAN, PETER O. THE VERY REVEREND           12/31/2019 $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates      Total amount or value   Reasons for payment or transfer

4.17.     AKPOGHIRAN, PETER O. THE VERY REVEREND           12/30/2019 $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates      Total amount or value   Reasons for payment or transfer

4.18.     AKPOGHIRAN, PETER O. THE VERY REVEREND           12/18/2019 $430.73                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates      Total amount or value   Reasons for payment or transfer

4.19.     AKPOGHIRAN, PETER O. THE VERY REVEREND           12/18/2019 $408.32                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates      Total amount or value   Reasons for payment or transfer

4.20.     AKPOGHIRAN, PETER O. THE VERY REVEREND           12/13/2019 $200.00                 BONUS -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates      Total amount or value   Reasons for payment or transfer

4.21.     AKPOGHIRAN, PETER O. THE VERY REVEREND           11/29/2019 $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates      Total amount or value   Reasons for payment or transfer

4.22.     AKPOGHIRAN, PETER O. THE VERY REVEREND           11/29/2019 $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER




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          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.23.     AKPOGHIRAN, PETER O. THE VERY REVEREND           11/19/2019 $652.83                  OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.24.     AKPOGHIRAN, PETER O. THE VERY REVEREND           10/31/2019 $2,059.00                PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.25.     AKPOGHIRAN, PETER O. THE VERY REVEREND           10/31/2019 $600.00                  OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.26.     AKPOGHIRAN, PETER O. THE VERY REVEREND           10/22/2019 $263.84                  OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.27.     AKPOGHIRAN, PETER O. THE VERY REVEREND           10/8/2019   $16.00                  OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.28.     AKPOGHIRAN, PETER O. THE VERY REVEREND           9/30/2019   $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.29.     AKPOGHIRAN, PETER O. THE VERY REVEREND           9/30/2019   $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER




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          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.30.     AKPOGHIRAN, PETER O. THE VERY REVEREND           9/10/2019   $558.34                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.31.     AKPOGHIRAN, PETER O. THE VERY REVEREND           8/30/2019   $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.32.     AKPOGHIRAN, PETER O. THE VERY REVEREND           8/30/2019   $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.33.     AKPOGHIRAN, PETER O. THE VERY REVEREND           8/13/2019   $1,190.40               OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.34.     AKPOGHIRAN, PETER O. THE VERY REVEREND           8/6/2019    $383.60                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.35.     AKPOGHIRAN, PETER O. THE VERY REVEREND           7/31/2019   $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.36.     AKPOGHIRAN, PETER O. THE VERY REVEREND           7/31/2019   $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER




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          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.37.     AKPOGHIRAN, PETER O. THE VERY REVEREND           7/16/2019   $175.07                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.38.     AKPOGHIRAN, PETER O. THE VERY REVEREND           6/28/2019   $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.39.     AKPOGHIRAN, PETER O. THE VERY REVEREND           6/28/2019   $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.40.     AKPOGHIRAN, PETER O. THE VERY REVEREND           6/4/2019    $532.82                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.41.     AKPOGHIRAN, PETER O. THE VERY REVEREND           5/31/2019   $2,059.00               PAYROLL -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.42.     AKPOGHIRAN, PETER O. THE VERY REVEREND           5/31/2019   $600.00                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.43.     AKPOGHIRAN, PETER O. THE VERY REVEREND           5/7/2019    $463.26                 OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER




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          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.44.     AKPOGHIRAN, PETER O. THE VERY REVEREND           5/7/2019    $18.73                  OFFICER EXPENSES
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.45.     ANNIE'S COMPLETE HOUSECLEANING &                 3/17/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.46.     ANNIE'S COMPLETE HOUSECLEANING &                 3/17/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.47.     ANNIE'S COMPLETE HOUSECLEANING &                 3/17/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.48.     ANNIE'S COMPLETE HOUSECLEANING &                 3/17/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.49.     ANNIE'S COMPLETE HOUSECLEANING &                 3/17/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,




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          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.50.     ANNIE'S COMPLETE HOUSECLEANING &                 3/17/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.51.     ANNIE'S COMPLETE HOUSECLEANING &                 3/10/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.52.     ANNIE'S COMPLETE HOUSECLEANING &                 3/10/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.53.     ANNIE'S COMPLETE HOUSECLEANING &                 3/3/2020    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.54.     ANNIE'S COMPLETE HOUSECLEANING &                 3/3/2020    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.55.     ANNIE'S COMPLETE HOUSECLEANING &                 2/26/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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4.56.     ANNIE'S COMPLETE HOUSECLEANING &                 2/26/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.57.     ANNIE'S COMPLETE HOUSECLEANING &                 2/18/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.58.     ANNIE'S COMPLETE HOUSECLEANING &                 2/18/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.59.     ANNIE'S COMPLETE HOUSECLEANING &                 2/11/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.60.     ANNIE'S COMPLETE HOUSECLEANING &                 2/11/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.61.     ANNIE'S COMPLETE HOUSECLEANING &                 2/4/2020    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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4.62.     ANNIE'S COMPLETE HOUSECLEANING &                 2/4/2020    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.63.     ANNIE'S COMPLETE HOUSECLEANING &                 1/28/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.64.     ANNIE'S COMPLETE HOUSECLEANING &                 1/28/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
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          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.65.     ANNIE'S COMPLETE HOUSECLEANING &                 1/21/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.66.     ANNIE'S COMPLETE HOUSECLEANING &                 1/21/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.67.     ANNIE'S COMPLETE HOUSECLEANING &                 1/14/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
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4.68.     ANNIE'S COMPLETE HOUSECLEANING &                 1/14/2020   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.69.     ANNIE'S COMPLETE HOUSECLEANING &                 1/7/2020    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.70.     ANNIE'S COMPLETE HOUSECLEANING &                 1/7/2020    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.71.     ANNIE'S COMPLETE HOUSECLEANING &                 1/2/2020    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.72.     ANNIE'S COMPLETE HOUSECLEANING &                 1/2/2020    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.73.     ANNIE'S COMPLETE HOUSECLEANING &                 12/18/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
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4.74.     ANNIE'S COMPLETE HOUSECLEANING &                 12/18/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.75.     ANNIE'S COMPLETE HOUSECLEANING &                 12/18/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.76.     ANNIE'S COMPLETE HOUSECLEANING &                 12/18/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.77.     ANNIE'S COMPLETE HOUSECLEANING &                 12/10/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.78.     ANNIE'S COMPLETE HOUSECLEANING &                 12/10/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.79.     ANNIE'S COMPLETE HOUSECLEANING &                 12/3/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.80.     ANNIE'S COMPLETE HOUSECLEANING &                 12/3/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.81.     ANNIE'S COMPLETE HOUSECLEANING &                 11/26/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.82.     ANNIE'S COMPLETE HOUSECLEANING &                 11/26/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.83.     ANNIE'S COMPLETE HOUSECLEANING &                 11/19/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.84.     ANNIE'S COMPLETE HOUSECLEANING &                 11/19/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.85.     ANNIE'S COMPLETE HOUSECLEANING &                 11/12/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.86.     ANNIE'S COMPLETE HOUSECLEANING &                 11/12/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.87.     ANNIE'S COMPLETE HOUSECLEANING &                 11/5/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.88.     ANNIE'S COMPLETE HOUSECLEANING &                 11/5/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.89.     ANNIE'S COMPLETE HOUSECLEANING &                 10/29/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.90.     ANNIE'S COMPLETE HOUSECLEANING &                 10/29/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.91.     ANNIE'S COMPLETE HOUSECLEANING &                 10/22/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.92.     ANNIE'S COMPLETE HOUSECLEANING &                 10/22/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.93.     ANNIE'S COMPLETE HOUSECLEANING &                 10/15/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.94.     ANNIE'S COMPLETE HOUSECLEANING &                 10/15/2019 $400.00                  HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.95.     ANNIE'S COMPLETE HOUSECLEANING &                 10/8/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.96.     ANNIE'S COMPLETE HOUSECLEANING &                 10/8/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.97.     ANNIE'S COMPLETE HOUSECLEANING &                 10/1/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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4.98.     ANNIE'S COMPLETE HOUSECLEANING &                 10/1/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                       Dates       Total amount or value   Reasons for payment or transfer

4.99.     ANNIE'S COMPLETE HOUSECLEANING &                 9/24/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                   OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

           Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.100.     ANNIE'S COMPLETE HOUSECLEANING &                9/24/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
           JANITORIAL SERVICE                                                                  OFFICER (CHERI)
           2139 HOLIDAY DRIVE
           NEW ORLEANS LA 70114
           Relationship to debtor
           EXPENSE FOR BENEFIT OF THE MOST
           REVEREND FERNAND J. CHERI, III, O.F.M,

           Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.101.     ANNIE'S COMPLETE HOUSECLEANING &                9/17/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
           JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
           2139 HOLIDAY DRIVE
           NEW ORLEANS LA 70114
           Relationship to debtor
           EXPENSE FOR BENEFIT OF ARCHBISHOP
           GREGORY M. AYMOND

           Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.102.     ANNIE'S COMPLETE HOUSECLEANING &                9/17/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
           JANITORIAL SERVICE                                                                  OFFICER (CHERI)
           2139 HOLIDAY DRIVE
           NEW ORLEANS LA 70114
           Relationship to debtor
           EXPENSE FOR BENEFIT OF THE MOST
           REVEREND FERNAND J. CHERI, III, O.F.M,

           Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.103.     ANNIE'S COMPLETE HOUSECLEANING &                9/10/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
           JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
           2139 HOLIDAY DRIVE
           NEW ORLEANS LA 70114
           Relationship to debtor
           EXPENSE FOR BENEFIT OF ARCHBISHOP
           GREGORY M. AYMOND




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.104.    ANNIE'S COMPLETE HOUSECLEANING &                9/10/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.105.    ANNIE'S COMPLETE HOUSECLEANING &                9/3/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.106.    ANNIE'S COMPLETE HOUSECLEANING &                9/3/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.107.    ANNIE'S COMPLETE HOUSECLEANING &                8/27/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.108.    ANNIE'S COMPLETE HOUSECLEANING &                8/27/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.109.    ANNIE'S COMPLETE HOUSECLEANING &                8/20/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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4.110.    ANNIE'S COMPLETE HOUSECLEANING &                8/20/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.111.    ANNIE'S COMPLETE HOUSECLEANING &                8/13/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.112.    ANNIE'S COMPLETE HOUSECLEANING &                8/13/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.113.    ANNIE'S COMPLETE HOUSECLEANING &                8/6/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.114.    ANNIE'S COMPLETE HOUSECLEANING &                8/6/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.115.    ANNIE'S COMPLETE HOUSECLEANING &                7/30/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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4.116.    ANNIE'S COMPLETE HOUSECLEANING &                7/30/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.117.    ANNIE'S COMPLETE HOUSECLEANING &                7/23/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.118.    ANNIE'S COMPLETE HOUSECLEANING &                7/23/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.119.    ANNIE'S COMPLETE HOUSECLEANING &                7/16/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.120.    ANNIE'S COMPLETE HOUSECLEANING &                7/16/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.121.    ANNIE'S COMPLETE HOUSECLEANING &                7/9/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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4.122.    ANNIE'S COMPLETE HOUSECLEANING &                7/9/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.123.    ANNIE'S COMPLETE HOUSECLEANING &                7/2/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.124.    ANNIE'S COMPLETE HOUSECLEANING &                7/2/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.125.    ANNIE'S COMPLETE HOUSECLEANING &                6/25/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.126.    ANNIE'S COMPLETE HOUSECLEANING &                6/25/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.127.    ANNIE'S COMPLETE HOUSECLEANING &                6/18/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.128.    ANNIE'S COMPLETE HOUSECLEANING &                6/18/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.129.    ANNIE'S COMPLETE HOUSECLEANING &                6/11/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.130.    ANNIE'S COMPLETE HOUSECLEANING &                6/11/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.131.    ANNIE'S COMPLETE HOUSECLEANING &                6/4/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.132.    ANNIE'S COMPLETE HOUSECLEANING &                6/4/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.133.    ANNIE'S COMPLETE HOUSECLEANING &                5/29/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.134.    ANNIE'S COMPLETE HOUSECLEANING &                5/29/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.135.    ANNIE'S COMPLETE HOUSECLEANING &                5/21/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.136.    ANNIE'S COMPLETE HOUSECLEANING &                5/21/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.137.    ANNIE'S COMPLETE HOUSECLEANING &                5/14/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.138.    ANNIE'S COMPLETE HOUSECLEANING &                5/14/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (CHERI)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.139.    ANNIE'S COMPLETE HOUSECLEANING &                5/7/2019    $400.00                 HOUSEKEEPING EXPENSE F/B/O
          JANITORIAL SERVICE                                                                  OFFICER (AYMOND)
          2139 HOLIDAY DRIVE
          NEW ORLEANS LA 70114
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND




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4.140.       ANNIE'S COMPLETE HOUSECLEANING &                5/7/2019   $400.00                 HOUSEKEEPING EXPENSE F/B/O
             JANITORIAL SERVICE                                                                 OFFICER (CHERI)
             2139 HOLIDAY DRIVE
             NEW ORLEANS LA 70114
             Relationship to debtor
             EXPENSE FOR BENEFIT OF THE MOST
             REVEREND FERNAND J. CHERI, III, O.F.M,

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.141.       ANNUNCIATION SCHOOL                             8/8/2019   $7,700.00               ARCHDIOCESE OF NEW ORLEANS -
             511 AVENUE C                                                                       TRADE PAYABLE
             BOGALUSA LA 70427-3797
             Relationship to debtor
             SCHOOL

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer
         1
4.142.       ARCHBISHOP CHAPELLE HIGH SCHOOL                 1/2/2020   $2,000.00               ARCHDIOCESE OF NEW ORLEANS -
             8800 VETERANS BLVD.                                                                TRADE PAYABLE
             METAIRIE LA 70003-5235
             Relationship to debtor
             SCHOOL

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer
         1
4.143.       ARCHBISHOP CHAPELLE HIGH SCHOOL                 8/8/2019   $37,509.00              ARCHDIOCESE OF NEW ORLEANS -
             8800 VETERANS BLVD.                                                                TRADE PAYABLE
             METAIRIE LA 70003-5235
             Relationship to debtor
             SCHOOL

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer
         1
4.144.       ARCHBISHOP HANNAN HIGH SCHOOL                   1/2/2020   $6,000.00               ARCHDIOCESE OF NEW ORLEANS -
             71324 HWY. 1077                                                                    TRADE PAYABLE
             COVINGTON LA 70433
             Relationship to debtor
             SCHOOL

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer
         1
4.145.       ARCHBISHOP HANNAN HIGH SCHOOL                   8/8/2019   $16,217.00              ARCHDIOCESE OF NEW ORLEANS -
             71324 HWY. 1077                                                                    TRADE PAYABLE
             COVINGTON LA 70433
             Relationship to debtor
             SCHOOL

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer
         1
4.146.       ARCHBISHOP HANNAN HIGH SCHOOL                   6/4/2019   $4,500.00               ARCHDIOCESE OF NEW ORLEANS -
             71324 HWY. 1077                                                                    TRADE PAYABLE
             COVINGTON LA 70433
             Relationship to debtor
             SCHOOL




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4.147.1   ARCHBISHOP RUMMEL HIGH SCHOOL                   1/2/2020    $75,000.00              ARCHDIOCESE OF NEW ORLEANS -
          1901 SEVERN AVENUE                                                                  TRADE PAYABLE
          METAIRIE LA 70001
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.148.1   ARCHBISHOP RUMMEL HIGH SCHOOL                   8/8/2019    $23,963.00              ARCHDIOCESE OF NEW ORLEANS -
          1901 SEVERN AVENUE                                                                  TRADE PAYABLE
          METAIRIE LA 70001
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.149.1   ARCHBISHOP SHAW HIGH SCHOOL                     1/2/2020    $15,451.91              ARCHDIOCESE OF NEW ORLEANS -
          1000 SALESIAN LANE                                                                  TRADE PAYABLE
          MARRERO LA 70072
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.150.1   ARCHBISHOP SHAW HIGH SCHOOL                     8/8/2019    $18,070.00              ARCHDIOCESE OF NEW ORLEANS -
          1000 SALESIAN LANE                                                                  TRADE PAYABLE
          MARRERO LA 70072
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.151.1   ARCHBISHOP SHAW HIGH SCHOOL                     6/4/2019    $4,500.00               ARCHDIOCESE OF NEW ORLEANS -
          1000 SALESIAN LANE                                                                  TRADE PAYABLE
          MARRERO LA 70072
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.152.    ARCHDIOCESAN SPIRITUALITY CENTER                3/23/2020   $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.153.    ARCHDIOCESAN SPIRITUALITY CENTER                2/26/2020   $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.154.    ARCHDIOCESAN SPIRITUALITY CENTER                1/28/2020   $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.155.    ARCHDIOCESAN SPIRITUALITY CENTER                1/2/2020    $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.156.    ARCHDIOCESAN SPIRITUALITY CENTER                11/26/2019 $2,916.67                ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.157.    ARCHDIOCESAN SPIRITUALITY CENTER                10/29/2019 $2,916.67                ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.158.    ARCHDIOCESAN SPIRITUALITY CENTER                9/24/2019   $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.159.    ARCHDIOCESAN SPIRITUALITY CENTER                8/27/2019   $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.160.    ARCHDIOCESAN SPIRITUALITY CENTER                7/23/2019   $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
          2501 MAINE AVE.                                                                     TRADE PAYABLE
          METAIRIE LA 70003
          Relationship to debtor
          AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.161.       ARCHDIOCESAN SPIRITUALITY CENTER                7/23/2019   $1,000.00               ARCHDIOCESE OF NEW ORLEANS -
             2501 MAINE AVE.                                                                     TRADE PAYABLE
             METAIRIE LA 70003
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.162.       ARCHDIOCESAN SPIRITUALITY CENTER                6/25/2019   $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
             2501 MAINE AVE.                                                                     TRADE PAYABLE
             METAIRIE LA 70003
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.163.       ARCHDIOCESAN SPIRITUALITY CENTER                6/25/2019   $300.00                 ARCHDIOCESE OF NEW ORLEANS -
             2501 MAINE AVE.                                                                     TRADE PAYABLE
             METAIRIE LA 70003
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.164.       ARCHDIOCESAN SPIRITUALITY CENTER                6/4/2019    $1,000.00               ARCHDIOCESE OF NEW ORLEANS -
             2501 MAINE AVE.                                                                     TRADE PAYABLE
             METAIRIE LA 70003
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.165.       ARCHDIOCESAN SPIRITUALITY CENTER                5/29/2019   $2,916.67               ARCHDIOCESE OF NEW ORLEANS -
             2501 MAINE AVE.                                                                     TRADE PAYABLE
             METAIRIE LA 70003
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.166.       ARCHDIOCESAN SPIRITUALITY CENTER                5/21/2019   $1,035.00               ARCHDIOCESE OF NEW ORLEANS -
             2501 MAINE AVE.                                                                     TRADE PAYABLE
             METAIRIE LA 70003
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.167.       ARCHDIOCESE OF NO - INSURANCE OFFICE            4/1/2020    $24,929.10              ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR PROPERTY
             SUITE 1202                                                                          INSURANCE
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.168.1      ARCHDIOCESE OF NO - INSURANCE OFFICE            3/2/2020    $24,929.10              ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR PROPERTY
             SUITE 1202                                                                          INSURANCE
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.169.1      ARCHDIOCESE OF NO - INSURANCE OFFICE            2/1/2020    $24,929.10              ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR PROPERTY
             SUITE 1202                                                                          INSURANCE
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.170.       ARCHDIOCESE OF NO - INSURANCE OFFICE            1/24/2020   $149,574.60             ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR PROPERTY
             SUITE 1202                                                                          INSURANCE
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.171.1      ARCHDIOCESE OF NO - INSURANCE OFFICE            12/6/2019   $2,103.00               ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR FLOOD RENEWAL
             SUITE 1202                                                                          FINE ARTS
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.172.1      ARCHDIOCESE OF NO - INSURANCE OFFICE            10/25/2019 $2,103.00                ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR FLOOD RENEWAL -
             SUITE 1202                                                                          LIBRARY
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.173.       ARCHDIOCESE OF NO - INSURANCE OFFICE            9/20/2019   $19,530.00              ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR STUDENT ACCIDENT
             SUITE 1202                                                                          INS
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.174.1      ARCHDIOCESE OF NO - INSURANCE OFFICE            9/12/2019   $220.00                 ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR COCKTAILS IN THE
             SUITE 1202                                                                          COURTYARD + CRAFT FAIR
             NEW ORLEANS LA 70113                                                                SPECIAL EVENT INS
             Relationship to debtor
             AFFILIATE

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4.175.1      ARCHDIOCESE OF NO - INSURANCE OFFICE            9/6/2019    $100.00                 ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR LSU WATCH PARTY
             SUITE 1202                                                                          SPECIAL EVENT INS
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.176.1      ARCHDIOCESE OF NO - INSURANCE OFFICE            8/1/2019    $1,134.00               ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR SUMMER CAMP
             SUITE 1202                                                                          ACCIDENT INS
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.177.       ARCHDIOCESE OF NO - INSURANCE OFFICE            7/11/2019   $24,929.10              ARCHBISHOP CHAPELLE HIGH
             1000 HOWARD AVE.                                                                    SCHOOL FOR PROPERTY
             SUITE 1202                                                                          INSURANCE
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.178.1      ARCHDIOCESE OF N.O. - INFORMATION TECH.         2/7/2020    $4,305.75               ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR QUARTERLY
             NEW ORLEANS LA 70125                                                                INTERNET
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.179.1      ARCHDIOCESE OF N.O. - INFORMATION TECH.         11/22/2019 $1,161.67                ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR DESTINY SOFTWARE
             NEW ORLEANS LA 70125                                                                LICENSE RENEWAL
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.180.1      ARCHDIOCESE OF N.O. - INFORMATION TECH.         10/4/2019   $1,310.00               ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR HARDWARE
             NEW ORLEANS LA 70125                                                                SOFTWARE REIMBURSEMENT
                                                                                                 HP10.POE SWITCHES
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.181.1      ARCHDIOCESE OF N.O. - INFORMATION TECH.         8/1/2019    $4,634.00               ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR INTERNET CHARGE +
             NEW ORLEANS LA 70125                                                                DOMAIN PURCHASE+DESTINY
                                                                                                 HOSTING
             Relationship to debtor
             AFFILIATE




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4.182.1      ARCHDIOCESE OF N.O. - INFORMATION TECH.         6/7/2019    $4,314.75               ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR INTERNET CHARGE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.183.1      ARCHDIOCESE OF NEW ORELANSCASUALTY              3/13/2020   $90,872.00              ARCHBISHOP RUMMEL HIGH
             INSURANCE                                                                           SCHOOL FOR QRTLY CASUALTY
             7887 WALMSLEY AVE                                                                   INSURANCE PAYMENT
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.184.1      ARCHDIOCESE OF NEW ORELANSCASUALTY              12/12/2019 $90,872.00               ARCHBISHOP RUMMEL HIGH
             INSURANCE                                                                           SCHOOL FOR QRTLY CASUALTY
             7887 WALMSLEY AVE                                                                   INSURANCE PAYMENT
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.185.       ARCHDIOCESE OF NEW ORELANSCASUALTY              10/25/2019 $90,872.34               ARCHBISHOP RUMMEL HIGH
             INSURANCE                                                                           SCHOOL FOR QRTLY CASUALTY
             7887 WALMSLEY AVE                                                                   INSURANCE PAYMENT
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.186.1      ARCHDIOCESE OF NEW ORELANSCASUALTY              6/13/2019   $87,531.00              ARCHBISHOP RUMMEL HIGH
             INSURANCE                                                                           SCHOOL FOR QRTLY CASUALTY
             7887 WALMSLEY AVE                                                                   INSURANCE PAYMENT
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.187.1      ARCHDIOCESE OF NEW ORLEANS                      4/30/2020   $750,000.00             ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR TRANSFER CASH
             NEW ORLEANS LA 70125                                                                FIRST BANK AND TRUST TO 2019-20
                                                                                                 CASH ACCT AT ARCHDIOCESE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.188.1      ARCHDIOCESE OF NEW ORLEANS                      4/30/2020   $15,277.25              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.189.1      ARCHDIOCESE OF NEW ORLEANS                      4/29/2020   $200.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.190.1      ARCHDIOCESE OF NEW ORLEANS                      4/23/2020   $27,297.27              ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR PAID OFF FEMA LOAN
             NEW ORLEANS LA 70125                                                                ACCOUNT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.191.1      ARCHDIOCESE OF NEW ORLEANS                      4/17/2020   $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.192.1      ARCHDIOCESE OF NEW ORLEANS                      4/17/2020   $100.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.193.1      ARCHDIOCESE OF NEW ORLEANS                      4/13/2020   $6,000.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.194.1      ARCHDIOCESE OF NEW ORLEANS                      4/6/2020    $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 ASSESSMENT LOAN
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.195.       ARCHDIOCESE OF NEW ORLEANS                      4/6/2020    $1,404.21               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.196.1      ARCHDIOCESE OF NEW ORLEANS                      4/1/2020    $21,560.35              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.197.1      ARCHDIOCESE OF NEW ORLEANS                      3/31/2020   $15,277.25              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.198.1      ARCHDIOCESE OF NEW ORLEANS                      3/24/2020   $60,175.00              ACADEMY OF OUR LADY FOR Q4
             7887 WALMSLEY AVE.                                                                  CASUALTY AND VEHICLE
             NEW ORLEANS LA 70125                                                                INSURANCE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.199.1      ARCHDIOCESE OF NEW ORLEANS                      3/20/2020   $115.00                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR ELEVATOR MAINTENANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.200.1      ARCHDIOCESE OF NEW ORLEANS                      3/16/2020   $1,509.00               ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR FLOOD INSURANCE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.201.1      ARCHDIOCESE OF NEW ORLEANS                      3/13/2020   $12,640.00              ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR QRTLY LOAN
             NEW ORLEANS LA 70125-3496                                                           PAYMENT ON ARCH FIELD HOUSE
                                                                                                 LOAN
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.202.       ARCHDIOCESE OF NEW ORLEANS                      3/13/2020   $4,000.00               ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PAY QRTLY LOAN
             NEW ORLEANS LA 70125-3496                                                           PAYMENT ON VEHICLE BUS LOAN
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.203.1      ARCHDIOCESE OF NEW ORLEANS                      3/13/2020   $230.00                 ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR ELEVATOR
             NEW ORLEANS LA 70125                                                                INSPECTION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.204.1      ARCHDIOCESE OF NEW ORLEANS                      3/12/2020   $415.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                QUICKBOOKS LICENSE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.205.1      ARCHDIOCESE OF NEW ORLEANS                      3/12/2020   $115.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ELEVATOR MAINTENANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.206.1      ARCHDIOCESE OF NEW ORLEANS                      3/12/2020   $115.00                 ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  ELEVATOR MAINTENANCE SERVICE
             NEW ORLEANS LA 70125                                                                CHARGE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.207.1      ARCHDIOCESE OF NEW ORLEANS                      3/11/2020   $247.00                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR LEGAL FEES
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.208.1      ARCHDIOCESE OF NEW ORLEANS                      3/11/2020   $115.00                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR ELEVATOR MAINTENANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.209.       ARCHDIOCESE OF NEW ORLEANS                      3/10/2020   $420.00                 OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 QUICKBOOKS
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.210.1      ARCHDIOCESE OF NEW ORLEANS                      3/5/2020    $110.00                 ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  SPECIAL EVENTS INSURANCE -
             NEW ORLEANS LA 70125                                                                BASKETS AND BBQ
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.211.1      ARCHDIOCESE OF NEW ORLEANS                      3/3/2020    $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 ASSESSMENT LOAN
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.212.1      ARCHDIOCESE OF NEW ORLEANS                      3/2/2020    $21,560.35              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.213.1      ARCHDIOCESE OF NEW ORLEANS                      3/2/2020    $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.214.1      ARCHDIOCESE OF NEW ORLEANS                      3/2/2020    $48.00                  ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.215.1      ARCHDIOCESE OF NEW ORLEANS                      2/29/2020   $15,277.25              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.216.       ARCHDIOCESE OF NEW ORLEANS                      2/27/2020   $58,000.00              OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.217.1      ARCHDIOCESE OF NEW ORLEANS                      2/14/2020   $167.50                 ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PAY ATTORNEY FEES
             NEW ORLEANS LA 70125-3496                                                           FOR RE-SUBDIVISION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.218.1      ARCHDIOCESE OF NEW ORLEANS                      2/13/2020   $14,864.00              ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  FLOOD INSURANCE
             NEW ORLEANS LA 70125                                                                ADMIN,CLASSROOM, GYM, CAFÉ
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.219.1      ARCHDIOCESE OF NEW ORLEANS                      2/13/2020   $1,441.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 EXTRA-DIOCESAN
             NEW ORLEANS LA 70125                                                                PAYMENTS:ARCHDIOCESAN
                                                                                                 CATHOLIC CHARITIES
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.220.1      ARCHDIOCESE OF NEW ORLEANS                      2/10/2020   $611.25                 ST. LOUIS CATHEDRAL FOR IT
             7887 WALMSLEY AVENUE                                                                SERVICES
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.221.1      ARCHDIOCESE OF NEW ORLEANS                      2/4/2020    $14,500.00              OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.222.1      ARCHDIOCESE OF NEW ORLEANS                      2/4/2020    $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 ASSESSMENT LOAN
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.223.       ARCHDIOCESE OF NEW ORLEANS                      2/4/2020    $2,300.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.224.1      ARCHDIOCESE OF NEW ORLEANS                      2/3/2020    $21,560.30              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.225.1      ARCHDIOCESE OF NEW ORLEANS                      2/3/2020    $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.226.1      ARCHDIOCESE OF NEW ORLEANS                      2/2/2020    $3,383.25               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INTERNET SERVICE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.227.1      ARCHDIOCESE OF NEW ORLEANS                      1/31/2020   $15,277.25              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.228.1      ARCHDIOCESE OF NEW ORLEANS                      1/31/2020   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR DONNA
             NEW ORLEANS LA 70125                                                                BERGERON
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.229.1      ARCHDIOCESE OF NEW ORLEANS                      1/30/2020   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR
             NEW ORLEANS LA 70125                                                                THOMAS GAUTREAUX
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.230.       ARCHDIOCESE OF NEW ORLEANS                      1/28/2020   $658.00                 OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 EXTRA-DIOCESAN
             NEW ORLEANS LA 70125                                                                PAYMENTS:OTHER EXTRA-DIOCES.
                                                                                                 PMTS:CATHOLIC SCHOOL
             Relationship to debtor                                                              COLLECTION
             AFFILIATE




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4.231.1      ARCHDIOCESE OF NEW ORLEANS                      1/23/2020   $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.232.1      ARCHDIOCESE OF NEW ORLEANS                      1/23/2020   $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.233.1      ARCHDIOCESE OF NEW ORLEANS                      1/23/2020   $671.26                 ST. LOUIS CATHEDRAL FOR IT
             7887 WALMSLEY AVENUE                                                                SERVICES
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.234.1      ARCHDIOCESE OF NEW ORLEANS                      1/23/2020   $611.25                 ST. LOUIS CATHEDRAL FOR IT
             7887 WALMSLEY AVENUE                                                                SERVICES
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.235.1      ARCHDIOCESE OF NEW ORLEANS                      1/22/2020   $3,417.75               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INTERNET SERVICE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.236.1      ARCHDIOCESE OF NEW ORLEANS                      1/22/2020   $446.00                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INFORMATION TECHNOLOGY
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.237.       ARCHDIOCESE OF NEW ORLEANS                      1/17/2020   $75,000.00              ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PAY ANNJAL
             NEW ORLEANS LA 70125-3496                                                           PAYMENT ON RENOVATION LOAN
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.238.1      ARCHDIOCESE OF NEW ORLEANS                      1/16/2020   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR MARK
             NEW ORLEANS LA 70125                                                                DATRI
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.239.1      ARCHDIOCESE OF NEW ORLEANS                      1/15/2020   $3,589.00               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.240.1      ARCHDIOCESE OF NEW ORLEANS                      1/14/2020   $14,500.00              OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.241.1      ARCHDIOCESE OF NEW ORLEANS                      1/14/2020   $2,300.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.242.1      ARCHDIOCESE OF NEW ORLEANS                      1/13/2020   $200.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.243.1      ARCHDIOCESE OF NEW ORLEANS                      1/13/2020   $100.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.244.       ARCHDIOCESE OF NEW ORLEANS                      1/9/2020    $60,175.00              ACADEMY OF OUR LADY FOR Q3
             7887 WALMSLEY AVE.                                                                  CASUALTY AND VEHICLE
             NEW ORLEANS LA 70125                                                                INSURANCE
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.245.1      ARCHDIOCESE OF NEW ORLEANS                      1/8/2020   $1,600.00               ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                 MARCH FOR LIFE PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.246.1      ARCHDIOCESE OF NEW ORLEANS                      1/6/2020   $21,560.34              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                               FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                              PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.247.1      ARCHDIOCESE OF NEW ORLEANS                      1/2/2020   $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                               ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.248.1      ARCHDIOCESE OF NEW ORLEANS                      1/2/2020   $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.249.1      ARCHDIOCESE OF NEW ORLEANS                      1/2/2020   $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.250.1      ARCHDIOCESE OF NEW ORLEANS                      1/2/2020   $2,300.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer
         1
4.251.       ARCHDIOCESE OF NEW ORLEANS                      1/2/2020   $2,300.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.252.1      ARCHDIOCESE OF NEW ORLEANS                      12/31/2019 $15,277.25              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                  SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                               PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.253.1      ARCHDIOCESE OF NEW ORLEANS                      12/24/2019 $14,500.00              OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.254.1      ARCHDIOCESE OF NEW ORLEANS                      12/18/2019 $1,440.00               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                      FOR INFORMATION TECHNOLOGY
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.255.1      ARCHDIOCESE OF NEW ORLEANS                      12/17/2019 $7,000.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.256.1      ARCHDIOCESE OF NEW ORLEANS                      12/17/2019 $2,300.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.257.1      ARCHDIOCESE OF NEW ORLEANS                      12/17/2019 $1,559.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                RETIREMENT FUND
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer
         1
4.258.       ARCHDIOCESE OF NEW ORLEANS                      12/12/2019 $12,640.00              ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                  SCHOOL FOR QRTLY LOAN
             NEW ORLEANS LA 70125-3496                                                          PAYMENT ON ARCH FIELD HOUSE
                                                                                                LOAN
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.259.1      ARCHDIOCESE OF NEW ORLEANS                      12/12/2019 $4,000.00                ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PAY QRTLY LOAN
             NEW ORLEANS LA 70125-3496                                                           PAYMENT ON VEHICLE BUS LOAN
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.260.1      ARCHDIOCESE OF NEW ORLEANS                      12/12/2019 $48.00                   ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR
             NEW ORLEANS LA 70125                                                                VINCENT LIBERTO
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.261.1      ARCHDIOCESE OF NEW ORLEANS                      12/12/2019 $16.17                   ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR REIMBURSE FOR
             NEW ORLEANS LA 70125-3496                                                           ARC DOCUMENT SOLUTIONS FOR
                                                                                                 DIGITAL PRINT BAND FIELD
             Relationship to debtor                                                              PROJECT
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.262.1      ARCHDIOCESE OF NEW ORLEANS                      12/10/2019 $7,000.00                OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.263.1      ARCHDIOCESE OF NEW ORLEANS                      12/10/2019 $1,450.00                OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 EXTRA-DIOCESAN
             NEW ORLEANS LA 70125                                                                PAYMENTS:CATHOLIC CAMPAIGN
                                                                                                 FOR HUMAN DEV
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.264.1      ARCHDIOCESE OF NEW ORLEANS                      12/5/2019   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR KERRY
             NEW ORLEANS LA 70125                                                                FORD
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.265.       ARCHDIOCESE OF NEW ORLEANS                      12/4/2019   $1,600.00               ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  MARCH FOR LIFE PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.266.1      ARCHDIOCESE OF NEW ORLEANS                      12/3/2019   $21,560.34              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.267.1      ARCHDIOCESE OF NEW ORLEANS                      12/3/2019   $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.268.1      ARCHDIOCESE OF NEW ORLEANS                      11/30/2019 $15,277.25               ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.269.1      ARCHDIOCESE OF NEW ORLEANS                      11/21/2019 $1,525.02                ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR LAWYER'S BILL FOR
             NEW ORLEANS LA 70125-3496                                                           WORK ON RE-SUBDIVISION OF
                                                                                                 MIDDLE SCHOOL PROPERTY
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.270.1      ARCHDIOCESE OF NEW ORLEANS                      11/21/2019 $1,200.00                OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 EXTRA DIOCESAN PAYMENT -
             NEW ORLEANS LA 70125                                                                BLACK & INDIAN HOME MISSION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.271.1      ARCHDIOCESE OF NEW ORLEANS                      11/21/2019 $1,093.00                OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 EXTRA-DIOCESAN
             NEW ORLEANS LA 70125                                                                PAYMENTS:COLLECTION FOR THE
                                                                                                 HOLY FATHER-
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.272.       ARCHDIOCESE OF NEW ORLEANS                      11/21/2019 $1,060.00                OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 EXTRA-DIOCESAN
             NEW ORLEANS LA 70125                                                                PAYMENTS:CATHOLIC
                                                                                                 COMMUNICATIONS CAMPAIGN
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.273.1      ARCHDIOCESE OF NEW ORLEANS                      11/21/2019 $458.30                  OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 EXTRA-DIOCESAN
             NEW ORLEANS LA 70125                                                                PAYMENTS:OTHER EXTRA-DIOCES.
                                                                                                 PMTS:WORLD MISSION
             Relationship to debtor                                                              COLLECTION
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.274.1      ARCHDIOCESE OF NEW ORLEANS                      11/20/2019 $48.00                   ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.275.1      ARCHDIOCESE OF NEW ORLEANS                      11/14/2019 $2,593.00                ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  FLOOD INSURANCE - ARTS
             NEW ORLEANS LA 70125                                                                BUILDING
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.276.1      ARCHDIOCESE OF NEW ORLEANS                      11/13/2019 $390.00                  ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR ELEVATOR MAINTENANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.277.1      ARCHDIOCESE OF NEW ORLEANS                      11/7/2019   $5,483.15               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.278.1      ARCHDIOCESE OF NEW ORLEANS                      11/6/2019   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR R.
             NEW ORLEANS LA 70125                                                                MUHEISEN
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.279.       ARCHDIOCESE OF NEW ORLEANS                      11/6/2019   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR ASHA
             NEW ORLEANS LA 70125                                                                BROOKS
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.280.1      ARCHDIOCESE OF NEW ORLEANS                      11/5/2019   $48.00                  ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.281.1      ARCHDIOCESE OF NEW ORLEANS                      11/1/2019   $21,560.03              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.282.1      ARCHDIOCESE OF NEW ORLEANS                      10/31/2019 $15,277.25               ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.283.1      ARCHDIOCESE OF NEW ORLEANS                      10/29/2019 $517.00                  OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 WORLD YOUTH DAY
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.284.1      ARCHDIOCESE OF NEW ORLEANS                      10/29/2019 $135.00                  OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 SOCIAL PORGRAM EXPENSE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.285.1      ARCHDIOCESE OF NEW ORLEANS                      10/28/2019 $17,699.83               ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.286.       ARCHDIOCESE OF NEW ORLEANS                      10/25/2019 $1,275.00                ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  WORLD YOUTH DAY
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.287.1      ARCHDIOCESE OF NEW ORLEANS                      10/24/2019 $15,080.00              ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                 ARCHDIOCESE STUDENT
             NEW ORLEANS LA 70125                                                               ASSESSMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.288.1      ARCHDIOCESE OF NEW ORLEANS                      10/23/2019 $8,900.00               ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                  SCHOOL FOR EXTERNAL AUDIT
             NEW ORLEANS LA 70125                                                               FEE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.289.1      ARCHDIOCESE OF NEW ORLEANS                      10/23/2019 $6,293.00               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                      FOR STUDENT ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.290.1      ARCHDIOCESE OF NEW ORLEANS                      10/18/2019 $350.00                 ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                      SCHOOL FOR ADMINISTATORS
             NEW ORLEANS LA 70125                                                               CONFERENCE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.291.1      ARCHDIOCESE OF NEW ORLEANS                      10/17/2019 $10,100.00              ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                  SCHOOL FOR REIMBURSE FOR
             NEW ORLEANS LA 70125-3496                                                          EXTERNAL AUDIT FEE 18-19
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.292.1      ARCHDIOCESE OF NEW ORLEANS                      10/17/2019 $9,400.00               ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                 ANNUAL AUDIT FEES
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer
         1
4.293.       ARCHDIOCESE OF NEW ORLEANS                      10/16/2019 $600.00                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                      FOR AUDITOR'S FEE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.294.1      ARCHDIOCESE OF NEW ORLEANS                      10/15/2019 $14,500.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.295.1      ARCHDIOCESE OF NEW ORLEANS                      10/9/2019   $8,578.00               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.296.1      ARCHDIOCESE OF NEW ORLEANS                      10/4/2019   $110.00                 ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  SPECIAL EVENTS COVERAGE -
             NEW ORLEANS LA 70125                                                                FALL FESTIVAL
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.297.1      ARCHDIOCESE OF NEW ORLEANS                      10/3/2019   $60,175.00              ACADEMY OF OUR LADY FOR Q2
             7887 WALMSLEY AVE.                                                                  CASUALTY AND VEHICLE
             NEW ORLEANS LA 70125                                                                INSURANCE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.298.1      ARCHDIOCESE OF NEW ORLEANS                      10/3/2019   $45.00                  OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 SOCIAL PORGRAM EXPENSE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.299.1      ARCHDIOCESE OF NEW ORLEANS                      10/1/2019   $21,560.30              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.300.       ARCHDIOCESE OF NEW ORLEANS                      10/1/2019   $15,277.25              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.301.1      ARCHDIOCESE OF NEW ORLEANS                      10/1/2019   $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 ASSESSMENT LOAN
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.302.1      ARCHDIOCESE OF NEW ORLEANS                      10/1/2019   $2,300.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.303.1      ARCHDIOCESE OF NEW ORLEANS                      9/30/2019   $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.304.1      ARCHDIOCESE OF NEW ORLEANS                      9/30/2019   $100.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.305.1      ARCHDIOCESE OF NEW ORLEANS                      9/27/2019   $1,850.00               ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  MARCH FOR LIFE PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.306.1      ARCHDIOCESE OF NEW ORLEANS                      9/27/2019   $380.00                 ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR TOB TEENS
             NEW ORLEANS LA 70125-3496                                                           TRAINING REGISTRATIONS (2)
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.307.       ARCHDIOCESE OF NEW ORLEANS                      9/26/2019   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR JIVANI
             NEW ORLEANS LA 70125                                                                JONES
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.308.1      ARCHDIOCESE OF NEW ORLEANS                      9/26/2019   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK FOR SHELBY
             NEW ORLEANS LA 70125                                                                SCHMITT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.309.1      ARCHDIOCESE OF NEW ORLEANS                      9/19/2019   $115.00                 ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  ELEVATOR INSPECTION
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.310.1      ARCHDIOCESE OF NEW ORLEANS                      9/16/2019   $115.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ELEVATOR MAINTENANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.311.1      ARCHDIOCESE OF NEW ORLEANS                      9/13/2019   $3,553.00               ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR FLOOD INSURANCE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.312.1      ARCHDIOCESE OF NEW ORLEANS                      9/12/2019   $18,200.00              ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  STUDENT ACCIDENT INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.313.1      ARCHDIOCESE OF NEW ORLEANS                      9/12/2019   $12,640.00              ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR QRTLY LOAN
             NEW ORLEANS LA 70125-3496                                                           PAYMENT ON ARCH FIELD HOUSE
                                                                                                 LOAN
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.314.       ARCHDIOCESE OF NEW ORLEANS                      9/12/2019   $4,000.00               ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PAY QRTLY LOAN
             NEW ORLEANS LA 70125-3496                                                           PAYMENT ON VEHICLE BUS LOAN
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.315.1      ARCHDIOCESE OF NEW ORLEANS                      9/10/2019   $1,000,000.00           ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR TRANSFER TO SHAW SAVINGS
             NEW ORLEANS, LA 70125                                                               WITH ARCHDIOCESE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.316.1      ARCHDIOCESE OF NEW ORLEANS                      9/10/2019   $25,000.00              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR TRANSFER TO SHAW SAVINGS
             NEW ORLEANS, LA 70125                                                               WITH ARCHDIOCESE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.317.1      ARCHDIOCESE OF NEW ORLEANS                      9/10/2019   $14,500.00              OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.318.1      ARCHDIOCESE OF NEW ORLEANS                      9/9/2019    $100.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.319.1      ARCHDIOCESE OF NEW ORLEANS                      9/5/2019    $175.00                 ACADEMY OF OUR LADY FOR TOB
             7887 WALMSLEY AVE.                                                                  CERTIFICATION FOR EMILY
             NEW ORLEANS LA 70125                                                                ONCALE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.320.1      ARCHDIOCESE OF NEW ORLEANS                      9/3/2019    $21,560.30              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.321.       ARCHDIOCESE OF NEW ORLEANS                      9/3/2019    $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.322.1      ARCHDIOCESE OF NEW ORLEANS                      8/30/2019   $15,277.25              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.323.1      ARCHDIOCESE OF NEW ORLEANS                      8/30/2019   $350.00                 ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR ASBESTOS TRAINING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.324.1      ARCHDIOCESE OF NEW ORLEANS                      8/29/2019   $350.00                 ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PRINCIPAL REGIST
             NEW ORLEANS LA 70125-3496                                                           FOR 2019 ADMIN CONFERENCE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.325.1      ARCHDIOCESE OF NEW ORLEANS                      8/28/2019   $41,478.00              ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR BUILDING OFFICE FEE INV.
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.326.1      ARCHDIOCESE OF NEW ORLEANS                      8/14/2019   $10,000.00              ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR TRANSFER FROM
             NEW ORLEANS LA 70125                                                                CASH AT ARCHDIOCESE TO
                                                                                                 CATHOLIC FOUNDATION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.327.1      ARCHDIOCESE OF NEW ORLEANS                      8/14/2019   $3,638.00               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.328.       ARCHDIOCESE OF NEW ORLEANS                      8/9/2019    $60,175.00              ACADEMY OF OUR LADY FOR Q1
             7887 WALMSLEY AVE.                                                                  CASUALTY AND VEHICLE
             NEW ORLEANS LA 70125                                                                INSURANCE
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.329.1      ARCHDIOCESE OF NEW ORLEANS                      8/9/2019    $132.75                 ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BASEBALL AND BASKETBALL CAMP
             NEW ORLEANS LA 70125                                                                INSURANCE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.330.1      ARCHDIOCESE OF NEW ORLEANS                      8/6/2019    $2,700.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.331.1      ARCHDIOCESE OF NEW ORLEANS                      8/6/2019    $2,300.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.332.1      ARCHDIOCESE OF NEW ORLEANS                      8/2/2019    $48.00                  ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.333.1      ARCHDIOCESE OF NEW ORLEANS                      8/1/2019    $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK - MARISSA
             NEW ORLEANS LA 70125                                                                BROWNE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.334.1      ARCHDIOCESE OF NEW ORLEANS                      7/31/2019   $15,277.25              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.335.       ARCHDIOCESE OF NEW ORLEANS                      7/29/2019   $1,006.00               ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  FLOOD INSURANCE -
             NEW ORLEANS LA 70125                                                                MAINTENANCE BUILDING
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.336.1      ARCHDIOCESE OF NEW ORLEANS                      7/29/2019   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK - KAREN
             NEW ORLEANS LA 70125                                                                MATHERNE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.337.1      ARCHDIOCESE OF NEW ORLEANS                      7/26/2019   $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.338.1      ARCHDIOCESE OF NEW ORLEANS                      7/26/2019   $100.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.339.1      ARCHDIOCESE OF NEW ORLEANS                      7/18/2019   $96,264.00              ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.340.1      ARCHDIOCESE OF NEW ORLEANS                      7/18/2019   $509.25                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR GAS LEAK COMPLIANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.341.1      ARCHDIOCESE OF NEW ORLEANS                      7/16/2019   $48.00                  ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.342.       ARCHDIOCESE OF NEW ORLEANS                      7/11/2019   $2,568.00               ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PAY FOR 1819 GAS
             NEW ORLEANS LA 70125-3496                                                           LEAK SURVEY
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.343.1      ARCHDIOCESE OF NEW ORLEANS                      7/11/2019   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK - EMILY
             NEW ORLEANS LA 70125                                                                ONCALE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.344.1      ARCHDIOCESE OF NEW ORLEANS                      7/8/2019    $100.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.345.1      ARCHDIOCESE OF NEW ORLEANS                      7/2/2019    $10,000.00              ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR TRANSFER FROM
             NEW ORLEANS LA 70125                                                                CASH AT ARCHDIOCESE TO
                                                                                                 CATHOLIC FOUNDATION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.346.1      ARCHDIOCESE OF NEW ORLEANS                      7/1/2019    $10,128.83              ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.347.1      ARCHDIOCESE OF NEW ORLEANS                      6/27/2019   $9,183.49               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.348.1      ARCHDIOCESE OF NEW ORLEANS                      6/26/2019   $50,000.00              ARCHBISHOP HANNAN HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PROMISSORY NOTE
             NEW ORLEANS LA 70125                                                                PAYMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.349.       ARCHDIOCESE OF NEW ORLEANS                      6/19/2019   $350.00                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR ASBESTOS TRAINING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.350.1      ARCHDIOCESE OF NEW ORLEANS                      6/19/2019   $170.00                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR ADMINISTRATORS RETREAT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.351.1      ARCHDIOCESE OF NEW ORLEANS                      6/18/2019   $1,624,470.08           ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR PAID OFF LOAN ON
             NEW ORLEANS LA 70125                                                                WOMEN'S CENTER
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.352.1      ARCHDIOCESE OF NEW ORLEANS                      6/17/2019   $3,071.25               ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  INSURANCE FOR SUMMER CAMP
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.353.1      ARCHDIOCESE OF NEW ORLEANS                      6/15/2019   $5,706.18               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INFORMATION TECHNOLOGY
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.354.1      ARCHDIOCESE OF NEW ORLEANS                      6/14/2019   $500,000.00             ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR TRANSFER TO ARCH
             NEW ORLEANS LA 70125-3496                                                           DPST ACCT 7305.1 TUITION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.355.1      ARCHDIOCESE OF NEW ORLEANS                      6/14/2019   $500,000.00             ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR TRANSFER TO ARCH
             NEW ORLEANS LA 70125-3496                                                           DPST ACCT 7305.1 TUITION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.356.       ARCHDIOCESE OF NEW ORLEANS                      6/14/2019   $500,000.00             ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR TRANSFER TO ARCH
             NEW ORLEANS LA 70125-3496                                                           DPST ACCT 7305.1 TUITION
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.357.1      ARCHDIOCESE OF NEW ORLEANS                      6/14/2019   $500,000.00             ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR TRANSFER TO ARCH
             NEW ORLEANS LA 70125-3496                                                           DPST ACCT 7305.1 TUITION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.358.1      ARCHDIOCESE OF NEW ORLEANS                      6/13/2019   $12,640.00              ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR QRTLY LOAN
             NEW ORLEANS LA 70125-3496                                                           PAYMENT ON ARCH FIELD HOUSE
                                                                                                 LOAN
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.359.1      ARCHDIOCESE OF NEW ORLEANS                      6/13/2019   $4,000.00               ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR PAY QRTLY LOAN
             NEW ORLEANS LA 70125-3496                                                           PAYMENT ON VEHICLE BUS LOAN
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.360.1      ARCHDIOCESE OF NEW ORLEANS                      6/13/2019   $100.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.361.1      ARCHDIOCESE OF NEW ORLEANS                      6/12/2019   $700.00                 ST CHARLES CATHOLIC FOR
             7887 WALMSLEY AVE                                                                   ASBESTOS TRAINING EVENT FEE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.362.1      ARCHDIOCESE OF NEW ORLEANS                      6/12/2019   $350.00                 ST CHARLES CATHOLIC FOR
             7887 WALMSLEY AVE                                                                   ASBESTOS TRAINING EVENT FEE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.363.       ARCHDIOCESE OF NEW ORLEANS                      6/7/2019    $170.00                 ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR BUILDERS RISK
             NEW ORLEANS LA 70125                                                                COVERAGE
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.364.1      ARCHDIOCESE OF NEW ORLEANS                      6/6/2019    $350.00                 ARCHBISHOP RUMMEL HIGH
             7887 WALMSLEY AVE                                                                   SCHOOL FOR ASBESTOS TRAINING
             NEW ORLEANS LA 70125-3496                                                           FOR TROY HOLLEY
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.365.1      ARCHDIOCESE OF NEW ORLEANS                      6/6/2019    $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK - MASON
             NEW ORLEANS LA 70125                                                                CEMO
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.366.1      ARCHDIOCESE OF NEW ORLEANS                      6/4/2019    $30.00                  OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 WEBSITE RENEWAL FEE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.367.1      ARCHDIOCESE OF NEW ORLEANS                      6/4/2019    $15.00                  OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 OFFICE OF WORSHIP
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.368.1      ARCHDIOCESE OF NEW ORLEANS                      6/3/2019    $19,740.90              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.369.1      ARCHDIOCESE OF NEW ORLEANS                      5/31/2019   $30,000.00              ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR TRANSFER CASH
             NEW ORLEANS LA 70125                                                                FIRST BANK AND TRUST TO
                                                                                                 ARCHDIOCESE ENDOWMENT ACCT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.370.       ARCHDIOCESE OF NEW ORLEANS                      5/31/2019   $10,000.00              ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR TRANSFER FROM
             NEW ORLEANS LA 70125                                                                CASH AT ARCHDIOCESE TO
                                                                                                 CATHOLIC FOUNDATION
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.371.1      ARCHDIOCESE OF NEW ORLEANS                      5/31/2019   $9,991.17               ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.372.1      ARCHDIOCESE OF NEW ORLEANS                      5/30/2019   $1,000,000.00           ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR TRANSFER TO 2019-
             NEW ORLEANS LA 70125                                                                20 CASH ACCT AT ARCHDIOCESE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.373.1      ARCHDIOCESE OF NEW ORLEANS                      5/30/2019   $1,000,000.00           ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR TRANSFER CASH
             NEW ORLEANS LA 70125                                                                FIRST BANK AND TRUST TO 2019-20
                                                                                                 CASH ACCT AT ARCHDIOCESE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.374.1      ARCHDIOCESE OF NEW ORLEANS                      5/30/2019   $13,500.00              OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.375.1      ARCHDIOCESE OF NEW ORLEANS                      5/30/2019   $2,000.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.376.1      ARCHDIOCESE OF NEW ORLEANS                      5/28/2019   $3,372.50               ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR INFORMATION TECHNOLOGY
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.377.       ARCHDIOCESE OF NEW ORLEANS                      5/23/2019   $48.00                  ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  BACKGROUND CHECK - MELINDA
             NEW ORLEANS LA 70125                                                                HARLOW
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.378.1      ARCHDIOCESE OF NEW ORLEANS                      5/16/2019   $10,000.00              ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR TRANSFER FROM
             NEW ORLEANS LA 70125                                                                CASH AT ARCHDIOCESE TO
                                                                                                 CATHOLIC FOUNDATION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.379.1      ARCHDIOCESE OF NEW ORLEANS                      5/15/2019   $1,913.00               ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR FLOOD INSURANCE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.380.1      ARCHDIOCESE OF NEW ORLEANS                      5/14/2019   $864.00                 OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 EXTRA-DIOCESAN
             NEW ORLEANS LA 70125                                                                PAYMENTS:OTHER EXTRA-DIOCES.
                                                                                                 PMTS:DIOCESAN PRIEST
             Relationship to debtor                                                              RETIREMENT
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.381.1      ARCHDIOCESE OF NEW ORLEANS                      5/13/2019   $9,991.17               ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ASSESSMENT PAYMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.382.1      ARCHDIOCESE OF NEW ORLEANS                      5/8/2019    $25,565.00              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR FLOOD INSURANCE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.383.1      ARCHDIOCESE OF NEW ORLEANS                      5/7/2019    $13,500.00              OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 PARISH SHARE ASSESSMENT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.384.       ARCHDIOCESE OF NEW ORLEANS                      5/7/2019    $2,000.00               OUR LADY OF GUADALUPE FOR
             7887 WALSLEY AVENUE                                                                 INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.385.1      ARCHDIOCESE OF NEW ORLEANS                      5/7/2019    $100.00                 ST. LOUIS CATHEDRAL FOR
             7887 WALMSLEY AVENUE                                                                ACCOUNTING ASSISTANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.386.1      ARCHDIOCESE OF NEW ORLEANS                      5/2/2019    $100.00                 ACADEMY OF OUR LADY FOR
             7887 WALMSLEY AVE.                                                                  SPECIAL EVENTS COVERAGE -
             NEW ORLEANS LA 70125                                                                GRADUATION
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.387.1      ARCHDIOCESE OF NEW ORLEANS                      5/1/2019    $19,740.91              ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR ANNUAL INSURANCE
             NEW ORLEANS, LA 70125                                                               PREMIUM
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.388.1      ARCHDIOCESE OF NEW ORLEANS                      5/1/2019    $350.00                 ST. MICHAEL SPECIAL SCHOOL
             7887 WALMSLEY                                                                       FOR ASBESTOS TRAINING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.389.1      ARCHDIOCESE OF NEW ORLEANS                      4/23/2020   $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN #1 PAYMENT
             ATTN: CHIEF FINANCIAL OFFICER                                                       APRIL 2020
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.390.       ARCHDIOCESE OF NEW ORLEANS                      4/23/2020   $2,134.39               ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   REPAYMENT # 4 - STADIUM LOAN
             ATTN: CHIEF FINANCIAL OFFICER                                                       324.4
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.391.1      ARCHDIOCESE OF NEW ORLEANS                      3/25/2020   $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN #1 PAYMENT
             ATTN: CHIEF FINANCIAL OFFICER                                                       MARCH 2020
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE


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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.392.1      ARCHDIOCESE OF NEW ORLEANS                      3/25/2020   $2,134.39               ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   REPAYMENT # 3 - STADIUM LOAN
             ATTN: CHIEF FINANCIAL OFFICER                                                       324.4
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.393.       ARCHDIOCESE OF NEW ORLEANS                      2/21/2020   $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 PAYMENT
             ATTN: CHIEF FINANCIAL OFFICER                                                       FEBRUARY 2020
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.394.1      ARCHDIOCESE OF NEW ORLEANS                      2/21/2020   $2,134.40               ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   REPAYMENT # 2 - STADIUM LOAN
             ATTN: CHIEF FINANCIAL OFFICER                                                       324.4
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.395.1      ARCHDIOCESE OF NEW ORLEANS                      1/28/2020   $2,134.39               ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   REPAYMENT # 1 - STADIUM LOAN
             ATTN: CHIEF FINANCIAL OFFICER                                                       324.4
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.396.1      ARCHDIOCESE OF NEW ORLEANS                      1/24/2020   $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 PAYMENT
             ATTN: CHIEF FINANCIAL OFFICER                                                       JANUARY 2020
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.397.       ARCHDIOCESE OF NEW ORLEANS                      1/7/2020    $80,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   STADIUM LOAN - PRINCIPAL
             ATTN: CHIEF FINANCIAL OFFICER                                                       PAYMENT
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.398.1      ARCHDIOCESE OF NEW ORLEANS                      12/20/2019 $25,000.00               ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 PAYMENT
             ATTN: CHIEF FINANCIAL OFFICER                                                       DECEMBER 2019
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.399.       ARCHDIOCESE OF NEW ORLEANS                      11/22/2019 $25,000.00               ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 PAYMENT
             ATTN: CHIEF FINANCIAL OFFICER                                                       NOVEMBER 2019
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.400.1      ARCHDIOCESE OF NEW ORLEANS                      10/28/2019 $25,000.00               ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 PAYMENT
             ATTN: CHIEF FINANCIAL OFFICER                                                       OCTOBER 2019
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.401.1      ARCHDIOCESE OF NEW ORLEANS                      10/15/2019 $8,900.00                ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   REIMBURSE FOR AUDITOR'S FEES
             ATTN: CHIEF FINANCIAL OFFICER
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.402.1      ARCHDIOCESE OF NEW ORLEANS                      9/25/2019   $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 PAYMENT
             ATTN: CHIEF FINANCIAL OFFICER                                                       SEPTEMBER 2019
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.403.       ARCHDIOCESE OF NEW ORLEANS                      8/22/2019   $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 #324.2
             ATTN: CHIEF FINANCIAL OFFICER                                                       AUGUST 2019
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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4.404.1      ARCHDIOCESE OF NEW ORLEANS                      8/1/2019    $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 LOAN
             ATTN: CHIEF FINANCIAL OFFICER                                                       REPAY #324.2 JULY 2019
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.405.       ARCHDIOCESE OF NEW ORLEANS                      6/20/2019   $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 LOAN
             ATTN: CHIEF FINANCIAL OFFICER                                                       REPAY #324.2 JUNE 2019
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.406.1      ARCHDIOCESE OF NEW ORLEANS                      5/24/2019   $25,000.00              ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   CONSTRUCTION LOAN 1 LOAN
             ATTN: CHIEF FINANCIAL OFFICER                                                       REPAY #324.2 MAY 2019
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.407.1      ARCHDIOCESE OF NEW ORLEANS                      2/7/2020    $3,454.50               ST CHARLES CATHOLIC FOR 3
             ACCOUNTING OFFICE                                                                   MONTH INTERNET CONNECTIVITY,
             I.T. OFFICE                                                                         EMAIL ACCOUNTS, HOSTING &
             7887 WALMSLEY AVE                                                                   MANAGEMENT OF WLAN
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.408.1      ARCHDIOCESE OF NEW ORLEANS                      1/24/2020   $3,432.75               ST CHARLES CATHOLIC FOR 3
             ACCOUNTING OFFICE                                                                   MONTH INTERNET CONNECTIVITY,
             I.T. OFFICE                                                                         EMAIL ACCOUNTS, HOSTING &
             7887 WALMSLEY AVE                                                                   MANAGEMENT OF WLAN
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.409.       ARCHDIOCESE OF NEW ORLEANS                      11/13/2019 $752.67                  ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   FOLLETT DESTINY LICENSE/MAINT.
             I.T. OFFICE                                                                         CHARGE PASS THROUGH
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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4.410.1      ARCHDIOCESE OF NEW ORLEANS                      7/17/2019   $3,423.75               ST CHARLES CATHOLIC FOR 3
             ACCOUNTING OFFICE                                                                   MONTH INTERNET CONNECTIVITY,
             I.T. OFFICE                                                                         EMAIL ACCOUNTS, HOSTING &
             7887 WALMSLEY AVE                                                                   MANAGEMENT OF WLAN
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.411.       ARCHDIOCESE OF NEW ORLEANS                      7/10/2019   $265.00                 ST CHARLES CATHOLIC FOR
             ACCOUNTING OFFICE                                                                   DESTINY HOSTING SERVICE &
             I.T. OFFICE                                                                         DOMAIN PURCHASE (1 YEAR)
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.412.1      ARCHDIOCESE OF NEW ORLEANS                      5/28/2019   $3,408.00               ST CHARLES CATHOLIC FOR 3
             ACCOUNTING OFFICE                                                                   MONTH INTERNET CONNECTIVITY,
             I.T. OFFICE                                                                         EMAIL ACCOUNTS, HOSTING &
             7887 WALMSLEY AVE                                                                   MANAGEMENT OF WLAN
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.413.1      ARCHDIOCESE OF NEW ORLEANS                      3/11/2020   $110.00                 ST CHARLES CATHOLIC FOR
             ARCHDIOCESAN INSURANCE OFFICE                                                       SPECIAL EVENTS COVERAGE -
             ATTN: JESSIE HAMILTON                                                               EVENT: SPRING MUSICAL
             1000 HOWARD AVE
             STE. 1202
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.414.1      ARCHDIOCESE OF NEW ORLEANS                      11/13/2019 $17,255.00               ST CHARLES CATHOLIC FOR 2019-
             ARCHDIOCESAN INSURANCE OFFICE                                                       20 STUDENT ACCIDENT
             ATTN: JESSIE HAMILTON                                                               INSURANCE
             1000 HOWARD AVE
             STE. 1202
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.415.1      ARCHDIOCESE OF NEW ORLEANS                      4/10/2020   $12,000.00              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.416.1      ARCHDIOCESE OF NEW ORLEANS                      3/18/2020   $12,000.00              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.417.1      ARCHDIOCESE OF NEW ORLEANS                      2/21/2020   $15,000.00              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.418.       ARCHDIOCESE OF NEW ORLEANS                      1/17/2020   $12,000.00              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.419.1      ARCHDIOCESE OF NEW ORLEANS                      12/18/2019 $12,000.00               ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.420.1      ARCHDIOCESE OF NEW ORLEANS                      11/20/2019 $12,000.00               ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.421.       ARCHDIOCESE OF NEW ORLEANS                      10/15/2019 $12,000.00               ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.422.1      ARCHDIOCESE OF NEW ORLEANS                      9/17/2019   $12,000.00              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.423.1      ARCHDIOCESE OF NEW ORLEANS                      8/16/2019   $12,000.00              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.424.1      ARCHDIOCESE OF NEW ORLEANS                      7/10/2019   $12,000.00              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.425.       ARCHDIOCESE OF NEW ORLEANS                      6/10/2019   $13,598.10              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.426.1      ARCHDIOCESE OF NEW ORLEANS                      5/9/2019    $12,835.00              ST CHARLES CATHOLIC FOR
             INSURANCE OFFICE                                                                    FLOOD + PROPERTY + G/L + W/C
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.427.1      ARCHDIOCESE OF NEW ORLEANS - AUDIT              10/25/2019 $10,100.00               ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR AUDIT FEE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.428.1      ARCHDIOCESE OF NEW ORLEANS -                    4/30/2020   $5,138.00               ACADEMY OF OUR LADY FOR 3
             INFORMATION TECHNOLOGY                                                              MONTHS INTERNET
             7887 WALMSLEY AVE.                                                                  CONNECTIVITY, EMAIL ACCOUNTS,
             NEW ORLEANS LA 70125                                                                HOSTING
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.429.       ARCHDIOCESE OF NEW ORLEANS -                    2/6/2020    $4,796.25               ACADEMY OF OUR LADY FOR 3
             INFORMATION TECHNOLOGY                                                              MONTHS INTERNET
             7887 WALMSLEY AVE.                                                                  CONNECTIVITY, EMAIL ACCOUNTS,
             NEW ORLEANS LA 70125                                                                HOSTING
             Relationship to debtor
             AFFILIATE


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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.430.1      ARCHDIOCESE OF NEW ORLEANS -                    2/1/2020    $3,477.00               POPE JOHN PAUL II HIGH SCHOOL
             INFORMATION TECHNOLOGY                                                              FOR IT SERVICES
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.431.1      ARCHDIOCESE OF NEW ORLEANS -                    1/23/2020   $4,791.75               ACADEMY OF OUR LADY FOR 3
             INFORMATION TECHNOLOGY                                                              MONTHS INTERNET
             7887 WALMSLEY AVE.                                                                  CONNECTIVITY, EMAIL ACCOUNTS,
             NEW ORLEANS LA 70125                                                                HOSTING
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.432.       ARCHDIOCESE OF NEW ORLEANS -                    1/21/2020   $3,493.50               POPE JOHN PAUL II HIGH SCHOOL
             INFORMATION TECHNOLOGY                                                              FOR IT SERVICES
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.433.1      ARCHDIOCESE OF NEW ORLEANS -                    12/12/2019 $2,497.29                ACADEMY OF OUR LADY FOR
             INFORMATION TECHNOLOGY                                                              PROF. SERVICES AND FOLLETT
             7887 WALMSLEY AVE.                                                                  DESTINY LICENSE AND MAINT.
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.434.1      ARCHDIOCESE OF NEW ORLEANS -                    9/19/2019   $21,750.00              ACADEMY OF OUR LADY FOR
             INFORMATION TECHNOLOGY                                                              HARDWARE/SOFTWARE REIMB.,
             7887 WALMSLEY AVE.                                                                  LAN SWITCH UPGRADE, PROF.
             NEW ORLEANS LA 70125                                                                SERVICES
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.435.       ARCHDIOCESE OF NEW ORLEANS -                    7/18/2019   $3,461.25               POPE JOHN PAUL II HIGH SCHOOL
             INFORMATION TECHNOLOGY                                                              FOR IT SERVICES
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.436.1      ARCHDIOCESE OF NEW ORLEANS -                    7/11/2019   $32,449.50              ACADEMY OF OUR LADY FOR 3
             INFORMATION TECHNOLOGY                                                              MONTHS INTERNET
             7887 WALMSLEY AVE.                                                                  CONNECTIVITY, EMAIL ACCOUNTS,
             NEW ORLEANS LA 70125                                                                HOSTING, AND WIRELESS AP
                                                                                                 UPGRADE, DESTINY HOSTING
             Relationship to debtor                                                              SERVICE
             AFFILIATE

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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.437.1      ARCHDIOCESE OF NEW ORLEANS -                    7/10/2019   $265.00                 POPE JOHN PAUL II HIGH SCHOOL
             INFORMATION TECHNOLOGY                                                              FOR IT SERVICES
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.438.1      ARCHDIOCESE OF NEW ORLEANS -                    5/28/2019   $3,492.00               POPE JOHN PAUL II HIGH SCHOOL
             INFORMATION TECHNOLOGY                                                              FOR IT SERVICES
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.439.       ARCHDIOCESE OF NEW ORLEANS -                    5/23/2019   $4,683.75               ACADEMY OF OUR LADY FOR 3
             INFORMATION TECHNOLOGY                                                              MONTHS INTERNET
             7887 WALMSLEY AVE.                                                                  CONNECTIVITY, EMAIL ACCOUNTS,
             NEW ORLEANS LA 70125                                                                HOSTING
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.440.1      ARCHDIOCESE OF NEW ORLEANS (4)                  2/6/2020    $4,071.00               ST. SCHOLASTICA ACADEMY FOR
             INFORMATION TECHNOLOGY DEPT                                                         INTERNET & SMARTNET
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.441.1      ARCHDIOCESE OF NEW ORLEANS (4)                  1/23/2020   $5,641.00               ST. SCHOLASTICA ACADEMY FOR
             INFORMATION TECHNOLOGY DEPT                                                         REPAIRS, INTERNET & SMARTNET
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.442.       ARCHDIOCESE OF NEW ORLEANS (4)                  5/23/2019   $4,055.25               ST. SCHOLASTICA ACADEMY FOR
             INFORMATION TECHNOLOGY DEPT                                                         INTERNET & SMARTNET
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.443.1      ARCHDIOCESE OF NEW ORLEANS (5)                  10/10/2020 $15,642.30               ST. SCHOLASTICA ACADEMY FOR
             ACCOUNTING DEPT                                                                     LIABILITY & VEHICLE INSURANCE
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.444.1   ARCHDIOCESE OF NEW ORLEANS (5)                  7/18/2019   $4,333.75               ST. SCHOLASTICA ACADEMY FOR
          ACCOUNTING DEPT                                                                     INTERNET & SMARTNET
          7887 WALMSLEY AVE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.445.1   ARCHDIOCESE OF NEW ORLEANS (8)                  4/8/2020    $15,642.30              ST. SCHOLASTICA ACADEMY FOR
          7887 WALMSLEY AVE                                                                   APR LIAB & VEHICLE INS
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.446.1   ARCHDIOCESE OF NEW ORLEANS (8)                  3/19/2020   $40,452.30              ST. SCHOLASTICA ACADEMY FOR
          7887 WALMSLEY AVE                                                                   FLOOD & MARCH LIAB & VEHICLE
          NEW ORLEANS LA 70125                                                                INS
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.447.1   ARCHDIOCESE OF NEW ORLEANS (8)                  2/13/2020   $15,642.30              ST. SCHOLASTICA ACADEMY FOR
          7887 WALMSLEY AVE                                                                   FEB LIAB & VEHICLE INS
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.448.1   ARCHDIOCESE OF NEW ORLEANS (8)                  1/16/2020   $15,642.30              ST. SCHOLASTICA ACADEMY FOR
          7887 WALMSLEY AVE                                                                   JAN LIAB & VEHICLE INS
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.449.1   ARCHDIOCESE OF NEW ORLEANS (8)                  1/9/2020    $15,642.30              ST. SCHOLASTICA ACADEMY FOR
          7887 WALMSLEY AVE                                                                   LIAB & VEHICLE INS
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.450.1   ARCHDIOCESE OF NEW ORLEANS (8)                  11/20/2019 $15,403.90               ST. SCHOLASTICA ACADEMY FOR
          7887 WALMSLEY AVE                                                                   ANGELUS HALL FLOOD & LIAB &
          NEW ORLEANS LA 70125                                                                VEHICLE INS
          Relationship to debtor
          AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.451.1      ARCHDIOCESE OF NEW ORLEANS (8)                  11/6/2019   $16,520.00              ST. SCHOLASTICA ACADEMY FOR
             7887 WALMSLEY AVE                                                                   STUDENT INSURANCE
             NEW ORLEANS LA 70125                                                                ASSESSMENT PER STUDENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.452.1      ARCHDIOCESE OF NEW ORLEANS (8)                  10/31/2019 $15,642.30               ST. SCHOLASTICA ACADEMY FOR
             7887 WALMSLEY AVE                                                                   OCT LIAB & VEHICLE INS
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.453.1      ARCHDIOCESE OF NEW ORLEANS (8)                  10/21/2019 $10,100.00               ST. SCHOLASTICA ACADEMY FOR
             7887 WALMSLEY AVE                                                                   2018-19 AUDIT FEE PROFESSIONAL
             NEW ORLEANS LA 70125                                                                ASSESSMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.454.1      ARCHDIOCESE OF NEW ORLEANS (8)                  9/26/2019   $15,642.30              ST. SCHOLASTICA ACADEMY FOR
             7887 WALMSLEY AVE                                                                   LIAB & VEHICLE INS
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.455.1      ARCHDIOCESE OF NEW ORLEANS (8)                  8/20/2019   $15,395.00              ST. SCHOLASTICA ACADEMY FOR
             7887 WALMSLEY AVE                                                                   FLOOD INS & INS ON NEW
             NEW ORLEANS LA 70125                                                                ANGELUS HALL BLDG
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.456.1      ARCHDIOCESE OF NEW ORLEANS (8)                  8/15/2019   $15,642.30              ST. SCHOLASTICA ACADEMY FOR
             7887 WALMSLEY AVE                                                                   AUG LIAB & VEHICLE INS
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.457.       ARCHDIOCESE OF NEW ORLEANS (8)                  6/13/2019   $27,927.00              ST. SCHOLASTICA ACADEMY FOR
             7887 WALMSLEY AVE                                                                   FLOOD INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.458.1      ARCHDIOCESE OF NEW ORLEANS FINANCIAL            10/22/2019 $8,900.00                POPE JOHN PAUL II HIGH SCHOOL
             SERV                                                                                FOR AUDITOR FEE
             7887 WALMSLEY AVE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.459.1      ARCHDIOCESE OF NEW ORLEANS                      4/3/2020    $15.00                  ARCHBISHOP RUMMEL HIGH
             INFORMATION TECHNOLOGY OFFICE                                                       SCHOOL FOR DOMAIN PURCHASE
             7887 WALMSLEY AVE                                                                   FOR ONE YEAR
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.460.       ARCHDIOCESE OF NEW ORLEANS                      2/21/2020   $4,683.75               ARCHBISHOP RUMMEL HIGH
             INFORMATION TECHNOLOGY OFFICE                                                       SCHOOL FOR PAY 2ND QTR TECH
             7887 WALMSLEY AVE                                                                   SERVICES FOR 2019-20
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.461.1      ARCHDIOCESE OF NEW ORLEANS                      1/31/2020   $5,413.75               ARCHBISHOP RUMMEL HIGH
             INFORMATION TECHNOLOGY OFFICE                                                       SCHOOL FOR PAY LST QTR TECH
             7887 WALMSLEY AVE                                                                   SERVICES FOR 2019-20
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.462.1      ARCHDIOCESE OF NEW ORLEANS                      11/21/2019 $1,161.67                ARCHBISHOP RUMMEL HIGH
             INFORMATION TECHNOLOGY OFFICE                                                       SCHOOL FOR PAY 19-20 FOLLET
             7887 WALMSLEY AVE                                                                   DESTINY LICENSE MAINTENANCE
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.463.       ARCHDIOCESE OF NEW ORLEANS                      8/2/2019    $250.00                 ARCHBISHOP RUMMEL HIGH
             INFORMATION TECHNOLOGY OFFICE                                                       SCHOOL FOR PAY FOR DESTINY
             7887 WALMSLEY AVE                                                                   SERVICE FOR ONE YEAR
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.464.1      ARCHDIOCESE OF NEW ORLEANS                      7/25/2019   $4,677.00               ARCHBISHOP RUMMEL HIGH
             INFORMATION TECHNOLOGY OFFICE                                                       SCHOOL FOR PAYMENT 4TH QTR
             7887 WALMSLEY AVE                                                                   TECH SERVICES 2018-19
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.465.1      ARCHDIOCESE OF NEW ORLEANS                      6/20/2019   $790.00                 ARCHBISHOP RUMMEL HIGH
             INFORMATION TECHNOLOGY OFFICE                                                       SCHOOL FOR PAY FOR SWITCH
             7887 WALMSLEY AVE                                                                   FOR TCHR TECH LAB
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.466.1      ARCHDIOCESE OF NEW ORLEANS                      6/13/2019   $4,655.25               ARCHBISHOP RUMMEL HIGH
             INFORMATION TECHNOLOGY OFFICE                                                       SCHOOL FOR PAYMENT 3RD QTR
             7887 WALMSLEY AVE                                                                   TECH SERVICES 2018-19
             NEW ORLEANS LA 70125-3496
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.467.       ARCHDIOCESE OF NEW ORLEANS INSURANCE            2/12/2020   $3,172.11               POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.468.       ARCHDIOCESE OF NEW ORLEANS INSURANCE            11/15/2019 $981.00                  POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.469.       ARCHDIOCESE OF NEW ORLEANS INSURANCE            10/11/2019 $3,435.00                POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.470.       ARCHDIOCESE OF NEW ORLEANS INSURANCE            8/14/2019   $14,285.00              POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR STUDENT ACCIDENT 19/20
             NEW ORLEANS LA 70125                                                                SCHOOL YEAR
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.471.       ARCHDIOCESE OF NEW ORLEANS INSURANCE            7/10/2019   $114,824.00             POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR 7/1/19-6/30/20 ANNUAL
             NEW ORLEANS LA 70125                                                                INSURANCE PREMIUM
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.472.1      ARCHDIOCESE OF NEW ORLEANS INSURANCE            6/11/2019   $3,550.00               POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR INSURANCE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.473.1      ARCHDIOCESE OF NEW ORLEANS INSURANCE            12/12/2019 $59.50                   ARCHBISHOP RUMMEL HIGH
             OFFICE                                                                              SCHOOL FOR PAY BSKTBL CLINIC
             1000 HOWARD AVENUE                                                                  INSURANCE DEC
             SUITE 1202
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.474.       ARCHDIOCESE OF NEW ORLEANS INSURANCE            10/25/2019 $32,400.00               ARCHBISHOP RUMMEL HIGH
             OFFICE                                                                              SCHOOL FOR PAY 1920 STUDENT
             1000 HOWARD AVENUE                                                                  INSURANCE
             SUITE 1202
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.475.1      ARCHDIOCESE OF NEW ORLEANS INSURANCE            10/17/2019 $852.00                  ARCHBISHOP RUMMEL HIGH
             OFFICE                                                                              SCHOOL FOR PAY BSKTBL FALL
             1000 HOWARD AVENUE                                                                  CLINIC INSURANCE
             SUITE 1202
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.476.1      ARCHDIOCESE OF NEW ORLEANS INSURANCE            9/27/2019   $148.50                 ARCHBISHOP RUMMEL HIGH
             OFFICE                                                                              SCHOOL FOR PAY MINI CHEER
             1000 HOWARD AVENUE                                                                  CAMP INSURANCE IN FALL
             SUITE 1202
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.477.       ARCHDIOCESE OF NEW ORLEANS INSURANCE            9/18/2019   $110.00                 ARCHBISHOP RUMMEL HIGH
             OFFICE                                                                              SCHOOL FOR PAY EVENT
             1000 HOWARD AVENUE                                                                  INSURANCE COVERAGE RETURN
             SUITE 1202                                                                          TO SEVERN EVENT
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.478.1      ARCHDIOCESE OF NEW ORLEANS INSURANCE            9/6/2019    $4,378.25               ARCHBISHOP RUMMEL HIGH
             OFFICE                                                                              SCHOOL FOR PAY 2019 SMR CAMP
             1000 HOWARD AVENUE                                                                  INSURANCE PREMIUMS
             SUITE 1202
             NEW ORLEANS LA 70113
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.479.       ARCHDIOCESE OF NEW ORLEANS OCS                  10/31/2019 $48.00                   POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.480.       ARCHDIOCESE OF NEW ORLEANS OCS                  10/22/2019 $9,715.00                POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR STUDENT ASSESSMENT FEE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.481.       ARCHDIOCESE OF NEW ORLEANS OCS                  9/27/2019   $48.00                  POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.482.       ARCHDIOCESE OF NEW ORLEANS OCS                  9/26/2019   $48.00                  POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.483.       ARCHDIOCESE OF NEW ORLEANS OCS                  9/6/2019    $300.00                 POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR HOME SCHOOL
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.484.       ARCHDIOCESE OF NEW ORLEANS OCS                  8/22/2019   $675.00                 POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR HOME SCHOOL
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.485.1      ARCHDIOCESE OF NEW ORLEANS OCS                  8/14/2019   $96.00                  POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.486.1      ARCHDIOCESE OF NEW ORLEANS OCS                  7/25/2019   $96.00                  POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.487.1      ARCHDIOCESE OF NEW ORLEANS OCS                  7/10/2019   $1,050.00               POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR ASBESTOS TRAINING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.488.1      ARCHDIOCESE OF NEW ORLEANS OCS                  6/19/2019   $48.00                  POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR FINGERPRINTING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.489.1      ARCHDIOCESE OF NEW ORLEANS OCS                  6/17/2019   $1,050.00               POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR HOME SCHOOL
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.490.1      ARCHDIOCESE OF NEW ORLEANS OCS                  5/28/2019   $1,500.00               POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR ADMIN RETREAT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.491.       ARCHDIOCESE OF NEW ORLEANS OCS                  5/21/2019   $170.00                 POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR ADMIN RETREAT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.492.1      ARCHDIOCESE OF NEW ORLEANS OCS                  5/1/2019    $550.00                 POPE JOHN PAUL II HIGH SCHOOL
             7887 WALMSLEY AVE                                                                   FOR HOME SCHOOL
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.493.1      ARCHDIOCESE OF NEW ORLEANS,                     3/17/2020   $230.00                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.494.1      ARCHDIOCESE OF NEW ORLEANS,                     2/29/2020   $230.00                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.495.       ARCHDIOCESE OF NEW ORLEANS,                     2/20/2020   $110.00                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR SPECIAL EVENTS COVERAGE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.496.1      ARCHDIOCESE OF NEW ORLEANS,                     2/11/2020   $196.70                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.497.1      ARCHDIOCESE OF NEW ORLEANS,                     1/24/2020   $196.70                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.498.       ARCHDIOCESE OF NEW ORLEANS,                     1/16/2020   $110.00                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR SPECIAL EVENTS COVERAGE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE


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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.499.1      ARCHDIOCESE OF NEW ORLEANS,                     12/11/2019 $196.70                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.500.1      ARCHDIOCESE OF NEW ORLEANS,                     11/14/2019 $744.83                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR FOLLET LICENSE/MAINT
             7887 WALMSLEY AVENUE                                                                CHARGE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.501.       ARCHDIOCESE OF NEW ORLEANS,                     11/7/2019   $190.97                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.502.1      ARCHDIOCESE OF NEW ORLEANS,                     10/18/2019 $9,800.00                ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR AUDIT 2018-2019
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.503.1      ARCHDIOCESE OF NEW ORLEANS,                     10/17/2019 $50.00                   ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR CONFERENCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.504.       ARCHDIOCESE OF NEW ORLEANS,                     10/15/2019 $750.00                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR PRIEST CONFERENCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.505.1      ARCHDIOCESE OF NEW ORLEANS,                     10/15/2019 $110.00                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR SPECIAL EVENTS COVERAGE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.506.1      ARCHDIOCESE OF NEW ORLEANS,                     10/10/2019 $300.00                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR CONFERENCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.507.1      ARCHDIOCESE OF NEW ORLEANS,                     10/9/2019   $190.97                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.508.       ARCHDIOCESE OF NEW ORLEANS,                     10/1/2019   $36.00                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR SCREEN
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.509.1      ARCHDIOCESE OF NEW ORLEANS,                     9/13/2019   $420.97                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.510.1      ARCHDIOCESE OF NEW ORLEANS,                     8/20/2019   $63.00                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR COMMUNION WORKSHOP
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.511.       ARCHDIOCESE OF NEW ORLEANS,                     8/15/2019   $190.97                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.512.1      ARCHDIOCESE OF NEW ORLEANS,                     8/12/2019   $350.00                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ASBESTOS TRAINING FOR
             7887 WALMSLEY AVENUE                                                                PRINC
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.513.1      ARCHDIOCESE OF NEW ORLEANS,                     7/24/2019   $300.00                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR BACKGROUND CHECKS
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.514.1      ARCHDIOCESE OF NEW ORLEANS,                     7/22/2019   $509.25                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR CATH GAS R & M
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.515.       ARCHDIOCESE OF NEW ORLEANS,                     7/22/2019   $190.97                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.516.1      ARCHDIOCESE OF NEW ORLEANS,                     7/17/2019   $74.00                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR BASEBALL CAMP
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.517.1      ARCHDIOCESE OF NEW ORLEANS,                     7/9/2019    $15.00                  ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR DOMAIN PURCHASE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.518.       ARCHDIOCESE OF NEW ORLEANS,                     7/1/2019    $1,385.00               ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR SUMMER CAMP INSURANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.519.1      ARCHDIOCESE OF NEW ORLEANS,                     6/12/2019   $190.97                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.520.1      ARCHDIOCESE OF NEW ORLEANS,                     5/8/2019    $190.97                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.521.1      ARCHDIOCESE OF NEW ORLEANS,                     4/15/2019   $190.97                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR ELEVATOR MAINTENANCE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.522.       ARCHDIOCESE OF NEW ORLEANS,                     4/12/2019   $110.00                 ARCHBISHOP SHAW HIGH SCHOOL
             ACCOUNTING OFFICE                                                                   FOR SPECIAL EVENTS COVERAGE
             7887 WALMSLEY AVENUE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.523.1      ARCHDIOCESE OF NEW ORLEANS, IT                  1/1/2020    $3,005.25               ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR INTERNET OCT. - DEC.
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.524.1      ARCHDIOCESE OF NEW ORLEANS, IT                  10/1/2019   $3,004.50               ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR INTERNET JULY - SEPT.
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.525.1      ARCHDIOCESE OF NEW ORLEANS, IT                  6/30/2019   $3,005.25               ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR INTERNET APRIL - JUNE
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.526.1      ARCHDIOCESE OF NEW ORLEANS-                     4/1/2020    $15.00                  ARCHBISHOP CHAPELLE HIGH
             ACCOUNTING                                                                          SCHOOL FOR REGTISTRATION OF
             7887 WALMSLEY                                                                       ARCHBISHOP CHAPELLE.ORG
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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4.527.1      ARCHDIOCESE OF NEW ORLEANS-                     2/14/2020   $111.00                 ARCHBISHOP CHAPELLE HIGH
             ACCOUNTING                                                                          SCHOOL FOR WINDOW PROJECT
             7887 WALMSLEY                                                                       FEE
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.528.1      ARCHDIOCESE OF NEW ORLEANS-                     2/7/2020    $478.27                 ARCHBISHOP CHAPELLE HIGH
             ACCOUNTING                                                                          SCHOOL FOR HARDWARE CARD
             7887 WALMSLEY                                                                       READER CAFÉ DOOR
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.529.       ARCHDIOCESE OF NEW ORLEANS-                     12/12/2019 $7,122.00                ARCHBISHOP CHAPELLE HIGH
             ACCOUNTING                                                                          SCHOOL FOR CAFÉ WINDOW
             7887 WALMSLEY                                                                       REPLACEMENT - BUILDING OFFICE
             NEW ORLEANS LA 70125                                                                FEE
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.530.1      ARCHDIOCESE OF NEW ORLEANS-                     9/20/2019   $230.00                 ARCHBISHOP CHAPELLE HIGH
             ACCOUNTING                                                                          SCHOOL FOR ELEVATOR
             7887 WALMSLEY                                                                       INSPECTION
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.531.1      ARCHDIOCESE OF NEW ORLEANS-                     8/7/2019    $509.25                 ARCHBISHOP CHAPELLE HIGH
             ACCOUNTING                                                                          SCHOOL FOR GAS LEAK SURVEY
             7887 WALMSLEY
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.532.       ARCHDIOCESE OF NEW ORLEANS-                     7/26/2019   $459.00                 ARCHBISHOP CHAPELLE HIGH
             ACCOUNTING                                                                          SCHOOL FOR ATTORNEY COST -
             7887 WALMSLEY                                                                       CAFÉ WINDOW
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.533.1      ARCHDIOCESE OF NEW ORLEANS-                     6/28/2019   $51.00                  ARCHBISHOP CHAPELLE HIGH
             ACCOUNTING                                                                          SCHOOL FOR ASBESTOS TESTING
             7887 WALMSLEY
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.534.1   ARNO - INSURANCE OFFICE                         11/13/2019 $25,540.00               ARCHBISHOP HANNAN HIGH
          1000 HOWARD AVE                                                                     SCHOOL FOR STUDENT ACCIDENT
          SUITE 1202                                                                          INSURANCE
          NEW ORLEANS LA 70113
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.535.1   ARNO - OFFICE OF CATHOLIC SCHOOLS               10/23/2019 $18,009.00               ARCHBISHOP HANNAN HIGH
          7887 WALMSLEY AVE                                                                   SCHOOL FOR STUDENT
          NEW ORLEANS LA 70125                                                                ASSESSMENT
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.536.    ASCENSION OF OUR LORD SCHOOL                    1/2/2020    $4,000.00               ARCHDIOCESE OF NEW ORLEANS -
          1809 GREENWOOD DRIVE                                                                TRADE PAYABLE
          LAPLACE LA 70068
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.537.    ASCENSION OF OUR LORD SCHOOL                    9/25/2019   $1,050.00               ARCHDIOCESE OF NEW ORLEANS -
          1809 GREENWOOD DRIVE                                                                TRADE PAYABLE
          LAPLACE LA 70068
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.538.    ASCENSION OF OUR LORD SCHOOL                    8/8/2019    $10,068.00              ARCHDIOCESE OF NEW ORLEANS -
          1809 GREENWOOD DRIVE                                                                TRADE PAYABLE
          LAPLACE LA 70068
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.539.    AYMOND, GREGORY M. ARCHBISHOP                   4/30/2020   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.540.    AYMOND, GREGORY M. ARCHBISHOP                   4/29/2020   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.541.    AYMOND, GREGORY M. ARCHBISHOP                   3/31/2020   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.542.    AYMOND, GREGORY M. ARCHBISHOP                   3/31/2020   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.543.    AYMOND, GREGORY M. ARCHBISHOP                   2/28/2020   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.544.    AYMOND, GREGORY M. ARCHBISHOP                   2/28/2020   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.545.    AYMOND, GREGORY M. ARCHBISHOP                   1/31/2020   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.546.    AYMOND, GREGORY M. ARCHBISHOP                   1/31/2020   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.547.    AYMOND, GREGORY M. ARCHBISHOP                   12/31/2019 $2,175.00                PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.548.    AYMOND, GREGORY M. ARCHBISHOP                   12/30/2019 $600.00                  OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.549.    AYMOND, GREGORY M. ARCHBISHOP                   12/13/2019 $200.00                  PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.550.    AYMOND, GREGORY M. ARCHBISHOP                   11/29/2019 $2,175.00                PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.551.    AYMOND, GREGORY M. ARCHBISHOP                   11/29/2019 $600.00                  OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.552.    AYMOND, GREGORY M. ARCHBISHOP                   10/31/2019 $2,175.00                PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.553.    AYMOND, GREGORY M. ARCHBISHOP                   10/31/2019 $600.00                  OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.554.    AYMOND, GREGORY M. ARCHBISHOP                   9/30/2019   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.555.    AYMOND, GREGORY M. ARCHBISHOP                   9/30/2019   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.556.    AYMOND, GREGORY M. ARCHBISHOP                   8/30/2019   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.557.    AYMOND, GREGORY M. ARCHBISHOP                   8/30/2019   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.558.    AYMOND, GREGORY M. ARCHBISHOP                   7/31/2019   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.559.    AYMOND, GREGORY M. ARCHBISHOP                   7/31/2019   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.560.    AYMOND, GREGORY M. ARCHBISHOP                   6/28/2019   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.561.    AYMOND, GREGORY M. ARCHBISHOP                   6/28/2019   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.562.    AYMOND, GREGORY M. ARCHBISHOP                   5/31/2019   $2,175.00               PAYROLL -OFFICER (ARCHBISHOP)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.563.    AYMOND, GREGORY M. ARCHBISHOP                   5/31/2019   $600.00                 OFFICER EXPENSES (AYMOND)-
          7887 WALMSLEY AVE.                                                                  ACH OF MONTHLY BUSINESS
          NEW ORLEANS LA 70125                                                                ALLOWANCE
          Relationship to debtor
          OFFICER - ARCHBISHOP

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.564.    BARCLAYS                                        4/27/2020   $84.41                  PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.565.    BARCLAYS                                        4/27/2020   $37.98                  PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.566.    BARCLAYS                                        4/20/2020   $610.76                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.567.    BARCLAYS                                        4/20/2020   $7.00                   PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.568.    BARCLAYS                                        3/3/2020    $3,046.40               PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND



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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.569.    BARCLAYS                                        3/3/2020    $843.45                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.570.    BARCLAYS                                        3/3/2020    $185.97                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.571.    BARCLAYS                                        1/28/2020   $218.45                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.572.    BARCLAYS                                        1/7/2020    $321.96                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.573.    BARCLAYS                                        1/7/2020    $42.00                  PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.574.    BARCLAYS                                        11/26/2019 $2,684.29                PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.575.    BARCLAYS                                        11/26/2019 $103.43                  PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.576.    BARCLAYS                                        11/26/2019 $7.00                    PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.577.    BARCLAYS                                        10/29/2019 $75.08                   PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.578.    BARCLAYS                                        10/29/2019 $7.00                    PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.579.    BARCLAYS                                        10/1/2019   $206.85                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.580.    BARCLAYS                                        10/1/2019   $7.00                   PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.581.    BARCLAYS                                        8/27/2019   $2,419.73               PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.582.    BARCLAYS                                        8/27/2019   $589.96                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.583.    BARCLAYS                                        8/27/2019   $7.00                   PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.584.    BARCLAYS                                        7/30/2019   $791.97                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.585.    BARCLAYS                                        7/30/2019   $40.00                  PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.586.    BARCLAYS                                        7/30/2019   $38.00                  PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.587.    BARCLAYS                                        7/30/2019   $6.29                   PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.588.    BARCLAYS                                        6/25/2019   $1,473.63               PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.589.    BARCLAYS                                        5/29/2019   $2,340.39               PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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4.590.    BARCLAYS                                        5/29/2019   $154.49                 PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.591.    BARCLAYS                                        5/29/2019   $89.00                  PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.592.    BARCLAYS                                        5/29/2019   $71.31                  PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.593.    BARCLAYS                                        5/29/2019   $7.00                   PAYMENT MADE ON BEHALF OF
          P O BOX 60517                                                                       ARCHBISHOP FOR CREDIT CARD
          CITY OF INDUSTRY CA 91716
          Relationship to debtor
          EXPENSE FOR THE BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.594.1   CAMP ABBEY RETREAT CENTER                       12/12/2019 $4,628.00                ARCHBISHOP RUMMEL HIGH
          77002 KC CAMP ROAD                                                                  SCHOOL FOR PAY FOR NOV SR
          COVINGTON LA 70435                                                                  RETREAT
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.595.1   CAMP ABBEY RETREAT CENTER                       11/21/2019 $1,580.00                ARCHBISHOP RUMMEL HIGH
          77002 KC CAMP ROAD                                                                  SCHOOL FOR PAY FOR NOV SR
          COVINGTON LA 70435                                                                  RETREAT
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.596.1   CAMP ABBEY RETREAT CENTER                       10/3/2019   $400.00                 ARCHBISHOP RUMMEL HIGH
          77002 KC CAMP ROAD                                                                  SCHOOL FOR PAY DEPOSIT FOR
          COVINGTON LA 70435                                                                  FOUR SENIOR RETREATS 18-19
          Relationship to debtor
          AFFILIATE




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4.597.1   CAMP ABBEY RETREAT CENTER                       9/12/2019   $1,651.00               ARCHBISHOP RUMMEL HIGH
          77002 KC CAMP ROAD                                                                  SCHOOL FOR PAY FOR SENIOR
          COVINGTON LA 70435                                                                  RETREAT
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.598.    CARDMEMBER SERVICE                              3/10/2020   $1,020.54               CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.599.    CARDMEMBER SERVICE                              2/11/2020   $1,636.31               CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.600.    CARDMEMBER SERVICE                              1/7/2020    $1,093.08               CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.601.    CARDMEMBER SERVICE                              1/7/2020    $152.58                 CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.602.    CARDMEMBER SERVICE                              12/10/2019 $1,908.64                CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.603.    CARDMEMBER SERVICE                              12/10/2019 $288.32                  CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,


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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.604.    CARDMEMBER SERVICE                              12/10/2019 $57.27                   CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.605.    CARDMEMBER SERVICE                              11/5/2019   $1,146.19               CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.606.    CARDMEMBER SERVICE                              11/5/2019   $46.25                  CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.607.    CARDMEMBER SERVICE                              10/8/2019   $934.41                 CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.608.    CARDMEMBER SERVICE                              10/8/2019   $85.51                  CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.609.    CARDMEMBER SERVICE                              9/3/2019    $5,491.55               CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.610.    CARDMEMBER SERVICE                              9/3/2019    $1,917.86               CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.611.    CARDMEMBER SERVICE                              9/3/2019    $680.03                 CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.612.    CARDMEMBER SERVICE                              7/30/2019   $920.78                 CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.613.    CARDMEMBER SERVICE                              7/30/2019   $181.94                 CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.614.    CARDMEMBER SERVICE                              7/2/2019    $1,449.03               CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.615.    CARDMEMBER SERVICE                              6/4/2019    $2,565.01               CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.616.    CARDMEMBER SERVICE                              6/4/2019    $774.12                 CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.617.    CARDMEMBER SERVICE                              6/4/2019    $708.00                 CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.618.    CARDMEMBER SERVICE                              5/7/2019    $563.97                 CREDIT CARD EXPENSES F/B/O
          P O BOX 6294                                                                        OFFICER (CHERI)
          CAROL STREAM IL 60197-6294
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.619.    CATHOLIC COMMUNITY FOUNDATION                   11/5/2019   $4,900.00               ARCHDIOCESE OF NEW ORLEANS -
          1000 HOWARD AVENUE                                                                  TRADE PAYABLE
          NEW ORLEANS LA 70113-1903
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.620.    CATHOLIC COMMUNITY FOUNDATION                   10/29/2019 $4,900.00                ARCHDIOCESE OF NEW ORLEANS -
          1000 HOWARD AVENUE                                                                  TRADE PAYABLE
          NEW ORLEANS LA 70113-1903
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.621.    CATHOLIC COMMUNITY FOUNDATION                   9/24/2019   $150.00                 ARCHDIOCESE OF NEW ORLEANS -
          1000 HOWARD AVENUE                                                                  TRADE PAYABLE
          NEW ORLEANS LA 70113-1903
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.622.    CATHOLIC COMMUNITY FOUNDATION                   9/17/2019   $1,500.00               ARCHDIOCESE OF NEW ORLEANS -
          1000 HOWARD AVENUE                                                                  TRADE PAYABLE
          NEW ORLEANS LA 70113-1903
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.623.    CATHOLIC COMMUNITY FOUNDATION                   7/30/2019   $14,353.20              ARCHDIOCESE OF NEW ORLEANS -
          1000 HOWARD AVENUE                                                                  TRADE PAYABLE
          NEW ORLEANS LA 70113-1903
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.624.    CATHOLIC COMMUNITY FOUNDATION                   7/16/2019   $30,000.00              ARCHDIOCESE OF NEW ORLEANS -
          1000 HOWARD AVENUE                                                                  TRADE PAYABLE
          NEW ORLEANS LA 70113-1903
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.625.    CHATEAU DE NOTRE DAME                           4/2/2020    $6,723.30               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.626.    CHATEAU DE NOTRE DAME                           3/10/2020   $6,957.41               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.627.    CHATEAU DE NOTRE DAME                           2/11/2020   $7,996.20               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.628.    CHATEAU DE NOTRE DAME                           2/11/2020   $6,499.19               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.629.    CHATEAU DE NOTRE DAME                           1/14/2020   $13,944.38              ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.630.    CHATEAU DE NOTRE DAME                           1/7/2020    $6,947.41               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.631.    CHATEAU DE NOTRE DAME                           12/10/2019 $6,947.41                ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.632.    CHATEAU DE NOTRE DAME                           11/12/2019 $6,723.30                ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.633.    CHATEAU DE NOTRE DAME                           11/5/2019   $1,491.83               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.634.    CHATEAU DE NOTRE DAME                           10/8/2019   $6,957.41               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.635.    CHATEAU DE NOTRE DAME                           9/10/2019   $6,723.30               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.636.    CHATEAU DE NOTRE DAME                           8/13/2019   $9,079.73               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.637.    CHATEAU DE NOTRE DAME                           7/9/2019    $6,947.41               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.638.    CHATEAU DE NOTRE DAME                           6/11/2019   $6,537.90               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.639.    CHATEAU DE NOTRE DAME                           5/14/2019   $6,765.83               ARCHDIOCESE OF NEW ORLEANS -
          2832 BURDETTE STREET                                                                TRADE PAYABLE
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.640.    CHATEAU DE NOTRE DAME                           3/10/2020   $1,478.73               ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.641.    CHATEAU DE NOTRE DAME                           1/14/2020   $1,501.66               ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.642.    CHATEAU DE NOTRE DAME                           12/18/2019 $1,761.14                ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.643.    CHATEAU DE NOTRE DAME                           12/10/2019 $371.32                  ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.644.    CHATEAU DE NOTRE DAME                           10/8/2019   $1,507.92               ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.645.    CHATEAU DE NOTRE DAME                           9/17/2019   $1,855.11               ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE


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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.646.    CHATEAU DE NOTRE DAME                           8/27/2019   $1,504.93               ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.647.    CHATEAU DE NOTRE DAME                           7/16/2019   $1,857.76               ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.648.    CHATEAU DE NOTRE DAME                           6/25/2019   $1,483.64               ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.649.    CHATEAU DE NOTRE DAME                           5/14/2019   $1,501.66               ARCHDIOCESE OF NEW ORLEANS -
          VINSON GUARD                                                                        TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.650.    CHATEAU DE NOTRE DAME APARTMENTS                4/2/2020    $17,902.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.651.    CHATEAU DE NOTRE DAME APARTMENTS                3/10/2020   $17,912.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.652.    CHATEAU DE NOTRE DAME APARTMENTS                2/11/2020   $17,922.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

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4.653.    CHATEAU DE NOTRE DAME APARTMENTS                1/7/2020    $17,902.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.654.    CHATEAU DE NOTRE DAME APARTMENTS                12/10/2019 $17,932.00               ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.655.    CHATEAU DE NOTRE DAME APARTMENTS                11/12/2019 $17,902.00               ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.656.    CHATEAU DE NOTRE DAME APARTMENTS                10/8/2019   $17,922.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.657.    CHATEAU DE NOTRE DAME APARTMENTS                9/10/2019   $14,855.97              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.658.    CHATEAU DE NOTRE DAME APARTMENTS                8/6/2019    $18,383.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.659.    CHATEAU DE NOTRE DAME APARTMENTS                7/2/2019    $18,373.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
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          AFFILIATE

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.660.    CHATEAU DE NOTRE DAME APARTMENTS                6/11/2019   $17,858.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.661.    CHATEAU DE NOTRE DAME APARTMENTS                5/14/2019   $17,828.00              ARCHDIOCESE OF NEW ORLEANS -
          ASSISTED LIVING                                                                     TRADE PAYABLE
          2832 BURDETTE STREET
          NEW ORLEANS LA 70125
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.662.    CHERI, III, O.F.M, THE MOST REVEREND            4/30/2020   $2,154.00               PAYROLL -OFFICER
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.663.    CHERI, III, O.F.M, THE MOST REVEREND            4/29/2020   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
                                                                                              DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                              DONATIONS
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.664.    CHERI, III, O.F.M, THE MOST REVEREND            4/20/2020   $595.12                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.665.    CHERI, III, O.F.M, THE MOST REVEREND            4/20/2020   $302.97                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.666.    CHERI, III, O.F.M, THE MOST REVEREND            4/20/2020   $18.35                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.667.    CHERI, III, O.F.M, THE MOST REVEREND            4/2/2020    $165.05                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.668.    CHERI, III, O.F.M, THE MOST REVEREND            4/2/2020    $132.26                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.669.    CHERI, III, O.F.M, THE MOST REVEREND            3/31/2020   $2,154.00               PAYROLL -OFFICER
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.670.    CHERI, III, O.F.M, THE MOST REVEREND            3/31/2020   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
                                                                                              DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                              DONATIONS
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.671.    CHERI, III, O.F.M, THE MOST REVEREND            3/17/2020   $64.77                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.672.    CHERI, III, O.F.M, THE MOST REVEREND            3/17/2020   $39.92                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.673.    CHERI, III, O.F.M, THE MOST REVEREND            3/17/2020   $39.30                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.674.    CHERI, III, O.F.M, THE MOST REVEREND            3/10/2020   $54.77                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.675.    CHERI, III, O.F.M, THE MOST REVEREND            3/10/2020   $35.03                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.676.    CHERI, III, O.F.M, THE MOST REVEREND            3/10/2020   $35.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.677.    CHERI, III, O.F.M, THE MOST REVEREND            3/10/2020   $9.70                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.678.    CHERI, III, O.F.M, THE MOST REVEREND            3/10/2020   $4.00                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.679.    CHERI, III, O.F.M, THE MOST REVEREND            2/28/2020   $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.680.    CHERI, III, O.F.M, THE MOST REVEREND            2/28/2020   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
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          Relationship to debtor                                                              DONATIONS
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.681.    CHERI, III, O.F.M, THE MOST REVEREND            2/18/2020   $125.00                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.682.    CHERI, III, O.F.M, THE MOST REVEREND            2/18/2020   $84.60                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.683.    CHERI, III, O.F.M, THE MOST REVEREND            2/18/2020   $42.68                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.684.    CHERI, III, O.F.M, THE MOST REVEREND            2/11/2020   $518.72                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.685.    CHERI, III, O.F.M, THE MOST REVEREND            1/31/2020   $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.686.    CHERI, III, O.F.M, THE MOST REVEREND            1/31/2020   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
                                                                                              DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                              DONATIONS
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.687.    CHERI, III, O.F.M, THE MOST REVEREND            1/28/2020   $50.69                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.688.    CHERI, III, O.F.M, THE MOST REVEREND            1/28/2020   $36.69                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.689.    CHERI, III, O.F.M, THE MOST REVEREND            1/28/2020   $29.40                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.690.    CHERI, III, O.F.M, THE MOST REVEREND            1/28/2020   $24.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.691.    CHERI, III, O.F.M, THE MOST REVEREND            1/21/2020   $24.05                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.692.    CHERI, III, O.F.M, THE MOST REVEREND            1/21/2020   $5.51                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.693.    CHERI, III, O.F.M, THE MOST REVEREND            1/14/2020   $114.66                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.694.    CHERI, III, O.F.M, THE MOST REVEREND            1/14/2020   $88.65                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.695.    CHERI, III, O.F.M, THE MOST REVEREND            1/7/2020   $888.19                 EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.696.    CHERI, III, O.F.M, THE MOST REVEREND            1/7/2020   $196.23                 EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.697.    CHERI, III, O.F.M, THE MOST REVEREND            1/7/2020   $92.23                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.698.    CHERI, III, O.F.M, THE MOST REVEREND            1/7/2020   $50.79                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.699.    CHERI, III, O.F.M, THE MOST REVEREND            1/7/2020   $42.48                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.700.    CHERI, III, O.F.M, THE MOST REVEREND            1/7/2020   $15.68                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.701.    CHERI, III, O.F.M, THE MOST REVEREND            12/31/2019 $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.702.    CHERI, III, O.F.M, THE MOST REVEREND            12/30/2019 $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                         OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                 ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                               TO BE CREDITED TO FUNDS ON
                                                                                             DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                             DONATIONS
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.703.    CHERI, III, O.F.M, THE MOST REVEREND            12/18/2019 $45.67                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.704.    CHERI, III, O.F.M, THE MOST REVEREND            12/18/2019 $10.47                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.705.    CHERI, III, O.F.M, THE MOST REVEREND            12/13/2019 $200.00                 PAYROLL -OFFICER
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.706.    CHERI, III, O.F.M, THE MOST REVEREND            12/10/2019 $237.19                 EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.707.    CHERI, III, O.F.M, THE MOST REVEREND            12/10/2019 $117.22                 EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.708.    CHERI, III, O.F.M, THE MOST REVEREND            12/10/2019 $21.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.709.    CHERI, III, O.F.M, THE MOST REVEREND            12/10/2019 $18.99                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.710.    CHERI, III, O.F.M, THE MOST REVEREND            11/29/2019 $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.711.    CHERI, III, O.F.M, THE MOST REVEREND            11/29/2019 $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                         OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                 ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                               TO BE CREDITED TO FUNDS ON
                                                                                             DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                             DONATIONS
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.712.    CHERI, III, O.F.M, THE MOST REVEREND            11/26/2019 $57.43                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.713.    CHERI, III, O.F.M, THE MOST REVEREND            11/26/2019 $47.56                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.714.    CHERI, III, O.F.M, THE MOST REVEREND            11/26/2019 $33.91                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.715.    CHERI, III, O.F.M, THE MOST REVEREND            11/26/2019 $27.29                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
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4.716.    CHERI, III, O.F.M, THE MOST REVEREND            11/26/2019 $21.00                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.717.    CHERI, III, O.F.M, THE MOST REVEREND            11/19/2019 $305.50                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.718.    CHERI, III, O.F.M, THE MOST REVEREND            11/19/2019 $39.68                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.719.    CHERI, III, O.F.M, THE MOST REVEREND            11/19/2019 $13.13                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.720.    CHERI, III, O.F.M, THE MOST REVEREND            11/12/2019 $200.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.721.    CHERI, III, O.F.M, THE MOST REVEREND            11/5/2019   $61.37                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.722.    CHERI, III, O.F.M, THE MOST REVEREND            11/5/2019   $55.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.723.    CHERI, III, O.F.M, THE MOST REVEREND            11/5/2019   $23.76                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.724.    CHERI, III, O.F.M, THE MOST REVEREND            11/5/2019   $18.27                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.725.    CHERI, III, O.F.M, THE MOST REVEREND            11/5/2019   $4.17                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.726.    CHERI, III, O.F.M, THE MOST REVEREND            10/31/2019 $2,154.00                PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.727.    CHERI, III, O.F.M, THE MOST REVEREND            10/31/2019 $600.00                  OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
                                                                                              DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                              DONATIONS
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.728.    CHERI, III, O.F.M, THE MOST REVEREND            10/29/2019 $21.13                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.729.    CHERI, III, O.F.M, THE MOST REVEREND            10/29/2019 $7.96                    EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.730.    CHERI, III, O.F.M, THE MOST REVEREND            10/22/2019 $157.50                 EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.731.    CHERI, III, O.F.M, THE MOST REVEREND            10/22/2019 $143.78                 EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.732.    CHERI, III, O.F.M, THE MOST REVEREND            10/22/2019 $45.19                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.733.    CHERI, III, O.F.M, THE MOST REVEREND            10/22/2019 $5.71                   EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.734.    CHERI, III, O.F.M, THE MOST REVEREND            10/15/2019 $323.10                 EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.735.    CHERI, III, O.F.M, THE MOST REVEREND            10/15/2019 $119.37                 EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.736.    CHERI, III, O.F.M, THE MOST REVEREND            10/15/2019 $52.50                  EMPLOYEE EXPENSE
          FERNAND J.                                                                         REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                 (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.737.    CHERI, III, O.F.M, THE MOST REVEREND            10/8/2019   $131.55                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.738.    CHERI, III, O.F.M, THE MOST REVEREND            10/8/2019   $21.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.739.    CHERI, III, O.F.M, THE MOST REVEREND            10/8/2019   $17.39                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.740.    CHERI, III, O.F.M, THE MOST REVEREND            10/8/2019   $12.80                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.741.    CHERI, III, O.F.M, THE MOST REVEREND            10/1/2019   $80.85                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.742.    CHERI, III, O.F.M, THE MOST REVEREND            9/30/2019   $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.743.    CHERI, III, O.F.M, THE MOST REVEREND            9/30/2019   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
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          Relationship to debtor                                                              DONATIONS
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.744.    CHERI, III, O.F.M, THE MOST REVEREND            9/24/2019   $425.41                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.745.    CHERI, III, O.F.M, THE MOST REVEREND            9/24/2019   $34.10                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.746.    CHERI, III, O.F.M, THE MOST REVEREND            9/17/2019   $33.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.747.    CHERI, III, O.F.M, THE MOST REVEREND            9/10/2019   $225.04                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.748.    CHERI, III, O.F.M, THE MOST REVEREND            9/10/2019   $31.55                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.749.    CHERI, III, O.F.M, THE MOST REVEREND            8/30/2019   $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.750.    CHERI, III, O.F.M, THE MOST REVEREND            8/30/2019   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
                                                                                              DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                              DONATIONS
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.751.    CHERI, III, O.F.M, THE MOST REVEREND            8/20/2019   $110.41                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.752.    CHERI, III, O.F.M, THE MOST REVEREND            8/20/2019   $107.04                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.753.    CHERI, III, O.F.M, THE MOST REVEREND            8/13/2019   $954.16                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.754.    CHERI, III, O.F.M, THE MOST REVEREND            8/13/2019   $386.35                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.755.    CHERI, III, O.F.M, THE MOST REVEREND            8/13/2019   $46.41                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.756.    CHERI, III, O.F.M, THE MOST REVEREND            8/13/2019   $27.76                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.757.    CHERI, III, O.F.M, THE MOST REVEREND            8/13/2019   $5.53                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.758.    CHERI, III, O.F.M, THE MOST REVEREND            7/31/2019   $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.759.    CHERI, III, O.F.M, THE MOST REVEREND            7/31/2019   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
                                                                                              DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                              DONATIONS
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.760.    CHERI, III, O.F.M, THE MOST REVEREND            7/30/2019   $47.19                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.761.    CHERI, III, O.F.M, THE MOST REVEREND            7/30/2019   $24.40                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.762.    CHERI, III, O.F.M, THE MOST REVEREND            7/23/2019   $228.58                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.763.    CHERI, III, O.F.M, THE MOST REVEREND            7/23/2019   $164.00                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.764.    CHERI, III, O.F.M, THE MOST REVEREND            7/23/2019   $105.89                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.765.    CHERI, III, O.F.M, THE MOST REVEREND            7/23/2019   $57.89                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.766.    CHERI, III, O.F.M, THE MOST REVEREND            7/16/2019   $219.27                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.767.    CHERI, III, O.F.M, THE MOST REVEREND            7/16/2019   $86.14                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.768.    CHERI, III, O.F.M, THE MOST REVEREND            7/16/2019   $10.57                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.769.    CHERI, III, O.F.M, THE MOST REVEREND            7/9/2019    $94.93                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.770.    CHERI, III, O.F.M, THE MOST REVEREND            7/2/2019    $100.00                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.771.    CHERI, III, O.F.M, THE MOST REVEREND            7/2/2019    $21.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                 Case number (if known) 20-10846

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.772.    CHERI, III, O.F.M, THE MOST REVEREND            6/28/2019   $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.773.    CHERI, III, O.F.M, THE MOST REVEREND            6/28/2019   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
                                                                                              DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                              DONATIONS
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.774.    CHERI, III, O.F.M, THE MOST REVEREND            6/25/2019   $98.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.775.    CHERI, III, O.F.M, THE MOST REVEREND            6/25/2019   $58.37                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.776.    CHERI, III, O.F.M, THE MOST REVEREND            6/18/2019   $474.90                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.777.    CHERI, III, O.F.M, THE MOST REVEREND            6/11/2019   $43.97                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.778.    CHERI, III, O.F.M, THE MOST REVEREND            6/4/2019    $758.01                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.779.    CHERI, III, O.F.M, THE MOST REVEREND            6/4/2019    $324.60                 EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.780.    CHERI, III, O.F.M, THE MOST REVEREND            6/4/2019    $46.21                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.781.    CHERI, III, O.F.M, THE MOST REVEREND            6/4/2019    $18.61                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.782.    CHERI, III, O.F.M, THE MOST REVEREND            5/31/2019   $2,154.00               PAYROLL -OFFICER (CHERI)
          FERNAND J.
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.783.    CHERI, III, O.F.M, THE MOST REVEREND            5/31/2019   $600.00                 OFFICER EXPENSES (CHERI) - ACH
          FERNAND J.                                                                          OF MONTHLY BUSINESS
          7887 WALMSLEY AVE.                                                                  ALLOWANCE WHICH IS DIRECTED
          NEW ORLEANS LA 70125                                                                TO BE CREDITED TO FUNDS ON
                                                                                              DEPOSIT ACCOUNT FOR USE IN
          Relationship to debtor                                                              DONATIONS
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.784.    CHERI, III, O.F.M, THE MOST REVEREND            5/29/2019   $20.64                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.785.    CHERI, III, O.F.M, THE MOST REVEREND            5/21/2019   $43.76                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.786.    CHERI, III, O.F.M, THE MOST REVEREND            5/21/2019   $37.00                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.787.    CHERI, III, O.F.M, THE MOST REVEREND            5/14/2019   $30.40                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.788.    CHERI, III, O.F.M, THE MOST REVEREND            5/14/2019   $24.48                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.789.    CHERI, III, O.F.M, THE MOST REVEREND            5/14/2019   $18.02                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.790.    CHERI, III, O.F.M, THE MOST REVEREND            5/14/2019   $7.91                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.791.    CHERI, III, O.F.M, THE MOST REVEREND            5/14/2019   $2.76                   EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.792.    CHERI, III, O.F.M, THE MOST REVEREND            5/7/2019    $88.16                  EMPLOYEE EXPENSE
          FERNAND J.                                                                          REIMBURSEMENT - OFFICER
          7887 WALMSLEY AVE.                                                                  (CHERI)
          NEW ORLEANS LA 70125
          Relationship to debtor
          OFFICER

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.793.    CHRIST THE KING SCHOOL                          9/25/2019   $3,500.00               ARCHDIOCESE OF NEW ORLEANS -
          2106 DEERFIELD RD                                                                   TRADE PAYABLE
          TERRYTOWN LA 70056
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.794.    CHRIST THE KING SCHOOL                          8/8/2019    $10,934.50              ARCHDIOCESE OF NEW ORLEANS -
          2106 DEERFIELD RD                                                                   TRADE PAYABLE
          TERRYTOWN LA 70056
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.795.    CLARION HERALD                                  3/20/2020   $470.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.796.    CLARION HERALD                                  3/13/2020   $532.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.797.    CLARION HERALD                                  3/10/2020   $571.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.798.    CLARION HERALD                                  3/6/2020    $470.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.799.    CLARION HERALD                                  2/20/2020   $532.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.800.    CLARION HERALD                                  2/11/2020   $826.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.801.    CLARION HERALD                                  2/7/2020    $470.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.802.    CLARION HERALD                                  2/4/2020    $2,252.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.803.    CLARION HERALD                                  2/4/2020    $1,450.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.804.    CLARION HERALD                                  1/14/2020   $1,426.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.805.    CLARION HERALD                                  1/2/2020    $1,249.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.806.    CLARION HERALD                                  12/10/2019 $1,123.00                ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                 Case number (if known) 20-10846

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.807.    CLARION HERALD                                  11/26/2019 $3,085.00                ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.808.    CLARION HERALD                                  11/7/2019   $470.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.809.    CLARION HERALD                                  11/5/2019   $872.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.810.    CLARION HERALD                                  10/29/2019 $1,450.00                ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.811.    CLARION HERALD                                  10/18/2019 $1,263.00                ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.812.    CLARION HERALD                                  10/8/2019   $1,450.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.813.    CLARION HERALD                                  10/1/2019   $1,450.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.814.    CLARION HERALD                                  9/17/2019   $872.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.815.    CLARION HERALD                                  8/16/2019   $427.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.816.    CLARION HERALD                                  8/13/2019   $1,300.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.817.    CLARION HERALD                                  8/13/2019   $1,300.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.818.    CLARION HERALD                                  8/6/2019    $1,744.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.819.    CLARION HERALD                                  8/1/2019    $470.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.820.    CLARION HERALD                                  7/30/2019   $2,976.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE




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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                 Case number (if known) 20-10846

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.821.    CLARION HERALD                                  7/23/2019   $500.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.822.    CLARION HERALD                                  7/11/2019   $480.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.823.    CLARION HERALD                                  6/25/2019   $500.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.824.    CLARION HERALD                                  6/18/2019   $500.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.825.    CLARION HERALD                                  6/18/2019   $140.80                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.826.    CLARION HERALD                                  6/11/2019   $1,450.00               ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.827.    CLARION HERALD                                  5/31/2019   $513.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.828.    CLARION HERALD                                  5/29/2019   $532.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.829.    CLARION HERALD                                  5/24/2019   $871.00                 ARCHBISHOP CHAPELLE HIGH
          PO BOX 53247                                                                        SCHOOL FOR ADVERTISING
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.830.    CLARION HERALD                                  5/7/2019    $973.00                 ARCHDIOCESE OF NEW ORLEANS -
          P O BOX 53247                                                                       TRADE PAYABLE
          NEW ORLEANS LA 70153
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.831.    COX COMMUNICATIONS                              4/20/2020   $291.14                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.832.    COX COMMUNICATIONS                              4/20/2020   $175.50                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.833.    COX COMMUNICATIONS                              4/8/2020    $185.31                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.834.    COX COMMUNICATIONS                              3/17/2020   $291.36                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.835.    COX COMMUNICATIONS                              3/17/2020   $197.95                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.836.    COX COMMUNICATIONS                              3/17/2020   $175.50                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.837.    COX COMMUNICATIONS                              2/18/2020   $291.36                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.838.    COX COMMUNICATIONS                              2/11/2020   $197.95                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.839.    COX COMMUNICATIONS                              2/11/2020   $175.50                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.840.    COX COMMUNICATIONS                              1/21/2020   $291.35                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.841.    COX COMMUNICATIONS                              1/21/2020   $183.85                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.842.    COX COMMUNICATIONS                              1/7/2020   $203.14                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                    OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.843.    COX COMMUNICATIONS                              12/18/2019 $302.97                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                    OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.844.    COX COMMUNICATIONS                              12/10/2019 $180.81                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                    OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.845.    COX COMMUNICATIONS                              12/10/2019 $159.41                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                    OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.846.    COX COMMUNICATIONS                              11/26/2019 $281.09                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                    OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.847.    COX COMMUNICATIONS                              11/12/2019 $180.81                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                    OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates      Total amount or value   Reasons for payment or transfer

4.848.    COX COMMUNICATIONS                              10/29/2019 $159.41                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                    OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.849.    COX COMMUNICATIONS                              10/22/2019 $281.09                  INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.850.    COX COMMUNICATIONS                              10/8/2019   $193.45                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.851.    COX COMMUNICATIONS                              9/24/2019   $280.96                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.852.    COX COMMUNICATIONS                              9/24/2019   $159.41                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.853.    COX COMMUNICATIONS                              9/17/2019   $174.49                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.854.    COX COMMUNICATIONS                              8/20/2019   $280.96                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.855.    COX COMMUNICATIONS                              8/20/2019   $159.41                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.856.    COX COMMUNICATIONS                              8/6/2019    $174.49                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.857.    COX COMMUNICATIONS                              7/23/2019   $280.96                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.858.    COX COMMUNICATIONS                              7/23/2019   $159.41                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.859.    COX COMMUNICATIONS                              7/9/2019    $174.49                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.860.    COX COMMUNICATIONS                              6/25/2019   $159.41                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.861.    COX COMMUNICATIONS                              6/18/2019   $280.13                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.862.    COX COMMUNICATIONS                              6/11/2019   $174.49                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                                 Case number (if known) 20-10846

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.863.    COX COMMUNICATIONS                              5/21/2019   $280.13                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AKPOGHIRAN)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR THE VERY REVEREND
          AKPOGHIRAN, PETER O.

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.864.    COX COMMUNICATIONS                              5/14/2019   $160.01                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (AYMOND)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.865.    COX COMMUNICATIONS                              5/7/2019    $174.48                 INTERNET EXPENSE/WIFI F/B/O
          P O BOX 9001080                                                                     OFFICER (CHERI)
          LOUISVILLE KY 40290-1080
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.866.    ENTERGY                                         4/8/2020    $1,172.13               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.867.    ENTERGY                                         4/8/2020    $312.23                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.868.    ENTERGY                                         3/17/2020   $1,228.53               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.869.    ENTERGY                                         3/10/2020   $413.41                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.870.    ENTERGY                                         2/11/2020   $1,393.16               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.871.    ENTERGY                                         2/4/2020    $429.46                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.872.    ENTERGY                                         1/14/2020   $1,007.56               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.873.    ENTERGY                                         1/7/2020    $403.54                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.874.    ENTERGY                                         12/3/2019   $809.25                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.875.    ENTERGY                                         12/3/2019   $352.80                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.876.    ENTERGY                                         11/12/2019 $1,072.66                UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.877.    ENTERGY                                         11/12/2019 $430.64                  UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.878.    ENTERGY                                         10/29/2019 $1,303.68                UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.879.    ENTERGY                                         10/8/2019   $552.37                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.880.    ENTERGY                                         9/24/2019   $1,183.17               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.881.    ENTERGY                                         9/10/2019   $513.83                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.882.    ENTERGY                                         8/20/2019   $1,436.83               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.883.    ENTERGY                                         8/6/2019    $521.35                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.884.    ENTERGY                                         7/23/2019   $1,418.03               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.885.    ENTERGY                                         7/9/2019    $608.36                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.886.    ENTERGY                                         6/25/2019   $1,478.40               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.887.    ENTERGY                                         6/11/2019   $520.42                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.888.    ENTERGY                                         5/21/2019   $80.53                  UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.889.    ENTERGY                                         5/14/2019   $1,250.62               UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (AYMOND)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF ARCHBISHOP
          GREGORY M. AYMOND

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.890.    ENTERGY                                         5/7/2019    $301.24                 UTILITY EXPENSE F/B/O OF
          P O BOX 8106                                                                        OFFICER (CHERI)
          BATON ROUGE LA 70891-8108
          Relationship to debtor
          EXPENSE FOR BENEFIT OF THE MOST
          REVEREND FERNAND J. CHERI, III, O.F.M,

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.891.    ENTWISLE, JEFFREY J.                            4/30/2020   $4,241.44               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.892.    ENTWISLE, JEFFREY J.                            4/20/2020   $44.10                  MILEAGE EXPENSE - OFFICER
          7887 WALMSLEY AVE.                                                                  (ENTWISLE)
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.893.    ENTWISLE, JEFFREY J.                            4/15/2020   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.894.    ENTWISLE, JEFFREY J.                            3/31/2020   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.895.    ENTWISLE, JEFFREY J.                            3/13/2020   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.896.    ENTWISLE, JEFFREY J.                            2/28/2020   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.897.    ENTWISLE, JEFFREY J.                            2/26/2020   $52.33                  OFFICER EXPENSE - MILEAGE REIM
          7887 WALMSLEY AVE.                                                                  (ENTWISLE)
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.898.    ENTWISLE, JEFFREY J.                            2/26/2020   $36.63                  OFFICER EXPENSE - LUNCH MTG
          7887 WALMSLEY AVE.                                                                  REIM (ENTWISLE)
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.899.    ENTWISLE, JEFFREY J.                            2/14/2020   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.900.    ENTWISLE, JEFFREY J.                            1/31/2020   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.901.    ENTWISLE, JEFFREY J.                            1/28/2020   $142.60                 OFFICER EXPENSE REIM
          7887 WALMSLEY AVE.                                                                  (ENTWISLE)
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.902.    ENTWISLE, JEFFREY J.                            1/15/2020   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.903.    ENTWISLE, JEFFREY J.                            12/31/2019 $6,664.74                PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.904.    ENTWISLE, JEFFREY J.                            12/13/2019 $6,664.74                PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.905.    ENTWISLE, JEFFREY J.                            12/13/2019 $202.94                  BONUS -OFFICER
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.906.    ENTWISLE, JEFFREY J.                            11/29/2019 $6,664.74                PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.907.    ENTWISLE, JEFFREY J.                            11/15/2019 $6,664.74                PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.908.    ENTWISLE, JEFFREY J.                            10/31/2019 $6,664.74                PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.909.    ENTWISLE, JEFFREY J.                            10/15/2019 $6,664.74                PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.910.    ENTWISLE, JEFFREY J.                            9/30/2019   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.911.    ENTWISLE, JEFFREY J.                            9/13/2019   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.912.    ENTWISLE, JEFFREY J.                            8/30/2019   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.913.    ENTWISLE, JEFFREY J.                            8/15/2019   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.914.    ENTWISLE, JEFFREY J.                            7/31/2019   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.915.    ENTWISLE, JEFFREY J.                            7/15/2019   $6,664.74               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.916.    ENTWISLE, JEFFREY J.                            6/28/2019   $6,566.25               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.917.    ENTWISLE, JEFFREY J.                            6/25/2019   $118.46                 OFFICER EXPENSE - MILEAGE REIM
          7887 WALMSLEY AVE.                                                                  (ENTWISLE)
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.918.    ENTWISLE, JEFFREY J.                            6/25/2019   $49.34                  OFFICER EXPENSE - LUNCH MTG
          7887 WALMSLEY AVE.                                                                  REIM (ENTWISLE)
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.919.    ENTWISLE, JEFFREY J.                            6/14/2019   $6,566.25               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.920.    ENTWISLE, JEFFREY J.                            5/31/2019   $6,566.25               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.921.    ENTWISLE, JEFFREY J.                            5/15/2019   $6,566.25               PAYROLL -OFFICER (ENTWISLE)
          7887 WALMSLEY AVE.
          NEW ORLEANS LA 70125
          Relationship to debtor
          CHIEF FINANCIAL OFFICER

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.922.    FERDIE'S PRINTING SERVICE                       4/23/2020   $710.62                 ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    SENIOR YARD SIGNS
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.923.    FERDIE'S PRINTING SERVICE                       4/16/2020   $1,285.29               ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    BASKETS AND BBQ SIGNS AND
          HARVEY LA 70058                                                                     STAKES, SUMMER CAMP AND
                                                                                              PENGUIN PALOOZA FLYERS
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.924.    FERDIE'S PRINTING SERVICE                       4/2/2020    $1,132.95               ACADEMY OF OUR LADY FOR 3
          3751 SPENCER ST.                                                                    BANNERS, ACCEPTANCE YARD
          HARVEY LA 70058                                                                     SIGNS AND STAKES
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.925.    FERDIE'S PRINTING SERVICE                       3/12/2020   $671.59                 ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    SOFTBALL BANNERS, A2
          HARVEY LA 70058                                                                     ENVELOPES
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.926.    FERDIE'S PRINTING SERVICE                       1/30/2020   $138.68                 ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    THANK YOU CARDS
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.927.    FERDIE'S PRINTING SERVICE                       1/16/2020   $196.56                 ACADEMY OF OUR LADY FOR POLE
          3751 SPENCER ST.                                                                    BANNERS
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.928.    FERDIE'S PRINTING SERVICE                       11/21/2019 $2,489.37                ACADEMY OF OUR LADY FOR POLE
          3751 SPENCER ST.                                                                    BANNERS, GRANDPARENTS DAY
          HARVEY LA 70058                                                                     INVITATIONS, POST CARDS,
                                                                                              BUSINESS CARDS, SENIOR
          Relationship to debtor                                                              VOLLEYBALL BANNERS
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.929.    FERDIE'S PRINTING SERVICE                       11/14/2019 $8,205.57                ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    SENIOR VOLLEYBALL BANNERS,
          HARVEY LA 70058                                                                     GRANDPAARENTS DAY PHOTO
                                                                                              CARDS, VIEW BOOKS, OPEN
          Relationship to debtor                                                              HOUSE RIBBONS
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.930.    FERDIE'S PRINTING SERVICE                       11/6/2019   $969.71                 ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    LETTERHEAD, OPEN HOUSE
          HARVEY LA 70058                                                                     POSTERS
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.931.    FERDIE'S PRINTING SERVICE                       10/4/2019   $409.50                 ACADEMY OF OUR LADY FOR FALL
          3751 SPENCER ST.                                                                    FEST SIGNS
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.932.    FERDIE'S PRINTING SERVICE                       9/26/2019   $646.46                 ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    BANNERS
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.933.    FERDIE'S PRINTING SERVICE                       9/19/2019   $2,205.73               ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    PENGUIN PREVIEW POSTCARDS
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.934.    FERDIE'S PRINTING SERVICE                       8/22/2019   $2,296.48               ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    BIRTHDAY CARDS, OPEN HOUSE
          HARVEY LA 70058                                                                     YARD SIGNS
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.935.    FERDIE'S PRINTING SERVICE                       7/29/2019   $3,636.37               ACADEMY OF OUR LADY FOR 600
          3751 SPENCER ST.                                                                    AGENDAS
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.936.    FERDIE'S PRINTING SERVICE                       6/6/2019    $578.77                 ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    COMMENCEMENT PROGRAMS
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.937.    FERDIE'S PRINTING SERVICE                       5/30/2019   $117.39                 ACADEMY OF OUR LADY FOR 10
          3751 SPENCER ST.                                                                    SIGNS AND STAKES
          HARVEY LA 70058
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.938.    FERDIE'S PRINTING SERVICE                       5/16/2019   $1,004.64               ACADEMY OF OUR LADY FOR
          3751 SPENCER ST.                                                                    ACCEPTANCE YARD SIGNS,
          HARVEY LA 70058                                                                     ENVELOPES
          Relationship to debtor
          ASSISTANT PRINCIPAL OF ACADEMY OF OUR
          LADY HUSBAND'S COMPANY

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.939.    HOLY NAME OF JESUS SCHOOL                       1/2/2020    $700.00                 ARCHDIOCESE OF NEW ORLEANS -
          6325 CROMWELL PLACE                                                                 TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          SCHOOL


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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.940.    HOLY NAME OF JESUS SCHOOL                       9/25/2019   $5,850.00               ARCHDIOCESE OF NEW ORLEANS -
          6325 CROMWELL PLACE                                                                 TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.941.    HOLY NAME OF JESUS SCHOOL                       8/8/2019    $29,935.00              ARCHDIOCESE OF NEW ORLEANS -
          6325 CROMWELL PLACE                                                                 TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.942.    IMMACULATE CONCEPTION SCHOOL                    3/24/2020   $4,021.66               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.943.    IMMACULATE CONCEPTION SCHOOL                    2/20/2020   $4,021.66               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.944.    IMMACULATE CONCEPTION SCHOOL                    1/30/2020   $4,021.66               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.945.    IMMACULATE CONCEPTION SCHOOL                    1/16/2020   $500.00                 ACADEMY OF OUR LADY FOR GOLF
          601 AVENUE C                                                                        TOURNAMENT
          MARRERO LA 70072
          Relationship to debtor
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.946.    IMMACULATE CONCEPTION SCHOOL                    12/19/2019 $4,021.66                ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL



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4.947.    IMMACULATE CONCEPTION SCHOOL                    11/21/2019 $3,435.76                ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.948.    IMMACULATE CONCEPTION SCHOOL                    10/24/2019 $3,435.76                ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.949.    IMMACULATE CONCEPTION SCHOOL                    9/26/2019   $3,435.76               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.950.    IMMACULATE CONCEPTION SCHOOL                    9/26/2019   $1,500.00               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        IMMACULATE CONCEPTION
          MARRERO LA 70072                                                                    SCHOOL GALA
          Relationship to debtor
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.951.    IMMACULATE CONCEPTION SCHOOL                    9/26/2019   $60.00                  ACADEMY OF OUR LADY FOR 8TH
          601 AVENUE C                                                                        GRADE VOLEYBALL TOURN. ENTRY
          MARRERO LA 70072                                                                    FEE
          Relationship to debtor
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.952.    IMMACULATE CONCEPTION SCHOOL                    9/25/2019   $3,150.00               ARCHDIOCESE OF NEW ORLEANS -
          601 AVENUE C                                                                        TRADE PAYABLE
          MARRERO LA 70072-2098
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.953.    IMMACULATE CONCEPTION SCHOOL                    8/29/2019   $3,289.17               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL


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4.954.    IMMACULATE CONCEPTION SCHOOL                    8/8/2019    $41,450.00              ARCHDIOCESE OF NEW ORLEANS -
          601 AVENUE C                                                                        TRADE PAYABLE
          MARRERO LA 70072-2098
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.955.    IMMACULATE CONCEPTION SCHOOL                    7/29/2019   $2,133.40               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.956.    IMMACULATE CONCEPTION SCHOOL                    7/11/2019   $2,133.40               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.957.    IMMACULATE CONCEPTION SCHOOL                    5/30/2019   $3,918.40               ACADEMY OF OUR LADY FOR
          601 AVENUE C                                                                        PAYROLL DEDUCTION FOR
          MARRERO LA 70072                                                                    ACADEMY OF OUR LADY
                                                                                              EMPLOYEES FOR IMMACULATE
          Relationship to debtor                                                              CONCEPTION TUITION
          ARCHDIOCESE OF NEW ORLEANS
          ELEMENTARY SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.958.    MARY QUEEN OF PEACE SCHOOL                      1/7/2020    $4,200.00               ARCHDIOCESE OF NEW ORLEANS -
          1515 WEST CAUSEWAY APPROACH                                                         TRADE PAYABLE
          MANDEVILLE LA 70471-3047
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.959.    MARY QUEEN OF PEACE SCHOOL                      8/8/2019    $37,695.00              ARCHDIOCESE OF NEW ORLEANS -
          1515 WEST CAUSEWAY APPROACH                                                         TRADE PAYABLE
          MANDEVILLE LA 70471-3047
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.960.    MATER DOLOROSA APARTMENTS                       3/23/2020   $481.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.961.    MATER DOLOROSA APARTMENTS                       2/26/2020   $481.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.962.    MATER DOLOROSA APARTMENTS                       1/28/2020   $881.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.963.    MATER DOLOROSA APARTMENTS                       1/2/2020    $881.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.964.    MATER DOLOROSA APARTMENTS                       11/26/2019 $881.00                  ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.965.    MATER DOLOROSA APARTMENTS                       10/29/2019 $881.00                  ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.966.    MATER DOLOROSA APARTMENTS                       9/24/2019   $881.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.967.    MATER DOLOROSA APARTMENTS                       8/27/2019   $881.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.968.    MATER DOLOROSA APARTMENTS                       7/23/2019   $881.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.969.    MATER DOLOROSA APARTMENTS                       6/25/2019   $881.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.970.    MATER DOLOROSA APARTMENTS                       5/29/2019   $881.00                 ARCHDIOCESE OF NEW ORLEANS -
          1226 S CARROLLTON AVE                                                               TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.971.    NOTRE DAME SEMINARY                             4/8/2020    $101,141.00             ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.972.    NOTRE DAME SEMINARY                             4/2/2020    $117,584.00             ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.973.    NOTRE DAME SEMINARY                             3/10/2020   $117,585.25             ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.974.    NOTRE DAME SEMINARY                             2/18/2020   $117,585.25             ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE




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          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.975.    NOTRE DAME SEMINARY                             12/10/2019 $167,575.75              ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.976.    NOTRE DAME SEMINARY                             11/26/2019 $167,575.75              ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.977.    NOTRE DAME SEMINARY                             11/12/2019 $167,575.75              ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.978.    NOTRE DAME SEMINARY                             10/22/2019 $6,394.80                ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.979.    NOTRE DAME SEMINARY                             10/22/2019 $1,650.00                ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.980.    NOTRE DAME SEMINARY                             10/15/2019 $167,575.96              ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE

          Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.981.    NOTRE DAME SEMINARY                             8/13/2019   $1,212.00               ARCHDIOCESE OF NEW ORLEANS -
          2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
          NEW ORLEANS LA 70118
          Relationship to debtor
          AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.982.       NOTRE DAME SEMINARY                             8/13/2019   $200.00                 ARCHDIOCESE OF NEW ORLEANS -
             2901 S CARROLLTON AVE.                                                              TRADE PAYABLE
             NEW ORLEANS LA 70118
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.983.       NOTRE DAME SEMINARY                             6/18/2019   $6,000.00               ARCHDIOCESE OF NEW ORLEANS -
             2901 S CARROLLTON ST                                                                TRADE PAYABLE
             NEW ORLEANS LA 70118
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.984.       NOTRE DAME SEMINARY                             6/11/2019   $1,275.00               ARCHDIOCESE OF NEW ORLEANS -
             2901 S CARROLLTON ST                                                                TRADE PAYABLE
             NEW ORLEANS LA 70118
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.985.       NOTRE DAME SEMINARY                             6/11/2019   $400.00                 ARCHDIOCESE OF NEW ORLEANS -
             2901 S CARROLLTON ST                                                                TRADE PAYABLE
             NEW ORLEANS LA 70118
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.986.       NOTRE DAME SEMINARY                             6/11/2019   $200.00                 ARCHDIOCESE OF NEW ORLEANS -
             2901 S CARROLLTON ST                                                                TRADE PAYABLE
             NEW ORLEANS LA 70118
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.987.       NOTRE DAME SEMINARY                             6/11/2019   $100.00                 ARCHDIOCESE OF NEW ORLEANS -
             2901 S CARROLLTON ST                                                                TRADE PAYABLE
             NEW ORLEANS LA 70118
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.988.       OFFICE OF CATHOLIC SCHOOLS                      12/18/2019 $30.00                   ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR ART MUSIC FESTIVAL
             NEW ORLEANS LA 70125                                                                FEE
             Relationship to debtor
             AFFILIATE




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             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.989.1      OFFICE OF CATHOLIC SCHOOLS                      10/31/2019 $29.00                   ST CHARLES CATHOLIC FOR 2019-
             7887 WALMSLEY AVE                                                                   20 ASSESSMENT FEE 403 @ $29.00
             NEW ORLEANS LA 70125                                                                PER STUDENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.990.1      OFFICE OF CATHOLIC SCHOOLS                      10/25/2019 $16,182.00               ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR PRI REPORT
             NEW ORLEANS LA 70125                                                                ASSESSMENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.991.1      OFFICE OF CATHOLIC SCHOOLS                      10/23/2019 $12,557.00               ARCHBISHOP SHAW HIGH SCHOOL
             7887 WALMSLEY AVENUE                                                                FOR STUDENT ASSESSMENT
             NEW ORLEANS, LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.992.1      OFFICE OF CATHOLIC SCHOOLS                      10/22/2019 $11,687.00               ST CHARLES CATHOLIC FOR 2019-
             7887 WALMSLEY AVE                                                                   20 ASSESSMENT FEE 403 @ $29.00
             NEW ORLEANS LA 70125                                                                PER STUDENT
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.993.1      OFFICE OF CATHOLIC SCHOOLS                      8/16/2019   $350.00                 ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR ASBESTOS TRAINING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.994.1      OFFICE OF CATHOLIC SCHOOLS                      5/16/2019   $350.00                 ARCHBISHOP CHAPELLE HIGH
             7887 WALMSLEY                                                                       SCHOOL FOR ASBESTOS TRAINING
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE

             Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer
         1
4.995.       OFFICE OF CATHOLIC SCHOOLS                      5/15/2019   $170.00                 ST CHARLES CATHOLIC FOR
             7887 WALMSLEY AVE                                                                   ADMINISTRATOR'S RETREAT
             NEW ORLEANS LA 70125
             Relationship to debtor
             AFFILIATE




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4.996.    OUR LADY OF LOURDES                             4/2/2020     $5,496.00               POPE JOHN PAUL II HIGH SCHOOL
          345 WESTCHESTER PLACE                                                                FOR EMPLOYEE ADVANCE
          SLIDELL LA 70458
          Relationship to debtor
          PARISH SCHOOL

          Insider’s name and address                      Dates        Total amount or value   Reasons for payment or transfer

4.997.    OUR LADY OF LOURDES                             4/2/2020     $5,121.00               POPE JOHN PAUL II HIGH SCHOOL
          345 WESTCHESTER PLACE                                                                FOR EMPLOYEE ADVANCE
          SLIDELL LA 70458
          Relationship to debtor
          PARISH SCHOOL

          Insider’s name and address                      Dates        Total amount or value   Reasons for payment or transfer

4.998.    OUR LADY OF LOURDES SCHOOL                      8/8/2019     $18,310.00              ARCHDIOCESE OF NEW ORLEANS -
          345 WESTCHESTER PL                                                                   TRADE PAYABLE
          SLIDELL LA 70458
          Relationship to debtor
          SCHOOL

          Insider’s name and address                      Dates        Total amount or value   Reasons for payment or transfer

4.999.    OUR LADY OF PERPETUAL HELP SCHOOL               1/2/2020     $50,000.00              ARCHDIOCESE OF NEW ORLEANS -
          8970 HIGHWAY 23                                                                      TRADE PAYABLE
          BELLE CHASSE LA 70037
          Relationship to debtor
          SCHOOL

           Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.1000.    OUR LADY OF PERPETUAL HELP SCHOOL               1/2/2020    $1,500.00               ARCHDIOCESE OF NEW ORLEANS -
           8970 HIGHWAY 23                                                                     TRADE PAYABLE
           BELLE CHASSE LA 70037
           Relationship to debtor
           SCHOOL

           Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.1001.    OUR LADY OF PERPETUAL HELP SCHOOL               10/1/2019   $16,500.00              ARCHDIOCESE OF NEW ORLEANS -
           531 WILLIAMS BLVD.                                                                  TRADE PAYABLE
           KENNER LA 70062
           Relationship to debtor
           SCHOOL

           Insider’s name and address                      Dates       Total amount or value   Reasons for payment or transfer

4.1002.    OUR LADY OF PERPETUAL HELP SCHOOL               9/25/2019   $1,050.00               ARCHDIOCESE OF NEW ORLEANS -
           8970 HIGHWAY 23                                                                     TRADE PAYABLE
           BELLE CHASSE LA 70037
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1003.    OUR LADY OF PERPETUAL HELP SCHOOL              9/24/2019   $217.17                 ARCHDIOCESE OF NEW ORLEANS -
           8970 HIGHWAY 23                                                                    TRADE PAYABLE
           BELLE CHASSE LA 70037
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1004.    OUR LADY OF PERPETUAL HELP SCHOOL              8/8/2019    $13,689.00              ARCHDIOCESE OF NEW ORLEANS -
           8970 HIGHWAY 23                                                                    TRADE PAYABLE
           BELLE CHASSE LA 70037
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1005.    OUR LADY OF PERPETUAL HELP SCHOOL              8/8/2019    $7,694.00               ARCHDIOCESE OF NEW ORLEANS -
           531 WILLIAMS BLVD.                                                                 TRADE PAYABLE
           KENNER LA 70062
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1006.    OUR LADY OF PERPETUAL HELP SCHOOL              6/11/2019   $18,390.58              ARCHDIOCESE OF NEW ORLEANS -
           8970 HIGHWAY 23                                                                    TRADE PAYABLE
           BELLE CHASSE LA 70037
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1007.    OUR LADY OF PERPETUAL HELP SCHOOL              6/4/2019    $7,319.02               ARCHDIOCESE OF NEW ORLEANS -
           8970 HIGHWAY 23                                                                    TRADE PAYABLE
           BELLE CHASSE LA 70037
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1008.    OUR LADY OF PROMPT SUCCOR SCHOOL               1/7/2020    $700.00                 ARCHDIOCESE OF NEW ORLEANS -
           531 AVENUE A                                                                       TRADE PAYABLE
           WESTWEGO LA 70094
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1009.    OUR LADY OF PROMPT SUCCOR SCHOOL               8/8/2019    $20,618.00              ARCHDIOCESE OF NEW ORLEANS -
           531 AVENUE A                                                                       TRADE PAYABLE
           WESTWEGO LA 70094
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1010.    OUR LADY OF THE HOLY ROSARY CHURCH             10/29/2019 $16,270.00               ARCHDIOCESE OF NEW ORLEANS -
           #1 RECTORY LANE                                                                    TRADE PAYABLE
           HAHNVILLE LA 70057
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1011.    OUR LADY OF THE LAKE SCHOOL                    9/25/2019   $3,500.00               ARCHDIOCESE OF NEW ORLEANS -
           316 LAFITTE ST                                                                     TRADE PAYABLE
           MANDEVILLE LA 70448
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1012.    OUR LADY OF THE LAKE SCHOOL                    8/8/2019    $39,758.00              ARCHDIOCESE OF NEW ORLEANS -
           316 LAFITTE ST                                                                     TRADE PAYABLE
           MANDEVILLE LA 70448
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1013.    OUR LADY OF WISDOM HEALTH CARE                 4/8/2020    $15,057.60              ARCHDIOCESE OF NEW ORLEANS -
           5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
           NEW ORLEANS LA 70131-7247
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1014.    OUR LADY OF WISDOM HEALTH CARE                 3/10/2020   $12,798.96              ARCHDIOCESE OF NEW ORLEANS -
           5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
           NEW ORLEANS LA 70131-7247
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1015.    OUR LADY OF WISDOM HEALTH CARE                 2/11/2020   $7,277.84               ARCHDIOCESE OF NEW ORLEANS -
           5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
           NEW ORLEANS LA 70131-7247
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1016.    OUR LADY OF WISDOM HEALTH CARE                 1/7/2020    $12,307.04              ARCHDIOCESE OF NEW ORLEANS -
           5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
           NEW ORLEANS LA 70131-7247
           Relationship to debtor
           AFFILIATE




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               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1017.        OUR LADY OF WISDOM HEALTH CARE                 1/7/2020    $7,763.08               ARCHDIOCESE OF NEW ORLEANS -
               5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
               NEW ORLEANS LA 70131-7247
               Relationship to debtor
               AFFILIATE

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1018.        OUR LADY OF WISDOM HEALTH CARE                 12/10/2019 $7,796.44                ARCHDIOCESE OF NEW ORLEANS -
               5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
               NEW ORLEANS LA 70131-7247
               Relationship to debtor
               AFFILIATE

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1019.        OUR LADY OF WISDOM HEALTH CARE                 11/19/2019 $13,740.48               ARCHDIOCESE OF NEW ORLEANS -
               5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
               NEW ORLEANS LA 70131-7247
               Relationship to debtor
               AFFILIATE

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1020.        OUR LADY OF WISDOM HEALTH CARE                 10/8/2019   $15,308.56              ARCHDIOCESE OF NEW ORLEANS -
               5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
               NEW ORLEANS LA 70131-7247
               Relationship to debtor
               AFFILIATE

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1021.        OUR LADY OF WISDOM HEALTH CARE                 8/13/2019   $9,044.56               ARCHDIOCESE OF NEW ORLEANS -
               5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
               NEW ORLEANS LA 70131-7247
               Relationship to debtor
               AFFILIATE

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1022.        OUR LADY OF WISDOM HEALTH CARE                 6/11/2019   $732.00                 ARCHDIOCESE OF NEW ORLEANS -
               5600 GENERAL DE GAULLE DR                                                          TRADE PAYABLE
               NEW ORLEANS LA 70131-7247
               Relationship to debtor
               AFFILIATE

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
          1
4.1023.        POPE JOHN PAUL II HIGH SCHOOL                  4/8/2020    $3,791.70               ARCHDIOCESE OF NEW ORLEANS -
               1901 JAGUAR DR                                                                     TRADE PAYABLE
               SLIDELL LA 70461-9098
               Relationship to debtor
               SCHOOL




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            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1024.1    POPE JOHN PAUL II HIGH SCHOOL                  8/8/2019    $15,772.00              ARCHDIOCESE OF NEW ORLEANS -
            1901 JAGUAR DR                                                                     TRADE PAYABLE
            SLIDELL LA 70461-9098
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1025.1    POPE JOHN PAUL II HIGH SCHOOL                  6/25/2019   $4,455.00               ARCHDIOCESE OF NEW ORLEANS -
            1901 JAGUAR DR                                                                     TRADE PAYABLE
            SLIDELL LA 70461-9098
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1026.     PROJECT LAZARUS                                6/30/2019   $4,166.67               ARCHDIOCESE OF NEW ORLEANS -
            P O BOX 3906                                                                       TRADE PAYABLE
            NEW ORLEANS LA 70177
            Relationship to debtor
            AFFILIATE

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1027.     PROJECT LAZARUS                                5/31/2019   $4,166.67               ARCHDIOCESE OF NEW ORLEANS -
            P O BOX 3906                                                                       TRADE PAYABLE
            NEW ORLEANS LA 70177
            Relationship to debtor
            AFFILIATE

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1028.     RESURRECTION OF OUR LORD SCHOOL                8/8/2019    $57,141.00              ARCHDIOCESE OF NEW ORLEANS -
            4861 ROSALIA DRIVE                                                                 TRADE PAYABLE
            NEW ORLEANS LA 70127
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1029.     SALESIAN SISTERS IMMACULATE                    8/15/2020   $19,958.40              ACADEMY OF OUR LADY FOR
            CONCEPTION CONVENT                                                                 MEDICAL INSURANCE FOR SR.
            655 BELMONT AVE.                                                                   MICHELLE GEIGER, SR. JENNIFER
            N. HALEDON NJ 07508                                                                KANE, SR. LILLIAN FOXX
            Relationship to debtor
            ACADEMY OF OUR LADY'S PRINCIPAL'S
            RELIGIOUS ORDER

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1030.     SALESIAN SISTERS IMMACULATE                    8/15/2020   $6,036.25               ACADEMY OF OUR LADY FOR
            CONCEPTION CONVENT                                                                 RETIREMENT PAYMENT FOR SR.
            655 BELMONT AVE.                                                                   MICHELLE GEIGER, SR. JENNIFER
            N. HALEDON NJ 07508                                                                KANE, SR. LILLIAN FOXX
            Relationship to debtor
            ACADEMY OF OUR LADY'S PRINCIPAL'S
            RELIGIOUS ORDER




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1031.    SALESIAN SISTERS IMMACULATE                    3/24/2020   $6,454.16               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1032.    SALESIAN SISTERS IMMACULATE                    2/20/2020   $6,454.16               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1033.    SALESIAN SISTERS IMMACULATE                    1/30/2020   $9,145.83               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1034.    SALESIAN SISTERS IMMACULATE                    1/9/2020    $2,691.67               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1035.    SALESIAN SISTERS IMMACULATE                    12/19/2019 $6,600.00                ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 DOMICILE FOR THE SALESIAN
           608 1ST AVENUE                                                                     SISTERS WORKING AT ACADEMTY
           HARVEY LA 70058                                                                    OF OUR LADY
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1036.    SALESIAN SISTERS IMMACULATE                    12/19/2019 $6,454.16                ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1037.    SALESIAN SISTERS IMMACULATE                    12/19/2019 $313.35                  ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 SURVEY MONKEY MEMBERSHIP
           608 1ST AVENUE                                                                     REIMBURSEMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1038.    SALESIAN SISTERS IMMACULATE                    11/21/2019 $9,145.83                ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1039.    SALESIAN SISTERS IMMACULATE                    10/24/2019 $9,145.83                ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1040.    SALESIAN SISTERS IMMACULATE                    9/26/2019   $9,145.83               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1041.    SALESIAN SISTERS IMMACULATE                    8/29/2019   $9,145.83               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1042.    SALESIAN SISTERS IMMACULATE                    8/15/2019   $6,600.00               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 DOMICILE FOR THE SALESIAN
           608 1ST AVENUE                                                                     SISTERS WORKING AT ACADEMTY
           HARVEY LA 70058                                                                    OF OUR LADY
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1043.    SALESIAN SISTERS IMMACULATE                    8/6/2019    $391.00                 ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MEDALS
           655 BELMONT AVE.
           N. HALEDON NJ 07508
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1044.    SALESIAN SISTERS IMMACULATE                    7/29/2019   $9,070.84               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1045.    SALESIAN SISTERS IMMACULATE                    6/27/2019   $9,070.84               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1046.    SALESIAN SISTERS IMMACULATE                    5/23/2019   $9,070.84               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MONTHLY STIPEND FOR
           608 1ST AVENUE                                                                     EMPLOYMENT
           HARVEY LA 70058
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1047.    SALESIAN SISTERS IMMACULATE                    5/21/2019   $1,000.00               ACADEMY OF OUR LADY FOR
           CONCEPTION CONVENT                                                                 MOTHER GENERAL GRATITUDE
           655 BELMONT AVE.                                                                   FUND DONATION
           N. HALEDON NJ 07508
           Relationship to debtor
           ACADEMY OF OUR LADY'S PRINCIPAL'S
           RELIGIOUS ORDER

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1048.    SEELOS, BLESSED FRANCIS XAVIER                 4/20/2020   $689.00                 ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1049.    SEELOS, BLESSED FRANCIS XAVIER                 2/26/2020   $689.00                 ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1050.    SEELOS, BLESSED FRANCIS XAVIER                 1/28/2020   $689.00                 ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1051.    SEELOS, BLESSED FRANCIS XAVIER                 1/21/2020   $2,547.80               ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1052.    SEELOS, BLESSED FRANCIS XAVIER                 1/14/2020   $1,943.40               ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1053.    SEELOS, BLESSED FRANCIS XAVIER                 1/7/2020    $689.00                 ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1054.    SEELOS, BLESSED FRANCIS XAVIER                 1/2/2020    $1,943.40               ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1055.    SEELOS, BLESSED FRANCIS XAVIER                 12/10/2019 $1,943.40                ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1056.    SEELOS, BLESSED FRANCIS XAVIER                 12/3/2019   $1,943.40               ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1057.    SEELOS, BLESSED FRANCIS XAVIER                 11/26/2019 $1,943.40                ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1058.    SEELOS, BLESSED FRANCIS XAVIER                 6/18/2019   $5,878.69               ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1059.    SEELOS, BLESSED FRANCIS XAVIER                 6/4/2019    $5,995.56               ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1060.    SEELOS, BLESSED FRANCIS XAVIER                 5/7/2019    $200.00                 ARCHDIOCESE OF NEW ORLEANS -
           3037 DAUPHINE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70117-6724
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1061.    ST ALPHONSUS SCHOOL                            8/8/2019    $19,261.00              ARCHDIOCESE OF NEW ORLEANS -
           2001 CONSTANCE ST                                                                  TRADE PAYABLE
           NEW ORLEANS LA 70130
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1062.    ST ANDREW THE APOSTLE SCHOOL                   1/2/2020    $1,500.00               ARCHDIOCESE OF NEW ORLEANS -
           3101 ETON STREET                                                                   TRADE PAYABLE
           NEW ORLEANS LA 70131-5298
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1063.    ST ANDREW THE APOSTLE SCHOOL                   9/25/2019   $1,050.00               ARCHDIOCESE OF NEW ORLEANS -
           3101 ETON STREET                                                                   TRADE PAYABLE
           NEW ORLEANS LA 70131-5298
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1064.    ST ANDREW THE APOSTLE SCHOOL                   8/8/2019    $21,929.00              ARCHDIOCESE OF NEW ORLEANS -
           3101 ETON STREET                                                                   TRADE PAYABLE
           NEW ORLEANS LA 70131-5298
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1065.    ST ANGELA MERICI SCHOOL                        1/2/2020    $6,000.00               ARCHDIOCESE OF NEW ORLEANS -
           835 MELODY DRIVE                                                                   TRADE PAYABLE
           METAIRIE LA 70002
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1066.    ST ANGELA MERICI SCHOOL                        9/25/2019   $700.00                 ARCHDIOCESE OF NEW ORLEANS -
           835 MELODY DRIVE                                                                   TRADE PAYABLE
           METAIRIE LA 70002
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1067.    ST ANGELA MERICI SCHOOL                        8/8/2019    $13,223.00              ARCHDIOCESE OF NEW ORLEANS -
           835 MELODY DRIVE                                                                   TRADE PAYABLE
           METAIRIE LA 70002
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1068.    ST ANN SCHOOL                                  9/25/2019   $2,450.00               ARCHDIOCESE OF NEW ORLEANS -
           4921 MEADOWDALE ST                                                                 TRADE PAYABLE
           METAIRIE LA 70002
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1069.    ST ANN SCHOOL                                  8/8/2019    $16,118.00              ARCHDIOCESE OF NEW ORLEANS -
           4921 MEADOWDALE ST                                                                 TRADE PAYABLE
           METAIRIE LA 70002
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1070.    ST ANTHONY SCHOOL                              8/8/2019    $10,785.00              ARCHDIOCESE OF NEW ORLEANS -
           900 FRANKLIN STREET                                                                TRADE PAYABLE
           GRETNA LA 70053
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1071.    ST ANTHONY SCHOOL                              6/11/2019   $25,008.40              ARCHDIOCESE OF NEW ORLEANS -
           900 FRANKLIN STREET                                                                TRADE PAYABLE
           GRETNA LA 70053
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1072.    ST ANTHONY SCHOOL                              6/4/2019    $4,565.00               ARCHDIOCESE OF NEW ORLEANS -
           900 FRANKLIN STREET                                                                TRADE PAYABLE
           GRETNA LA 70053
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1073.    ST ANTHONY'S GARDENS                           4/2/2020    $14,515.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1074.    ST ANTHONY'S GARDENS                           3/3/2020    $14,515.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1075.    ST ANTHONY'S GARDENS                           2/4/2020    $14,515.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1076.    ST ANTHONY'S GARDENS                           1/7/2020    $14,515.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1077.    ST ANTHONY'S GARDENS                           12/3/2019   $14,100.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1078.    ST ANTHONY'S GARDENS                           11/5/2019   $14,100.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1079.    ST ANTHONY'S GARDENS                           10/1/2019   $14,100.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1080.    ST ANTHONY'S GARDENS                           8/27/2019   $14,100.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1081.    ST ANTHONY'S GARDENS                           7/30/2019   $14,100.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1082.    ST ANTHONY'S GARDENS                           6/25/2019   $14,100.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1083.    ST ANTHONY'S GARDENS                           6/4/2019    $14,100.00              ARCHDIOCESE OF NEW ORLEANS -
           601 HOLY TRINITY DRIVE                                                             TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           AFFILIATE




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1084.    ST AUGUSTINE HIGH SCHOOL                       3/10/2020   $1,500.00               ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1085.    ST AUGUSTINE HIGH SCHOOL                       1/14/2020   $2,000.00               ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1086.    ST AUGUSTINE HIGH SCHOOL                       1/7/2020    $13,500.00              ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1087.    ST AUGUSTINE HIGH SCHOOL                       1/2/2020    $12,100.00              ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1088.    ST AUGUSTINE HIGH SCHOOL                       10/1/2019   $1,500.00               ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1089.    ST AUGUSTINE HIGH SCHOOL                       8/8/2019    $15,692.00              ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1090.    ST AUGUSTINE HIGH SCHOOL                       7/30/2019   $1,000.00               ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1091.    ST AUGUSTINE HIGH SCHOOL                       7/2/2019    $3,750.00               ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1092.    ST AUGUSTINE HIGH SCHOOL                       6/25/2019   $4,500.00               ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1093.    ST AUGUSTINE HIGH SCHOOL                       5/14/2019   $3,700.00               ARCHDIOCESE OF NEW ORLEANS -
           2600 A P TUREAUD AVE                                                               TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1094.    ST BENILDE SCHOOL                              12/18/2019 $40,000.00               ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1095.    ST BENILDE SCHOOL                              11/26/2019 $4,971.44                ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1096.    ST BENILDE SCHOOL                              11/26/2019 $4,600.00                ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1097.    ST BENILDE SCHOOL                              11/26/2019 $800.00                  ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1098.    ST BENILDE SCHOOL                              11/26/2019 $800.00                  ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1099.    ST BENILDE SCHOOL                              11/26/2019 $500.00                  ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1100.    ST BENILDE SCHOOL                              11/26/2019 $500.00                  ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1101.    ST BENILDE SCHOOL                              11/26/2019 $500.00                  ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1102.    ST BENILDE SCHOOL                              10/22/2019 $3,586.01                ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1103.    ST BENILDE SCHOOL                              9/25/2019   $700.00                 ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1104.    ST BENILDE SCHOOL                              8/8/2019    $16,188.00              ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1105.    ST BENILDE SCHOOL                              6/25/2019   $5,000.00               ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1106.    ST BENILDE SCHOOL                              6/18/2019   $4,000.00               ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1107.    ST BENILDE SCHOOL                              6/4/2019    $50,000.00              ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1108.    ST BENILDE SCHOOL                              5/14/2019   $1,500.00               ARCHDIOCESE OF NEW ORLEANS -
           1801 DIVISION STREET                                                               TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1109.    ST CATHERINE OF SIENA SCHOOL                   8/8/2019    $47,957.00              ARCHDIOCESE OF NEW ORLEANS -
           400 CODIFER BLVD                                                                   TRADE PAYABLE
           METAIRIE LA 70005
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1110.    ST CHARLES BORROMEO SCHOOL                     9/25/2019   $350.00                 ARCHDIOCESE OF NEW ORLEANS -
           13396 RIVER ROAD #3                                                                TRADE PAYABLE
           DESTREHAN LA 70047
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1111.    ST CHARLES BORROMEO SCHOOL                     8/8/2019    $25,579.00              ARCHDIOCESE OF NEW ORLEANS -
           13396 RIVER ROAD #3                                                                TRADE PAYABLE
           DESTREHAN LA 70047
           Relationship to debtor
           SCHOOL




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            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1112.1    ST CHARLES CATHOLIC HIGH SCHOOL                1/7/2020    $2,750.00               ARCHDIOCESE OF NEW ORLEANS -
            100 DOMINICAN DR                                                                   TRADE PAYABLE
            LAPLACE LA 70068-3499
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1113.1    ST CHARLES CATHOLIC HIGH SCHOOL                1/2/2020    $15,500.00              ARCHDIOCESE OF NEW ORLEANS -
            100 DOMINICAN DR                                                                   TRADE PAYABLE
            LAPLACE LA 70068-3499
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1114.1    ST CHARLES CATHOLIC HIGH SCHOOL                12/18/2019 $9,000.00                ARCHDIOCESE OF NEW ORLEANS -
            100 DOMINICAN DR                                                                   TRADE PAYABLE
            LAPLACE LA 70068-3499
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1115.1    ST CHARLES CATHOLIC HIGH SCHOOL                8/20/2019   $100,000.00             ARCHDIOCESE OF NEW ORLEANS -
            100 DOMINICAN DR                                                                   TRADE PAYABLE
            LAPLACE LA 70068-3499
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1116.1    ST CHARLES CATHOLIC HIGH SCHOOL                8/8/2019    $18,130.00              ARCHDIOCESE OF NEW ORLEANS -
            100 DOMINICAN DR                                                                   TRADE PAYABLE
            LAPLACE LA 70068-3499
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1117.1    ST CHARLES CATHOLIC HIGH SCHOOL                6/11/2019   $4,300.00               ARCHDIOCESE OF NEW ORLEANS -
            100 DOMINICAN DR                                                                   TRADE PAYABLE
            LAPLACE LA 70068-3499
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1118.     ST CHRISTOPHER THE MARTYR SCHOOL               12/18/2019 $2,800.00                ARCHDIOCESE OF NEW ORLEANS -
            3900 DERBIGNY ST                                                                   TRADE PAYABLE
            METAIRIE LA 70001
            Relationship to debtor
            SCHOOL




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4.1119.    ST CHRISTOPHER THE MARTYR SCHOOL               11/26/2019 $1,000.00                ARCHDIOCESE OF NEW ORLEANS -
           3900 DERBIGNY ST                                                                   TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1120.    ST CHRISTOPHER THE MARTYR SCHOOL               9/25/2019   $1,400.00               ARCHDIOCESE OF NEW ORLEANS -
           3900 DERBIGNY ST                                                                   TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1121.    ST CHRISTOPHER THE MARTYR SCHOOL               8/8/2019    $35,654.00              ARCHDIOCESE OF NEW ORLEANS -
           3900 DERBIGNY ST                                                                   TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1122.    ST CLEMENT OF ROME SCHOOL                      9/25/2019   $700.00                 ARCHDIOCESE OF NEW ORLEANS -
           3978 W ESPLANADE AVENUE                                                            TRADE PAYABLE
           METAIRIE LA 70002
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1123.    ST CLEMENT OF ROME SCHOOL                      8/8/2019    $24,399.00              ARCHDIOCESE OF NEW ORLEANS -
           3978 W ESPLANADE AVENUE                                                            TRADE PAYABLE
           METAIRIE LA 70002
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1124.    ST CLETUS SCHOOL                               9/25/2019   $700.00                 ARCHDIOCESE OF NEW ORLEANS -
           3610 CLAIRE AVE                                                                    TRADE PAYABLE
           GRETNA LA 70053
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1125.    ST CLETUS SCHOOL                               8/8/2019    $27,702.00              ARCHDIOCESE OF NEW ORLEANS -
           3610 CLAIRE AVE                                                                    TRADE PAYABLE
           GRETNA LA 70053
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1126.    ST CLETUS SCHOOL                               6/25/2019   $1,000.00               ARCHDIOCESE OF NEW ORLEANS -
           3610 CLAIRE AVE                                                                    TRADE PAYABLE
           GRETNA LA 70053
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1127.    ST CLETUS SCHOOL                               6/25/2019   $350.00                 ARCHDIOCESE OF NEW ORLEANS -
           3610 CLAIRE AVE                                                                    TRADE PAYABLE
           GRETNA LA 70053
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1128.    ST DOMINIC SCHOOL                              9/25/2019   $1,750.00               ARCHDIOCESE OF NEW ORLEANS -
           6326 MEMPHIS STREET                                                                TRADE PAYABLE
           NEW ORLEANS LA 70124
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1129.    ST DOMINIC SCHOOL                              8/8/2019    $38,046.00              ARCHDIOCESE OF NEW ORLEANS -
           6326 MEMPHIS STREET                                                                TRADE PAYABLE
           NEW ORLEANS LA 70124
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1130.    ST EDWARD THE CONFESSOR SCHOOL                 12/18/2019 $2,800.00                ARCHDIOCESE OF NEW ORLEANS -
           4901 W METAIRIE AVE                                                                TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1131.    ST EDWARD THE CONFESSOR SCHOOL                 9/25/2019   $2,800.00               ARCHDIOCESE OF NEW ORLEANS -
           4901 W METAIRIE AVE                                                                TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1132.    ST EDWARD THE CONFESSOR SCHOOL                 8/8/2019    $12,789.00              ARCHDIOCESE OF NEW ORLEANS -
           4901 W METAIRIE AVE                                                                TRADE PAYABLE
           METAIRIE LA 70001
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1133.    ST FRANCIS XAVIER SCHOOL                       10/1/2019   $350.00                 ARCHDIOCESE OF NEW ORLEANS -
           215 BETZ PLACE                                                                     TRADE PAYABLE
           METAIRIE LA 70005
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1134.    ST FRANCIS XAVIER SCHOOL                       9/25/2019   $2,450.00               ARCHDIOCESE OF NEW ORLEANS -
           215 BETZ PLACE                                                                     TRADE PAYABLE
           METAIRIE LA 70005
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1135.    ST FRANCIS XAVIER SCHOOL                       8/20/2019   $1,000.00               ARCHDIOCESE OF NEW ORLEANS -
           215 BETZ PLACE                                                                     TRADE PAYABLE
           METAIRIE LA 70005
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1136.    ST FRANCIS XAVIER SCHOOL                       8/8/2019    $26,981.00              ARCHDIOCESE OF NEW ORLEANS -
           215 BETZ PLACE                                                                     TRADE PAYABLE
           METAIRIE LA 70005
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1137.    ST FRANCIS XAVIER SCHOOL                       6/25/2019   $2,000.00               ARCHDIOCESE OF NEW ORLEANS -
           215 BETZ PLACE                                                                     TRADE PAYABLE
           METAIRIE LA 70005
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1138.    ST JOAN OF ARC SCHOOL                          9/25/2019   $2,100.00               ARCHDIOCESE OF NEW ORLEANS -
           919 CAMBRONNE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70118
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1139.    ST JOAN OF ARC SCHOOL                          8/8/2019    $19,094.00              ARCHDIOCESE OF NEW ORLEANS -
           919 CAMBRONNE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70118
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1140.    ST JOAN OF ARC SCHOOL                          8/8/2019    $14,797.00              ARCHDIOCESE OF NEW ORLEANS -
           412 FIR ST                                                                         TRADE PAYABLE
           LAPLACE LA 70068
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1141.    ST JOAN OF ARC SCHOOL                          8/6/2019    $900.00                 ARCHDIOCESE OF NEW ORLEANS -
           919 CAMBRONNE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70118
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1142.    ST JOAN OF ARC SCHOOL                          8/6/2019    $350.00                 ARCHDIOCESE OF NEW ORLEANS -
           919 CAMBRONNE STREET                                                               TRADE PAYABLE
           NEW ORLEANS LA 70118
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1143.    ST LEO THE GREAT SCHOOL                        4/20/2020   $4,000.00               ARCHDIOCESE OF NEW ORLEANS -
           1501 ABUNDANCE ST                                                                  TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1144.    ST LEO THE GREAT SCHOOL                        8/8/2019    $25,457.00              ARCHDIOCESE OF NEW ORLEANS -
           1501 ABUNDANCE ST                                                                  TRADE PAYABLE
           NEW ORLEANS LA 70119
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1145.    ST LOUIS KING OF FRANCE SCHOOL                 8/8/2019    $36,207.00              ARCHDIOCESE OF NEW ORLEANS -
           1600 LAKE AVENUE                                                                   TRADE PAYABLE
           METAIRIE LA 70005
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1146.    ST MARGARET MARY SCHOOL                        11/26/2019 $5,115.00                ARCHDIOCESE OF NEW ORLEANS -
           1050 ROBERT BLVD                                                                   TRADE PAYABLE
           SLIDELL LA 70458
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1147.    ST MARGARET MARY SCHOOL                        9/25/2019   $8,400.00               ARCHDIOCESE OF NEW ORLEANS -
           1050 ROBERT BLVD                                                                   TRADE PAYABLE
           SLIDELL LA 70458
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1148.    ST MARGARET MARY SCHOOL                        8/8/2019    $14,343.00              ARCHDIOCESE OF NEW ORLEANS -
           1050 ROBERT BLVD                                                                   TRADE PAYABLE
           SLIDELL LA 70458
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1149.    ST MARY MAGDALEN SCHOOL                        8/8/2019    $13,528.00              ARCHDIOCESE OF NEW ORLEANS -
           6421 W METAIRIE AVE                                                                TRADE PAYABLE
           METAIRIE LA 70003
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1150.    ST MARY S ACADEMY                              12/18/2019 $54,800.00               ARCHDIOCESE OF NEW ORLEANS -
           6905 CHEF MENTEUR HWY                                                              TRADE PAYABLE
           NEW ORLEANS LA 70126
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1151.    ST MARY S ACADEMY                              8/8/2019    $21,035.00              ARCHDIOCESE OF NEW ORLEANS -
           6905 CHEF MENTEUR HWY                                                              TRADE PAYABLE
           NEW ORLEANS LA 70126
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1152.    ST MARY S ACADEMY                              7/30/2019   $3,000.00               ARCHDIOCESE OF NEW ORLEANS -
           6905 CHEF MENTEUR HWY                                                              TRADE PAYABLE
           NEW ORLEANS LA 70126
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1153.    ST MARY S ACADEMY                              7/2/2019    $1,250.00               ARCHDIOCESE OF NEW ORLEANS -
           6905 CHEF MENTEUR HWY                                                              TRADE PAYABLE
           NEW ORLEANS LA 70126
           Relationship to debtor
           AFFILIATE




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               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1154.        ST MARY S DOMINICAN HIGH SCHOOL                2/4/2020    $275.00                 ARCHDIOCESE OF NEW ORLEANS -
               7701 WALMSLEY AVE                                                                  TRADE PAYABLE
               NEW ORLEANS LA 70125-3494
               Relationship to debtor
               SCHOOL

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1155.        ST MARY S DOMINICAN HIGH SCHOOL                12/18/2019 $6,000.00                ARCHDIOCESE OF NEW ORLEANS -
               7701 WALMSLEY AVE                                                                  TRADE PAYABLE
               NEW ORLEANS LA 70125-3494
               Relationship to debtor
               SCHOOL

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1156.        ST MARY S DOMINICAN HIGH SCHOOL                8/8/2019    $27,648.00              ARCHDIOCESE OF NEW ORLEANS -
               7701 WALMSLEY AVE                                                                  TRADE PAYABLE
               NEW ORLEANS LA 70125-3494
               Relationship to debtor
               SCHOOL

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1157.        ST MATTHEW THE APOSTLE SCHOOL                  8/8/2019    $16,927.00              ARCHDIOCESE OF NEW ORLEANS -
               10021 JEFFERSON HWY                                                                TRADE PAYABLE
               RIVER RIDGE LA 70123
               Relationship to debtor
               SCHOOL

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1158.1       ST MICHAEL SPECIAL SCHOOL                      3/17/2020   $13,735.00              ARCHDIOCESE OF NEW ORLEANS -
               1522 CHIPPEWA ST                                                                   TRADE PAYABLE
               NEW ORLEANS LA 70140-4513
               Relationship to debtor
               SCHOOL

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1159.1       ST MICHAEL SPECIAL SCHOOL                      1/28/2020   $450.00                 ARCHDIOCESE OF NEW ORLEANS -
               1522 CHIPPEWA ST                                                                   TRADE PAYABLE
               NEW ORLEANS LA 70140-4513
               Relationship to debtor
               SCHOOL

               Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
          1
4.1160.        ST MICHAEL SPECIAL SCHOOL                      10/8/2019   $4,094.00               ARCHDIOCESE OF NEW ORLEANS -
               1522 CHIPPEWA ST                                                                   TRADE PAYABLE
               NEW ORLEANS LA 70140-4513
               Relationship to debtor
               SCHOOL




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            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1161.1    ST MICHAEL SPECIAL SCHOOL                      10/1/2019   $3,259.63               ARCHDIOCESE OF NEW ORLEANS -
            1522 CHIPPEWA ST                                                                   TRADE PAYABLE
            NEW ORLEANS LA 70140-4513
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1162.1    ST MICHAEL SPECIAL SCHOOL                      9/25/2019   $2,800.00               ARCHDIOCESE OF NEW ORLEANS -
            1522 CHIPPEWA ST                                                                   TRADE PAYABLE
            NEW ORLEANS LA 70140-4513
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1163.1    ST MICHAEL SPECIAL SCHOOL                      9/17/2019   $2,500.00               ARCHDIOCESE OF NEW ORLEANS -
            1522 CHIPPEWA ST                                                                   TRADE PAYABLE
            NEW ORLEANS LA 70140-4513
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1164.1    ST MICHAEL SPECIAL SCHOOL                      8/8/2019    $14,681.00              ARCHDIOCESE OF NEW ORLEANS -
            1522 CHIPPEWA ST                                                                   TRADE PAYABLE
            NEW ORLEANS LA 70140-4513
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1165.1    ST MICHAEL SPECIAL SCHOOL                      6/18/2019   $1,304.60               ARCHDIOCESE OF NEW ORLEANS -
            1522 CHIPPEWA ST                                                                   TRADE PAYABLE
            NEW ORLEANS LA 70140-4513
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1166.     ST PAUL S HIGH SCHOOL                          12/18/2019 $750.00                  ARCHDIOCESE OF NEW ORLEANS -
            P O BOX 928                                                                        TRADE PAYABLE
            COVINGTON LA 70434-0928
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1167.     ST PAUL S HIGH SCHOOL                          6/4/2019    $100,000.00             ARCHDIOCESE OF NEW ORLEANS -
            P O BOX 928                                                                        TRADE PAYABLE
            COVINGTON LA 70434-0928
            Relationship to debtor
            SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1168.    ST PAUL S SCHOOL                               8/8/2019    $80,502.00              ARCHDIOCESE OF NEW ORLEANS -
           P O BOX 928                                                                        TRADE PAYABLE
           COVINGTON LA 70430-0928
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1169.    ST PETER CHURCH                                8/20/2019   $8,650.00               ARCHDIOCESE OF NEW ORLEANS -
           P O BOX 435                                                                        TRADE PAYABLE
           RESERVE LA 70084-0437
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1170.    ST PETER SCHOOL                                1/7/2020    $350.00                 ARCHDIOCESE OF NEW ORLEANS -
           130 E. TEMPERANCE STREET                                                           TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1171.    ST PETER SCHOOL                                9/25/2019   $8,750.00               ARCHDIOCESE OF NEW ORLEANS -
           130 E. TEMPERANCE STREET                                                           TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1172.    ST PETER SCHOOL                                8/8/2019    $37,115.00              ARCHDIOCESE OF NEW ORLEANS -
           130 E. TEMPERANCE STREET                                                           TRADE PAYABLE
           COVINGTON LA 70433
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1173.    ST PIUS X SCHOOL                               9/25/2019   $3,150.00               ARCHDIOCESE OF NEW ORLEANS -
           6600 SPANISH FORT BLVD                                                             TRADE PAYABLE
           NEW ORLEANS LA 70124-4398
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1174.    ST PIUS X SCHOOL                               8/8/2019    $28,704.00              ARCHDIOCESE OF NEW ORLEANS -
           6600 SPANISH FORT BLVD                                                             TRADE PAYABLE
           NEW ORLEANS LA 70124-4398
           Relationship to debtor
           SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1175.    ST RITA CHURCH                                 5/29/2019   $1,000.00               ARCHDIOCESE OF NEW ORLEANS -
           2729 LOWERLINE STREET                                                              TRADE PAYABLE
           NEW ORLEANS LA 70125
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1176.    ST RITA CHURCH                                 5/21/2019   $7,320.67               ARCHDIOCESE OF NEW ORLEANS -
           2729 LOWERLINE STREET                                                              TRADE PAYABLE
           NEW ORLEANS LA 70125
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1177.    ST RITA SCHOOL                                 2/4/2020    $6,115.00               ARCHDIOCESE OF NEW ORLEANS -
           194 RAVAN AVE                                                                      TRADE PAYABLE
           HARAHAN LA 70123
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1178.    ST RITA SCHOOL                                 8/8/2019    $14,632.00              ARCHDIOCESE OF NEW ORLEANS -
           194 RAVAN AVE                                                                      TRADE PAYABLE
           HARAHAN LA 70123
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1179.    ST RITA SCHOOL                                 7/30/2019   $1,000.00               ARCHDIOCESE OF NEW ORLEANS -
           194 RAVAN AVE                                                                      TRADE PAYABLE
           HARAHAN LA 70123
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1180.    ST RITA SCHOOL                                 6/4/2019    $5,600.00               ARCHDIOCESE OF NEW ORLEANS -
           194 RAVAN AVE                                                                      TRADE PAYABLE
           HARAHAN LA 70123
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1181.    ST ROSALIE SCHOOL                              1/7/2020    $350.00                 ARCHDIOCESE OF NEW ORLEANS -
           617 SECOND AVENUE                                                                  TRADE PAYABLE
           HARVEY LA 70058-2735
           Relationship to debtor
           SCHOOL




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            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1182.     ST ROSALIE SCHOOL                              10/22/2019 $339.55                  ARCHDIOCESE OF NEW ORLEANS -
            617 SECOND AVENUE                                                                  TRADE PAYABLE
            HARVEY LA 70058-2735
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1183.     ST ROSALIE SCHOOL                              9/25/2019   $17,500.00              ARCHDIOCESE OF NEW ORLEANS -
            617 SECOND AVENUE                                                                  TRADE PAYABLE
            HARVEY LA 70058-2735
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1184.     ST ROSALIE SCHOOL                              8/8/2019    $27,582.00              ARCHDIOCESE OF NEW ORLEANS -
            617 SECOND AVENUE                                                                  TRADE PAYABLE
            HARVEY LA 70058-2735
            Relationship to debtor
            SCHOOL

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1185.1    ST SCHOLASTICA ACADEMY                         10/29/2019 $195.00                  ARCHDIOCESE OF NEW ORLEANS -
            122 S MASSACHUSETTS ST                                                             TRADE PAYABLE
            COVINGTON LA 70433-3400
            Relationship to debtor
            AFFILIATE

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1186.1    ST SCHOLASTICA ACADEMY                         8/8/2019    $41,867.00              ARCHDIOCESE OF NEW ORLEANS -
            122 S MASSACHUSETTS ST                                                             TRADE PAYABLE
            COVINGTON LA 70433-3400
            Relationship to debtor
            AFFILIATE

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1187.1    ST SCHOLASTICA ACADEMY                         6/4/2019    $4,500.00               ARCHDIOCESE OF NEW ORLEANS -
            122 S MASSACHUSETTS ST                                                             TRADE PAYABLE
            COVINGTON LA 70433-3400
            Relationship to debtor
            AFFILIATE

            Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1188.     ST STEPHEN SCHOOL                              4/20/2020   $3,650.00               ARCHDIOCESE OF NEW ORLEANS -
            1027 NAPOLEON AVE                                                                  TRADE PAYABLE
            NEW ORLEANS LA 70115-2790
            Relationship to debtor
            SCHOOL




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           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1189.    ST STEPHEN SCHOOL                              12/18/2019 $30,000.00               ARCHDIOCESE OF NEW ORLEANS -
           1027 NAPOLEON AVE                                                                  TRADE PAYABLE
           NEW ORLEANS LA 70115-2790
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1190.    ST STEPHEN SCHOOL                              10/1/2019   $10,500.00              ARCHDIOCESE OF NEW ORLEANS -
           1027 NAPOLEON AVE                                                                  TRADE PAYABLE
           NEW ORLEANS LA 70115-2790
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1191.    ST STEPHEN SCHOOL                              8/8/2019    $22,802.00              ARCHDIOCESE OF NEW ORLEANS -
           1027 NAPOLEON AVE                                                                  TRADE PAYABLE
           NEW ORLEANS LA 70115-2790
           Relationship to debtor
           SCHOOL

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1192.    ST THERESE ACADEMY                             1/14/2020   $5,215.00               ARCHDIOCESE OF NEW ORLEANS -
           917 N ATLANTA STREET                                                               TRADE PAYABLE
           METAIRIE LA 70003
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1193.    ST THERESE ACADEMY                             1/2/2020    $3,000.00               ARCHDIOCESE OF NEW ORLEANS -
           917 N ATLANTA STREET                                                               TRADE PAYABLE
           METAIRIE LA 70003
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1194.    ST THERESE ACADEMY                             10/1/2019   $15,730.00              ARCHDIOCESE OF NEW ORLEANS -
           917 N ATLANTA STREET                                                               TRADE PAYABLE
           METAIRIE LA 70003
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1195.    ST THERESE ACADEMY                             9/25/2019   $700.00                 ARCHDIOCESE OF NEW ORLEANS -
           917 N ATLANTA STREET                                                               TRADE PAYABLE
           METAIRIE LA 70003
           Relationship to debtor
           AFFILIATE




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4.1196.    ST THERESE ACADEMY                             9/3/2019    $12,405.00              ARCHDIOCESE OF NEW ORLEANS -
           917 N ATLANTA STREET                                                               TRADE PAYABLE
           METAIRIE LA 70003
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1197.    ST THERESE ACADEMY                             8/6/2019    $37,156.00              ARCHDIOCESE OF NEW ORLEANS -
           917 N ATLANTA STREET                                                               TRADE PAYABLE
           METAIRIE LA 70003
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1198.    ST THERESE ACADEMY                             8/6/2019    $12,700.00              ARCHDIOCESE OF NEW ORLEANS -
           917 N ATLANTA STREET                                                               TRADE PAYABLE
           METAIRIE LA 70003
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1199.    ST. JUDE COMMUNITY CENTER                      1/28/2020   $1,000.00               OUR LADY OF GUADALUPE FOR
           400 N RAMPART STREET                                                               REIMBURSEMENT TO CENTER
           NEW ORLEANS LA 70112
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1200.    ST. JUDE COMMUNITY CENTER                      1/23/2020   $1,000.00               OUR LADY OF GUADALUPE FOR
           400 N RAMPART STREET                                                               REIMBURSEMENT TO CENTER
           NEW ORLEANS LA 70112
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1201.    ST. JUDE COMMUNITY CENTER                      1/14/2020   $1,000.00               OUR LADY OF GUADALUPE FOR
           400 N RAMPART STREET                                                               REIMBURSEMENT TO CENTER
           NEW ORLEANS LA 70112
           Relationship to debtor
           AFFILIATE

           Insider’s name and address                     Dates       Total amount or value   Reasons for payment or transfer

4.1202.    ST. JUDE COMMUNITY CENTER                      1/7/2020    $1,165.00               OUR LADY OF GUADALUPE FOR
           400 N RAMPART STREET                                                               REIMBURSEMENT TO CENTER
           NEW ORLEANS LA 70112
           Relationship to debtor
           AFFILIATE




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Debtor       The Roman Catholic Church of the Archdiocese of New Orleans                                                 Case number (if known) 20-10846

               Insider’s name and address                               Dates         Total amount or value      Reasons for payment or transfer

4.1203.        ST. JUDE COMMUNITY CENTER                                12/20/2019 $5,335.00                     OUR LADY OF GUADALUPE FOR
               400 N RAMPART STREET                                                                              REIMBURSEMENT FOR DEPOSIT
               NEW ORLEANS LA 70112
               Relationship to debtor
               AFFILIATE

               Insider’s name and address                               Dates         Total amount or value      Reasons for payment or transfer

4.1204.        ST. MARGARET MARY SCHOOL                                 4/2/2020      $8,040.00                  POPE JOHN PAUL II HIGH SCHOOL
               1050 ROBERT BLVD                                                                                  FOR EE ADVANCE ELEM SCHOOL
               SLIDELL LA 70458                                                                                  TUITION
               Relationship to debtor
               PARISH SCHOOL

               Insider’s name and address                               Dates         Total amount or value      Reasons for payment or transfer

4.1205.        ST. MARGARET MARY SCHOOL                                 4/2/2020      $5,345.00                  POPE JOHN PAUL II HIGH SCHOOL
               1050 ROBERT BLVD                                                                                  FOR EE ADVANCE ELEM SCHOOL
               SLIDELL LA 70458                                                                                  TUITION
               Relationship to debtor
               PARISH SCHOOL

               Insider’s name and address                               Dates         Total amount or value      Reasons for payment or transfer

4.1206.        VISITATION OF OUR LADY SCHOOL                            9/25/2019     $3,150.00                  ARCHDIOCESE OF NEW ORLEANS -
               3520 AMES BOULEVARD                                                                               TRADE PAYABLE
               MARRERO LA 70072
               Relationship to debtor
               AFFILIATE

               Insider’s name and address                               Dates         Total amount or value      Reasons for payment or transfer

4.1207.        VISITATION OF OUR LADY SCHOOL                            8/8/2019      $20,524.00                 ARCHDIOCESE OF NEW ORLEANS -
               3520 AMES BOULEVARD                                                                               TRADE PAYABLE
               MARRERO LA 70072
               Relationship to debtor
               AFFILIATE


1
    INTRA-DEBTOR PAYMENT FOR GOODS OR SERVICES




5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed
       by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property
       listed in line 6.

       þ None
         Creditor’s name and address                         Description of the property                         Date                   Value of property

5.1.     _____________________________________               _____________________________________               ________________ $______________
         _____________________________________
         _____________________________________
         _____________________________________




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6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
       account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
       debtor owed a debt.

       þ None
         Creditor’s name and address                  Description of the action creditor took                     Date action was        Amount
                                                                                                                  taken

6.1.     ________________________________             __________________________________________                  ________________ $______________
         ________________________________
         ________________________________
         ________________________________             Last 4 digits of account number: XXXX–__________




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 Part 3:       Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity—within 1 year before filing this case.

       ¨ None
         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.1.     AA DOE V ARCHDIOCESE OF                 ABUSE CLAIM                             CIVIL DISTRICT COURT FOR THE                þ Pending
         NEW ORLEANS INDEMNITY, INC.,                                                    PARISH OF ORLEANS
         THE CATHOLIC MUTUAL RELIEF                                                      STATE OF LOUISIANA                          ¨ On appeal
         SOCIETY OF AMERICA, THE
         ROMAN CATHLOIC CHURCH OF
                                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                                         COURTS
                                                                                                                                     ¨ Concluded
         THE ARCHDIOCESE OF NEW                                                          421 LOYOLA AVE
         ORLEANS, AND FATHER HENRY                                                       NEW ORLEANS LA 70112
         BRIAN IDGHFILL
         Case number
         19-6200

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.2.     BB DOE V THE ROMAN                      ABUSE CLAIM                             CIVIL DISTRICT COURT FOR THE                þ Pending
         CATHOLIC CHURCH FOR THE                                                         PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                                              STATE OF LOUISIANA                          ¨ On appeal
         ORLEANS,
         SALESIANS OF DON BOSCO,
                                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                                         COURTS
                                                                                                                                     ¨ Concluded
         EASTERN PROVINCE IN THE USA                                                     421 LOYOLA AVE
         D/B/A SALESIAN SOCIETY, INC.,                                                   NEW ORLEANS LA 70112
         FATHER JAMES HURLEY F/K/A
         BROTHER
         JAMES HURLEY, ARCHDIOCESE
         OF NEW ORLEANS INDEMNITY,
         INC., AND THE CATHOLIC
         MUTUAL RELIEF SOCIETY OF
         AMERICA
         Case number
         2019-10149

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.3.     BOB ROE V THE ROMAN                     ABUSE CLAIM                             CIVIL DISTRICT COURT FOR THE                þ Pending
         CATHOLIC CHURCH OF THE                                                          PARISH OF ORLEANS
         ARCHDIOCESE OFNEW                                                               STATE OF LOUISIANA                          ¨ On appeal
         ORLEANS, AND CATHOLIC
         CHARITIES ARCHDIOCESE OF
                                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                                         COURTS
                                                                                                                                     ¨ Concluded
         NEW ORLEANS                                                                     421 LOYOLA AVE
                                                                                         NEW ORLEANS LA 70112
         Case number
         2019-12224

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.4.     BRAD ROE V. THE ROMAN                   ABUSE CLAIM                             ORLEANS PARISH CIVIL DISTRICT               þ Pending
         CATHOLIC CHURCH OF THE                                                          COURT
         ARCHDIOCESE OF NEW                                                              421 LOYOLA AVE                              ¨ On appeal
         ORLEANS AND CATHOLIC
         CHARITIES ARCHDIOCESE OF
                                                                                         RM 402
                                                                                         NEW ORLEANS LA 70112
                                                                                                                                     ¨ Concluded
         NEW ORLEANS
         Case number
         2020-03463




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       Case title                     Nature of case                   Court or agency's name and address   Status of case

7.5.   C.J. DOE V THE ROMAN           ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
       CATHOLIC CHURCH FOR THE                                         PARISH OF ORLEANS
       ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
       ORLEANS, SALESIANS OF DON
       BOSCO, EASTERN PROVINCE IN
                                                                       CLERK'S OFFICE, ROOM 402, CIVIL
                                                                       COURTS
                                                                                                            ¨ Concluded
       THE USA D/B/A SALESIAN                                          421 LOYOLA AVE
       SOCIETY, INC.                                                   NEW ORLEANS LA 70112
       Case number
       2018-12393

       Case title                     Nature of case                   Court or agency's name and address   Status of case

7.6.   CC DOE V THE ROMAN             ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
       CATHOLIC CHURCH OFTHE                                           PARISH OF ORLEANS
       ARCHDIOCESE OF NEW                                              421 LOYOLA AVE                       ¨ On appeal
       ORLEANS,
       ARCHDIOCESE O FNEW
                                                                       RM 402
                                                                       NEW ORLEANS LA 70112
                                                                                                            ¨ Concluded
       ORLEANS INDEMNITY ,INC.,THEC
       ATHOLIC MUTUAL
       RELIEF SOCIETY OF AMERICA,
       AND THE CONGREGATION OF
       THE HOLY
       SPIRIT, PROVINCE OF THE
       UNITED STATES
       Case number
       2020-02983

       Case title                     Nature of case                   Court or agency's name and address   Status of case

7.7.   D.H. V DEFENDANT A,            ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
       DEFENDANT B, AND DEFENDANT                                      PARISH OF ORLEANS
       C                                                               STATE OF LOUISIANA                   ¨ On appeal
       Case number
                                                                       CLERK'S OFFICE, ROOM 402, CIVIL
                                                                       COURTS
                                                                                                            ¨ Concluded
                                                                       421 LOYOLA AVE
       2019-11429
                                                                       NEW ORLEANS LA 70112

       Case title                     Nature of case                   Court or agency's name and address   Status of case

7.8.   DOE, JANE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
       CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
       ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
       ORLEANS                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                       COURTS
                                                                                                            ¨ Concluded
       Case number                                                     421 LOYOLA AVE
                                                                       NEW ORLEANS LA 70112
       2019-11521

       Case title                     Nature of case                   Court or agency's name and address   Status of case

7.9.   ED ROE V THE ROMAN             ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
       CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
       ARCHDIOCESE OFNEW                                               STATE OF LOUISIANA                   ¨ On appeal
       ORLEANS, AND CATHOLIC
       CHARITIES ARCHDIOCESE OF
                                                                       CLERK'S OFFICE, ROOM 402, CIVIL
                                                                       COURTS
                                                                                                            ¨ Concluded
       NEW ORLEANS                                                     421 LOYOLA AVE
                                                                       NEW ORLEANS LA 70112
       Case number
       2019-12226




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7.10.     FF DOE V THE ROMAN           ABUSE CLAIM                         CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH FOR THE                                          PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                               STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS, ARCHDIOCESE OF,
          NEW ORLEANS INDEMNITY, INC.,
                                                                           CLERK'S OFFICE, ROOM 402, CIVIL
                                                                           COURTS
                                                                                                                ¨ Concluded
          AND THE CATHOLIC MUTUAL                                          421 LOYOLA AVE
          RELIEF SOCIETY OF AMERICA                                        NEW ORLEANS LA 70112
          Case number
          2019-11587

          Case title                      Nature of case                   Court or agency's name and address   Status of case

7.11.     FORMER CORE'S CLEANERS          ENVIRONMENTAL REMEDIATION        STATE OF LOUISIANA -                 þ Pending
          AND/OR CORE'S ONE HOUR                                           DEPARTMENT OF ENVIRONMENTAL
          CLEANERS                                                         QUALITY - OFFICE OF                  ¨ On appeal
          Case number
                                                                           ENVIRONMENTAL ASSESSMENT
                                                                           P.O. BOX 4314
                                                                                                                ¨ Concluded
                                                                           BATON ROUGE LA 70821-4314
          LDEA AI NUMBERS 39267/38731

          Case title                      Nature of case                   Court or agency's name and address   Status of case

7.12.     FR. V THE ROMAN CATHOLIC        PERSONAL INJURY                  UNITED STATES DISTRICT COURT         þ Pending
          CHURCH OF THE ARCHDIOCESE                                        EASTERN DISTRICT OF LOUISIANA
          OF NEW ORLEANS, ET AL.                                           500 POYDRAS STREET                   ¨ On appeal
          Case number
                                                                           NEW ORLEANS LA 70130                 ¨ Concluded
          19-CV-14665

          Case title                      Nature of case                   Court or agency's name and address   Status of case

7.13.     IN RE CATHOLIC MUTUAL           SUIT HAS NOT BEEN SERVED.        US DEPARTMENT OF JUSTICE             þ Pending
          INSURANCE (WHISTLEBLOWER        THE ARCHDIOCESE HAS              950 PENNSYLVANIA AVE NW
          FEMA CLAIM) UNITED STATES       FORMALLY TENDERED THE            WASHINGTON DC 20530-0001             ¨ On appeal
          EX REL AND {UNDER SEAL} VS.
          {UNDER SEAL}
                                          CLAIM FOR DEFENSE AND
                                          INDEMNITY TO CATHOLIC
                                                                                                                ¨ Concluded
                                          MUTUAL UNDER OUR OFFICER
          Case number                     AND DIRECTOR LIABILITY
                                          COVERAGE. CATHOLIC MUTUAL
          SECOND AMENDED COMPLAINT
                                          HAS DENIED COVERAGE BUT IS
          FOR VIOLATION OF FEDERAL
                                          PAYING DEFENSE COSTS.
          FALSE CLAIMS ACT [31 USC 3729
          ET SEQ.] FILED UNDER SEAL
          PURUSANT TO 31 USC 3730(B)(2)

          Case title                      Nature of case                   Court or agency's name and address   Status of case

7.14.     IN RE GN INVESTMENTS LLC C      FORMER PAYROLL SERVICE           US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD          WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.          1 DIVISION AVE N                     ¨ On appeal
          US BANKRUPTCY COURT
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                           STE 200
                                                                           GRAND RAPIDS MI 49503
                                                                                                                ¨ Concluded
          WESTERN DISTRICT MICHIGAN
                                          COMMITTEE
          CA 19-04262 UNSECURED
          CREDITOR

          Case title                      Nature of case                   Court or agency's name and address   Status of case

7.15.     IN RE KAHN AVIATION, INC.       FORMER PAYROLL SERVICE           US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD          WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.          1 DIVISION AVE N                     ¨ On appeal
          US BANKRUPTCY COURT
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                           STE 200
                                                                           GRAND RAPIDS MI 49503
                                                                                                                ¨ Concluded
          WESTERN DISTRICT MICHIGAN
                                          COMMITTEE
          CA 19-04261 UNSECURED
          CREDITOR




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7.16.     IN RE KRW INVESTMENTS, INC.     FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         2 DIVISION AVE N                     ¨ On appeal
          US BANKRUPTCY COURT
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 201
                                                                          GRAND RAPIDS MI 49504
                                                                                                               ¨ Concluded
          WESTERN DISTRICT MICHIGAN
                                          COMMITTEE
          CA 19-04264 UNSECURED
          CREDITOR

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.17.     IN RE NAJEEB AHMED KHAN         FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         3 DIVISION AVE N                     ¨ On appeal
          US BANKRUPTCY COURT
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 202
                                                                          GRAND RAPIDS MI 49505
                                                                                                               ¨ Concluded
          WESTERN DISTRICT MICHIGAN
                                          COMMITTEE
          CA 19-04258 UNSECURED
          CREDITOR

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.18.     IN RE NAK HOLDINGS LLC          FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         4 DIVISION AVE N                     ¨ On appeal
          US BANKRUPTCY COURT
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 203
                                                                          GRAND RAPIDS MI 49506
                                                                                                               ¨ Concluded
          WESTERN DISTRICT CA 19-
                                          COMMITTEE
          04267 UNSECURED CREDITOR

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.19.     IN RE NJ REALTY, LLC            FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         5 DIVISION AVE N                     ¨ On appeal
          US BANKRUPTCY COURT
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 204
                                                                          GRAND RAPIDS MI 49507
                                                                                                               ¨ Concluded
          WESTERN DISTRICT CA 19-
                                          COMMITTEE
          04266 UNSECURED CREDITOR

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.20.     IN RE SARAH AIR, LLC            FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         6 DIVISION AVE N                     ¨ On appeal
          US BANRUPTCY COURT
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 205
                                                                          GRAND RAPIDS MI 49508
                                                                                                               ¨ Concluded
          WESTERN DISTRICT CA 19-
                                          COMMITTEE
          04268 UNSECURED CREDITOR

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.21.     INTERLOGIC OUTSOURCING,         FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
          INC. (IOI)                      PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
                                          AND BREACH OF CONTRACT.         6 DIVISION AVE N                     ¨ On appeal
          Case number                     ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 205
                                                                          GRAND RAPIDS MI 49508
                                                                                                               ¨ Concluded
          JOINTLY ADMINISTERED UNDER
                                          COMMITTEE
          CASE NO. 20-325 IN THE UNITED
          STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT
          OF MICHIGAN, KALAMAZOO
          DIVISION.




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          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.22.     INTERLOGIC OUTSOURCING,         FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
          INC. (IOI)                      PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
                                          AND BREACH OF CONTRACT.         13 DIVISION AVE N                    ¨ On appeal
          Case number                     ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 212
                                                                          GRAND RAPIDS MI 49515
                                                                                                               ¨ Concluded
          JOINTLY ADMINISTERED UNDER
                                          COMMITTEE
          CASE NO. 20-325 IN THE UNITED
          STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT
          OF MICHIGAN, KALAMAZOO
          DIVISION.

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.23.     IOI PAYROLL SERVICES, INC.      FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         7 DIVISION AVE N                     ¨ On appeal
          JOINTLY ADMINISTERED UNDER
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 206
                                                                          GRAND RAPIDS MI 49509
                                                                                                               ¨ Concluded
          CASE NO. 20-325 IN THE UNITED
                                          COMMITTEE
          STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT
          OF MICHIGAN, KALAMAZOO
          DIVISION.

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.24.     IOI WEST, INC.                  FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         8 DIVISION AVE N                     ¨ On appeal
          JOINTLY ADMINISTERED UNDER
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 207
                                                                          GRAND RAPIDS MI 49510
                                                                                                               ¨ Concluded
          CASE NO. 20-325 IN THE UNITED
                                          COMMITTEE
          STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT
          OF MICHIGAN, KALAMAZOO
          DIVISION.

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.25.     J.W. DOE V ARCHDIOCESE OF    ABUSE CLAIM                        CIVIL DISTRICT COURT FOR THE         þ Pending
          NEW ORLEANS INDEMNITY, INC.,                                    PARISH OF ORLEANS
          THE CATHOLIC MUTUAL                                             STATE OF LOUISIANA                   ¨ On appeal
          RELIEF SOCIETY OF AMERICA,
          THE ROMAN CATHLOIC CHURCH
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          OF THE ARCHDIOCESE OF NEW                                       421 LOYOLA AVE
          ORLEANS, AND FATHER LA                                          NEW ORLEANS LA 70112
          WREN CE A. HECKER
          Case number
          2019-3947

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.26.     JAMES DOE V ARCHDIOCESE OF ABUSE CLAIM                          CIVIL DISTRICT COURT FOR THE         þ Pending
          NEW ORLEANS INDEMNITY, INC.,                                    PARISH OF ORLEANS
          THE CATHOLIC MUTUAL RELIEF                                      STATE OF LOUISIANA                   ¨ On appeal
          SOCIETY OF AMERICA, THE
          ROMAN CATHOLIC CHURCH OF
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          THE                                                             421 LOYOLA AVE
          ARCHDIOCESE OF NEW                                              NEW ORLEANS LA 70112
          ORLEANS, FATHER MICHAEL
          FRASER
          AND FATHER PAUL CALAMARI
          Case number
          2019-1371




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7.27.     JB DOE V. ST. PAUL’S SCHOOL,     ABUSE CLAIM                    ORLEANS PARISH CIVIL DISTRICT        þ Pending
          INC., THE ROMAN CATHOLIC                                        COURT
          CHURCH OF THE ARCHDIOCESE                                       421 LOYOLA AVE                       ¨ On appeal
          OF NEW ORLEANS, THE
          CATHOLIC MUTUAL RELIEF
                                                                          RM 402
                                                                          NEW ORLEANS LA 70112
                                                                                                               ¨ Concluded
          SOCIETY OF AMERICA,
          LOUISIANA LASALLIAN
          EDUCATION CORPORATION,
          WILLIAM GIDDINGS, AND
          ARCHDIOCESE OF NEW
          ORLEANS INDEMNITY, INC.
          Case number
          20-03456

          Case title                       Nature of case                 Court or agency's name and address   Status of case

7.28.     JEFF ROE V THE ROMAN             ABUSE CLAIM                    CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
          ARCHDIOCESE OFNEW                                               STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS,
          AND CATHOLIC CHARITIES
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          ARCHDIOCESE OF NEW                                              421 LOYOLA AVE
          ORLEANS                                                         NEW ORLEANS LA 70112
          Case number
          2019-122237

          Case title                       Nature of case                 Court or agency's name and address   Status of case

7.29.     JOHN A DOE V ARCHDIOCESE         ABUSE CLAIM                    CIVIL DISTRICT COURT FOR THE         þ Pending
          OF NEW ORLEANS INDEMNITY,                                       PARISH OF ORLEANS
          INC., THE CATHOLIC MUTUAL                                       STATE OF LOUISIANA                   ¨ On appeal
          RELIEF SOCIETY OF AMERICA,
          THE ROMAN CATHOLIC CHURCH
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          OF THE ARCHDIOCESE OF NEW                                       421 LOYOLA AVE
          ORLEANS, AND FATHER                                             NEW ORLEANS LA 70112
          MICHAEL FRASER
          Case number
          2019-11537

          Case title                       Nature of case                 Court or agency's name and address   Status of case

7.30.     JOHN DOE 2019-10827 V THE        ABUSE CLAIM                    CIVIL DISTRICT COURT FOR THE         þ Pending
          ROMAN CATHOLIC CHURCH                                           PARISH OF ORLEANS
          FOR THE ARCHDIOCESE OF                                          STATE OF LOUISIANA                   ¨ On appeal
          NEW.OR:TEANS                                                    CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          Case number                                                     421 LOYOLA AVE
                                                                          NEW ORLEANS LA 70112
          2019-10827

          Case title                       Nature of case                 Court or agency's name and address   Status of case

7.31.     JOHN DOE I, JOHN DOE II, JOHN    ABUSE CLAIM                    UNITED STATES DISTRICT COURT         þ Pending
          DOE III, JOHN DOE IV, JOHN DOE                                  EASTERN DISTRICT OF LOUISIANA
          V V HOLY SEE (VATICAN CITY                                      500 POYDRAS STREET                   ¨ On appeal
          STATE)                                                          NEW ORLEANS LA 70130                 ¨ Concluded
          Case number
          UNDER SEAL




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          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.32.     JOHN DOE V DEFENDANT A,       ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          DEFENDANT B, AND                                               PARISH OF ORLEANS
          DEFENDANT C                                                    STATE OF LOUISIANA                   ¨ On appeal
          Case number
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
                                                                         421 LOYOLA AVE
          2019-11446
                                                                         NEW ORLEANS LA 70112

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.33.     JOHN DOE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
          Case number                                                    421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
          2019-3716

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.34.     JOHN DOE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
          Case number                                                    421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
          2020-01986

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.35.     JOHN DOE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS, AND DEACON
          GEORGE BRIGNAC
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
                                                                         421 LOYOLA AVE
          Case number                                                    NEW ORLEANS LA 70112
          2018-10864

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.36.     JOHN DOE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC OF THE                                                PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
          Case number                                                    421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
          2019-10038

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.37.     JOHN DOE V. ANO/JESUITS       ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
                                                                         PARISH OF ORLEANS
          Case number                                                    STATE OF LOUISIANA                   ¨ On appeal
          UNDER SEAL
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
                                                                         421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112




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          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.38.     JOHN ROE I; JOHN ROE II; JOHN ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          ROE III; AND JOHN ROE LV V                                     PARISH OF ORLEANS
          THE ROMAN CATHOLIC CHURCH                                      STATE OF LOUISIANA                   ¨ On appeal
          OF THE ARCHDIOCESE OF NEW
          ORLEANS, CATHOLIC CHARITIES
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
          ARCHDIOCESE OF NEW                                             421 LOYOLA AVE
          ORLEANS, AND                                                   NEW ORLEANS LA 70112
          SALESIANS OF DON BOSCO,
          EASTERN PROVINCE IN THE
          USA D/B/A SALESIAN SOCIETY,
          INC.
          Case number
          18-11369

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.39.     JOHN ROE II V THE ROMAN       ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS, AND CATHOLIC
          CHARITIES ARCHDIOCESE OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
          NEW ORLEANS                                                    421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
          Case number
          2019-11169

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.40.     JOHN ROE III V THE ROMAN      ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
          ARCHDIOCESE OFNEW                                              STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS, AND CATHOLIC
          CHARITIES ARCHDIOCESE OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
          NEW ORLEANS                                                    421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
          Case number
          2019-11171

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.41.     JOHN ROE IV V THE ROMAN       ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS, AND CATHOLIC
          CHARITIES ARCHDIOCESE OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
          NEW ORLEANS                                                    421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
          Case number
          2019-11173

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.42.     JOSEPH MESSINA, JR. V UNION   ASBESTOS                         19TH JUDICIAL DISTRICT COURT         þ Pending
          CARBIDE CORPORATION, ET AL                                     PARISH OF EAST BATON ROUGE,
                                                                         LA                                   ¨ On appeal
          Case number                                                    300 NORTH BLVD
                                                                         BATON ROUGE LA 70801
                                                                                                              ¨ Concluded
          C-687430

          Case title                    Nature of case                   Court or agency's name and address   Status of case

7.43.     KRAMER, CONNIE                WORKERS' COMPENSATION            N/A                                  þ Pending
                                        CLAIM
          Case number                                                                                         ¨ On appeal
          N/A                                                                                                 ¨ Concluded

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          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.44.     L.L.S. V THE ROMAN CATHOLIC     ABUSE CLAIM                     CIVIL DISTRICT COURT FOR THE         þ Pending
          CHURCH FOR THE                                                  PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS,
          , ARCHDIOCESE OF NEW
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          ORLEANS INDEMNITY, INC., AND                                    421 LOYOLA AVE
          THE CATHOLIC MUTUAL RELIEF                                      NEW ORLEANS LA 70112
          SOCIETY OF AMERICA
          Case number
          2019-8551

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.45.     LAKEVIEW HOLDINGS, INC.         FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         9 DIVISION AVE N                     ¨ On appeal
          JOINTLY ADMINISTERED UNDER
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 208
                                                                          GRAND RAPIDS MI 49511
                                                                                                               ¨ Concluded
          CASE NO. 20-325 IN THE UNITED
                                          COMMITTEE
          STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT
          OF MICHIGAN, KALAMAZOO
          DIVISION.

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.46.     LAKEVIEW TECHNOLOGY, INC.       FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         10 DIVISION AVE N                    ¨ On appeal
          JOINTLY ADMINISTERED UNDER
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 209
                                                                          GRAND RAPIDS MI 49512
                                                                                                               ¨ Concluded
          CASE NO. 20-325 IN THE UNITED
                                          COMMITTEE
          STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT
          OF MICHIGAN, KALAMAZOO
          DIVISION.

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.47.     LON DOE V ARCHDIOCESE OF     ABUSE CLAIM                        CIVIL DISTRICT COURT FOR THE         þ Pending
          NEW ORLEANS INDEMNITY, INC.,                                    PARISH OF ORLEANS
          THE CATHOLIC MUTUAL RELIEF                                      STATE OF LOUISIANA                   ¨ On appeal
          SOCIETY OF AMERICA, THE
          ROMAN CATHOLIC CHURCH OF
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          THE ARCHDIOCESE OF NEW                                          421 LOYOLA AVE
          ORLEANS, AND FATHER                                             NEW ORLEANS LA 70112
          MICHAEL FRASER
          Case number
          2019-11575

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.48.     MODEARN, INC.                   FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         11 DIVISION AVE N                    ¨ On appeal
          JOINTLY ADMINISTERED UNDER
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 210
                                                                          GRAND RAPIDS MI 49513
                                                                                                               ¨ Concluded
          CASE NO. 20-325 IN THE UNITED
                                          COMMITTEE
          STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT
          OF MICHIGAN, KALAMAZOO
          DIVISION.




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          Case title                     Nature of case                   Court or agency's name and address   Status of case

7.49.     N.P. V THE ROMAN CATHOLIC      ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CHURCH OF THE ARCHDIOCESE                                       PARISH OF ORLEANS
          OF NEW ORLEANS                                                  STATE OF LOUISIANA                   ¨ On appeal
          Case number
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
                                                                          421 LOYOLA AVE
          2019-11670
                                                                          NEW ORLEANS LA 70112

          Case title                     Nature of case                   Court or agency's name and address   Status of case

7.50.     RAYMOND ROE V THE ROMAN        ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
          ARCHDIOCESE OFNEW                                               STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS,
          AND CATHOLIC CHARITIES
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          ARCHDIOCESE OF NEW                                              421 LOYOLA AVE
          ORLEANS                                                         NEW ORLEANS LA 70112
          Case number
          2019-12233

          Case title                     Nature of case                   Court or agency's name and address   Status of case

7.51.     S.R.L.AND BL V. THE            ABUSE CLAIM                      ORLEANS PARISH CIVIL DISTRICT        þ Pending
          ARCHDIOCESE OF NEW                                              COURT
          ORLEANS, HOLY CROSS                                             421 LOYOLA AVE                       ¨ On appeal
          COLLEGE, INC. D/B/A HOLY
          CROSS SCHOOL; A.G.; C.L.
                                                                          RM 402
                                                                          NEW ORLEANS LA 70112
                                                                                                               ¨ Concluded
          Case number
          20-03123

          Case title                     Nature of case                   Court or agency's name and address   Status of case

7.52.     THE ARCHDIOCESE OF NEW         SUBROGATION OF WORKERS           CIVIL DISTRICT COURT PARISH OF       þ Pending
          ORLEANS AS SUBROGEE OF         COMPENSATION AND MEDICAL         ORLEANS
          CYNTHIA JOHNSON VS. STEVE      BENEFITS PAID AS A RESULT OF     421 LOYOLA AVE                       ¨ On appeal
          MARINO, GEICO CASUALTY
          COMPANY
                                         AUTO ACCIDENT                    ROOM 402
                                                                          NEW ORLEANS LA 70112
                                                                                                               ¨ Concluded
          Case number
          CIVIL DISTRICT COURT PARISH
          OF ORLEANS NO. 2020-2329
          SUBROGATION

          Case title                     Nature of case                   Court or agency's name and address   Status of case

7.53.     THE ROMAN CATHOLIC CHURCH      LAND DAMAGE DISPUTE              32ND JDC- TERREBONNE PARISH          þ Pending
          OF THE ARCHDIOCESE OF NEW                                       7856 MAIN ST.
          ORLEANS AND POINT AU FER,                                       HOUMA LA 70360                       ¨ On appeal
          LLC VS. CARUTHERS
          PRODUCING CO, INC.,
                                                                                                               ¨ Concluded
          ANADARKO OGC COMPANY,
          LLOG EXLORATION COMPANY
          LLC, ROGER L. HEBERT, SWEPI
          LP, CHEVRON USA, INC., BASF
          CORPORATION, ENI OIL & GAS
          INC., CABOT OIL & GAS
          CORPORATION, HELIS OIL &
          GAS, LLC, LEGACY ENERGY
          CORPORATION, CODY ENERGY
          LLC, SUNOCO INC., KERR-
          MDGEE OIL & GAS ONSHORE LP
          Case number
          32ND JDC- TERREBONNE
          PARISH CA 169160 LEGACY
          LITIGATION PLAINTIFF

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7.54.     THE ROMAN CATHOLIC CHURCH CLEAR TITLE TO 1941 DAUPHINE          CIVIL DISTRICT COURT PARISH OF       þ Pending
          OF THE ARCHDIOCESE OF NEW STREET NEW ORLEANS, LA                ORLEANS
          ORLEANS VS. SOCIETE         70116                               421 LOYOLA AVE                       ¨ On appeal
          CATHOLIQUE POUR
          L'INSTRUCION DES ORPHELENIS
                                                                          ROOM 402
                                                                          NEW ORLEANS LA 70112
                                                                                                               ¨ Concluded
          DANS L'INDIGENCE A/K/A THE
          CATHOLIC SOCIETY FOR THE
          INSTRCTION OF INDIDGENT
          OPRHANS, CONSTANTINE
          MAEHNAUT; SUCCESSIO OF
          MARIE JUSTINE CIRNAIRE
          COUVENT: AND HENRY
          FLETCHER
          Case number
          CIVIL DISTRICT COURT PARISH
          OF ORLEANS NO. 2019-0106
          QUIET TITLE ACTION

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.55.     TIMEPLUS SYSTEMS, LLC           FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                          PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
          Case number                     AND BREACH OF CONTRACT.         12 DIVISION AVE N                    ¨ On appeal
          JOINTLY ADMINISTERED UNDER
                                          ARCHDIOCESE IS A MEMBER OF
                                          THE UNSECURED CREDITORS
                                                                          STE 211
                                                                          GRAND RAPIDS MI 49514
                                                                                                               ¨ Concluded
          CASE NO. 20-325 IN THE UNITED
                                          COMMITTEE
          STATES BANKRUPTCY COURT
          FOR THE WESTERN DISTRICT
          OF MICHIGAN, KALAMAZOO
          DIVISION.

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.56.     TOM DOE V ARCHDIOCESE OF     ABUSE CLAIM                        CIVIL DISTRICT COURT FOR THE         þ Pending
          NEW ORLEANS INDEMNITY, INC.,                                    PARISH OF ORLEANS
          THE CATHOLIC MUTUAL                                             STATE OF LOUISIANA                   ¨ On appeal
          RELIEF SOCIETY OF AMERICA,
          THE ROMAN CATHOLIC CHURCH
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          OF THE ARCHDIOCESE OF NEW                                       421 LOYOLA AVE
          ORLEANS, AND FATHER                                             NEW ORLEANS LA 70112
          MICHAEL FRASER
          Case number
          2019-8559

          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.57.     UNITED STATES OF AMERICA        _____________________________ UNITED STATES DISTRICT COURT           þ Pending
                                                                        EASTERN DISTRICT OF LOUISIANA
          Case number                                                   500 POYDRAS STREET                     ¨ On appeal
          UNDER SEAL
                                                                        NEW ORLEANS LA 70130                   ¨ Concluded
          Case title                      Nature of case                  Court or agency's name and address   Status of case

7.58.     WEST ROE V THE ROMAN            ABUSE CLAIM                     CIVIL DISTRICT COURT FOR THE         þ Pending
          CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
          ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
          ORLEANS, AND CATHOLIC
          CHARITIES ARCHDIOCESE OF
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
          NEW ORLEANS                                                     421 LOYOLA AVE
                                                                          NEW ORLEANS LA 70112
          Case number
          2019-12228




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8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
       hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       þ None
         Custodian's name and address                     Description of the property                     Value

8.1.     ___________________________________              ___________________________________             $_________________________________
         ___________________________________
         ___________________________________              Case title                                      Court name and address
         ___________________________________
                                                          ___________________________________             ___________________________________
                                                                                                          ___________________________________
                                                          Case number                                     ___________________________________
                                                                                                          ___________________________________
                                                          ___________________________________
                                                          Date of order or assignment
                                                          ___________________________________




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 Part 4:         Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
   aggregate value of the gifts to that recipient is less than $1,000.
       ¨ None
            Recipient’s name and address               Description of the gifts or contributions   Dates given       Value
       1
9.1.        ACADEMY OF OUR LADY                        GIFT/DONATION                               8/14/2018         $1,500.00
            5501 WESTBANK EXPY
            MARRERO LA 70072
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given       Value
       1
9.2.        ACADEMY OF OUR LADY                        GIFT/DONATION                               11/27/2018        $2,000.00
            5501 WESTBANK EXPY
            MARRERO LA 70072
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given       Value
       1
9.3.        ACADEMY OF OUR LADY                        GIFT/DONATION                               12/17/2018        $3,780.69
            5501 WESTBANK EXPY
            MARRERO LA 70072
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given       Value
       1
9.4.        ACADEMY OF OUR LADY                        GIFT/DONATION                               9/30/2019         $1,500.00
            5501 WESTBANK EXPY
            MARRERO LA 70072
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given       Value
       1
9.5.        ACADEMY OF OUR LADY                        GIFT/DONATION                               12/17/2019        $1,000.00
            5501 WESTBANK EXPY
            MARRERO LA 70072
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given       Value
       1
9.6.        ARCHBISHOP CHAPELLE HIGH SCHOOL            GIFT/DONATION                               8/6/2018          $1,500.00
            8800 VETERANS MEMORIAL BLVD
            METAIRIE LA 70003
            Recipient’s relationship to debtor
            AFFILIATE




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            Recipient’s name and address               Description of the gifts or contributions     Dates given       Value

9.7.1       ARCHBISHOP CHAPELLE HIGH SCHOOL            GIFT/DONATION                                 9/19/2018         $4,724.00
            8800 VETERANS MEMORIAL BLVD
            METAIRIE LA 70003
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions     Dates given       Value

9.8.1       ARCHBISHOP CHAPELLE HIGH SCHOOL            GIFT/DONATION                                 12/3/2018         $2,500.00
            8800 VETERANS MEMORIAL BLVD
            METAIRIE LA 70003
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions     Dates given       Value

9.9.1       ARCHBISHOP CHAPELLE HIGH SCHOOL            GIFT/DONATION                                 12/17/2018        $2,000.00
            8800 VETERANS MEMORIAL BLVD
            METAIRIE LA 70003
            Recipient’s relationship to debtor
            AFFILIATE

             Recipient’s name and address                Description of the gifts or contributions   Dates given       Value

9.10.1       ARCHBISHOP CHAPELLE HIGH SCHOOL             GIFT/DONATION                               12/17/2019        $2,000.00
             8800 VETERANS MEMORIAL BLVD
             METAIRIE LA 70003
             Recipient’s relationship to debtor
             AFFILIATE

             Recipient’s name and address                Description of the gifts or contributions   Dates given       Value

9.11.1       ARCHBISHOP HANNAN HIGH SCHOOL               GIFT/DONATION                               7/2/2018          $10,187.00
             71324 LA 1077
             COVINGTON LA 70433
             Recipient’s relationship to debtor
             AFFILIATE

             Recipient’s name and address                Description of the gifts or contributions   Dates given       Value

9.12.1       ARCHBISHOP HANNAN HIGH SCHOOL               GIFT/DONATION                               12/17/2019        $6,000.00
             71324 LA 1077
             COVINGTON LA 70433
             Recipient’s relationship to debtor
             AFFILIATE

             Recipient’s name and address                Description of the gifts or contributions   Dates given       Value
        1
9.13.        ARCHBISHOP RUMMEL HIGH SCHOOL               GIFT/DONATION                               1/30/2018         $3,000.00
             1901 SEVERN AVE
             METAIRIE LA 70001
             Recipient’s relationship to debtor
             AFFILIATE




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            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.14.1      ARCHBISHOP RUMMEL HIGH SCHOOL              GIFT/DONATION                               8/6/2018         $1,500.00
            1901 SEVERN AVE
            METAIRIE LA 70001
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.15.1      ARCHBISHOP RUMMEL HIGH SCHOOL              GIFT/DONATION                               9/19/2018        $7,000.00
            1901 SEVERN AVE
            METAIRIE LA 70001
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.16.1      ARCHBISHOP RUMMEL HIGH SCHOOL              GIFT/DONATION                               10/8/2018        $2,000.00
            1901 SEVERN AVE
            METAIRIE LA 70001
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.17.1      ARCHBISHOP RUMMEL HIGH SCHOOL              GIFT/DONATION                               8/29/2019        $224,680.00
            1901 SEVERN AVE
            METAIRIE LA 70001
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.18.1      ARCHBISHOP RUMMEL HIGH SCHOOL              GIFT/DONATION                               12/17/2019       $75,000.00
            1901 SEVERN AVE
            METAIRIE LA 70001
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.19.1      ARCHBISHOP SHAW HIGH SCHOOL                GIFT/DONATION                               9/10/2018        $2,000.00
            1000 SALESIAN LN
            MARRERO LA 70072
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value
        1
9.20.       ARCHBISHOP SHAW HIGH SCHOOL                GIFT/DONATION                               10/8/2018        $5,500.00
            1000 SALESIAN LN
            MARRERO LA 70072
            Recipient’s relationship to debtor
            AFFILIATE




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.21.1    ARCHBISHOP SHAW HIGH SCHOOL                GIFT/DONATION                               11/27/2018       $4,500.00
          1000 SALESIAN LN
          MARRERO LA 70072
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.22.1    ARCHBISHOP SHAW HIGH SCHOOL                GIFT/DONATION                               12/17/2019       $15,451.91
          1000 SALESIAN LN
          MARRERO LA 70072
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.23.     ARETE SCHOLARS                             GIFT/DONATION                               8/13/2018        $200,000.00
          3615 BRASELTON HWY #203
          DACULA GA 30019
          Recipient’s relationship to debtor
          NOT FOR PROFIT

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.24.     ASCENSION OF OUR LORD                      GIFT/DONATION                               12/17/2019       $4,000.00
          1809 GREENWOOD DR
          LAPLACE LA 70068
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.25.     ASSOCIATED HEARING                         GIFT/DONATION                               1/16/2018        $5,616.87
          433 METAIRIE RD #101
          METAIRIE LA 70005
          Recipient’s relationship to debtor
          NOT FOR PROFIT

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.26.     BROTHER MARTIN HIGH SCHOOL                 GIFT/DONATION                               8/14/2018        $3,000.00
          4401 ELYSIAN FIELDS AVE
          NEW ORLEANS LA 70122
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.27.     BROTHER MARTIN HIGH SCHOOL                 GIFT/DONATION                               9/19/2018        $4,000.00
          4401 ELYSIAN FIELDS AVE
          NEW ORLEANS LA 70122
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.28.     BROTHER MARTIN HIGH SCHOOL                 GIFT/DONATION                               12/17/2018       $2,000.00
          4401 ELYSIAN FIELDS AVE
          NEW ORLEANS LA 70122
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.29.     BROTHER MARTIN HIGH SCHOOL                 GIFT/DONATION                               12/17/2019       $2,250.00
          4401 ELYSIAN FIELDS AVE
          NEW ORLEANS LA 70122
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.30.     CABRINI HIGH SCHOOL                        GIFT/DONATION                               12/17/2018       $1,500.00
          1400 MOSS ST
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.31.     CABRINI HIGH SCHOOL                        GIFT/DONATION                               8/6/2019         $5,000.00
          1400 MOSS ST
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.32.     CABRINI HIGH SCHOOL                        GIFT/DONATION                               12/17/2019       $750.00
          1400 MOSS ST
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.33.     CATHOLIC CHARITIES OF NEW ORLEANS          GIFT/DONATION                               10/1/2018        $3,570.00
          1000 HOWARD AVE
          SUITE 200
          NEW ORLEANS LA 70113
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.34.     CATHOLIC COMMUNITY FOUNDATION              GIFT/DONATION                               7/11/2019        $30,000.00
          1000 HOWARD AVE #800
          NEW ORLEANS LA 70113
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.35.     CATHOLIC COMMUNITY FOUNDATION              GIFT/DONATION                               7/30/2019        $14,353.20
          1000 HOWARD AVE #800
          NEW ORLEANS LA 70113
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.36.     CATHOLIC FOUNDATION                        GIFT/DONATION                               6/30/2018        $1,000,000.00
          1000 HOWARD AVE #800
          NEW ORLEANS LA 70113
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.37.     CATHOLIC FOUNDATION                        GIFT/DONATION                               8/14/2018        $2,000.00
          1000 HOWARD AVE #800
          NEW ORLEANS LA 70113
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.38.     CATHOLIC RADIO                             GIFT/DONATION                               4/3/2018         $3,000.00
          11924 SUNRAY AVE
          BATON ROUGE LA 70816
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.39.     CATHOLIC RURAL LIFE                        GIFT/DONATION                               12/2/2019        $250.00
          2115 SUMMIT AVE
          ST PAUL MN 55105
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.40.     CHRIST THE KING CH - BATON ROUGE           GIFT/DONATION                               7/2/2018         $10,000.00
          11 W FRATERNITY LN
          BATON ROUGE LA 70803
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.41.     CHRIST THE KING SCHOOL                     GIFT/DONATION                               10/8/2018        $4,000.00
          2106 DEERFIELD RD,
          TERRYTOWN LA 70056
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.42.     CHRISTIAN BROTHERS                         GIFT/DONATION                               11/27/2018       $2,000.00
          8 FRIEDERICHS AVE
          NEW ORLEANS LA 70124
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.43.     CONGREGATION OF THE MISSION                GIFT/DONATION                               8/28/2018        $5,000.00
          13663 RIDER TRAIL N
          EARTH CITY MO 63045
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.44.     COUNCIL OF CATHOLIC SCHOOL                 GIFT/DONATION                               8/23/2018        $215.00
          7045 ARGONNE BLVD
          NEW ORLEANS LA 70124
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.45.     DE LA SALLE HIGH SCHOOL                    GIFT/DONATION                               8/6/2018         $4,000.00
          5300 ST CHARLES AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.46.     DE LA SALLE HIGH SCHOOL                    GIFT/DONATION                               9/19/2018        $8,000.00
          5300 ST CHARLES AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.47.     DE LA SALLE HIGH SCHOOL                    GIFT/DONATION                               10/8/2018        $6,000.00
          5300 ST CHARLES AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.48.     DE LA SALLE HIGH SCHOOL                    GIFT/DONATION                               10/8/2018        $3,000.00
          5300 ST CHARLES AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.49.     DE LA SALLE HIGH SCHOOL                    GIFT/DONATION                               11/27/2018       $4,500.00
          5300 ST CHARLES AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.50.     DE LA SALLE HIGH SCHOOL                    GIFT/DONATION                               12/17/2018       $7,000.00
          5300 ST CHARLES AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.51.     DE LA SALLE HIGH SCHOOL                    GIFT/DONATION                               9/30/2019        $4,500.00
          5300 ST CHARLES AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.52.     DE LA SALLE HIGH SCHOOL                    GIFT/DONATION                               12/17/2019       $1,500.00
          5300 ST CHARLES AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.53.     DIOCESE OF PENSACOLA TALLAHASSEE           GIFT/DONATION                               12/10/2018       $110,000.00
          11 NORTH B. STREET
          PENSACOLA FL 32502
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.54.     DIOCESE OF RALEIGH                         GIFT/DONATION                               12/10/2018       $15,000.00
          7200 STONEHENGE DR,
          RALEIGH NC 27613
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.55.     DUM OX MINISTRIES                          GIFT/DONATION                               1/28/2019        $3,000.00
          316 GIROD ST
          MANDEVILLE LA 70448
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.56.     FEDERATION OF DIOCESAN LITURGICAL          GIFT/DONATION                               8/29/2019        $3,000.00
          COMMISSION
          415 MICHIGAN AVENUE, NE
          SUITE 70
          WASHINGTON DC 20017
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.57.     FOCUS MISSIONARIES                         GIFT/DONATION                               7/31/2018        $2,500.00
          603 PARK POINT DR.
          SUITE 200
          GENESEE CO 80401
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.58.     FRANCISCAN UNIVERSITY OF                   GIFT/DONATION                               2/1/2018         $1,500.00
          STUEBENVILLE
          1235 UNIVERSITY BLVD
          STEUBENVILLE OH 43952
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.59.     FRIENDS OF NOTRE DAME DE PARIS             GIFT/DONATION                               6/10/2019        $1,015.00
          12 WEST 27TH STREET
          13TH FLOOR
          NEW YORK NY 10001
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.60.     HOLY CROSS HIGH SCHOOL                     GIFT/DONATION                               8/14/2018        $1,500.00
          5500 PARIS AVE
          NEW ORLEANS LA 70122
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.61.     HOLY CROSS HIGH SCHOOL                     GIFT/DONATION                               10/8/2018        $9,000.00
          5500 PARIS AVE
          NEW ORLEANS LA 70122
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.62.     HOLY FAMILY HOSPITAL - WASHINGTON,         GIFT/DONATION                               7/16/2018        $1,000.00
          DC
          2000 P ST NW #310
          WASHINGTON DC 20036
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION


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            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.63.1      HOLY ROSARY ACADEMY                        GIFT/DONATION                               4/30/2018        $686,180.00
            2437 JENA ST
            NEW ORLEANS LA 70115
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.64.1      HOLY ROSARY ACADEMY                        GIFT/DONATION                               1/31/2019        $200,000.00
            2437 JENA ST
            NEW ORLEANS LA 70115
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.65.1      HOLY ROSARY ACADEMY                        GIFT/DONATION                               7/11/2018        $70,000.00
            2437 JENA ST
            NEW ORLEANS LA 70115
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.66.1      HOLY ROSARY ACADEMY                        GIFT/DONATION                               8/14/2018        $12,106.00
            2437 JENA ST
            NEW ORLEANS LA 70115
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.67.1      HOLY ROSARY ACADEMY                        GIFT/DONATION                               9/19/2018        $3,000.00
            2437 JENA ST
            NEW ORLEANS LA 70115
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.68.1      HOLY ROSARY ACADEMY                        GIFT/DONATION                               12/4/2018        $85,000.00
            2437 JENA ST
            NEW ORLEANS LA 70115
            Recipient’s relationship to debtor
            AFFILIATE

            Recipient’s name and address               Description of the gifts or contributions   Dates given      Value
        1
9.69.       HOLY ROSARY ACADEMY                        GIFT/DONATION                               6/30/2019        $347,720.96
            2437 JENA ST
            NEW ORLEANS LA 70115
            Recipient’s relationship to debtor
            AFFILIATE




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.70.     HOLY TRINITY LAND DRIVE CORP               GIFT/DONATION                               6/30/2018        $70,676.26
          501 HOLY TRINITY DR,
          COVINGTON LA 70433
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.71.     IMMACULATE CONCEPTION SCHOOL               GIFT/DONATION                               9/24/2018        $2,000.00
          601 AVENUE C
          MARRERO LA 70072
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.72.     INSTITUTE FOR PRIESTLY FORMATION           GIFT/DONATION                               3/13/2019        $2,000.00
          2500 CALIFORNIA PLAZA
          OMAHA NE 68178
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.73.     JESUIT HIGH SCHOOL                         GIFT/DONATION                               1/15/2019        $9,150.00
          4133 BANKS ST
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.74.     JESUIT HIGH SCHOOL                         GIFT/DONATION                               12/18/2018       $1,500.00
          4133 BANKS ST
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.75.     JESUIT HIGH SCHOOL                         GIFT/DONATION                               12/17/2019       $500.00
          4133 BANKS ST
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.76.     JESUIT VOLUNTEERS INTERNATIONAL            GIFT/DONATION                               5/10/2018        $5,000.00
          801 ST. PAUL ST
          BALTIMORE MD 21202
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.77.     KNIGHTS OF COLUMBUS - SCHOLARSHIP          GIFT/DONATION                               1/18/2019        $5,720.00
          FOR GCFFC
          PO BOX 1670/ONE COLUMBUS PLAZA
          NEW HAVEN CT 06507
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.78.     MARY QUEEN OF PEACE                        GIFT/DONATION                               9/19/2018        $1,500.00
          1501 W CAUSEWAY APPROACH
          MANDEVILLE LA 70471
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.79.     MOUNT CARMEL ACADEMY                       GIFT/DONATION                               6/18/2018        $9,100.00
          7027 MILNE BLVD
          NEW ORLEANS LA 70124
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.80.     MOUNT CARMEL ACADEMY                       GIFT/DONATION                               10/8/2018        $3,000.00
          7027 MILNE BLVD
          NEW ORLEANS LA 70124
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.81.     MOUNT CARMEL ACADEMY                       GIFT/DONATION                               10/8/2018        $3,000.00
          7027 MILNE BLVD
          NEW ORLEANS LA 70124
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.82.     MOUNT CARMEL ACADEMY                       GIFT/DONATION                               12/18/2018       $3,000.00
          7027 MILNE BLVD
          NEW ORLEANS LA 70124
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.83.     NATIONAL CATH BIOETHICS CENTER             GIFT/DONATION                               2/18/2019        $7,500.00
          6399 DREXEL RD
          PHILADELPHIA PA 19151
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.84.     NATIONAL CATHOLIC BIOETHICS CENTER         GIFT/DONATION                               4/10/2018        $5,000.00
          6399 DREXEL RD
          PHILADELPHIA PA 19151
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.85.     NATIONAL SHRINE OF ST. JOHN                GIFT/DONATION                               3/5/2018         $1,000.00
          NEUMANN
          1019 N 5TH ST
          PHILADELPHIA PA 19123
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.86.     NCHLA--DONATION                            GIFT/DONATION                               3/2/2020         $5,000.00
          PO BOX 34116
          WASHINGTON DC 20043
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.87.     NOTRE DAME SEMINARY                        GIFT/DONATION                               1/16/2018        $1,000.00
          2901 S CARROLLTON AVE
          NEW ORLEANS LA 70118
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.88.     NOTRE DAME SEMINARY                        GIFT/DONATION                               4/19/2018        $2,000.00
          2901 S CARROLLTON AVE
          NEW ORLEANS LA 70118
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.89.     NOTRE DAME SEMINARY                        GIFT/DONATION                               6/7/2018         $10,000.00
          2901 S CARROLLTON AVE
          NEW ORLEANS LA 70118
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.90.     NOTRE DAME SEMINARY                        GIFT/DONATION                               6/21/2018        $800.00
          2901 S CARROLLTON AVE
          NEW ORLEANS LA 70118
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.91.     NOTRE DAME SEMINARY                        GIFT/DONATION                               9/17/2018        $868.00
          2901 S CARROLLTON AVE
          NEW ORLEANS LA 70118
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.92.     NOTRE DAME SEMINARY                        GIFT/DONATION                               6/17/2019        $6,000.00
          2901 S CARROLLTON AVE
          NEW ORLEANS LA 70118
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.93.     OUR LADY OF LOURDES SCH - SLIDELL          GIFT/DONATION                               7/2/2018         $3,000.00
          345 WESTCHESTER PL
          SLIDELL LA 70458
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.94.     OUR LADY OF LOURDES SCHOOL -               GIFT/DONATION                               12/17/2019       $1,500.00
          SLIDELL
          345 WESTCHESTER PL
          SLIDELL LA 70458
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.95.     OUR LADY OF PERPETUAL HELP SCH -           GIFT/DONATION                               11/27/2018       $2,000.00
          BELLE CHASSE
          8968 HIGHWAY 23
          BELLE CHASSE LA 70037
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.96.     OUR LADY OF PERPETUAL HELP SCH -           GIFT/DONATION                               1/15/2019        $1,000.00
          BELLE CHASSE
          8968 HIGHWAY 23
          BELLE CHASSE LA 70037
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.97.     OUR LADY OF PERPETUAL HELP SCHOOL          GIFT/DONATION                               7/17/2018        $2,400.00
          8968 HIGHWAY 23
          BELLE CHASSE LA 70037
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.98.     OUR LADY OF PERPETUAL HELP SCHOOL          GIFT/DONATION                               8/13/2018        $2,000.00
          8968 HIGHWAY 23
          BELLE CHASSE LA 70037
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address               Description of the gifts or contributions   Dates given      Value

9.99.     OUR LADY OF PERPETUAL HELP SCHOOL          GIFT/DONATION                               12/17/2019       $1,500.00
          - BELLE CHASSE
          8968 HIGHWAY 23
          BELLE CHASSE LA 70037
          Recipient’s relationship to debtor
          AFFILIATE

           Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.100.     OUR LADY OF PERPETUAL HELP                GIFT/DONATION                               4/15/2019        $2,007.46
           SCHOOL - KENNER
           531 WILLIAMS BLVD
           KENNER LA 70062
           Recipient’s relationship to debtor
           AFFILIATE

           Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.101.     OUR LADY OF PERPETUAL HELP                GIFT/DONATION                               9/30/2019        $16,500.00
           SCHOOL - KENNER
           531 WILLIAMS BLVD
           KENNER LA 70062
           Recipient’s relationship to debtor
           AFFILIATE

           Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.102.     OUR LADY OF PERPETURAL HELP               GIFT/DONATION                               9/19/2018        $2,000.00
           531 WILLIAMS BLVD
           KENNER LA 70062
           Recipient’s relationship to debtor
           AFFILIATE

           Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.103.     OZANAM INN                                GIFT/DONATION                               4/23/2018        $500.00
           843 CAMP ST
           NEW ORLEANS LA 70130
           Recipient’s relationship to debtor
           RELIGIOUS ORGANIZATION

           Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.104.     OZANAM INN                                GIFT/DONATION                               5/28/2018        $500.00
           843 CAMP ST
           NEW ORLEANS LA 70130
           Recipient’s relationship to debtor
           RELIGIOUS ORGANIZATION




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.105.    OZANAM INN                                GIFT/DONATION                               6/25/2018        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.106.    OZANAM INN                                GIFT/DONATION                               7/23/2018        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.107.    OZANAM INN                                GIFT/DONATION                               8/27/2018        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.108.    OZANAM INN                                GIFT/DONATION                               9/24/2018        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.109.    OZANAM INN                                GIFT/DONATION                               10/22/2018       $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.110.    OZANAM INN                                GIFT/DONATION                               11/26/2018       $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.111.    OZANAM INN                                GIFT/DONATION                               12/18/2018       $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.112.    OZANAM INN                                GIFT/DONATION                               1/28/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.113.    OZANAM INN                                GIFT/DONATION                               2/25/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.114.    OZANAM INN                                GIFT/DONATION                               3/25/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.115.    OZANAM INN                                GIFT/DONATION                               4/22/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.116.    OZANAM INN                                GIFT/DONATION                               5/27/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.117.    OZANAM INN                                GIFT/DONATION                               6/24/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.118.    OZANAM INN                                GIFT/DONATION                               7/22/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.119.    OZANAM INN                                GIFT/DONATION                               8/26/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.120.    OZANAM INN                                GIFT/DONATION                               9/23/2019        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.121.    OZANAM INN                                GIFT/DONATION                               11/25/2019       $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.122.    OZANAM INN                                GIFT/DONATION                               12/23/2019       $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.123.    OZANAM INN                                GIFT/DONATION                               1/27/2020        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.124.    OZANAM INN                                GIFT/DONATION                               2/24/2020        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.125.    OZANAM INN                                GIFT/DONATION                               3/23/2020        $500.00
          843 CAMP ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.126.1   POPE JOHN PAUL II HIGH SCHOOL             GIFT/DONATION                               3/31/2020        $3,791.70
          1901 JAGUAR DR
          SLIDELL LA 70461
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.127.    PROJECT LAZARUS                           GIFT/DONATION                               4/30/2018        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.128.    PROJECT LAZARUS                           GIFT/DONATION                               5/31/2018        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.129.    PROJECT LAZARUS                           GIFT/DONATION                               6/30/2018        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.130.    PROJECT LAZARUS                           GIFT/DONATION                               7/31/2018        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.131.    PROJECT LAZARUS                           GIFT/DONATION                               8/31/2018        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.132.    PROJECT LAZARUS                           GIFT/DONATION                               9/30/2018        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.133.    PROJECT LAZARUS                           GIFT/DONATION                               10/31/2018       $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.134.    PROJECT LAZARUS                           GIFT/DONATION                               11/30/2018       $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.135.    PROJECT LAZARUS                           GIFT/DONATION                               12/31/2018       $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.136.    PROJECT LAZARUS                           GIFT/DONATION                               1/31/2019        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.137.    PROJECT LAZARUS                           GIFT/DONATION                               2/28/2019        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.138.    PROJECT LAZARUS                           GIFT/DONATION                               3/31/2019        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.139.    PROJECT LAZARUS                           GIFT/DONATION                               4/30/2019        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.140.    PROJECT LAZARUS                           GIFT/DONATION                               5/31/2019        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.141.    PROJECT LAZARUS                           GIFT/DONATION                               6/30/2019        $4,166.67
          2824 DAUPHINE ST
          NEW ORLEANS LA 70117
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.142.    ROMAN CATHOLIC ARCHDIOCESE OF             GIFT/DONATION                               10/15/2019       $120,000.00
          NASSAU FOUNDATION INC
          110 MERRICK WAY NO 3-B
          CORAL GABLES FL 33134
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.143.    ROMAN CATHOLIC ARCHDIOCESE OF             GIFT/DONATION                               12/17/2019       $9,710.77
          NASSAU FOUNDATION INC
          110 MERRICK WAY NO 3-B
          CORAL GABLES FL 33134
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.144.    ST JOSEPH CHURCH                          GIFT/DONATION                               4/29/2019        $2,000.00
          1802 TULANE AVE
          NEW ORLEANS LA 70112
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.145.    ST TAMMANY CATHOLIC CEMETERY              GIFT/DONATION                               6/30/2018        $67,841.07
          7887 WALMSLEY AVE
          NEW ORLEANS LA 70125
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.146.    ST. ANDREW THE APOSTLE SCHOOL             GIFT/DONATION                               8/13/2018        $2,000.00
          3131 ETON ST
          NEW ORLEANS LA 70131
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.147.    ST. ANDREW THE APOSTLE SCHOOL             GIFT/DONATION                               11/27/2018       $1,000.00
          3131 ETON ST
          NEW ORLEANS LA 70131
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.148.    ST. ANDREW THE APOSTLE SCHOOL             GIFT/DONATION                               12/18/2018       $2,640.46
          3131 ETON ST
          NEW ORLEANS LA 70131
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.149.    ST. ANDREW THE APOSTLE SCHOOL             GIFT/DONATION                               12/17/2019       $1,500.00
          3131 ETON ST
          NEW ORLEANS LA 70131
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.150.    ST. ANGELA MERICI SCHOOL                  GIFT/DONATION                               8/14/2018        $1,500.00
          835 MELODY DR
          METAIRIE LA 70002
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.151.    ST. ANGELA MERICI SCHOOL                  GIFT/DONATION                               11/27/2018       $2,000.00
          835 MELODY DR
          METAIRIE LA 70002
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.152.    ST. ANGELA MERICI SCHOOL                  GIFT/DONATION                               12/18/2018       $4,000.00
          835 MELODY DR
          METAIRIE LA 70002
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.153.    ST. ANGELA MERICI SCHOOL                  GIFT/DONATION                               12/17/2019       $6,000.00
          835 MELODY DR
          METAIRIE LA 70002
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.154.    ST. ANN SCHOOL                            GIFT/DONATION                               11/27/2018       $1,000.00
          4921 MEADOWDALE ST
          METAIRIE LA 70006
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.155.    ST. ANTHONY SCHOOL                        GIFT/DONATION                               6/3/2019         $4,565.00
          900 FRANKLIN ST
          GRETNA LA 70053
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.156.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               4/10/2018        $3,000.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.157.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               7/23/2018        $1,500.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.158.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               8/6/2018         $3,000.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.159.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               8/14/2018        $7,500.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.160.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               9/24/2018        $7,500.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.161.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               11/27/2018       $8,500.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.162.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               11/27/2018       $3,000.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.163.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               11/27/2018       $6,500.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.164.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               12/18/2018       $6,000.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.165.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               5/14/2019        $3,700.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.166.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               9/30/2019        $1,500.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.167.    ST. AUGUSTINE HIGH SCHOOL                 GIFT/DONATION                               12/17/2019       $12,100.00
          2600 A P TUREAUD AVE
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.168.    ST. BENILDE SCHOOL                        GIFT/DONATION                               7/2/2018         $6,000.00
          1803 DIVISION STREET
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.169.    ST. BENILDE SCHOOL                        GIFT/DONATION                               6/24/2019        $5,000.00
          1803 DIVISION STREET
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.170.    ST. BENILDE SCHOOL                        GIFT/DONATION                               9/18/2018        $69,000.00
          1803 DIVISION STREET
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.171.    ST. BENILDE SCHOOL                        GIFT/DONATION                               12/18/2018       $3,500.00
          1803 DIVISION STREET
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.172.    ST. BENILDE SCHOOL                        GIFT/DONATION                               5/14/2019        $1,500.00
          1803 DIVISION STREET
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.173.    ST. BENILDE SCHOOL                        GIFT/DONATION                               11/21/2019       $4,971.44
          1803 DIVISION STREET
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.174.    ST. BRYCE MISSION                         GIFT/DONATION                               12/11/2018       $2,000.00
          PO BOX 374
          LYDIA LA 70569
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.175.    ST. CHARLES BORROMEO SCHOOL               GIFT/DONATION                               8/14/2018        $1,000.00
          13396 RIVER RD,
          DESTREHAN LA 70047
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.176.1   ST. CHARLES CATHOLIC HIGH SCHOOL          GIFT/DONATION                               5/7/2018         $3,030.30
          100 DOMINICAN RD
          LAPLACE LA 70068
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.177.1   ST. CHARLES CATHOLIC HIGH SCHOOL          GIFT/DONATION                               8/14/2018        $6,000.00
          100 DOMINICAN RD
          LAPLACE LA 70068
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.178.1   ST. CHARLES CATHOLIC HIGH SCHOOL          GIFT/DONATION                               8/20/2019        $100,000.00
          100 DOMINICAN RD
          LAPLACE LA 70068
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.179.1   ST. CHARLES CATHOLIC HIGH SCHOOL          GIFT/DONATION                               12/17/2019       $9,000.00
          100 DOMINICAN RD
          LAPLACE LA 70068
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.180.    ST. CHRISTOPHER SCHOOL                    GIFT/DONATION                               12/17/2019       $2,800.00
          3900 DERBIGNY ST,
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.181.    ST. DOMINIC SCHOOL                        GIFT/DONATION                               11/27/2018       $2,000.00
          6326 MEMPHIS ST
          NEW ORLEANS LA 70124
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.182.    ST. EDWARD SCHOOL                         GIFT/DONATION                               12/17/2019       $2,800.00
          4901 W METAIRIE AVE
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.183.    ST. EDWARD SCHOOL                         GIFT/DONATION                               10/8/2018        $3,000.00
          4901 W METAIRIE AVE
          METAIRIE LA 70001
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.184.    ST. FRANCIS XAVIER SCHOOL                 GIFT/DONATION                               1/28/2019        $2,500.00
          215 BETZ PL
          METAIRIE LA 70005
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.185.    ST. FRANCIS XAVIER SCHOOL                 GIFT/DONATION                               6/24/2019        $2,000.00
          215 BETZ PL
          METAIRIE LA 70005
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.186.    ST. JOAN OF ARC SCHOOL                    GIFT/DONATION                               11/27/2018       $3,446.00
          919 CAMBRONNE ST
          NEW ORLEANS LA 70118
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.187.    ST. JOHN PAUL II FOUNDATION               GIFT/DONATION                               12/10/2018       $10,000.00
          7730 WESTVIEW DR
          HOUSTON TX 77055
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.188.    ST. JOSEPH ABBEY                          GIFT/DONATION                               9/24/2018        $25,000.00
          75376 RIVER RD,
          ST BENEDICT LA 70457
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.189.    ST. JOSEPH CHURCH - NO                    GIFT/DONATION                               2/20/2018        $1,000.00
          1802 TULANE AVE
          NEW ORLEANS LA 70112
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.190.    ST. JOSEPH CHURCH - NO                    GIFT/DONATION                               5/10/2018        $1,000.00
          1802 TULANE AVE
          NEW ORLEANS LA 70112
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.191.    ST. KATHARINE DREXEL PREP                 GIFT/DONATION                               12/12/2019       $21,260.00
          2015 LOUISIANA AVE
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.192.    ST. KATHARINE DREXEL PREP                 GIFT/DONATION                               9/24/2018        $10,000.00
          5116 MAGAZINE ST,
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.193.    ST. KATHARINE DREXEL PREP                 GIFT/DONATION                               9/24/2018        $8,500.00
          5116 MAGAZINE ST,
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.194.    ST. KATHARINE DREXEL PREP                 GIFT/DONATION                               10/8/2018        $5,000.00
          5116 MAGAZINE ST,
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.195.    ST. KATHARINE DREXEL PREP                 GIFT/DONATION                               11/27/2018       $3,500.00
          5116 MAGAZINE ST,
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.196.    ST. KATHARINE DREXEL PREP                 GIFT/DONATION                               12/3/2018        $9,000.00
          5116 MAGAZINE ST,
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.197.    ST. KATHARINE DREXEL PREP                 GIFT/DONATION                               5/14/2019        $15,000.00
          5116 MAGAZINE ST,
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.198.    ST. LEO THE GREAT SCHOOL                  GIFT/DONATION                               12/18/2018       $1,000.00
          1501 ABUNDANCE ST
          NEW ORLEANS LA 70119
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.199.    ST. MARGARET MARY                         GIFT/DONATION                               11/21/2019       $5,115.00
          1050-A ROBERT BLVD
          SLIEDLL LA 70458
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.200.    ST. MARGARET MARY SCHOOL                  GIFT/DONATION                               8/6/2018         $1,854.00
          1050-A ROBERT BLVD
          SLIDELL LA 70458
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.201.    ST. MARY'S ACADEMY                        GIFT/DONATION                               8/6/2018         $2,000.00
          6905 CHEF MENTEUR HWY
          NEW ORLEANS LA 70126
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.202.    ST. MARY'S ACADEMY                        GIFT/DONATION                               8/14/2018        $6,217.00
          6905 CHEF MENTEUR HWY
          NEW ORLEANS LA 70126
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.203.    ST. MARY'S ACADEMY                        GIFT/DONATION                               9/24/2018        $3,000.00
          6905 CHEF MENTEUR HWY
          NEW ORLEANS LA 70126
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.204.    ST. MARY'S ACADEMY                        GIFT/DONATION                               9/24/2018        $12,000.00
          6905 CHEF MENTEUR HWY
          NEW ORLEANS LA 70126
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.205.    ST. MARY'S ACADEMY                        GIFT/DONATION                               12/18/2018       $2,500.00
          6905 CHEF MENTEUR HWY
          NEW ORLEANS LA 70126
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.206.    ST. MARY'S ACADEMY                        GIFT/DONATION                               12/17/2019       $54,800.00
          6905 CHEF MENTEUR HWY
          NEW ORLEANS LA 70126
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.207.    ST. MARY'S DOMINICAN HIGH SCHOOL          GIFT/DONATION                               9/24/2018        $1,500.00
          7701 WALMSLEY AVE
          NEW ORLEANS LA 70125
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.208.    ST. MARY'S DOMINICAN HIGH SCHOOL          GIFT/DONATION                               10/8/2018        $3,000.00
          7701 WALMSLEY AVE
          NEW ORLEANS LA 70125
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.209.    ST. MARY'S DOMINICAN HIGH SCHOOL          GIFT/DONATION                               12/18/2018       $4,000.00
          7701 WALMSLEY AVE
          NEW ORLEANS LA 70125
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.210.    ST. MARY'S DOMINICAN HIGH SCHOOL          GIFT/DONATION                               12/17/2019       $6,000.00
          7701 WALMSLEY AVE
          NEW ORLEANS LA 70125
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.211.    ST. MICHAEL SPECIAL SCHOOL                GIFT/DONATION                               2/25/2019        $23,300.00
          1522 CHIPPEWA ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.212.    ST. MICHAEL SPECIAL SCHOOL                GIFT/DONATION                               9/30/2019        $1,250.00
          1522 CHIPPEWA ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.213.    ST. MICHAEL SPECIAL SCHOOL                GIFT/DONATION                               10/8/2019        $4,094.00
          1522 CHIPPEWA ST
          NEW ORLEANS LA 70130
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.214.    ST. PAUL'S SCHOOL                         GIFT/DONATION                               8/14/2018        $4,500.00
          917 S JAHNCKE AVE
          COVINGTON LA 70433
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.215.    ST. PETER CLAVER SCHOOL                   GIFT/DONATION                               10/8/2018        $1,000.00
          1020 N PRIEUR ST
          NEW ORLEANS LA 70116
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.216.    ST. PETER CLAVER SCHOOL                   GIFT/DONATION                               11/27/2018       $1,400.00
          130 E TEMPERANCE ST,
          COCINGTON LA 70433
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.217.    ST. PIUS X SCHOOL                         GIFT/DONATION                               10/8/2018        $2,000.00
          6600 SPANISH FORT BLVD
          NEW ORLEANS LA 70124
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.218.    ST. RITA SCHOOL - HARAHAN                 GIFT/DONATION                               8/6/2018         $3,000.00
          194 RAVAN AVE
          HARAHAN LA 70123
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.219.    ST. RITA SCHOOL - HARAHAN                 GIFT/DONATION                               8/14/2018        $1,000.00
          194 RAVAN AVE
          HARAHAN LA 70123
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.220.    ST. RITA SCHOOL - HARAHAN                 GIFT/DONATION                               11/27/2018       $3,000.00
          194 RAVAN AVE
          HARAHAN LA 70123
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.221.    ST. RITA SCHOOL - HARAHAN                 GIFT/DONATION                               5/30/2019        $5,600.00
          194 RAVAN AVE
          HARAHAN LA 70123
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.222.    ST. RITA SCHOOL - HARAHAN                 GIFT/DONATION                               2/3/2020         $6,115.00
          194 RAVAN AVE
          HARAHAN LA 70123
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.223.    ST. ROSALIE SCHOOL                        GIFT/DONATION                               8/14/2018        $4,000.00
          608 1ST AVE,
          HARVEY LA 70058
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.224.    ST. STEPHEN SCHOOL                        GIFT/DONATION                               9/24/2018        $1,000.00
          1027 NAPOLEON AVE.
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.225.    ST. STEPHEN SCHOOL                        GIFT/DONATION                               9/30/2019        $10,500.00
          1027 NAPOLEON AVE.
          NEW ORLEANS LA 70115
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.226.    ST. THERESE ACADEMY                       GIFT/DONATION                               8/6/2019         $10,246.00
          917 N. ATLANTA ST
          METAIRIE LA 70003
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.227.    ST. THERESE ACADEMY                       GIFT/DONATION                               8/6/2019         $12,405.00
          917 N. ATLANTA ST
          METAIRIE LA 70003
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.228.    ST. THERESE ACADEMY                       GIFT/DONATION                               8/6/2019         $14,505.00
          917 N. ATLANTA ST
          METAIRIE LA 70003
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.229.    ST. THERESE ACADEMY                       GIFT/DONATION                               8/6/2019         $12,700.00
          917 N. ATLANTA ST
          METAIRIE LA 70003
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.230.    ST. THERESE ACADEMY                       GIFT/DONATION                               9/30/2019        $15,730.00
          917 N. ATLANTA ST
          METAIRIE LA 70003
          Recipient’s relationship to debtor
          AFFILIATE




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.231.    ST. THERESE ACADEMY                       GIFT/DONATION                               12/17/2019       $3,000.00
          917 N. ATLANTA ST
          METAIRIE LA 70003
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.232.    ST. THERESE ACADEMY                       GIFT/DONATION                               1/13/2020        $5,215.00
          917 N. ATLANTA ST
          METAIRIE LA 70003
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.233.    THE HOLY ROOD GUILD                       GIFT/DONATION                               11/8/2018        $5,467.00
          167 N SPENCER RD
          SPENCER MA 01562
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.234.    THE HOLY ROOD GUILD - SPENCER             GIFT/DONATION                               11/11/2019       $5,752.00
          167 N SPENCER RD
          SPENCER MA 01562
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.235.    THE HOLY ROOD GUILD - SPENCER             GIFT/DONATION                               12/18/2019       $859.00
          167 N SPENCER RD
          SPENCER MA 01562
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.236.    THE HOLY ROOD GUILD - SPENCER             GIFT/DONATION                               12/18/2019       $827.00
          167 N SPENCER RD
          SPENCER MA 01562
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.237.    UNIVERSITY OF HOLY CROSS                  GIFT/DONATION                               11/6/2018        $8,500.00
          4123 WOODLAND DR
          NEW ORELANS LA 70131
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION




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          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.238.    URSULINE ACADEMY                          GIFT/DONATION                               8/14/2018        $1,500.00
          2635 STATE ST
          NEW ORELANS LA 70118
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.239.    URSULINE ACADEMY                          GIFT/DONATION                               10/8/2018        $2,000.00
          2635 STATE ST
          NEW ORELANS LA 70118
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.240.    URSULINE ACADEMY                          GIFT/DONATION                               11/27/2018       $1,500.00
          2635 STATE ST
          NEW ORELANS LA 70118
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.241.    URSULINE ACADEMY                          GIFT/DONATION                               12/18/2018       $3,000.00
          2635 STATE ST
          NEW ORELANS LA 70118
          Recipient’s relationship to debtor
          RELIGIOUS ORGANIZATION

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.242.    VISITATION OF OUR LADY SCHOOL             GIFT/DONATION                               8/7/2018         $11,185.00
          3520 AMES BLVD,
          MARRERO LA 70072
          Recipient’s relationship to debtor
          AFFILIATE

          Recipient’s name and address              Description of the gifts or contributions   Dates given      Value

9.243.    WLAE TV                                   GIFT/DONATION                               6/27/2019        $1,000.00
          3900 HOWARD AVE.
          NEW ORELANS LA 70125
          Recipient’s relationship to debtor
          NOT FOR PROFIT


1
    INTRA-DEBTOR CONTRIBUTION




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 Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
    ¨ None
          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.1.     1000 HOWARD AVENUE BUILDING                $122,069.41                                       6/19/2019         $132,777.41
          AUTO - COLLISION                           Type of payment: INSURANCE

          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.2.     1000 HOWARD AVENUE BUILDING                $0.00                                             7/14/2019         UNDETERMINED
          OFF & DIR - LBI                            Type of payment: INSURANCE

          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.3.     ACADEMY OF OUR LADY                        $0.00                                             10/7/2019         UNDETERMINED
          STRUCK STATIONARY OBJECT - WMP             Type of payment: INSURANCE

          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.4.     ADMINISTRATION BUILDING                    $0.00                                             5/7/2019          $150,001.14
          AUTO - PROPERTY DAMAGE                     Type of payment: INSURANCE




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          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.5.     ADMINISTRATION BUILDING                    $215.73                                           5/13/2019         $215.73
          AUTO - TOWING                              Type of payment: INSURANCE

          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.6.     ADMINISTRATION BUILDING                    $0.00                                             8/19/2019         $5,257.08
          PERSONAL INJURY - LBI                      Type of payment: INSURANCE

          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.7.     ADMINISTRATION BUILDING                    $0.00                                             9/2/2019          $9,500.00
          EPLP-TERMINATION - LBI                     Type of payment: INSURANCE

          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.8.     ADMINISTRATION BUILDING                    $0.00                                             10/1/2019         $50,000.00
          FELL TO FLOOR OR GROUND - WMP              Type of payment: INSURANCE

          Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
          the loss occurred                                                                                              lost
                                                     If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106A/B
                                                     (Schedule A/B: Assets – Real and Personal
                                                     Property).
10.9.     ADMINISTRATION BUILDING                    $0.00                                             12/12/2019        $225.00
          WIND                                       Type of payment: INSURANCE




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         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.10.   ANO RETREAT CENTER                         $0.00                                              2/26/2020         $12,347.00
         DAMAGE BY VEHICLE                          Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.11.   ARCHBISHOP CHAPELLE HIGH SCH               $893.40                                            6/27/2019         $893.40
         BOILER - OTHER                             Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.12.   ARCHBISHOP CHAPELLE HIGH SCH               $0.00                                              8/22/2019         UNDETERMINED
         P.D. FROM PSH ORIENTED OPR-LPD             Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.13.   ARCHBISHOP CHAPELLE HIGH SCH               $8,183.30                                          1/17/2020         $20,702.30
         WIND                                       Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.14.   ARCHBISHOP CHAPELLE HIGH SCH               $68.00                                             2/13/2020         $68.00
         WIND                                       Type of payment: INSURANCE




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         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.15.   ARCHBISHOP HANNAN HIGH SCHOOL              $2,561.13                                          9/27/2019         $2,561.13
         FELL ONTO OR AGAINST OBJ. -WMP             Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.16.   ARCHBISHOP HANNAN HIGH SCHOOL              $0.00                                              12/2/2019         $30,000.00
         WATER DAMAGE                               Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.17.   ARCHBISHOP RUMMEL HIGH SCHOOL              $0.00                                              10/26/2019        UNDETERMINED
         PULLING OR PUSHING OBJECT -WMP             Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.18.   ARCHBISHOP RUMMEL HIGH SCHOOL              $4,196.36                                          10/26/2019        $4,233.36
         SPLINTER-GLASS/METAL/WOOD- WMP             Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.19.   ARCHBISHOP RUMMEL HIGH SCHOOL              $1,011.00                                          11/1/2019         $1,011.00
         ELBOW INJURY/FALL – WMP                    Type of payment: INSURANCE




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         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.20.   ARCHBISHOP SHAW HIGH SCHOOL                $1,088.84                                          8/5/2019          $1,125.84
         OTHER - LBI                                Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.21.   ARCHBISHOP SHAW HIGH SCHOOL                $1,578.45                                          9/14/2019         $1,615.45
         REPETITIVE TRAUMA/CARPAL                   Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.22.   ARCHBISHOP SHAW HIGH SCHOOL                $232.00                                            9/17/2019         $457.00
         FELL ONTO OR AGAINST OBJ. -WMP             Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.23.   ARCHBISHOPS RESIDENCE                      $0.00                                              9/16/2019         UNDETERMINED
         STRUCK BY VEHICLE - WMP                    Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.24.   CAMP ABBEY                                 $1,027.87                                          5/30/2019         $1,027.87
         COMP - VANDALISM                           Type of payment: INSURANCE




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         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.25.   CAMP ABBEY                                 $30,410.98                                         6/22/2019         $30,410.98
         POWER SURGE                                Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.26.   CAMP ABBEY                                 $0.00                                              10/26/2019        UNDETERMINED
         FELL TO FLOOR OR GROUND - WMP              Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.27.   CAMP ABBEY                                 $0.00                                              2/3/2020          UNDETERMINED
         WIND                                       Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.28.   POPE JOHN PAUL II HIGH SCHOOL              $0.00                                              1/17/2020         UNDETERMINED
         DAMAGE BY VEHICLE                          Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.29.   ST SCHOLASTICA HIGH SCHOOL                 $1,287.00                                          6/6/2019          $1,287.00
         AUTO - COLLISION                           Type of payment: INSURANCE




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         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.30.   ST SCHOLASTICA HIGH SCHOOL                 $3,496.66                                          10/8/2019         $3,496.66
         FELL FROM LADDER - WMP                     Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.31.   ST SCHOLASTICA HIGH SCHOOL                 $0.00                                              10/26/2019        UNDETERMINED
         OTHER - WMP                                Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.32.   ST SCHOLASTICA HIGH SCHOOL                 $0.00                                              2/6/2020          UNDETERMINED
         WATER DAMAGE                               Type of payment: INSURANCE

         Description of the property lost and how   Amount of payments received for the loss           Date of loss      Value of property
         the loss occurred                                                                                               lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance,
                                                    government compensation, or tort liability, list
                                                    the total received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.33.   STELLA MARIS MARITIME CENTER               $50.00                                             5/18/2019         $50.00
         COLL - HIT IMMOVABLE OBJECT                Type of payment: INSURANCE




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 Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
    the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
    seeking bankruptcy relief, or filing a bankruptcy case.

    ¨ None
          Who was paid or who received the                If not money, describe any property               Dates                 Total amount or
          transfer?                                       transferred                                                             value

11.1.     CARR, RIGGS & INGRAM, LLC                       _____________________________________             3/24/2020             $25,000.00
          Address
          111 VERTERANS BOULEVARD
          SUITE 350
          METAIRIE LA 70005
          Email or website address
          WWW.CRICPA.COM
          Who made the payment, if not debtor?
          _____________________________________

          Who was paid or who received the                If not money, describe any property               Dates                 Total amount or
          transfer?                                       transferred                                                             value

11.2.     CARR, RIGGS & INGRAM, LLC                       _____________________________________             4/22/2020             $24,215.00
          Address
          111 VERTERANS BOULEVARD
          SUITE 350
          METAIRIE LA 70005
          Email or website address
          WWW.CRICPA.COM
          Who made the payment, if not debtor?
          _____________________________________

          Who was paid or who received the                If not money, describe any property               Dates                 Total amount or
          transfer?                                       transferred                                                             value

11.3.     DONLIN RECANO & COMPANY, INC.                   _____________________________________             3/10/2020             $30,000.00
          Address
          6201 15TH AVE.
          BROOKLYN NY 11219
          Email or website address
          WWW.DONLINRECANO.COM
          Who made the payment, if not debtor?
          JONES WALKER, LLP




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          Who was paid or who received the          If not money, describe any property       Dates               Total amount or
          transfer?                                 transferred                                                   value

11.4.     DONLIN RECANO & COMPANY, INC.             _____________________________________     4/23/2020           $27,035.59
          Address
          6201 15TH AVE.
          BROOKLYN NY 11219
          Email or website address
          WWW.DONLINRECANO.COM
          Who made the payment, if not debtor?
          _____________________________________

          Who was paid or who received the          If not money, describe any property       Dates               Total amount or
          transfer?                                 transferred                                                   value

11.5.     JONES WALKER, LLP                         _____________________________________     3/24/2020           $513.00
          Address
          201 ST. CHARLES AVE.
          SUITE 5100
          NEW ORLEANS LA 70170
          Email or website address
          WWW.JONESWALKER.COM
          Who made the payment, if not debtor?
          _____________________________________

          Who was paid or who received the          If not money, describe any property       Dates               Total amount or
          transfer?                                 transferred                                                   value

11.6.     JONES WALKER, LLP                         _____________________________________     3/24/2020           $2,100.00
          Address
          201 ST. CHARLES AVE.
          SUITE 5100
          NEW ORLEANS LA 70170
          Email or website address
          WWW.JONESWALKER.COM
          Who made the payment, if not debtor?
          _____________________________________

          Who was paid or who received the          If not money, describe any property       Dates               Total amount or
          transfer?                                 transferred                                                   value

11.7.     JONES WALKER, LLP                         _____________________________________     3/24/2020           $54,370.00
          Address
          201 ST. CHARLES AVE.
          SUITE 5100
          NEW ORLEANS LA 70170
          Email or website address
          WWW.JONESWALKER.COM
          Who made the payment, if not debtor?
          _____________________________________




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          Who was paid or who received the          If not money, describe any property       Dates               Total amount or
          transfer?                                 transferred                                                   value

11.8.     JONES WALKER, LLP                         _____________________________________     3/31/2020           $51,675.10
          Address
          202 ST. CHARLES AVE.
          SUITE 5100
          NEW ORLEANS LA 70170
          Email or website address
          WWW.JONESWALKER.COM
          Who made the payment, if not debtor?
          _____________________________________

          Who was paid or who received the          If not money, describe any property       Dates               Total amount or
          transfer?                                 transferred                                                   value

11.9.     JONES WALKER, LLP                         _____________________________________     4/6/2020            $49,467.95
          Address
          201 ST. CHARLES AVE.
          SUITE 5100
          NEW ORLEANS LA 70170
          Email or website address
          WWW.JONESWALKER.COM
          Who made the payment, if not debtor?
          _____________________________________

           Who was paid or who received the          If not money, describe any property      Dates               Total amount or
           transfer?                                 transferred                                                  value

11.10.     JONES WALKER, LLP                         ____________________________________     4/14/2020           $300.00
           Address
           201 ST. CHARLES AVE.
           SUITE 5100
           NEW ORLEANS LA 70170
           Email or website address
           WWW.JONESWALKER.COM
           Who made the payment, if not debtor?
           ____________________________________

           Who was paid or who received the          If not money, describe any property      Dates               Total amount or
           transfer?                                 transferred                                                  value

11.11.     JONES WALKER, LLP                         ____________________________________     4/14/2020           $44,845.00
           Address
           201 ST. CHARLES AVE.
           SUITE 5100
           NEW ORLEANS LA 70170
           Email or website address
           WWW.JONESWALKER.COM
           Who made the payment, if not debtor?
           ____________________________________




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         Who was paid or who received the          If not money, describe any property      Dates               Total amount or
         transfer?                                 transferred                                                  value

11.12.   JONES WALKER, LLP                         ____________________________________     4/21/2020           $4,078.95
         Address
         201 ST. CHARLES AVE.
         SUITE 5100
         NEW ORLEANS LA 70170
         Email or website address
         WWW.JONESWALKER.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property      Dates               Total amount or
         transfer?                                 transferred                                                  value

11.13.   JONES WALKER, LLP                         ____________________________________     4/21/2020           $103,893.10
         Address
         201 ST. CHARLES AVE.
         SUITE 5100
         NEW ORLEANS LA 70170
         Email or website address
         WWW.JONESWALKER.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property      Dates               Total amount or
         transfer?                                 transferred                                                  value

11.14.   JONES WALKER, LLP                         ____________________________________     4/28/2020           $32,889.50
         Address
         201 ST. CHARLES AVE.
         SUITE 5100
         NEW ORLEANS LA 70170
         Email or website address
         WWW.JONESWALKER.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property      Dates               Total amount or
         transfer?                                 transferred                                                  value

11.15.   JONES WALKER, LLP                         ____________________________________     4/28/2020           $104,004.80
         Address
         201 ST. CHARLES AVE.
         SUITE 5100
         NEW ORLEANS LA 70170
         Email or website address
         WWW.JONESWALKER.COM
         Who made the payment, if not debtor?
         ____________________________________




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         Who was paid or who received the          If not money, describe any property      Dates               Total amount or
         transfer?                                 transferred                                                  value

11.16.   THE EHRHARDT GROUP                        ____________________________________     3/23/2020           $10,000.00
         Address
         1100 POYDRAS ST.
         SUITE 1325
         NEW ORLEANS LA 70163
         Email or website address
         HTTPS://TEGPR.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property      Dates               Total amount or
         transfer?                                 transferred                                                  value

11.17.   THE EHRHARDT GROUP                        ____________________________________     3/31/2020           $10,000.00
         Address
         1100 POYDRAS ST.
         SUITE 1325
         NEW ORLEANS LA 70163
         Email or website address
         HTTPS://TEGPR.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property      Dates               Total amount or
         transfer?                                 transferred                                                  value

11.18.   THE EHRHARDT GROUP                        ____________________________________     4/29/2020           $4,500.00
         Address
         1100 POYDRAS ST.
         SUITE 1325
         NEW ORLEANS LA 70163
         Email or website address
         HTTPS://TEGPR.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property      Dates               Total amount or
         transfer?                                 transferred                                                  value

11.19.   THE EHRHARDT GROUP                        ____________________________________     4/30/2020           $40,000.00
         Address
         1100 POYDRAS ST.
         SUITE 1325
         NEW ORLEANS LA 70163
         Email or website address
         HTTPS://TEGPR.COM
         Who made the payment, if not debtor?
         ____________________________________




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           Who was paid or who received the               If not money, describe any property               Dates                Total amount or
           transfer?                                      transferred                                                            value

11.20.     THE MCENERY COMPANY                            ____________________________________              3/31/2020            $12,500.00
           Address
           810 UNION ST.
           NEW ORLEANS LA 70112
           Email or website address
           WWW.MCENERYCO.COM
           Who made the payment, if not debtor?
           ____________________________________

           Who was paid or who received the               If not money, describe any property               Dates                Total amount or
           transfer?                                      transferred                                                            value

11.21.     THE MCENERY COMPANY                            ____________________________________              4/17/2020            $7,475.00
           Address
           810 UNION ST.
           NEW ORLEANS LA 70112
           Email or website address
           WWW.MCENERYCO.COM
           Who made the payment, if not debtor?
           ____________________________________

           Who was paid or who received the               If not money, describe any property               Dates                Total amount or
           transfer?                                      transferred                                                            value

11.22.     THE MCENERY COMPANY                            ____________________________________              4/25/2020            $26,500.00
           Address
           810 UNION ST.
           NEW ORLEANS LA 70112
           Email or website address
           WWW.MCENERYCO.COM
           Who made the payment, if not debtor?
           ____________________________________




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
    this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

    þ None
          Name of trust or device                         Describe any property transferred                 Dates transfers      Total amount or
                                                                                                            were made            value

12.1.     _____________________________________           _____________________________________             _______________ $_____________
          Trustee
          _____________________________________
          _____________________________________
          _____________________________________
          _____________________________________


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13. Transfers not already listed on this statement
    List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

    ¨ None
          Who received transfer?                          Description of property transferred or             Date transfer        Total amount or
                                                          payments received or debts paid in                 was made             value
                                                          exchange

13.1.     HOLY TRINITY LAND DRIVE                         501(C ) 3, TYPE 1 SUPPORTING                       6/15/2018            $2,548,560.00
          CORPORATION                                     ORGANIZATION OF THE ARCHDIOCESE -
                                                          ARCHBISHOP IS PRESIDENT OF
          Address                                         CORPORATION.

          7887 WALMSLEY AVENUE
          NEW ORLEANS LA
          70125
          Relationship to debtor
          _____________________________________

          Who received transfer?                          Description of property transferred or             Date transfer        Total amount or
                                                          payments received or debts paid in                 was made             value
                                                          exchange

13.2.     ST. TAMMANY CATHOLIC CEMETARY                   501(C ) 3, TYPE 1 SUPPORTING                       3/12/2018            $4,982,648.00
                                                          ORGANIZATION OF THE ARCHDIOCESE -
          Address                                         ARCHBISHOP IS PRESIDENT OF
                                                          CORPORATION.
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA
          70125
          Relationship to debtor
          _____________________________________




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 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    þ Does not apply
          Address                                                                                  Dates of occupancy

14.1.     ____________________________________________________________________                     From ______________ To ______________
          ____________________________________________________________________
          ____________________________________________________________________
          ____________________________________________________________________




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 Part 8:     Healthcare Bankruptcies

15. Healthcare bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    — diagnosing or treating injury, deformity, or disease, or
    — providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ No. Go to Part 9.
    ¨ Yes. Fill in the information below.
          Facility name and address                Nature of the business operation, including type of             If debtor provides meals and
                                                   services the debtor provides                                    housing, number of patients
                                                                                                                   in debtor’s care

15.1.     _______________________________          _______________________________________________                 __________________________
          _______________________________
          _______________________________          Location where patient records are maintained (if               How are records kept?
          _______________________________          different from facility address). If electronic, identify any
                                                   service provider                                                Check all that apply:

                                                   _______________________________________________                 ¨ Electronically
                                                   _______________________________________________
                                                   _______________________________________________
                                                                                                                   ¨ Paper
                                                   _______________________________________________




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 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
    ¨ No
    þ Yes. State the nature of the information collected and retained. NAME, ADDRESS, E-MAIL, PHONE/FAX
             Does the debtor have a privacy policy about that information?

             ¨ No
             þ Yes


17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b)
    or other pension or profit-sharing plan made available by the debtor as an employee benefit?
    ¨ None. Go to Part 10.
    þ Yes. Fill in the information below.
    17.1. Does the debtor serve as plan administrator?

         ¨ No
         þ Yes. Fill in below.
           Name of plan                                                               Employer identification number of the plan

           THE ARCHDIOCESE OF NEW ORLEANS 401(K) PLAN                              EIN: XX-XXXXXXX

         Has the plan been terminated?

         þ No
         ¨ Yes




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 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

    ¨ None
          Financial institution name and          Last 4 digits of account    Type of account               Date account         Last balance
          address                                 number                                                    was closed, sold,    before closing
                                                                                                            moved, or            or transfer
                                                                                                            transferred

18.1.     FIRST BANK AND TRUST                    XXX-7577                    ¨ Checking                    1/22/2019            $3,476.33
          HOLY ROSARY HIGH SCHOOL
          P.O.BOX 1830                                                        ¨ Savings
          COVINGTON LA 70434-1830                                             ¨ Money market
                                                                              ¨ Brokerage
                                                                              ¨ Other ____________
          Financial institution name and          Last 4 digits of account    Type of account               Date account         Last balance
          address                                 number                                                    was closed, sold,    before closing
                                                                                                            moved, or            or transfer
                                                                                                            transferred

18.2.     FIRST BANK AND TRUST                    XXX-6716                    ¨ Checking                    6/26/2019            $3,031.00
          HOLY ROSARY HIGH SCHOOL
          P.O.BOX 1830                                                        ¨ Savings
          COVINGTON LA 70434-1830                                             ¨ Money market
                                                                              ¨ Brokerage
                                                                              ¨ Other ____________
          Financial institution name and          Last 4 digits of account    Type of account               Date account         Last balance
          address                                 number                                                    was closed, sold,    before closing
                                                                                                            moved, or            or transfer
                                                                                                            transferred

18.3.     FIRST BANK AND TRUST                    XXX-8567                    ¨ Checking                    6/12/2019            $60,089.88
          HOLY ROSARY ACADEMY
          P.O.BOX 1830                                                        ¨ Savings
          COVINGTON LA 70434-1830                                             ¨ Money market
                                                                              ¨ Brokerage
                                                                              ¨ Other ____________
          Financial institution name and          Last 4 digits of account    Type of account               Date account         Last balance
          address                                 number                                                    was closed, sold,    before closing
                                                                                                            moved, or            or transfer
                                                                                                            transferred

18.4.     FIRST BANK AND TRUST                    XXX-3715                    ¨ Checking                    6/26/2019            $2,680.58
          HOLY ROSARY ACADEMY
          P.O.BOX 1830                                                        ¨ Savings
          COVINGTON LA 70434-1830                                             ¨ Money market
                                                                              ¨ Brokerage
                                                                              ¨ Other ____________




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          Financial institution name and           Last 4 digits of account    Type of account               Date account         Last balance
          address                                  number                                                    was closed, sold,    before closing
                                                                                                             moved, or            or transfer
                                                                                                             transferred

18.5.     FIRST BANK AND TRUST                     XXX-6705                    ¨ Checking                    10/2019              $1,764.09
          HOLY ROSARY HIGH SCHOOL
          P.O. BOX 6007                                                        ¨ Savings
          NEW ORLEANS LA 70160-0007                                            ¨ Money market
                                                                               ¨ Brokerage
                                                                               ¨ Other ____________
          Financial institution name and           Last 4 digits of account    Type of account               Date account         Last balance
          address                                  number                                                    was closed, sold,    before closing
                                                                                                             moved, or            or transfer
                                                                                                             transferred

18.6.     GULF COAST BANK & TRUST                  XXX-9441                    ¨ Checking                    6/26/2019            $54,954.09
          COMPANY
          HOLY ROSARY SCHOOL                                                   ¨ Savings
          1801 E JUDGE PEREZ DR.
          CHALMETTE LA 70043
                                                                               ¨ Money market
                                                                               ¨ Brokerage
                                                                               ¨ Other ____________
          Financial institution name and           Last 4 digits of account    Type of account               Date account         Last balance
          address                                  number                                                    was closed, sold,    before closing
                                                                                                             moved, or            or transfer
                                                                                                             transferred

18.7.     GULF COAST BANK & TRUST                  XXX-2009                    ¨ Checking                    6/26/2019            $13.25
          COMPANY
          HOLY ROSARY SCHOOL                                                   ¨ Savings
          1801 E JUDGE PEREZ DR.
          CHALMETTE LA 70043
                                                                               ¨ Money market
                                                                               ¨ Brokerage
                                                                               ¨ Other ____________
          Financial institution name and           Last 4 digits of account    Type of account               Date account         Last balance
          address                                  number                                                    was closed, sold,    before closing
                                                                                                             moved, or            or transfer
                                                                                                             transferred

18.8.     GULF COAST BANK & TRUST                  XXX-4836                    ¨ Checking                    6/25/2019            $18.84
          COMPANY
          HOLY ROSARY SCHOOL                                                   ¨ Savings
          1801 E JUDGE PEREZ DR.
          CHALMETTE LA 70043
                                                                               ¨ Money market
                                                                               ¨ Brokerage
                                                                               ¨ Other ____________


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

    þ None
          Depository institution name and        Name and address of anyone with           Description of the contents            Does debtor
          address                                access to it                                                                     still have it?

19.1.     ______________________________         ______________________________            _____________________________          ¨ No
          ______________________________         ______________________________
          ______________________________         ______________________________                                                   ¨ Yes
          ______________________________         ______________________________


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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

    þ None
          Depository institution name and          Name and address of anyone with            Description of the contents              Does debtor
          address                                  access to it                                                                        still have it?

20.1.     ______________________________           ______________________________             _____________________________            ¨ No
          ______________________________           ______________________________
          ______________________________           ______________________________                                                      ¨ Yes
          ______________________________           ______________________________




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 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
    trust. Do not list leased or rented property.

    ¨ None
          Owner’s name and address                        Location of the property            Description of the property         Value

21.1.     ALL SAINTS PARISH                               HANCOCK WHITNEY BANK                DEPOSIT AND LOAN FUND -             $343,088.30
          PASTOR                                          CORPORATE TRUST                     CUSTODIAL FUNDS ON
          1441 TECHE ST.                                  DIVISION                            DEPOSIT
          NEW ORLEANS LA 70114-5899                       228 ST. CHARLES AVENUE
                                                          NEW ORLEANS LA 70130

          Owner’s name and address                        Location of the property            Description of the property         Value

21.2.     ALMAR FOUNDATION                                HANCOCK WHITNEY BANK                INVESTMENT PORTFOLIO A -            $34,972.37
          MR. CORY J. HOWAT EXECUTIVE                     CORPORATE TRUST                     CUSTODIAL FUNDS
          DIRECTOR                                        DIVISION
          1000 HOWARD AVENUE                              228 ST. CHARLES AVENUE
          SUITE 800                                       NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address                        Location of the property            Description of the property         Value

21.3.     ANN AND PRICE CRANE FAMILY FUND                 HANCOCK WHITNEY BANK                INVESTMENT PORTFOLIO A -            $33,230.25
          MR. AND MRS. G. PRICE CRANE JR.                 CORPORATE TRUST                     CUSTODIAL FUNDS
          1325 HENRY CLAY AVE.                            DIVISION
          NEW ORLEANS LA 70118                            228 ST. CHARLES AVENUE
                                                          NEW ORLEANS LA 70130

          Owner’s name and address                        Location of the property            Description of the property         Value

21.4.     ANNA MARIA D'ANTONIO AND DONALD P.              HANCOCK WHITNEY BANK                INVESTMENT PORTFOLIO A -            $19,764.52
          MITCHELL ENDOWMENT FUND                         CORPORATE TRUST                     CUSTODIAL FUNDS
          SR. CAROLYN M. BROCKLAND O.S.U.                 DIVISION
          2734 NASHVILLE AVENUE                           228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70115-7008                       NEW ORLEANS LA 70130

          Owner’s name and address                        Location of the property            Description of the property         Value

21.5.     ANNUNCIATION PARISH                             HANCOCK WHITNEY BANK                DEPOSIT AND LOAN FUND -             $378,035.19
          PASTOR                                          CORPORATE TRUST                     CUSTODIAL FUNDS ON
          517 AVENUE B                                    DIVISION                            DEPOSIT
          BOGALUSA LA 70427-3723                          228 ST. CHARLES AVENUE
                                                          NEW ORLEANS LA 70130

          Owner’s name and address                        Location of the property            Description of the property         Value

21.6.     ANNUNCIATION SCHOOL                             HANCOCK WHITNEY BANK                DEPOSIT AND LOAN FUND -             $329,724.90
          PRINCIPAL                                       CORPORATE TRUST                     CUSTODIAL FUNDS ON
          511 AVENUE C                                    DIVISION                            DEPOSIT
          BOGALUSA LA 70427-3797                          228 ST. CHARLES AVENUE
                                                          NEW ORLEANS LA 70130

          Owner’s name and address                        Location of the property            Description of the property         Value

21.7.     AQUINAS EDUCATION AND FORMATION                 HANCOCK WHITNEY BANK                INVESTMENT PORTFOLIO A -            $19,764.42
          TRUST                                           CORPORATE TRUST                     CUSTODIAL FUNDS
          REV. JOHN DOMINIC SIMS, O.P.                    DIVISION
          P.O. BOX 8129                                   228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70182-8129                       NEW ORLEANS LA 70130




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          Owner’s name and address                Location of the property      Description of the property    Value

21.8.     ARCHBISHOP ALFRED C HUGHES              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -       $2,059,309.79
          ENDOWMENT FUND                          CORPORATE TRUST               CUSTODIAL FUNDS
          MOST REV. ALFRED C. HUGHES              DIVISION
          7887 WALMSLEY AVE.                      228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125                    NEW ORLEANS LA 70130

          Owner’s name and address                Location of the property      Description of the property    Value

21.9.     ARCHBISHOP ANTOINE BLANC                HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -        $382,225.91
          C/O ST. LOUIS CATHEDRAL                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          615 PERE ANTOINE ALLEY                  DIVISION                      DEPOSIT
          NEW ORLEANS LA 70116-3291               228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

          Owner’s name and address                 Location of the property      Description of the property   Value

21.10.    ARCHBISHOP FRANCIS B. SCHULTE            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $252,583.93
          ENDOWMENT FUND                           CORPORATE TRUST               CUSTODIAL FUNDS
          DR. RAENELL B. HOUSTON                   DIVISION
          7887 WALMSLEY AVE.                       228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125                     NEW ORLEANS LA 70130

          Owner’s name and address                 Location of the property      Description of the property   Value

21.11.    ARCHBISHOP HANNAN MEMORIAL FUND          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $167,106.15
          MS. ALMA CARTAGENA                       CORPORATE TRUST               CUSTODIAL FUNDS
          1000 HOWARD AVE., SUITE 800              DIVISION
          NEW ORLEANS LA 70113                     228 ST. CHARLES AVENUE
                                                   NEW ORLEANS LA 70130

          Owner’s name and address                 Location of the property      Description of the property   Value

21.12.    ARCHBISHOP RUMMEL ALUMNI ASSO.           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $202,246.57
          SCHOLARSHIP                              CORPORATE TRUST               CUSTODIAL FUNDS
          BOARD OF DIRECTORS                       DIVISION
          1901 SEVERN AVE.                         228 ST. CHARLES AVENUE
          METAIRIE LA 70001                        NEW ORLEANS LA 70130

          Owner’s name and address                 Location of the property      Description of the property   Value

21.13.    ARCHDIOCESAN CEMETARIES OFFICE           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $7,490,790.52
          1000 HOWARD AVENUE                       CORPORATE TRUST               CUSTODIAL FUNDS ON
          NEW ORLEANS LA 70113-1939                DIVISION                      DEPOSIT
                                                   228 ST. CHARLES AVENUE
                                                   NEW ORLEANS LA 70130

          Owner’s name and address                 Location of the property      Description of the property   Value

21.14.    ARCHDIOCESAN SPIRITUALITY CENTER         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $53,126.00
          2501 MAINE AVENUE                        CORPORATE TRUST               CUSTODIAL FUNDS ON
          METAIRIE LA 70003                        DIVISION                      DEPOSIT
                                                   228 ST. CHARLES AVENUE
                                                   NEW ORLEANS LA 70130

          Owner’s name and address                 Location of the property      Description of the property   Value

21.15.    ARCHDIOCESE OF NEW ORLEANS               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $334,998.72
          SEMINARIANS SUPPORT FUND                 CORPORATE TRUST               CUSTODIAL FUNDS
          REV. COLM CAHILL                         DIVISION
          VOCATIONS OFFICE                         228 ST. CHARLES AVENUE
          7887 WALMSLEY BLVD.                      NEW ORLEANS LA 70130
          NEW ORLEANS LA 70125

          Owner’s name and address                 Location of the property      Description of the property   Value

21.16.    ASCENSION OF OUR LORD PARISH             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $5,244.46
          PASTOR                                   CORPORATE TRUST               CUSTODIAL FUNDS ON
          799 FAIRWAY DR.                          DIVISION                      DEPOSIT
          LAPLACE LA 70068-2007                    228 ST. CHARLES AVENUE
                                                   NEW ORLEANS LA 70130

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         Owner’s name and address                Location of the property      Description of the property   Value

21.17.   ASCENSION OF OUR LORD SCHOOL            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $201,496.33
         PRINCIPAL                               CORPORATE TRUST               CUSTODIAL FUNDS ON
         1809 GREENWOOD DR.                      DIVISION                      DEPOSIT
         LAPLACE LA 70068-2098                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.18.   ASOCIACION BENDICTINA DE                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $749,687.80
         ESQUIPULAS FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
         REVEREND ANSELMO BUEZO LEIVA            DIVISION
         O.S.B.                                  228 ST. CHARLES AVENUE
         ABADIA DE JESUCRISTO CRUCIFICADO        NEW ORLEANS LA 70130
         20007
         ESQUIPULAS, CHIQUIMULA
         GUATEMALA

         Owner’s name and address                Location of the property      Description of the property   Value

21.19.   ASSUMPTION OF MARY PARISH               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $266,456.35
         PASTOR                                  CORPORATE TRUST               CUSTODIAL FUNDS ON
         533 S JAMIE BLVD.                       DIVISION                      DEPOSIT
         AVONDALE LA 70094                       228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.20.   AUG-JAN KUNTZ FAMILY FUND               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $46,151.10
         MR. AND MRS. AUGUST J. KUNTZ            CORPORATE TRUST               CUSTODIAL FUNDS
         163 COUNTRY CLUB DR.                    DIVISION
         COVINGTON LA 70433                      228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.21.   B. FRANK ESHLEMAN SEMINARIAN FUND       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $158,191.36
         REV. COLM CAHILL                        CORPORATE TRUST               CUSTODIAL FUNDS
         7887 WALMSLEY BLVD.                     DIVISION
         NEW ORLEANS LA 70125                    228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.22.   BETTY AND JAMES E. SMITH                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $19,170.37
         ENDOWMENT                               CORPORATE TRUST               CUSTODIAL FUNDS
         MR. CORY J. HOWAT EXECUTIVE             DIVISION
         DIRECTOR                                228 ST. CHARLES AVENUE
         1000 HOWARD AVENUE                      NEW ORLEANS LA 70130
         SUITE 800
         NEW ORLEANS LA 70113-1939

         Owner’s name and address                Location of the property      Description of the property   Value

21.23.   BETTY JANE NOLAN CHARITABLE FUND        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $26,809.83
         MR. AND MRS. NOLAN P. LAMBERT           CORPORATE TRUST               CUSTODIAL FUNDS
         5668 BELLAIRE DR.                       DIVISION
         NEW ORLEANS LA 70124                    228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.24.   BEVERLY B DURAND MEMORIAL               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $47,207.38
         ENDOWMENT                               CORPORATE TRUST               CUSTODIAL FUNDS
         REV. GARRETT O'BRIEN                    DIVISION
         724 CAMP STREET                         228 ST. CHARLES AVENUE
         NEW ORLEANS LA 70130-3757               NEW ORLEANS LA 70130




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         Owner’s name and address                Location of the property      Description of the property   Value

21.25.   BISHOP CARMON SCHOLARSHIP FOR           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $13,050.15
         BLACK CATHOLIC STUDIES                  CORPORATE TRUST               CUSTODIAL FUNDS
         REV. DANIEL GREEN                       DIVISION
         7887 WALMSLEY AVE.                      228 ST. CHARLES AVENUE
         NEW ORLEANS LA 70125-3496               NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.26.   BISHOP STANLEY J. OTT - NOTRE DAME      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $207,841.48
         SEMINARY MEMORIAL ENDOWMENT             CORPORATE TRUST               CUSTODIAL FUNDS
         VERY REV. JAMES A. WEHNER S.T.D.        DIVISION
         RECTOR-PRESIDENT                        228 ST. CHARLES AVENUE
         2901 S. CARROLLTON AVENUE               NEW ORLEANS LA 70130
         NEW ORLEANS LA 70118

         Owner’s name and address                Location of the property      Description of the property   Value

21.27.   BLESSED FRANCIS XAVIER SEELOS           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $7.07
         PARISH                                  CORPORATE TRUST               CUSTODIAL FUNDS ON
         PASTOR                                  DIVISION                      DEPOSIT
         3037 DAUPHINE STREET                    228 ST. CHARLES AVENUE
         NEW ORLEANS LA 70117-6794               NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.28.   BLESSED SACRAMENT-ST. JOAN OF ARC       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $553,590.79
         PASTOR                                  CORPORATE TRUST               CUSTODIAL FUNDS ON
         8321 BURTHE ST.                         DIVISION                      DEPOSIT
         NEW ORLEANS LA 70118-1195               228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.29.   BLESSED SACRAMENT-ST. JOAN OF ARC       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $12,836.71
         SCHOOL                                  CORPORATE TRUST               CUSTODIAL FUNDS ON
         PRINCIPAL                               DIVISION                      DEPOSIT
         8321 BURTHE ST.                         228 ST. CHARLES AVENUE
         NEW ORLEANS LA 70118                    NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.30.   BLESSED TRINITY                         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $8,801.40
         PASTOR                                  CORPORATE TRUST               CUSTODIAL FUNDS ON
         4230 S. BROAD ST.                       DIVISION                      DEPOSIT
         NEW ORLEANS LA 70125                    228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.31.   BOYS HOPE GIRLS HOPE ENDOWMENT          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $980,032.80
         FUND                                    CORPORATE TRUST               CUSTODIAL FUNDS
         MR. CHUCK ROTH                          DIVISION
         P.O. BOX 19307                          228 ST. CHARLES AVENUE
         NEW ORLEANS LA 70179                    NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.32.   BRANDT J DUFRENE FAMILY                 HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $124,457.75
         ENDOWMENT FUND                          CORPORATE TRUST               CUSTODIAL FUNDS
         MR. AND MRS. BRANDT J. DUFRENE          DIVISION
         P.O. BOX 510                            228 ST. CHARLES AVENUE
         BOUTTE LA 70039                         NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.33.   C.J. & JANE DUNAWAY ENDOWMENT           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,973.69
         REV. EDWARD M. GRICE                    CORPORATE TRUST               CUSTODIAL FUNDS
         1050 ROBERT BLVD.                       DIVISION
         SLIDELL LA 70458-2098                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

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         Owner’s name and address                Location of the property      Description of the property   Value

21.34.   CAPITAL CAMPAIGN/RESTORATION FUND       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $88,939.98
         REV. EUGENE JACQUES                     CORPORATE TRUST               CUSTODIAL FUNDS
         500 ELIZA STREET                        DIVISION
         NEW ORLEANS LA 70114-1098               228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.35.   CAPITAL CAMPAIGN/RESTORATION FUND       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $196,757.94
         REV. EUGENE JACQUES                     CORPORATE TRUST               CUSTODIAL FUNDS
         500 ELIZA STREET                        DIVISION
         NEW ORLEANS LA 70114-1098               228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.36.   CAPITAL IMPROVEMENT AND                 HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $4,728,841.03
         MAINTENANCE FUND FOR NOTRE DAME         CORPORATE TRUST               CUSTODIAL FUNDS
         SEMINARY                                DIVISION
         VERY REV. JAMES A. WEHNER S.T.D.        228 ST. CHARLES AVENUE
         RECTOR-PRESIDENT                        NEW ORLEANS LA 70130
         2901 S. CARROLLTON AVENUE
         NEW ORLEANS LA 70118

         Owner’s name and address                Location of the property      Description of the property   Value

21.37.   CARBONI FAMILY FUND                     HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $357,054.03
         MR. SHAVA CARBONI, JR.                  CORPORATE TRUST               CUSTODIAL FUNDS
         317 EAST SCENIC DRIVE                   DIVISION
         PASS CHRISTIAN MS 39571                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.38.   CARE CENTER ENDOWMENT                   HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $109,122.71
         SR. MARJORIE A. HEBERT M.S.C. CHIEF     CORPORATE TRUST               CUSTODIAL FUNDS
         EXECUTIVE OFFICER                       DIVISION
         1000 HOWARD AVE.                        228 ST. CHARLES AVENUE
         SUITE 200                               NEW ORLEANS LA 70130
         NEW ORLEANS LA 70113

         Owner’s name and address                Location of the property      Description of the property   Value

21.39.   CARMON SEMINARIAN                       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $30,781.09
         MR. CORY J. HOWAT EXECUTIVE             CORPORATE TRUST               CUSTODIAL FUNDS
         DIRECTOR                                DIVISION
         1000 HOWARD AVENUE                      228 ST. CHARLES AVENUE
         SUITE 800                               NEW ORLEANS LA 70130
         NEW ORLEANS LA 70113-1939

         Owner’s name and address                Location of the property      Description of the property   Value

21.40.   CARUSO AND D'ANTONIO ENDOWMENT          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $22,575.46
         FUND                                    CORPORATE TRUST               CUSTODIAL FUNDS
         VERY REV. PHILIP G. LANDRY              DIVISION
         615 PERE ANTIONE ALLEY                  228 ST. CHARLES AVENUE
         NEW ORLEANS LA 70116-3291               NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.41.   CATHOLIC CHARITIES ENDOWMENT            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,892,563.01
         SR. MARJORIE A. HEBERT M.S.C. CHIEF     CORPORATE TRUST               CUSTODIAL FUNDS
         EXECUTIVE OFFICER                       DIVISION
         1000 HOWARD AVE.                        228 ST. CHARLES AVENUE
         SUITE 200                               NEW ORLEANS LA 70130
         NEW ORLEANS LA 70113




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         Owner’s name and address                Location of the property      Description of the property   Value

21.42.   CATHOLIC CHARITIES, ARCHDIOCESE OF      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $5,411,385.89
         NEW ORLEANS                             CORPORATE TRUST               CUSTODIAL FUNDS ON
         ATTN: CHERYL LABORDE                    DIVISION                      DEPOSIT
         1000 HOWARD AVE; STE 1100               228 ST. CHARLES AVENUE
         NEW ORLEANS LA 70113-1942               NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.43.   CATHOLIC COMMITTEE ON SCOUTING          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $40,751.82
         MS. SUSAN GUIDRY                        CORPORATE TRUST               CUSTODIAL FUNDS
         3712 39TH ST.                           DIVISION
         METAIRIE LA 70001-2702                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.44.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $30,364.52
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.45.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $22,199.68
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.46.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $344,308.06
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.47.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,711,175.84
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.48.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $154,067.83
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.49.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $90,330.52
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.50.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $203,404.12
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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         Owner’s name and address                Location of the property      Description of the property   Value

21.51.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $80,785.95
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.52.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $21,141.81
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.53.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $28,432.23
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.54.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $11,372.90
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.55.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $28,432.23
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.56.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,144.99
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.57.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $436,350.70
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.58.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $297,887.79
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.59.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $40,362.52
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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         Owner’s name and address                Location of the property      Description of the property   Value

21.60.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $106,667.47
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.61.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $16,297.47
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.62.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $22,004.39
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.63.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $8,473.31
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.64.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $13,833.34
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.65.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $35,812.30
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.66.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $3,086.50
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.67.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $667,911.10
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.68.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $100,732.23
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                             Case number (if known) 20-10846

         Owner’s name and address                Location of the property      Description of the property   Value

21.69.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $6,697.13
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.70.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $22,350.79
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.71.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $4,861.77
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.72.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $150,120.43
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.73.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $57,017.70
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.74.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $60,726.56
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.75.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $11,690.31
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS ON
         NEW ORLEANS LA 70113                    DIVISION                      DEPOSIT
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.76.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $824.26
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.77.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $10,869.77
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor   The Roman Catholic Church of the Archdiocese of New Orleans                             Case number (if known) 20-10846

         Owner’s name and address                Location of the property      Description of the property   Value

21.78.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $66,459.43
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.79.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $5,596,826.04
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.80.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $17,559.10
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.81.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $5,533,457.64
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.82.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $945,287.26
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.83.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,194,316.70
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.84.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $49,558.11
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.85.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $50,241.01
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.86.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $51,609.45
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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         Owner’s name and address                Location of the property      Description of the property   Value

21.87.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $52,976.70
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.88.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $36,562.79
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.89.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $37,000.38
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.90.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $38,750.78
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.91.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $39,188.38
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.92.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $40,525.86
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.93.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $36,041.00
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.94.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $41,647.42
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

         Owner’s name and address                Location of the property      Description of the property   Value

21.95.   CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $44,263.46
         1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
         NEW ORLEANS LA 70113                    DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                             Case number (if known) 20-10846

          Owner’s name and address                Location of the property      Description of the property   Value

21.96.    CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $206,815.60
          1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                    DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

          Owner’s name and address                Location of the property      Description of the property   Value

21.97.    CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $99,806.98
          1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                    DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

          Owner’s name and address                Location of the property      Description of the property   Value

21.98.    CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $102,679.53
          1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                    DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

          Owner’s name and address                Location of the property      Description of the property   Value

21.99.    CATHOLIC COMMUNITY FOUNDATION           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $47,875.09
          1000 HOWARD AVENUE, SUITE 800           CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                    DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

           Owner’s name and address               Location of the property      Description of the property   Value

21.100.    CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $29,347.46
           1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
           NEW ORLEANS LA 70113                   DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

           Owner’s name and address               Location of the property      Description of the property   Value

21.101.    CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $30,191.13
           1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
           NEW ORLEANS LA 70113                   DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

           Owner’s name and address               Location of the property      Description of the property   Value

21.102.    CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $32,722.00
           1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
           NEW ORLEANS LA 70113                   DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

           Owner’s name and address               Location of the property      Description of the property   Value

21.103.    CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $33,565.67
           1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
           NEW ORLEANS LA 70113                   DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130

           Owner’s name and address               Location of the property      Description of the property   Value

21.104.    CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $32,018.30
           1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
           NEW ORLEANS LA 70113                   DIVISION
                                                  228 ST. CHARLES AVENUE
                                                  NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.105.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $21,760.95
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.106.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $21,656.98
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.107.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $354,973.37
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.108.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $5,732,125.54
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS ON
          NEW ORLEANS LA 70113                   DIVISION                      DEPOSIT
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.109.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,675.25
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.110.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $14,485.12
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.111.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $20,366.38
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.112.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $2,723,836.30
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.113.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $64,520.84
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.114.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $19,487.13
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.115.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $19,710.93
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.116.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $41,533.12
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.117.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,335.21
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.118.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $883,895.57
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.119.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $5,147.90
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.120.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $23,788.31
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.121.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $55,101.11
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.122.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $10,175.15
          1000 HOWARD AVENUE, SUITE 800          CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS LA 70113                   DIVISION
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.123.   CATHOLIC COMMUNITY FOUNDATION          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $8,200,340.07
          1000 HOWARD AVE.                       CORPORATE TRUST               CUSTODIAL FUNDS ON
          NEW ORLEANS LA 70113                   DIVISION                      DEPOSIT
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.124.   CATHOLIC FOUNDATION BOARD OF           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $4,324,451.26
          DIRECTORS FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          MR. CORY J. HOWAT EXECUTIVE            DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVENUE                     NEW ORLEANS LA 70130
          SUITE 800
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.125.   CATHOLIC FOUNDATION RIGHT TO LIFE      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $313,988.41
          SPECIAL PROJECTS FUND                  CORPORATE TRUST               CUSTODIAL FUNDS
          MRS. SHARON RODI                       DIVISION
          4421 FERRAN ST.                        228 ST. CHARLES AVENUE
          METAIRIE LA 70002                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.126.   CATHOLIC FOUNDATION-GENERAL            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $2,258,511.23
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.127.   CENTER OF JESUS THE LORD PARISH        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $198,924.32
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1307 LOUISIANA AVE.                    DIVISION                      DEPOSIT
          NEW ORLEANS LA 70115                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.128.   CHAMPIONS OF CATHOLIC EDUCATION        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $2,456,879.35
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          DR. RAENELL B. HOUSTON                 DIVISION
          7887 WALMSLEY AVE.                     228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.129.   CHARLES J. DERBES, JR. & EDMUND R.     HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $13,060.99
          VALES MEMORIAL ENDOWMENT               CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. JAMES A. WEHNER S.T.D.       DIVISION
          RECTOR-PRESIDENT                       228 ST. CHARLES AVENUE
          2901 S. CARROLLTON AVENUE              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70118

          Owner’s name and address               Location of the property      Description of the property   Value

21.130.   CHATEAU DE NOTRE DAME                  HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,000,635.55
          ATTN: HENRY CUROLE                     CORPORATE TRUST               CUSTODIAL FUNDS ON
          1000 HOWARD AVENUE                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70113                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.131.   CHATEAU DE NOTRE DAME -                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $842,688.36
          DEVELOPMENT FUND                       CORPORATE TRUST               CUSTODIAL FUNDS
          MR. WAYNE PLAISANCE EXECUTIVE          DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVENUE - 10TH FLOOR        NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1903

          Owner’s name and address               Location of the property      Description of the property   Value

21.132.   CHATEAU DE NOTRE DAME CORPORATE        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $5,917,660.64
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MR. WAYNE PLAISANCE EXECUTIVE          DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVENUE - 10TH FLOOR        NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1903

          Owner’s name and address               Location of the property      Description of the property   Value

21.133.   CHERYL AND RICK COLLARINI DONOR        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $106,423.68
          ADVISED FUND                           CORPORATE TRUST               CUSTODIAL FUNDS
          MR. AND MRS. RICHARD G. COLLARINI      DIVISION
          20297 BRUNNING ROAD                    228 ST. CHARLES AVENUE
          COVINGTON LA 70435                     NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.134.   CHI ALPHA CAMPUS MINISTRIES LEGACY     HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $72,854.44
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MR. MATTHEW L. DEGIER CHAIRMAN         DIVISION
          4219 CADIZ ST.                         228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.135.   CHRIST THE KING CHURCH ENDOWMENT       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $15,771.27
          REV. MICHAEL NGUYEN                    CORPORATE TRUST               CUSTODIAL FUNDS
          535 DEERFIELD ROAD                     DIVISION
          TERRYTOWN LA 70056-2899                228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.136.   CHRIST THE KING PARISH                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $17,543.46
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          535 DEERFIELD RD.                      DIVISION                      DEPOSIT
          TERRYTOWN LA 70056-2899                228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.137.   CHRISTIAN BROTHERS SCHOOL              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $98,146.01
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          MR. JOEY M. SCAFFIDI PRESIDENT         DIVISION
          8 FRIEDRICHS AVENUE                    228 ST. CHARLES AVENUE
          CITY PARK                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70124

          Owner’s name and address               Location of the property      Description of the property   Value

21.138.   CHRISTIAN L. MEIBAUM ENDOWMENT         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,808,785.47
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939




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          Owner’s name and address               Location of the property      Description of the property   Value

21.139.   CHRISTOPHER HOMES ENDOWMENT            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $371,125.40
          DEACON DENNIS F. ADAMS EXECUTIVE       CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 100                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.140.   CHRISTOPHER HOMES, INC.                HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $6,676,384.22
          1000 HOWARD AVE                        CORPORATE TRUST               CUSTODIAL FUNDS ON
          STE 100                                DIVISION                      DEPOSIT
          NEW ORLEANS LA 70113                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.141.   CIARA ENDOWMENT                        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $364,730.41
          CHIEF EXECUTIVE OFFICER CATHOLIC       CORPORATE TRUST               CUSTODIAL FUNDS
          CHARITIES                              DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 200                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.142.   CLARION HERALD                         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $38,295.16
          ATTN: MR. MARK LOMBARD                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1000 HOWARD AVENUE; SUITE              DIVISION                      DEPOSIT
          NEW ORLEANS LA 70113-1903              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.143.   CLASS OF '83 THANKSGIVING DRIVE        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $200,479.84
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          MR. RENE' ALVAREZ                      DIVISION
          306 ATHANIA PKWY.                      228 ST. CHARLES AVENUE
          METAIRIE LA 70001                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.144.   COMMUNITY OF DEACONS ENDOWMENT         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $40,741.97
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          DEACON RAPHAEL DUPLECHAIN JR.          DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          7887 WALMSLEY AVE.                     NEW ORLEANS LA 70130
          NEW ORLEANS LA 70125-3496

          Owner’s name and address               Location of the property      Description of the property   Value

21.145.   CONNIE AND FRANK WALK ENDOWMENT        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $278,192.10
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          REV. COLM CAHILL                       DIVISION
          7887 WALMSLEY BLVD.                    228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.146.   CORPUS CHRISTI-EPIPHANY                HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,697,215.99
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2022 ST. BERNARD AVE.                  DIVISION                      DEPOSIT
          NEW ORLEANS LA 70116-1388              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.147.   COVENANT HOUSE NEW ORLEANS             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $46,354.34
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          MR. JAMES R. KELLY EXECUTIVE           DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          611 NORTH RAMPART STREET               NEW ORLEANS LA 70130
          NEW ORLEANS LA 70112-3505

          Owner’s name and address               Location of the property      Description of the property   Value

21.148.   DEACON AND MRS. EDWARD B. HOOPER       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,159,232.33
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. JAMES A. WEHNER S.T.D.       DIVISION
          RECTOR-PRESIDENT                       228 ST. CHARLES AVENUE
          2901 S. CARROLLTON AVENUE              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70118

          Owner’s name and address               Location of the property      Description of the property   Value

21.149.   DEUS PROVIDEBIT FUND FOR NOTRE         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,163,273.50
          DAME SEMINARY                          CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. JAMES A. WEHNER S.T.D.       DIVISION
          RECTOR-PRESIDENT                       228 ST. CHARLES AVENUE
          2901 S. CARROLLTON AVENUE              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70118

          Owner’s name and address               Location of the property      Description of the property   Value

21.150.   DIVINE MERCY PARISH                    HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $38,084.89
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          4337 SAL LENTINI PKWY.                 DIVISION                      DEPOSIT
          KENNER LA 70065                        228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.151.   DOMESTIC VIOLENCE SERVICES             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $109,122.71
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    DIVISION
          EXECUTIVE OFFICER                      228 ST. CHARLES AVENUE
          1000 HOWARD AVE.                       NEW ORLEANS LA 70130
          SUITE 200
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.152.   DONALD GARVEY DONOR ADVISED            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $36,826.33
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MR. J. DONALD GARVEY                   DIVISION
          56 TOKALON PL.                         228 ST. CHARLES AVENUE
          METAIRIE LA 70001                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.153.   EJ & MARJORY B. OURSO FAMILY FUND      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,567,677.13
          MRS. NATALIE JAYROE PRESIDENT &        CORPORATE TRUST               CUSTODIAL FUNDS
          CEO                                    DIVISION
          700 EDWARDS AVE.                       228 ST. CHARLES AVENUE
          HARAHAN LA 70123                       NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.154.   ELIZABETH S. AND ALAN C. ARNOLD        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $16,365.67
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MR. AND MRS. ALAN C. ARNOLD            DIVISION
          1334 WEBSTER ST.                       228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118                   NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.155.   FATHER HAROLD COHEN MEMORIAL           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $68,995.16
          REV. M. JEFFREY BAYHI                  CORPORATE TRUST               CUSTODIAL FUNDS
          P.O. BOX 87279                         DIVISION
          BATON ROUGE LA 70879                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.156.   FOOD FOR FAMILIES, FOOD FOR            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $138,291.33
          SENIORS ENDOWMENT                      CORPORATE TRUST               CUSTODIAL FUNDS
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    DIVISION
          EXECUTIVE OFFICER                      228 ST. CHARLES AVENUE
          1000 HOWARD AVE.                       NEW ORLEANS LA 70130
          SUITE 200
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.157.   FR. IGNATIUS M. ROPPOLO MEMORIAL       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $112,456.65
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          SR. MAURA O'DONOVAN CHF                DIVISION
          1063 MOSS ST.                          228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70119                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.158.   FR. JOHN ARNONE MEMORIAL FUND FOR      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $77,594.07
          NDS                                    CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. JAMES A. WEHNER S.T.D.       DIVISION
          RECTOR-PRESIDENT                       228 ST. CHARLES AVENUE
          2901 S. CARROLLTON AVENUE              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70118

          Owner’s name and address               Location of the property      Description of the property   Value

21.159.   FRANK ANNALORO, JR. ENDOWMENT          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,421,176.59
          FOR ST. DOMINIC CHURCH                 CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JOHN G. RESTREPO O.P.             DIVISION
          775 HARRISON AVE.                      228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70124-3155              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.160.   GEORGE & CATHERINE THEOBALD            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $92,096.54
          MEMORIAL ENDOWMENT                     CORPORATE TRUST               CUSTODIAL FUNDS
          SR. ELIZABETH FITZPATRICK O. CARM      DIVISION
          7887 WALMSLEY AVE.                     228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.161.   GOOD SHEPHERD PARISH                   HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $143,155.93
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1025 NAPOLEON AVE.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70115                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.162.   GOOD SHEPHERD PARISH ENDOWMENT         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,984.42
          REV. MSGR. CHRISTOPHER NALTY           CORPORATE TRUST               CUSTODIAL FUNDS
          1025 NAPOLEON AVE.                     DIVISION
          NEW ORLEANS LA 70115                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.163.   GREVE CCANO                            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $789,048.61
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.164.   GREVE MEMORIAL SCHOLARSHIP             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $345,702.18
          PRESIDENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          122 S. MASSACHUSETTS ST.               DIVISION
          COVINGTON LA 70433                     228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.165.   HALL                                   HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $293,825.37
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.166.   HANMAUM KOREAN CATHOLIC CHURCH         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $218,507.98
          ATTN: CHAPLAIN                         CORPORATE TRUST               CUSTODIAL FUNDS ON
          4812 W. NAPOLEON AVENUE                DIVISION                      DEPOSIT
          METAIRIE LA 70001-2364                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.167.   HANNON POOL                            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $461,668.39
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.168.   HAROLD N. HICKEY ENDOWMENT             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $72,183.96
          REV. JOSEPH PALERMO                    CORPORATE TRUST               CUSTODIAL FUNDS
          444 METAIRIE ROAD                      DIVISION
          METAIRE LA 70005-4307                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.169.   HENRY J. CALAMARI SCHOLARSHIP          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $101,003.12
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          REV. WAYNE C. PAYSSE                   DIVISION
          3924 BERKLEY ST.                       228 ST. CHARLES AVENUE
          SLIDELL LA 70458-5142                  NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.170.   HOLMES FAMILY SCHOLARSHIP FUND         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $197,144.67
          REV. EDWARD M. GRICE                   CORPORATE TRUST               CUSTODIAL FUNDS
          1050 ROBERT BLVD.                      DIVISION
          SLIDELL LA 70458-2098                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.171.   HOLY FAMILY CHURCH DEVELOPMENT         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,708.36
          REV. STEPHEN DARDIS                    CORPORATE TRUST               CUSTODIAL FUNDS
          155 HOLY FAMILY LANE                   DIVISION
          LULING LA 70070-6103                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.172.   HOLY FAMILY ENDOWMENT                  HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $353,581.69
          REV. KYLE SANDERS                      CORPORATE TRUST               CUSTODIAL FUNDS
          1220 14TH AVE.                         DIVISION
          FRANKLINTON LA 70438-2205              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.173.   HOLY FAMILY PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $103,155.14
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1213 14TH AVE.                         DIVISION                      DEPOSIT
          FRANKLINTON LA 70438-2205              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.174.   HOLY FAMILY PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $22,124.01
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1213 14TH AVE.                         DIVISION                      DEPOSIT
          FRANKLINTON LA 70438-2205              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.175.   HOLY NAME OF JESUS PARISH              HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $135,881.59
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6220 LASALLE PLACE                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70118-6236              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.176.   HOLY NAME OF JESUS SCHOOL              HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,571,736.37
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          6220 LASALLE PLACE                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70118-623               228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.177.   HOLY NAME OF MARY PARISH               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $55,115.17
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          500 ELIZA ST.                          DIVISION                      DEPOSIT
          NEW ORLEANS LA 70114-1098              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.178.   HOLY SPIRIT PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $53,063.23
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6201 STRATFORD PLACE                   DIVISION                      DEPOSIT
          NEW ORLEANS LA 70131-7397              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.179.   HOPE HAVEN ENDOWMENT                   HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $22,213.62
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    CORPORATE TRUST               CUSTODIAL FUNDS
          EXECUTIVE OFFICER                      DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 200                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.180.   HOTEL HOPE CUSTODIAL FUND              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $560,932.21
          SR. MARY LOU SPECHA                    CORPORATE TRUST               CUSTODIAL FUNDS
          3923 MARTIN LUTHER KING BLVD.          DIVISION
          NEW ORLEANS LA 70125                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.181.   IMMACULATE CONCEPTION CHURCH-          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,042,007.16
          NEW ORLEANS                            CORPORATE TRUST               CUSTODIAL FUNDS
          REV. ANTHONY MCGINN S.J.               DIVISION
          130 BARONNE STREET                     228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70112-2304              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.182.   IMMACULATE CONCEPTION PARISH           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,127,689.66
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          130 BARONNE STREET                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70112-2304              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.183.   IMMACULATE CONCEPTION SCHOOL           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $2,154,611.96
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          601 AVENUE C                           DIVISION                      DEPOSIT
          MARRERO LA 70072-2098                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.184.   INCARNATE WORD PARISH                  HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,050.24
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          8316 APRICOT STREET                    DIVISION                      DEPOSIT
          NEW ORLEANS LA 70118-3199              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.185.   INEZ P. SEGRETO SCHOLARSHIP FUND       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $322,728.48
          MR. GREGORY W. NOTHACKER               CORPORATE TRUST               CUSTODIAL FUNDS
          P.O. BOX 2913                          DIVISION
          HAMMOND LA 70404-2913                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.186.   JOHN & DATHEL GEORGES ENDOWMENT        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $270,897.64
          VERY REV. JAMES A. WEHNER S.T.D.       CORPORATE TRUST               CUSTODIAL FUNDS
          RECTOR-PRESIDENT                       DIVISION
          2901 S. CARROLLTON AVENUE              228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.187.   JOHN BAKER FLORES SCHOLARSHIP          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $82,895.98
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          REV. MARK THIBODEAUX, S.J.             DIVISION
          6220 LASALLE PLACE                     228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118-6236              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.188.   KATHY R. HEBERT ENDOWMENT FUND         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,953.13
          MS. KATHY HEBERT                       CORPORATE TRUST               CUSTODIAL FUNDS
          420 36TH ST.                           DIVISION
          NEW ORLEANS LA 70124                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.189.   KINGSMILL FAMILY TRUST                 HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $11,884.38
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.190.   L. C. STEWART ENDOWMENT - SOCIAL       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $48,591.26
          APOSTALATE                             CORPORATE TRUST               CUSTODIAL FUNDS
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    DIVISION
          EXECUTIVE OFFICER                      228 ST. CHARLES AVENUE
          1000 HOWARD AVE.                       NEW ORLEANS LA 70130
          SUITE 200
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.191.   LAFON NURSING FACILITY OF THE HOLY     HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $14,597.21
          FAMILY                                 CORPORATE TRUST               CUSTODIAL FUNDS
          SR. LEONA BRUNER CONGREGATIONAL        DIVISION
          LEADER                                 228 ST. CHARLES AVENUE
          6901 CHEF MENTEUR HWY.                 NEW ORLEANS LA 70130
          NEW ORLEANS LA 70126-5215

          Owner’s name and address               Location of the property      Description of the property   Value

21.192.   LARRY AND MARLA GAVEY DONOR            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $13,283,611.31
          ADVISED FUND                           CORPORATE TRUST               CUSTODIAL FUNDS
          MRS. MARLA GARVEY                      DIVISION
          140 WEST OAK RIDGE PK.                 228 ST. CHARLES AVENUE
          METAIRIE LA 70005                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.193.   LEE GARDEMAL SCHOLARSHIP FUND          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $14,867.59
          REV. MARK THIBODEAUX, S.J.             CORPORATE TRUST               CUSTODIAL FUNDS
          6220 LASALLE PLACE                     DIVISION
          NEW ORLEANS LA 70118-6236              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.194.   LITERACY ENDOWMENT                     HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $50,328.99
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    CORPORATE TRUST               CUSTODIAL FUNDS
          EXECUTIVE OFFICER                      DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 200                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.195.   LOCKETT                                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,094,676.53
          VERY REV. JAMES A. WEHNER S.T.D.       CORPORATE TRUST               CUSTODIAL FUNDS
          RECTOR-PRESIDENT                       DIVISION
          2901 S. CARROLLTON AVENUE              228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.196.   LORETTA G. WHYTE DONOR ADVISED         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $21,838.60
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MS. LORETTA G. WHYTE                   DIVISION
          225 EAST WILLIAM DAVID PKWY.           228 ST. CHARLES AVENUE
          METAIRIE LA 70005                      NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.197.   MAGENDIE SCHOLARSHIP FUND              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $24,745.82
          REV. JOSEPH MAN M. TRAN                CORPORATE TRUST               CUSTODIAL FUNDS
          10021 JEFFERSON HWY.                   DIVISION
          RIVER RIDGE LA 70123                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.198.   MARY QUEEN OF PEACE PARISH             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $708,956.85
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1501 W. CAUSEWAY APPROACH              DIVISION                      DEPOSIT
          MANDEVILLE LA 70471-3047               228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.199.   MARY QUEEN OF PEACE SCHOOL             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $587,085.27
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          1515 W. CAUSEWAY APPROACH              DIVISION                      DEPOSIT
          MANDEVILLE LA 70471-3047               228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.200.   MARY QUEEN OF VIETNAM PARISH           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $5,915,126.15
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          5069 WILLOWBROOK DR.                   DIVISION                      DEPOSIT
          NEW ORLEANS LA 70189                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.201.   MARY, QUEEN OF PEACE CHURCH            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,754.07
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JOHN-NHAM TRAN                    DIVISION
          1501 W. CAUSEWAY APPROACH              228 ST. CHARLES AVENUE
          MANDEVILLE LA 70471                    NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.202.   MARY, QUEEN OF PEACE SCHOOL (REV.      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $2,489.11
          CALKINS) ENDOWMENT                     CORPORATE TRUST               CUSTODIAL FUNDS
          MRS. SYBIL SKANSI                      DIVISION
          1515 W. CAUSEWAY APPROACH              228 ST. CHARLES AVENUE
          MANDEVILLE LA 70471                    NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.203.   MATER DOLOROSA CHURCH                  HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $68,814.08
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          REV. HERBERT J. KIFF JR. PASTOR        DIVISION
          8128 PLUM ST.                          228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.204.   MATER DOLOROSA PARISH                  HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $209,604.69
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          8128 PLUM ST.                          DIVISION                      DEPOSIT
          NEW ORLEANS LA 70118-2012              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.205.   MAUREEN MCKAY POCHE MISSION FUND       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $47,588.26
          SR. CAROLYN M. BROCKLAND O.S.U.        CORPORATE TRUST               CUSTODIAL FUNDS
          2734 NASHVILLE AVENUE                  DIVISION
          NEW ORLEANS LA 70115-7008              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.206.   MCEVOY                                 HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $958,997.13
          VERY REV. ANTHONY RIGOLI O.M.I.,VF     CORPORATE TRUST               CUSTODIAL FUNDS
          411 N. RAMPART STREET                  DIVISION
          NEW ORLEANS LA 70112                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.207.   MCPEAKE ENDOWMENT                      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,967.79
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    CORPORATE TRUST               CUSTODIAL FUNDS
          EXECUTIVE OFFICER                      DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 200                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.208.   METAIRIE MANOR ENDOWMENT FUND - B      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $330,275.63
          DEACON DENNIS F. ADAMS EXECUTIVE       CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 100                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.209.   METAIRIE MANOR ENDOWMENT FUND - B      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $281,525.60
          DEACON DENNIS F. ADAMS EXECUTIVE       CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 100                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.210.   MISSIONARY ROSE PETALS                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $16,015.05
          OF ST. THERESE                         CORPORATE TRUST               CUSTODIAL FUNDS ON
          112 SHERWOOD FOREST DRIVE              DIVISION                      DEPOSIT
          NEW ORLEANS LA 70119                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.211.   MONSIGNOR WYNHOVEN APARTMENT           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $346,253.72
          ENDOWMENT FUND - B                     CORPORATE TRUST               CUSTODIAL FUNDS
          DEACON DENNIS F. ADAMS EXECUTIVE       DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVE.                       NEW ORLEANS LA 70130
          SUITE 100
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.212.   MOST HOLY TRINITY CHURCH               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $272,109.82
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. RODNEY P. BOURG V.F.         DIVISION
          501 HOLY TRINITY DRIVE                 228 ST. CHARLES AVENUE
          COVINGTON LA 70433-4957                NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.213.   MOST HOLY TRINITY PARISH               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $148,268.55
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          501 HOLY TRINITY DR.                   DIVISION                      DEPOSIT
          COVINGTON LA 70433                     228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.214.   MSGR WYNHOVEN                          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $14,577.31
          DEACON DENNIS F. ADAMS EXECUTIVE       CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 100                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.215.   MSGR. PAUL GAUDIN SCHOLARSHIP          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $325,806.20
          FUND-MARRERO                           CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JAMES J. JEANFREAU                DIVISION
          4401 SEVENTH ST.                       228 ST. CHARLES AVENUE
          MARRERO, LA 70072-2099                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.216.   MSGR. ROBERT VINCENT ENDOWMENT-        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $214,251.71
          ST. JOAN OF ARC                        CORPORATE TRUST               CUSTODIAL FUNDS
          REV. PATRICK E. COLLUM                 DIVISION
          529 W. 5TH STREET                      228 ST. CHARLES AVENUE
          LAPLACE LA 70068                       NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.217.   MYERS FAMILY FUND                      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $25,216.41
          MR. AND MRS. FREDERICK H. MYERS        CORPORATE TRUST               CUSTODIAL FUNDS
          92 TRANQUILITY DR.                     DIVISION
          MANDEVILLE LA 70471                    228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.218.   NATIONAL SHRINE OF OUR LADY OF         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $796,040.64
          PROMPT SUCCOR END.-POOL                CORPORATE TRUST               CUSTODIAL FUNDS
          SR. CAROLYN M. BROCKLAND O.S.U.        DIVISION
          2734 NASHVILLE AVENUE                  228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70115-7008              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.219.   NEW ORLEANS ARCHDIOCESAN               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $18,732.64
          CEMETERIES ENDOWMENT                   CORPORATE TRUST               CUSTODIAL FUNDS
          MS. SHERRI PEPPO EXECUTIVE             DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVE., SUITE 500            NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.220.   NOTRE DAME HOSPICE - DEVELOPMENT       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $152,978.70
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MR. WAYNE PLAISANCE EXECUTIVE          DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVENUE - 10TH FLOOR        NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1903

          Owner’s name and address               Location of the property      Description of the property   Value

21.221.   NOTRE DAME SEMINARY                    HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $3,487,580.42
          VERY REV JAMESWEHNER STD               CORPORATE TRUST               CUSTODIAL FUNDS ON
          2901 S. CARROLLTON AVENUE              DIVISION                      DEPOSIT
          NEW ORLEANS LA 70118-4391              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.222.   NOTRE DAME SEMINARY ENDOWMENT          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $214,018.89
          VERY REV. JAMES A. WEHNER S.T.D.       CORPORATE TRUST               CUSTODIAL FUNDS
          RECTOR-PRESIDENT                       DIVISION
          2901 S. CARROLLTON AVENUE              228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.223.   OUR LADY OF DIVINE PROVIDENCE          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $58,739.42
          PARISH                                 CORPORATE TRUST               CUSTODIAL FUNDS
          REV. MICHAEL J. MITCHELL               DIVISION
          1000 N. STARRETT ROAD                  228 ST. CHARLES AVENUE
          METAIRIE LA 70003-5899                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.224.   OUR LADY OF DIVINE PROVIDENCE          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $280.51
          SCHOOL                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          PASTOR                                 DIVISION                      DEPOSIT
          1000 N. STARRETT RD.                   228 ST. CHARLES AVENUE
          METAIRIE LA 70003-5899                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.225.   OUR LADY OF GOOD COUNSEL PARISH        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $16.38
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          7887 WALMSLEY AVE.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70125                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.226.   OUR LADY OF GOOD HARBOR PARISH         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $216,198.39
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          240 BURAS RIVER ROAD                   DIVISION                      DEPOSIT
          BURAS LA 70041-9188                    228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.227.   OUR LADY OF GRACE CHURCH               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $16,473.28
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. CHRISTOPHER C. AMADI S.S.J.       DIVISION
          P.O. BOX 464                           228 ST. CHARLES AVENUE
          RESERVE LA 70084-0464                  NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.228.   OUR LADY OF GRACE PARISH               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $191,023.44
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          772 HWY. 44                            DIVISION                      DEPOSIT
          RESERVE LA 70084                       228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.229.   OUR LADY OF LA VANG MISSION            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $600,849.70
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6054 VERMILLION BLVD.                  DIVISION                      DEPOSIT
          NEW ORLEANS LA 70122-4296              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.230.   OUR LADY OF LOURDES CATHOLIC           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $98,408.80
          SCHOOL SCHOLARSHIP FUND                CORPORATE TRUST               CUSTODIAL FUNDS
          REV. WAYNE C. PAYSSE                   DIVISION
          3924 BERKLEY ST.                       228 ST. CHARLES AVENUE
          SLIDELL LA 70458-5142                  NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.231.   OUR LADY OF LOURDES PARISH             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $23,074.53
          C/O BLESSED TRINITY                    CORPORATE TRUST               CUSTODIAL FUNDS ON
          4230 S. BROAD ST.                      DIVISION                      DEPOSIT
          NEW ORLEANS LA 70115                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.232.   OUR LADY OF LOURDES PARISH             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,819,406.06
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          4230 S. BROAD ST.                      DIVISION                      DEPOSIT
          NEW ORLEANS LA 70115                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.233.   OUR LADY OF LOURDES SCHOOL             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $57,651.08
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          3924 BERKLEY ST.                       DIVISION                      DEPOSIT
          SLIDELL LA 70458                       228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.234.   OUR LADY OF PERPETUAL HELP PARISH      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,787,538.32
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          8968 HIGHWAY 23                        DIVISION                      DEPOSIT
          BELLE CHASSE LA 70037-2296             228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.235.   OUR LADY OF PERPETUAL HELP             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $685,523.32
          SCHOOL                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          PRINCIPAL                              DIVISION                      DEPOSIT
          8970 HIGHWAY 23                        228 ST. CHARLES AVENUE
          BELLE CHASSE LA 70037-2297             NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.236.   OUR LADY OF PROMPT SUCCOR              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $15,129.96
          CHURCH (CHALMETTE)                     CORPORATE TRUST               CUSTODIAL FUNDS
          REV. MARLON J. MANGUBAT                DIVISION
          2320 PARIS ROAD                        228 ST. CHARLES AVENUE
          CHALMETTE LA 70043-5098                NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.237.   OUR LADY OF PROMPT SUCCOR PARISH       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,365,955.00
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2320 PARIS ROAD                        DIVISION                      DEPOSIT
          CHALMETTE LA 70043-5098                228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.238.   OUR LADY OF PROMPT SUCCOR              HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $373,716.01
          SCHOOL                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          PRINCIPAL                              DIVISION                      DEPOSIT
          2305 FENELON ST.                       228 ST. CHARLES AVENUE
          CHALMETTE LA 70043-4951                NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.239.   OUR LADY OF PROMPT SUCCOR              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $37,854.16
          SCHOOL (CHALMETTE)                     CORPORATE TRUST               CUSTODIAL FUNDS
          REV. MARLON J. MANGUBAT                DIVISION
          2320 PARIS ROAD                        228 ST. CHARLES AVENUE
          CHALMETTE LA 70043-5098                NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.240.   OUR LADY OF THE ANGELS PARISH          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $37,773.81
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6851 RIVER ROAD                        DIVISION                      DEPOSIT
          WAGGAMAN LA 70094                      228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.241.   OUR LADY OF THE HOLY ROSARY            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $640,716.91
          PARISH                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          PASTOR                                 DIVISION                      DEPOSIT
          #1 RECTORY LANE                        228 ST. CHARLES AVENUE
          HAHNVILLE LA 70057-2161                NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.242.   OUR LADY OF THE LAKE PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $3,624,209.04
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          312 LAFITTE ST.                        DIVISION                      DEPOSIT
          MANDEVILLE LA 70448-0584               228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.243.   OUR LADY OF THE LAKE SCHOOL            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,454,661.03
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          312 LAFITTE ST.                        DIVISION                      DEPOSIT
          MANDEVILLE LA 70448-0584               228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.244.   OUR LADY OF THE ROSARY PARISH          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $454,514.77
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1322 MOSS ST.                          DIVISION                      DEPOSIT
          NEW ORLEANS LA 70119-2998              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.245.   OUR LADY OF THE ROSARY                 HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,155,070.18
          RESTORATION AND MAINTENANCE FUND       CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JONATHAN P. HEMELT                DIVISION
          1322 MOSS STREET                       228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70119-2903              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.246.   OUR LADY OF WISDOM HEALTHCARE          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $488,358.37
          MR. WAYNE PLAISANCE EXECUTIVE          CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE - 10TH FLOOR        228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70113-1903              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.247.   OUR LADY STAR OF THE SEA PARISH        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $486.77
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1835 ST. ROCH AVE.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70117-8199              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.248.   OZANAM INN ENDOWMENT                   HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $39,778.44
          MR. CLARENCE J. ADAMS SR.              CORPORATE TRUST               CUSTODIAL FUNDS
          EXECUTIVE DIRECTOR                     DIVISION
          843 CAMP ST.                           228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70130-3751              NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.249.   OZANAM INN QUASI ENDOWMENT             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,462,278.98
          MR. CLARENCE J. ADAMS SR.              CORPORATE TRUST               CUSTODIAL FUNDS
          EXECUTIVE DIRECTOR                     DIVISION
          843 CAMP ST.                           228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70130-3751              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.250.   PAT AND BOBBY MCINTYRE DONOR           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $25,806.46
          ADVISED FUND                           CORPORATE TRUST               CUSTODIAL FUNDS
          MRS. PATRICIA H. MCINTYRE              DIVISION
          6070 CHESTNUT ST.                      228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.251.   PATRICK & JOYCE BRYER ENDOWMENT        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $613,102.34
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.252.   PAULA ZABRECKY SCHOLARSHIP-ST.         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $21,686.78
          EDWARD THE CONFESSOR                   CORPORATE TRUST               CUSTODIAL FUNDS
          DR. THOMAS E. BECKER                   DIVISION
          4901 WEST METAIRIE AVE.                228 ST. CHARLES AVENUE
          METAIRIE LA 70001-4496                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.253.   PEGGY YANCEY ENDOWMENT                 HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $194,905.95
          REV. STEVEN B. BRUNO                   CORPORATE TRUST               CUSTODIAL FUNDS
          7100 JEFFERSON HWY.                    DIVISION
          HARAHAN LA 70123                       228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.254.   PENNIES FOR BREAD ENDOWMENT            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $14,870.63
          RT. REV JUSTIN BROWN O.S.B. ABBOT      CORPORATE TRUST               CUSTODIAL FUNDS
          75376 RIVER ROAD                       DIVISION
          ST. BENEDICT LA 70457                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.255.   PETER & JOY SCHWEHM SCHOLARSHIP        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $17,319.63
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. JOHN F. TALAMO JR., V.F.     DIVISION
          3101 ETON STREET                       228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70131                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.256.   PETER & MARILYN QUIRK ENDOWMENT -      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $28,698.51
          MAGNIFICAT MINISTRY                    CORPORATE TRUST               CUSTODIAL FUNDS
          MRS. KIM RODRIGUEZ-TORRES              DIVISION
          1629 METAIRIE ROAD, SUITE 3            228 ST. CHARLES AVENUE
          METAIRIE LA 70005                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.257.   PONTIFICAL MISSION SOCIETIES           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $268,186.76
          1000 HOWARD AVENUE                     CORPORATE TRUST               CUSTODIAL FUNDS ON
          SUITE 1213                             DIVISION                      DEPOSIT
          NEW ORLEANS LA 70113                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

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          Owner’s name and address               Location of the property      Description of the property   Value

21.258.   PREACHER MAN FUND                      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $178,290.92
          MR. AND MRS. RICHARD R. SMITH          CORPORATE TRUST               CUSTODIAL FUNDS
          2911 AUDUBON TRACE                     DIVISION
          JEFFERSON LA 70121                     228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.259.   PROJECT LAZARUS                        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $164,380.57
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS
          2015 LOUISIANA AVE.                    DIVISION
          NEW ORLEANS LA 70115-5294              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.260.   PROJECT LAZARUS                        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,397,480.99
          FINANCE & HR MANAGER                   CORPORATE TRUST               CUSTODIAL FUNDS ON
          P.O. BOX 3906                          DIVISION                      DEPOSIT
          NEW ORLEANS LA 70177                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.261.   RESURRECTION OF OUR LORD CHURCH        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,246,148.00
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. GEOFFREY O. MUGA F.M.H.           DIVISION
          9701 HAMMOND ST.                       228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70127-3519              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.262.   RESURRECTION OF OUR LORD PARISH        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $950,016.85
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          9701 HAMMOND ST.                       DIVISION                      DEPOSIT
          NEW ORLEANS LA 70127-3519              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.263.   RESURRECTION OF OUR LORD SCHOOL        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $243,789.99
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          9701 HAMMOND ST.                       DIVISION                      DEPOSIT
          NEW ORLEANS LA 70127-3519              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.264.   REV. JULES A. VITTE                    HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $182,266.37
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.265.   REV. MSGR. ANDREW C. TAORMINA          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $34,532.23
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JOSEPH PALERMO                    DIVISION
          444 METAIRIE ROAD                      228 ST. CHARLES AVENUE
          METAIRE LA 70005-4307                  NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.266.   REV. MSGR. CHARLES F. AUCOIN           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $43,671.26
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          RT. REV JUSTIN BROWN O.S.B.            DIVISION
          75376 RIVER ROAD                       228 ST. CHARLES AVENUE
          ST. BENEDICT LA 70457                  NEW ORLEANS LA 70130

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          Owner’s name and address               Location of the property      Description of the property   Value

21.267.   REV. WILLIAM J. MCGOUGH                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $46,011.37
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. WILLIAM J. MCGOUGH                DIVISION
          309 W. 9TH AVE.                        228 ST. CHARLES AVENUE
          COVINGTON LA 70433-3649                NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.268.   REVEREND MSGR. MARION F. SCHUTTEN      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $467,351.82
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          RT. REV JUSTIN BROWN O.S.B. ABBOT      DIVISION
          75376 RIVER ROAD                       228 ST. CHARLES AVENUE
          ST. BENEDICT LA 70457                  NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.269.   REVEREND PIOVAN ENDOWMENT              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $27,909.68
          VERY REV. WALTER J. AUSTIN V.F.        CORPORATE TRUST               CUSTODIAL FUNDS
          799 FAIRWAY DRIVE                      DIVISION
          LAPLACE LA 70068-2007                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.270.   ROBERT WISEMAN ENDOWMENT FUND          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $39,148.27
          REV. ROMAN BURGOS                      CORPORATE TRUST               CUSTODIAL FUNDS
          1404 ERATO STREET                      DIVISION
          NEW ORLEANS LA 70130                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.271.   ROBIN R & PAMELA F MINGO FAMILY        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,058,689.36
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MR. AND MRS. ROBIN R. MINGO            DIVISION
          P.O. BOX 314                           228 ST. CHARLES AVENUE
          COVINGTON LA 70434                     NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.272.   SACRED HEART OF JESUS PARISH           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $211,632.06
          ACCOUNTING.                            CORPORATE TRUST               CUSTODIAL FUNDS ON
          7887 WALMSLEY AVE.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70125                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.273.   SCHOTT                                 HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $257,323.83
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.274.   SCHULTE                                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $915,711.56
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939




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          Owner’s name and address               Location of the property      Description of the property   Value

21.275.   SCHULTE TESTAMENTARY TRUST             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $291,114.11
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.276.   SECOND HARVEST FOOD BANK               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $115.55
          ATTN: ANNETTE LEBLANC                  CORPORATE TRUST               CUSTODIAL FUNDS ON
          700 EDWARDS AVENUE                     DIVISION                      DEPOSIT
          HARAHAN LA 70123                       228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.277.   SISTER ANTHONY BARCZYKOWSKI, D.C.      HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,185.19
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          SR. ANTHONY BARCZYKOWSKI D.C.          DIVISION
          2820 BURDETTE ST.                      228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.278.   SISTERS OF THE HOLY FAMILY             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $18,452.80
          SR. LEONA BRUNER CONGREGATIONAL        CORPORATE TRUST               CUSTODIAL FUNDS
          LEADER                                 DIVISION
          6901 CHEF MENTEUR HWY.                 228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70126-5215              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.279.   SISTERS OF THE SPIRIT OF JESUS         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $13,829.98
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          MR. CORY J. HOWAT EXECUTIVE            DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVENUE                     NEW ORLEANS LA 70130
          SUITE 800
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.280.   SOCIETY OF THE HOLY FAMILY             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $154,824.70
          SR. LEONA BRUNER CONGREGATIONAL        CORPORATE TRUST               CUSTODIAL FUNDS
          LEADER                                 DIVISION
          6901 CHEF MENTEUR HWY.                 228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70126-5215              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.281.   SOUTHERN DOMINICAN PROVINCE, USA       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $3,892,042.34
          REV. JOHN DOMINIC SIMS, O.P.           CORPORATE TRUST               CUSTODIAL FUNDS
          P.O. BOX 8129                          DIVISION
          NEW ORLEANS LA 70182-8129              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.282.   SR IMELDA MORIARTY ENDOWMENT           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $50,236.71
          FUND - ST. CATHERINE OF SIENA          CORPORATE TRUST               CUSTODIAL FUNDS
          SCHOOL                                 DIVISION
          REV. TIMOTHY HEDRICK                   228 ST. CHARLES AVENUE
          105 BONNABEL BLVD.                     NEW ORLEANS LA 70130
          METAIRIE LA 70005




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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.283.   ST JOHN BOSCO PARISH ENDOWMENT         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $315,567.14
          REV. MARK HYDE, S.D.B.                 CORPORATE TRUST               CUSTODIAL FUNDS
          2114 OAKMERE DR.                       DIVISION
          HARVEY LA 70058                        228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.284.   ST. AGNES CHURCH PARISH                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $254,646.12
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. BAC-HAI V. TRAN                   DIVISION
          3310 JEFFERSON HWY.                    228 ST. CHARLES AVENUE
          JEFFERSON LA 70121-2619                NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.285.   ST. AGNES LE THI THANH PARISH          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $948,000.44
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6851 EIGHTH ST.                        DIVISION                      DEPOSIT
          MARRERO LA 70072-2556                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.286.   ST. AGNES PARISH                       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $148,173.80
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          3310 JEFFERSON HWY.                    DIVISION                      DEPOSIT
          JEFFERSON LA 70121-2699                228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.287.   ST. ALPHONSUS PARISH                   HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $186,448.05
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2030 CONSTANCE ST.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70130-5099              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.288.   ST. ALPHONSUS PARISH LEGACY FUND       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $16,776.97
          REV. ALLEN WEINERT, C.SS.R.            CORPORATE TRUST               CUSTODIAL FUNDS
          2030 CONSTANCE ST.                     DIVISION
          NEW ORLEANS LA 70130-5399              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.289.   ST. ALPHONSUS SCHOOL                   HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $523,445.51
          SR. STEPHANIE MILLER                   CORPORATE TRUST               CUSTODIAL FUNDS ON
          2001 CONSTANCE STREET                  DIVISION                      DEPOSIT
          NEW ORLEANS LA 70130-5094              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.290.   ST. ANDREW THE APOSTLE                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $5,971.72
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          3101 ETON ST.                          DIVISION                      DEPOSIT
          NEW ORLEANS LA 70131-5399              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.291.   ST. ANDREW THE APOSTLE SCHOOL          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $276,534.49
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          3101 ETON STREET                       DIVISION                      DEPOSIT
          NEW ORLEANS LA 70131                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.292.   ST. ANDREW THE APOSTLE SCHOOL          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,614,426.81
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. JOHN F. TALAMO JR., V.F.     DIVISION
          3101 ETON STREET                       228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70131                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.293.   ST. ANGELA MERICI PARISH               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $84,747.65
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          901 BEVERLY GARDENS DR.                DIVISION                      DEPOSIT
          METAIRIE LA 70002-5085                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.294.   ST. ANGELA MERICI SCHOOL               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $594,040.39
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          835 MELODY DR.                         DIVISION                      DEPOSIT
          METAIRIE LA 70002-5095                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.295.   ST. ANN PARISH                         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,359,016.29
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          4940 MEADOWDALE ST.                    DIVISION                      DEPOSIT
          METAIRIE LA 70006-4040                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.296.   ST. ANN SCHOOL                         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $4,691,874.20
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          4921 MEADOWDALE ST.                    DIVISION                      DEPOSIT
          METAIRIE LA 70006-4098                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.297.   ST. ANN SCHOOL                         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $94,807.34
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS
          4940 MEADOWDALE ST.                    DIVISION
          METAIRIE LA 70006-4040                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.298.   ST. ANSELM PARISH                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,214,411.46
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          306 ST. MARY ST.                       DIVISION                      DEPOSIT
          MADISONVILLE LA 70447-9473             228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.299.   ST. ANTHONY OF PADUA CHURCH-NEW        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $15,307.28
          ORLEANS                                CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JOHN DOMINIC SIMS, O.P.           DIVISION
          4640 CANAL STREET                      228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70119-5808              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.300.   ST. ANTHONY OF PADUA PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $164,034.48
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          4640 CANAL STREET                      DIVISION                      DEPOSIT
          NEW ORLEANS LA 70119-5892              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.301.   ST. ANTHONY OF PADUA SCHOOL            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $121,583.08
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          4601 CLEVELAND AVE.                    DIVISION                      DEPOSIT
          NEW ORLEANS LA 70119-5893              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.302.   ST. ANTHONY PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $26,013.66
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2653 JEAN LAFITTE BLVD.                DIVISION                      DEPOSIT
          LAFITTE LA 70067-9714                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.303.   ST. ANTHONY SCHOOL                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $48,111.62
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          900 FRANKLIN AVENUE                    DIVISION                      DEPOSIT
          GRETNA LA 70053-2224                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.304.   ST. ANTHONY SCHOOL-GRETNA              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $125,989.86
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          REV. GARY R. COPPING PASTOR            DIVISION
          610 6TH ST.                            228 ST. CHARLES AVENUE
          GRETNA LA 70053-6042                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.305.   ST. AUGUSTINE PARISH                   HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $3,473.16
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1210 GOVERNOR NICHOLLS ST              DIVISION                      DEPOSIT
          NEW ORLEANS LA 70116-2324              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.306.   ST. BENEDICT PARISH                    HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $156,430.81
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          20370 SMITH ROAD                       DIVISION                      DEPOSIT
          COVINGTON LA 70435                     228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.307.   ST. BENILDE PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $335,264.34
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1901 DIVISION ST.                      DIVISION                      DEPOSIT
          METAIRIE LA 70001-2798                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.308.   ST. BENILDE SCHOOL                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $55,509.90
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          1901 DIVISION ST.                      DIVISION                      DEPOSIT
          METAIRIE LA 70001-2799                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.309.   ST. BERNARD CATHOLIC CHURCH            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $6,799.49
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. HOANG TUONG                       DIVISION
          P.O. BOX 220                           228 ST. CHARLES AVENUE
          ST. BERNARD LA 70085                   NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.310.   ST. BERNARD PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $115,856.17
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2805 BAYOU RD.                         DIVISION                      DEPOSIT
          ST. BERNARD LA 70085-9748              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.311.   ST. BONAVENTURE PARISH                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $13,760.93
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          329 SOUTH JAMIE BLVD.                  DIVISION                      DEPOSIT
          AVONDALE LA 70094-2821                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.312.   ST. BRIGID PARISH                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $38,309.96
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          13413 GRANVILLE ST.                    DIVISION                      DEPOSIT
          NEW ORLEANS LA 70129-1210              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.313.   ST. CATHERINE OF SIENA CHURCH          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $3,882.30
          REV. TIMOTHY HEDRICK                   CORPORATE TRUST               CUSTODIAL FUNDS
          105 BONNABEL BLVD.                     DIVISION
          METAIRIE LA 70005                      228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.314.   ST. CATHERINE OF SIENA PARISH          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $980,391.39
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          105 BONNABEL BLVD.                     DIVISION                      DEPOSIT
          METAIRIE LA 70005-3798                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.315.   ST. CATHERINE OF SIENA SCHOOL          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $186,862.10
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          105 BONNABEL BLVD.                     DIVISION                      DEPOSIT
          METAIRIE LA 70005-3736                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.316.   ST. CHARLES BORROMEO PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $48,781.04
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          P.O. BOX 428                           DIVISION                      DEPOSIT
          DESTREHAN LA 70047-0428                228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.317.   ST. CHARLES BORROMEO SCHOOL            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $100,856.82
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          PO BOX 428                             DIVISION                      DEPOSIT
          DESTREHAN LA 70047                     228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.318.   ST. CHARLES BORROMEO SCHOOL            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $3,882.30
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          REV. DOMINIC ARCURI                    DIVISION
          P.O. BOX 428                           228 ST. CHARLES AVENUE
          DESTREHAN LA 70047-0428                NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.319.   ST. CHRISTOPHER PARISH                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $53,211.27
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          309 MANSON AVE.                        DIVISION                      DEPOSIT
          METAIRIE LA 70001-4898                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.320.   ST. CHRISTOPHER THE MARTYR             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $50,947.76
          CHURCH ENDOWMENT                       CORPORATE TRUST               CUSTODIAL FUNDS
          REV. RAYMOND IGBOGIDI                  DIVISION
          309 MANSON AVE.                        228 ST. CHARLES AVENUE
          METAIRIE LA 70001                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.321.   ST. CHRISTOPHER THE MARTYR             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $126,717.03
          SCHOOL                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          PRINCIPAL                              DIVISION                      DEPOSIT
          3900 DERBIGNY STREET                   228 ST. CHARLES AVENUE
          METAIRIE LA 70001-4999                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.322.   ST. CLEMENT OF ROME CHURCH             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $73,389.59
          REV. LUIS F. RODRIGUEZ                 CORPORATE TRUST               CUSTODIAL FUNDS
          4317 RICHLAND AVE                      DIVISION
          METAIRIE LA 70002-3097                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.323.   ST. CLEMENT OF ROME PARISH             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $386,794.25
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          4317 RICHLAND AVE.                     DIVISION                      DEPOSIT
          METAIRIE LA 70002-3097                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.324.   ST. CLEMENT OF ROME SCHOOL             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $816,988.42
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          3978 W. ESPLANADE AVE.                 DIVISION                      DEPOSIT
          METAIRIE LA 70002-3099                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.325.   ST. CLEMENT OF ROME SCHOOL             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $37,751.47
          REV. LUIS F. RODRIGUEZ                 CORPORATE TRUST               CUSTODIAL FUNDS
          4317 RICHLAND AVE                      DIVISION
          METAIRIE LA 70002-3097                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.326.   ST. CLETUS PARISH                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $303,640.30
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          3600 CLAIRE AVE.                       DIVISION                      DEPOSIT
          GRETNA LA 70053-7699                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.327.   ST. CLETUS SCHOOL                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,132,334.43
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          3610 CLAIRE AVE.                       DIVISION                      DEPOSIT
          GRETNA LA 70053                        228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.328.   ST. DAVID PARISH                       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $507,754.98
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          5617 ST. CLAUDE AVENUE                 DIVISION                      DEPOSIT
          NEW ORLEANS LA 70117-2533              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.329.   ST. DOMINIC CHURCH ENDOWMENT           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $507,641.30
          REV. JOHN G. RESTREPO O.P.             CORPORATE TRUST               CUSTODIAL FUNDS
          775 HARRISON AVE.                      DIVISION
          NEW ORLEANS LA 70124-3155              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.330.   ST. DOMINIC PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $152,389.19
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          775 HARRISON AVE.                      DIVISION                      DEPOSIT
          NEW ORLEANS LA 70124-3192              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.331.   ST. DOMINIC SCHOOL                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $439,960.81
          ATTN: PRINCIPAL                        CORPORATE TRUST               CUSTODIAL FUNDS ON
          6326 MEMPHIS STREET                    DIVISION                      DEPOSIT
          NEW ORLEANS LA 70124-3199              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.332.   ST. DOMINIC SCHOOL ENDOWMENT           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $91,027.99
          REV. JOHN G. RESTREPO O.P.             CORPORATE TRUST               CUSTODIAL FUNDS
          775 HARRISON AVE.                      DIVISION
          NEW ORLEANS LA 70124-3155              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.333.   ST. EDWARD THE CONFESSOR PARISH        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,901,136.10
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          4921 W. METAIRIE AVE.                  DIVISION                      DEPOSIT
          METAIRIE LA 70001-4466                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.334.   ST. EDWARD THE CONFESSOR SCHOOL        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $509,061.71
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          4901 WEST METAIRIE AVE.                DIVISION                      DEPOSIT
          METAIRIE LA 70001-4496                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.335.   ST. ELIZABETH ANN SETON SCHOOL         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,479,283.79
          4335 SAL LENTINI PKWY.                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          KENNER LA 70065                        DIVISION                      DEPOSIT
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.336.   ST. FRANCIS ASSISI CHURCH              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $561,918.87
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          REV. MICHAEL J. SCHNELLER              DIVISION
          631 STATE ST.                          228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118                   NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.337.   ST. FRANCIS OF ASSISI PARISH           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $767,838.78
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          631 STATE STREET                       DIVISION                      DEPOSIT
          NEW ORLEANS LA 70118-5899              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.338.   ST. FRANCIS XAVIER PARISH              HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $333,878.73
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          448 METAIRIE RD.                       DIVISION                      DEPOSIT
          METAIRIE LA 70005-4371                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.339.   ST. FRANCIS XAVIER SCHOOL              HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $124,446.45
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          448 METAIRIE ROAD                      DIVISION                      DEPOSIT
          METAIRIE LA 70005                      228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.340.   ST. FRANCIS XAVIER SCHOOL              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $561,918.87
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JOSEPH PALERMO                    DIVISION
          444 METAIRIE ROAD                      228 ST. CHARLES AVENUE
          METAIRE LA 70005-4307                  NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.341.   ST. GABRIEL THE ARCHANGEL PARISH       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $68,254.43
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          4700 PINEDA STREET                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70126-3599              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.342.   ST. GENEVIEVE PARISH                   HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $181,661.99
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          58025 ST. GENEVIEVE LANE               DIVISION                      DEPOSIT
          SLIDELL LA 70460                       228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.343.   ST. GERTRUDE PARISH                    HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $115,877.32
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          17292 LOUISIANA HWY. 631               DIVISION                      DEPOSIT
          DES ALLEMANDS LA 70030                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.344.   ST. HENRY PARISH                       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $441,219.37
          GOOD SHEPHERD PARISH                   CORPORATE TRUST               CUSTODIAL FUNDS ON
          1025 NAPOLEON AVE.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70115                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.345.   ST. JAMES MAJOR PARISH                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $712,059.10
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          3736 GENTILLY BLVD.                    DIVISION                      DEPOSIT
          NEW ORLEANS LA 70122-6199              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.346.   ST. JANE DE CHANTAL PARISH             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $61,892.62
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          P.O. BOX 1870                          DIVISION                      DEPOSIT
          ABITA SPRINGS LA 70420-1870            228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.347.   ST. JEROME PARISH                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $11,897.43
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2400 33RD ST.                          DIVISION                      DEPOSIT
          KENNER LA 70065-3899                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.348.   ST. JOACHIM PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $135.95
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          5505 BARATARIA BLVD.                   DIVISION                      DEPOSIT
          MARRERO LA 70072-6660                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.349.   ST. JOAN GERMAIN                       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $17,310.92
          REV. PATRICK E. COLLUM                 CORPORATE TRUST               CUSTODIAL FUNDS
          529 W. 5TH STREET                      DIVISION
          LAPLACE LA 70068                       228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.350.   ST. JOAN OF ARC PARISH                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $246,997.84
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          8321 BURTHE ST.                        DIVISION                      DEPOSIT
          NEW ORLEANS LA 70118-1195              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.351.   ST. JOAN OF ARC SCHOOL                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $213,178.34
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          919 CAMBRONNE STREET                   DIVISION                      DEPOSIT
          NEW ORLEANS LA 70118-1199              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.352.   ST. JOHN BERCHMANS EARLY               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $9,712.33
          CHILDHOOD DEVELOPMENT CENTER           CORPORATE TRUST               CUSTODIAL FUNDS
          SR. LEONA BRUNER SR. ALICIA COSTA,     DIVISION
          S.S.F.                                 228 ST. CHARLES AVENUE
          6901 CHEF MENTEUR HWY.                 NEW ORLEANS LA 70130
          NEW ORLEANS LA 70126-5215

          Owner’s name and address               Location of the property      Description of the property   Value

21.353.   ST. JOHN BOSCO PARISH                  HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $524,067.29
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2114 OAKMERE DR.                       DIVISION                      DEPOSIT
          HARVEY LA 70058-2275                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.354.   ST. JOHN OF THE CROSS PARISH           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $4,198.30
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          61030 BRIER LAKE DR.                   DIVISION                      DEPOSIT
          LACOMBE LA 70445-2911                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.355.   ST. JOHN THE BAPTIST CHURCH            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $36,665.25
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JOSEPH D. DZIEN                   DIVISION
          P.O. BOX 1498                          228 ST. CHARLES AVENUE
          PARADIS, LA 70080-1498                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.356.   ST. JOHN THE BAPTIST PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $14,142.27
          REV. STANLEY KLORES; S.T.D.            CORPORATE TRUST               CUSTODIAL FUNDS ON
          724 CAMP STREET                        DIVISION                      DEPOSIT
          NEW ORLEANS LA 70130-3757              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.357.   ST. JOHN THE BAPTIST PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $301,781.39
          REV. STANLEY KLORES; S.T.D.            CORPORATE TRUST               CUSTODIAL FUNDS ON
          724 CAMP STREET                        DIVISION                      DEPOSIT
          NEW ORLEANS LA 70130-3757              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.358.   ST. JOSEPH CHURCH - ST. VINCENT DE     HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $71,050.99
          PAUL, GRETNA                           CORPORATE TRUST               CUSTODIAL FUNDS
          REV. GARY R. COPPING PASTOR            DIVISION
          610 6TH ST.                            228 ST. CHARLES AVENUE
          GRETNA LA 70053-6042                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.359.   ST. JOSEPH CHURCH ENDOWMENT            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $567,763.56
          FUND-NO - POOL                         CORPORATE TRUST               CUSTODIAL FUNDS
          REV. TOM STEHLIK C.M.                  DIVISION
          1802 TULANE AVE.                       228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70112                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.360.   ST. JOSEPH CHURCH PATRIMONY            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $891,071.18
          ENDOWMENT FUND-GRETNA                  CORPORATE TRUST               CUSTODIAL FUNDS
          REV. GARY R. COPPING PASTOR            DIVISION
          610 6TH ST.                            228 ST. CHARLES AVENUE
          GRETNA LA 70053-6042                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.361.   ST. JOSEPH OF ARIMATHEA PRIEST         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $71,050.99
          RECOVERY ENDOWMENT                     CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. PATRICK J. WILLIAMS V.G.     DIVISION
          6666 SPANISH FORT BLVD.                228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70124                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.362.   ST. JOSEPH PARISH                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $8,085.87
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1802 TULANE AVENUE                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70112-2246              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.363.   ST. JOSEPH PARISH                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $73,597.27
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1802 TULANE AVENUE                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70112-2246              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.364.   ST. JOSEPH PARISH ENDOWMENT-HOCK       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $168,858.88
          WHITE                                  CORPORATE TRUST               CUSTODIAL FUNDS
          REV. GARY R. COPPING PASTOR            DIVISION
          610 6TH ST.                            228 ST. CHARLES AVENUE
          GRETNA LA 70053-6042                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.365.   ST. JOSEPH THE WORKER PARISH           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $100,578.65
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          455 AMES BLVD.                         DIVISION                      DEPOSIT
          MARRERO LA 70072-1599                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.366.   ST. JOSEPHCHURCH                       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $666,585.72
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6450 KATHY CT.                         DIVISION                      DEPOSIT
          NEW ORLEANS LA 70131-7515              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.367.   ST. JUDE COMMUNITY CENTER              HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $57,310.62
          REV. MICHAEL AMESSE O.M.I.             CORPORATE TRUST               CUSTODIAL FUNDS ON
          411 NORTH RAMPART STREET               DIVISION                      DEPOSIT
          NEW ORLEANS LA 70112-3594              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.368.   ST. KATHARINE DREXEL MONUMENT          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $47,599.08
          ENDOWMENT (ST. RITA-NOLA)              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. MSGR. HENRY BUGLER                DIVISION
          6500 KAWANEE AVE.                      228 ST. CHARLES AVENUE
          METAIRIE LA 70003                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.369.   ST. KATHARINE DREXEL PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $247,273.59
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2015 LOUISIANA AVE.                    DIVISION                      DEPOSIT
          NEW ORLEANS LA 70115-5294              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.370.   ST. LAWRENCE THE MARTYR PARISH         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1.56
          ACCOUNTING OFFICE                      CORPORATE TRUST               CUSTODIAL FUNDS ON
          7887 WALMSLEY AVE.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70125                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.371.   ST. LEO THE GREAT SCHOOL               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $30,088.16
          1501 ABUNDANCE STREET                  CORPORATE TRUST               CUSTODIAL FUNDS ON
          NEW ORLEANS LA 70119-2098              DIVISION                      DEPOSIT
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.372.   ST. LOUIS KING OF FRANCE PARISH        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $51,631.47
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1609 CARROLLTON AVE.                   DIVISION                      DEPOSIT
          METAIRIE LA 70005-1498                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.373.   ST. LOUIS KING OF FRANCE PARISH        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $253,991.65
          REV. MARK RAPHAEL                      CORPORATE TRUST               CUSTODIAL FUNDS
          1609 CARROLTON AVENUE                  DIVISION
          METAIRIE LA 70005                      228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.374.   ST. LOUISE DE MARILLAC PARISH          HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $81,107.54
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6800 PATRICIA STREET                   DIVISION                      DEPOSIT
          ARABI LA 70032-1496                    228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.375.   ST. LUKE THE EVANGELIST PARISH         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $73,599.04
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          910 CROSS GATES BLVD.                  DIVISION                      DEPOSIT
          SLIDELL LA 70461-8414                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.376.   ST. LUKE THE EVANGELIST PARISH         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $5,292.09
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. PATRICK B. WATTIGNY               DIVISION
          910 CROSS GATES BLVD.                  228 ST. CHARLES AVENUE
          SLIDELL LA 70461                       NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.377.   ST. MARGARET MARY CHURCH               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $37,916.43
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. EDWARD M. GRICE                   DIVISION
          1050 ROBERT BLVD.                      228 ST. CHARLES AVENUE
          SLIDELL LA 70458-2098                  NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.378.   ST. MARGARET MARY PARISH               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $111,909.02
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1050 ROBERT BLVD.                      DIVISION                      DEPOSIT
          SLIDELL LA 70458-2098                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.379.   ST. MARGARET MARY SCHOOL               HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $390,591.89
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          1050-A ROBERT BLVD                     DIVISION                      DEPOSIT
          SLIDELL LA 70458                       228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.380.   ST. MARGARET MARY SCHOOL               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $440,508.28
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          REV. EDWARD M. GRICE                   DIVISION
          1050 ROBERT BLVD.                      228 ST. CHARLES AVENUE
          SLIDELL LA 70458-2098                  NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.381.   ST. MARGARET MARY SCHOOL               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $68,426.50
          SCHOLARSHIP ENDOWMENT                  CORPORATE TRUST               CUSTODIAL FUNDS
          REV. EDWARD M. GRICE                   DIVISION
          1050 ROBERT BLVD.                      228 ST. CHARLES AVENUE
          SLIDELL LA 70458-2098                  NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                               Case number (if known) 20-10846

          Owner’s name and address                  Location of the property      Description of the property   Value

21.382.   ST. MARIA GORETTI PARISH                  HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $2,234,680.87
          PASTOR                                    CORPORATE TRUST               CUSTODIAL FUNDS ON
          7300 CROWDER BLVD.                        DIVISION                      DEPOSIT
          NEW ORLEANS LA 70127-1599                 228 ST. CHARLES AVENUE
                                                    NEW ORLEANS LA 70130

          Owner’s name and address                  Location of the property      Description of the property   Value

21.383.   ST. MARK PARISH                           HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $91,926.59
          PASTOR                                    CORPORATE TRUST               CUSTODIAL FUNDS ON
          10773 RIVER ROAD                          DIVISION                      DEPOSIT
          .                                         228 ST. CHARLES AVENUE
          AMA LA 70031-0556                         NEW ORLEANS LA 70130

          Owner’s name and address                  Location of the property      Description of the property   Value

21.384.   ST. MARTHA PARISH                         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $701,235.19
          PASTOR                                    CORPORATE TRUST               CUSTODIAL FUNDS ON
          2555 APOLLO DRIVE                         DIVISION                      DEPOSIT
          HARVEY LA 70058-5813                      228 ST. CHARLES AVENUE
                                                    NEW ORLEANS LA 70130

          Owner’s name and address                  Location of the property      Description of the property   Value

21.385.   ST. MARY MAGDALEN CHURCH                  HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $8,271.70
          ENDOWMENT                                 CORPORATE TRUST               CUSTODIAL FUNDS
          REV. CHRISTIAN W. DELERNO JR.             DIVISION
          6425 WEST METAIRIE AVE.                   228 ST. CHARLES AVENUE
          METAIRIE LA 70003                         NEW ORLEANS LA 70130

          Owner’s name and address                  Location of the property      Description of the property   Value

21.386.   ST. MARY MAGDALEN PARISH                  HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $31,996.16
          PASTOR                                    CORPORATE TRUST               CUSTODIAL FUNDS ON
          6425 WEST METAIRIE AVE.                   DIVISION                      DEPOSIT
          METAIRIE LA 70003-4327                    228 ST. CHARLES AVENUE
                                                    NEW ORLEANS LA 70130

          Owner’s name and address                  Location of the property      Description of the property   Value

21.387.   ST. MARY MAGDALEN SCHOOL                  HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $36,452.74
          PRINCIPAL                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6421 WEST METAIRIE AVE.                   DIVISION                      DEPOSIT
          METAIRIE LA 70003-4395                    228 ST. CHARLES AVENUE
                                                    NEW ORLEANS LA 70130

          Owner’s name and address                  Location of the property      Description of the property   Value

21.388.   ST. MARY MAGDALEN SCHOOL                  HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $182,706.19
          ENDOWMENT-RAGAS                           CORPORATE TRUST               CUSTODIAL FUNDS
          REV. CHRISTIAN W. DELERNO JR.             DIVISION
          6425 WEST METAIRIE AVE.                   228 ST. CHARLES AVENUE
          METAIRIE LA 70003                         NEW ORLEANS LA 70130

          Owner’s name and address                  Location of the property      Description of the property   Value

21.389.   ST. MARY OF THE ANGELS PARISH             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $643,777.52
          PASTOR                                    CORPORATE TRUST               CUSTODIAL FUNDS ON
          3501 N. MIRO ST.                          DIVISION                      DEPOSIT
          NEW ORLEANS LA 70117-5899                 228 ST. CHARLES AVENUE
                                                    NEW ORLEANS LA 70130

          Owner’s name and address                  Location of the property      Description of the property   Value

21.390.   ST. MARY'S ACADEMY OF THE HOLY            HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $11,508.46
          FAMILY                                    CORPORATE TRUST               CUSTODIAL FUNDS
          SR. LEONA BRUNER CONGREGATIONAL           DIVISION
          LEADER                                    228 ST. CHARLES AVENUE
          6901 CHEF MENTEUR HWY.                    NEW ORLEANS LA 70130
          NEW ORLEANS LA 70126-5215

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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.391.   ST. MATTHEW THE APOSTLE PARISH         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $939,546.77
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          10021 JEFFERSON HIGHWAY                DIVISION                      DEPOSIT
          RIVER RIDGE LA 70123-2498              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.392.   ST. MATTHEW THE APOSTLE SCHOOL         HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $307,821.35
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          10021 JEFFERSON HWY.                   DIVISION                      DEPOSIT
          RIVER RIDGE LA 70123-2498              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.393.   ST. MICHAEL BLUE ROSE ENDOWMENT        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $908,005.31
          MS. ROMAINE MCCARTHY PRINCIPAL         CORPORATE TRUST               CUSTODIAL FUNDS
          1522 CHIPPEWA STREET                   DIVISION
          NEW ORLEANS LA 70130                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.394.   ST. NICHOLAS OF MYRA PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $91,231.24
          21420 CHEF MENTEUR HWY.                CORPORATE TRUST               CUSTODIAL FUNDS ON
          NEW ORLEANS LA 70129                   DIVISION                      DEPOSIT
                                                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.395.   ST. PATRICK PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $835,812.10
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          724 CAMP ST.                           DIVISION                      DEPOSIT
          NEW ORLEANS LA 70130-3757              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.396.   ST. PATRICK PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $527,320.47
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          724 CAMP ST.                           DIVISION                      DEPOSIT
          NEW ORLEANS LA 70130-3757              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.397.   ST. PAUL THE APOSTLE PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,094,313.12
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6828 CHEF MENTEUR HWY.                 DIVISION                      DEPOSIT
          NEW ORLEANS LA 70126-5297              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.398.   ST. PETER CHURCH (COVINGTON)           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $512,187.76
          REV. OTIS W. YOUNG JR PASTOR           CORPORATE TRUST               CUSTODIAL FUNDS
          125 EAST 19TH AVE.                     DIVISION
          COVINGTON LA 70433                     228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.399.   ST. PETER CLAVER PARISH                HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $103,434.10
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          1923 ST. PHILIP ST.                    DIVISION                      DEPOSIT
          NEW ORLEANS LA 70116-2199              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.400.   ST. PETER PARISH                       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $372,662.80
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          125 E. 19TH AVE.                       DIVISION                      DEPOSIT
          COVINGTON LA 70433-3195                228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.401.   ST. PETER PARISH                       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $41,018.33
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          125 E. 19TH AVE.                       DIVISION                      DEPOSIT
          COVINGTON LA 70433-3195                228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.402.   ST. PETER SCHOOL                       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,970,909.02
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          130 E. TEMPERANCE STREET               DIVISION                      DEPOSIT
          COVINGTON LA 70433-3196                228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.403.   ST. PETER SCHOOL (COVINGTON)           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $71,379.85
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. OTIS W. YOUNG JR PASTOR           DIVISION
          125 EAST 19TH AVE.                     228 ST. CHARLES AVENUE
          COVINGTON LA 70433                     NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.404.   ST. PETER SCHOOL (RESERVE)             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $8,076.16
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          MRS. MARIE COMEAUX PRINCIPAL           DIVISION
          188 WEST 7TH ST.                       228 ST. CHARLES AVENUE
          RESERVE LA 70084                       NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.405.   ST. PHILIP NERI PARISH                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $763,717.13
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6500 KAWANEE AVE.                      DIVISION                      DEPOSIT
          METAIRIE LA 70003-3298                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.406.   ST. PHILIP NERI SCHOOL                 HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $120,503.02
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          6500 KAWANEE AVE.                      DIVISION                      DEPOSIT
          METAIRIE LA 70003-3199                 228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.407.   ST. PIUS X "PILLARS OF PIUS"           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $440,957.04
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. PATRICK J. WILLIAMS V.G.     DIVISION
          6666 SPANISH FORT BLVD.                228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70124                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.408.   ST. PIUS X CHURCH ENDOWMENT FUND       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $8,104.87
          VERY REV. PATRICK J. WILLIAMS V.G.     CORPORATE TRUST               CUSTODIAL FUNDS
          6666 SPANISH FORT BLVD.                DIVISION
          NEW ORLEANS LA 70124                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.409.   ST. PIUS X PARISH                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $90,743.43
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6666 SPANISH FORT BLVD.                DIVISION                      DEPOSIT
          NEW ORLEANS LA 70124-4398              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.410.   ST. PIUS X SCHOOL                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $52,404.46
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6666 SPANISH FORT BLVD.                DIVISION                      DEPOSIT
          NEW ORLEANS LA 70124-4398              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.411.   ST. PIUS X TUITION ASSISTANCE          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $50,752.02
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          VERY REV. PATRICK J. WILLIAMS V.G.     DIVISION
          6666 SPANISH FORT BLVD.                228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70124                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.412.   ST. RAYMOND & ST. LEO THE GREAT        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $1,755,590.18
          PARISH                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          PASTOR                                 DIVISION                      DEPOSIT
          2916 PARIS AVE.                        228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70119-1840              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.413.   ST. RAYMOND PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $46,939.41
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          3738 PARIS AVENUE                      DIVISION                      DEPOSIT
          NEW ORLEANS LA 70122-2399              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.414.   ST. RAYMOND-ST. LEO THE GREAT          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $30,310.89
          CHURCH ENDOWMENT                       CORPORATE TRUST               CUSTODIAL FUNDS
          REV. ANTHONY M. BOZEMAN S.S.J.         DIVISION
          2916 PARIS AVE.                        228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70119-1940              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.415.   ST. RITA CHURCH (HARAHAN)              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $145,170.52
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. STEVEN B. BRUNO                   DIVISION
          7100 JEFFERSON HWY.                    228 ST. CHARLES AVENUE
          HARAHAN LA 70123                       NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.416.   ST. RITA CHURCH/RONIGER (NEW           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $88,738.14
          ORLEANS)                               CORPORATE TRUST               CUSTODIAL FUNDS
          REV. PETER FINNEY III                  DIVISION
          2729 LOWERLINE ST.                     228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125-3599              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.417.   ST. RITA PARISH                        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $151,560.58
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2729 LOWERLINE ST.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70125-3599              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130



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          Owner’s name and address               Location of the property      Description of the property   Value

21.418.   ST. RITA SCHOOL                        HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $626,633.70
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          65 FOUNTAINEBLEAU DR.                  DIVISION                      DEPOSIT
          NEW ORLEANS LA 70125-3495              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.419.   ST. RITA SCHOOL (HARAHAN)              HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $278,342.87
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. STEVEN B. BRUNO                   DIVISION
          7100 JEFFERSON HWY.                    228 ST. CHARLES AVENUE
          HARAHAN LA 70123                       NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.420.   ST. RITA SCHOOL/RONIGER (NEW           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $52,269.86
          ORLEANS)                               CORPORATE TRUST               CUSTODIAL FUNDS
          REV. PETER FINNEY III                  DIVISION
          2729 LOWERLINE ST.                     228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125-3599              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.421.   ST. ROBERT BELLARMINE SEMINARIAN       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $504,620.47
          SUPPORT FUND                           CORPORATE TRUST               CUSTODIAL FUNDS
          REV. COLM CAHILL                       DIVISION
          VOCATIONS OFFICE                       228 ST. CHARLES AVENUE
          7887 WALMSLEY BLVD.                    NEW ORLEANS LA 70130
          NEW ORLEANS LA 70125

          Owner’s name and address               Location of the property      Description of the property   Value

21.422.   ST. ROSALIE PARISH                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $4,420.45
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          600 SECOND AVE.                        DIVISION                      DEPOSIT
          HARVEY LA 70058-2799                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.423.   ST. ROSALIE SCHOOL                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $629,350.43
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          617 SECOND AVENUE                      DIVISION                      DEPOSIT
          HARVEY LA 70058-2798                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.424.   ST. ROSE OF LIMA PARISH                HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $2,503.08
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          7887 WALMSLEY AVENUE                   DIVISION                      DEPOSIT
          NEW ORLEANS LA 70125-3496              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.425.   ST. STEPHEN SCHOOL                     HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $5.14
          MS. PEGGY LEBLANC                      CORPORATE TRUST               CUSTODIAL FUNDS ON
          1027 NAPOLEON AVE.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70115                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.426.   ST. STEPHEN SCHOOL ENDOWMENT           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $150,602.81
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MRS. ROSIE KENDRICK PRINCIPAL          DIVISION
          1027 NAPOLEON AVENUE                   228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70115                   NEW ORLEANS LA 70130

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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.427.   ST. THERESA OF AVILA PARISH            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $564,468.53
          REV. TEODORO AGUDO; O.F.M.; CAP.       CORPORATE TRUST               CUSTODIAL FUNDS ON
          1404 ERATO ST.                         DIVISION                      DEPOSIT
          NEW ORLEANS LA 70130-4387              228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.428.   ST. THERESE ACADEMY FOR                HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $13.21
          EXCEPTIONAL LEARNERS                   CORPORATE TRUST               CUSTODIAL FUNDS ON
          SHANNON BLAND                          DIVISION                      DEPOSIT
          917 N. ATLANTA ST.                     228 ST. CHARLES AVENUE
          METAIRIE LA 70003                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.429.   ST. THOMAS PARISH                      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $65,586.40
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          6951 HWY. 39                           DIVISION                      DEPOSIT
          BRAITHWAITE LA 70040                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.430.   STEINER ENDOWMENT (AGED/INFIRMED       HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $150,602.81
          PRIESTS)                               CORPORATE TRUST               CUSTODIAL FUNDS
          MR. JEFFREY J. ENTWISLE CHIEF          DIVISION
          FINANCIAL OFFICER                      228 ST. CHARLES AVENUE
          7887 WALMSLEY AVENUE                   NEW ORLEANS LA 70130
          NEW ORLEANS LA 70125

          Owner’s name and address               Location of the property      Description of the property   Value

21.431.   STOULIG SCHOLARSHIP FUND               HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $64,674.02
          MR. MARC MILANO PRINCIPAL              CORPORATE TRUST               CUSTODIAL FUNDS
          1901 SEVERN AVE.                       DIVISION
          METAIRIE LA 70001                      228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.432.   STS. PETER AND PAUL PARISH             HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $75,890.66
          ACCOUNTING OFFICE                      CORPORATE TRUST               CUSTODIAL FUNDS ON
          7887 WALMSLEY AVENUE                   DIVISION                      DEPOSIT
          NEW ORLEANS LA 70125                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.433.   SUCCESSION OF REV. JEROME DROLET       HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $78,705.05
          MRS. EMILY MORRIS                      CORPORATE TRUST               CUSTODIAL FUNDS ON
          7887 WALMSLEY AVENUE                   DIVISION                      DEPOSIT
          NEW ORLEANS LA 70125                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.434.   T. BEN LOCKETT LAY MISSIONARY          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $320,514.01
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JAMES J. JEANFREAU JR.            DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVENUE, SUITE 1213         NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113




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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.435.   T. MILTON AND NORMA M. HYNES           HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $92,133.72
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    DIVISION
          EXECUTIVE OFFICER                      228 ST. CHARLES AVENUE
          1000 HOWARD AVE.                       NEW ORLEANS LA 70130
          SUITE 200
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.436.   THE CALAMARI FAMILY ENDOWMENT          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,656.67
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MR. MICHAEL P. CALAMARI                DIVISION
          317 RUE ST. ANN                        228 ST. CHARLES AVENUE
          METAIRIE LA 70002                      NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.437.   THE CONNIE & FRANK WALK                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $13,071.55
          ENDOWMENT FOR THE SERRA CLUB OF        CORPORATE TRUST               CUSTODIAL FUNDS
          NEW ORLEANS                            DIVISION
          MR. EDWARD J. CARNEY PRESIDENT         228 ST. CHARLES AVENUE
          P.O. BOX 52575                         NEW ORLEANS LA 70130
          NEW ORLEANS LA 70152-2575

          Owner’s name and address               Location of the property      Description of the property   Value

21.438.   THE DOLORES FERN HARRIS                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $395,295.49
          ENDOWMENT FUND                         CORPORATE TRUST               CUSTODIAL FUNDS
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    DIVISION
          EXECUTIVE OFFICER                      228 ST. CHARLES AVENUE
          1000 HOWARD AVE.                       NEW ORLEANS LA 70130
          SUITE 200
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.439.   THE GIFT OF LIFE ENDOWMENT             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $1,566,215.69
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    CORPORATE TRUST               CUSTODIAL FUNDS
          EXECUTIVE OFFICER                      DIVISION
          1000 HOWARD AVE.                       228 ST. CHARLES AVENUE
          SUITE 200                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.440.   THE JOSEPHITE FATHERS ENDOWMENT        HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $13,492.53
          FUND FOR NEEDY AFRICAN-AMERICAN        CORPORATE TRUST               CUSTODIAL FUNDS
          MOTHERS                                DIVISION
          MRS. ANGELA S. THOMAS CHIEF            228 ST. CHARLES AVENUE
          EXECUTIVE OFFICER                      NEW ORLEANS LA 70130
          4612 SO. CLAIBORNE AVE.
          NEW ORLEANS LA 70125

          Owner’s name and address               Location of the property      Description of the property   Value

21.441.   THE LAWRENCE D. GARVEY                 HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $694,570.83
          "PRESIDENTIAL SCHOLARSHIP"             CORPORATE TRUST               CUSTODIAL FUNDS
          MR. GREG J. RANDO PRESIDENT            DIVISION
          4401 ELYSIAN FIELDS AVENUE             228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70122-3898              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.442.   THE ROBERT E. DIONNE ENDOWMENT         HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $19,286.70
          FUND                                   CORPORATE TRUST               CUSTODIAL FUNDS
          MR. ROBERT DIONNE                      DIVISION
          7921 N. LIME STAR DR.                  228 ST. CHARLES AVENUE
          TUCSON AZ 85743                        NEW ORLEANS LA 70130


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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

          Owner’s name and address               Location of the property      Description of the property   Value

21.443.   THE VISITATION OF OUR LADY PARISH      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $188,211.01
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          3500 AMES BLVD.                        DIVISION                      DEPOSIT
          MARRERO LA 70072-5699                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.444.   THE VISITATION OF OUR LADY SCHOOL      HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $617,237.38
          PRINCIPAL                              CORPORATE TRUST               CUSTODIAL FUNDS ON
          3520 AMES BLVD.                        DIVISION                      DEPOSIT
          MARRERO LA 70072-5698                  228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.445.   THOMAS B LOCKETT ENDOWMENT             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $32,638.50
          VERY REV. JAMES A. WEHNER S.T.D.       CORPORATE TRUST               CUSTODIAL FUNDS
          RECTOR-PRESIDENT                       DIVISION
          2901 S. CARROLLTON AVENUE              228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70118                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.446.   TOMOSOVICH                             HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $108,414.71
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939

          Owner’s name and address               Location of the property      Description of the property   Value

21.447.   TRANSFIGURATION OF THE LORD            HANCOCK WHITNEY BANK          DEPOSIT AND LOAN FUND -       $44,053.21
          PASTOR                                 CORPORATE TRUST               CUSTODIAL FUNDS ON
          2212 PRENTISS AVE.                     DIVISION                      DEPOSIT
          NEW ORLEANS LA 70122                   228 ST. CHARLES AVENUE
                                                 NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.448.   TUJAGUE LEGACY - SOCIAL                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $133,726.25
          APOSTOLATE                             CORPORATE TRUST               CUSTODIAL FUNDS
          SR. MARJORIE A. HEBERT M.S.C. CHIEF    DIVISION
          EXECUTIVE OFFICER                      228 ST. CHARLES AVENUE
          1000 HOWARD AVE.                       NEW ORLEANS LA 70130
          SUITE 200
          NEW ORLEANS LA 70113

          Owner’s name and address               Location of the property      Description of the property   Value

21.449.   VERY REV. MICHAEL P. JACQUES S.S.E.,   HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $4,122.25
          V.F. MEMORIAL ENDOWMENT                CORPORATE TRUST               CUSTODIAL FUNDS
          REV. JOHN ASARE-DANKWAH 0              DIVISION
          1910 URSULINES AVE.                    228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70116-2197              NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.450.   VISITATION OF OUR LADY CHURCH          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $46,187.51
          ENDOWMENT                              CORPORATE TRUST               CUSTODIAL FUNDS
          REV. COLIN BRAUD                       DIVISION
          3500 AMES BLVD.                        228 ST. CHARLES AVENUE
          MARRERO, LA 70072                      NEW ORLEANS LA 70130




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          Owner’s name and address               Location of the property      Description of the property   Value

21.451.   WOMAN'S NEW LIFE CENTER                HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $501,940.72
          MS. ALLISON MILLET CHIEF EXECUTIVE     CORPORATE TRUST               CUSTODIAL FUNDS
          OFFICER                                DIVISION
          4612 SO. CLAIBORNE AVE.                228 ST. CHARLES AVENUE
          NEW ORLEANS LA 70125                   NEW ORLEANS LA 70130

          Owner’s name and address               Location of the property      Description of the property   Value

21.452.   WYNHOVEN HEALTH CARE CENTER -          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $52,250.15
          DEVELOPMENT FUND                       CORPORATE TRUST               CUSTODIAL FUNDS
          MR. WAYNE PLAISANCE EXECUTIVE          DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVENUE - 10TH FLOOR        NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1903

          Owner’s name and address               Location of the property      Description of the property   Value

21.453.   WYNHOVEN HEALTH CARE CENTER -          HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $13,777.90
          DEVELOPMENT FUND                       CORPORATE TRUST               CUSTODIAL FUNDS
          MR. WAYNE PLAISANCE EXECUTIVE          DIVISION
          DIRECTOR                               228 ST. CHARLES AVENUE
          1000 HOWARD AVENUE - 10TH FLOOR        NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1903

          Owner’s name and address               Location of the property      Description of the property   Value

21.454.   YEAR OF MERCY FUND                     HANCOCK WHITNEY BANK          INVESTMENT PORTFOLIO A -      $210,849.59
          MR. CORY J. HOWAT EXECUTIVE            CORPORATE TRUST               CUSTODIAL FUNDS
          DIRECTOR                               DIVISION
          1000 HOWARD AVENUE                     228 ST. CHARLES AVENUE
          SUITE 800                              NEW ORLEANS LA 70130
          NEW ORLEANS LA 70113-1939




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    Part 12: Details About Environmental Information

For the purpose of Part 12, the following definitions apply:
■     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
      regardless of the medium affected (air, land, water, or any other medium).
■     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
      formerly owned, operated, or utilized.
■     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or
      a similarly harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include
    settlements and orders.
      ¨ No
      þ Yes. Provide details below.
          Case title                                  Court or agency name and address            Nature of the case                   Status of case

22.1.     Former Core's Cleaners and/or Core's        STATE OF LOUISIANA                          NOTICE DATED 12/28/18-               þ Pending
          One Hour Cleaners                           DEPARTMENT OF ENVIRONMENTAL                 LDEA AI NUMBERS 39267 OR
                                                      QUALITY - OFFICE OF                         38731, WHICH WE ARE                  ¨ On appeal
          Case number                                 ENVIRONMENTAL ASSESSMENT
                                                      P.O. BOX 4314
                                                                                                  RELATED TO ALLEGED
                                                                                                  CONTAMINATION OF
                                                                                                                                       ¨ Concluded
          LDEA AI NUMBERS 39267/38731
                                                      BATON ROUGE LA 70821-4314                   PROPERTY LOCATED AT
                                                                                                  1000 U.S. HIGHWAY 190 IN
                                                                                                  COVINGTON, LOUISIANA
                                                                                                  WHERE THE ARCHDIOCESE
                                                                                                  WAS IDENTIFIED AS
                                                                                                  POTENTIALLY RESPONSIBLE
                                                                                                  PARTY. THIS PROPERTY
                                                                                                  WAS PREVIOUSLY OWNED
                                                                                                  BY THE ARCHDIOCESE.
                                                                                                  THERE HAVE BEEN
                                                                                                  REQUESTS FOR THE
                                                                                                  ARCHDIOCESE TO
                                                                                                  PARTICIPATE IN RENDITION
                                                                                                  THROUGH A VOLUNTARY
                                                                                                  REMEDIATION PROGRAM
                                                                                                  THAT THE CURRENT OWNER
                                                                                                  IS PREPARING TO
                                                                                                  UNDERTAKE. THE
                                                                                                  ARCHDIOCESE HAS NOT
                                                                                                  AGREED TO PARTICIPATE AT
                                                                                                  THIS TIME.




23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?
      ¨ No
      þ Yes. Provide details below.
          Site name and address                       Governmental unit name and                  Environmental law, if known          Date of notice
                                                      address

23.1.     FORMER CORE'S CLEANERS                      STATE OF LOUISIANA -                        CHAPTER 12 OF THE                    12/28/2018
          AND/OR CORE'S ONE HOUR                      DEPARTMENT OF ENVIRONMENTAL                 LOUISIANA ENVIRONMENTAL
          CLEANERS                                    QUALITY - OFFICE OF                         QUALITY ACT, LSA - R.S.
          1000 U.S. HIGHWAY 190 BUSINESS              ENVIRONMENTAL ASSESSMENT                    30:2271 ET SEQ.
          COVINGTON LOUISIANA                         P.O. BOX 4314
                                                      BATON ROUGE LA 70821-4314


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24. Has the debtor notified any governmental unit of any release of hazardous material?
    þ No
    ¨ Yes. Provide details below.
          Site name and address              Governmental unit name and          Environmental law, if known   Date of notice
                                             address

24.1.     _______________________________    _______________________________     __________________________ _______________
          _______________________________    _______________________________
          _______________________________    _______________________________
          _______________________________    _______________________________




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    Part 13: Details About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
      case. Include this information even if already listed in the Schedules.

      ¨ None
           Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                      Do not include Social Security number or
                                                                                                      ITIN.

25.1.1     ARCHDIOCESE OF NEW ORLEANS                   INSURANCE CAPTIVE - THE COMPANY               EIN: XX-XXXXXXX
           INDEMNITY, INC.                              PROVIDES VARIOUS INSURANCE
           7887 WALMSLEY AVENUE                         COVERAGES TO THE ARCHDIOCESE                  Dates business existed
           NEW ORLEANS LA 70125                         AND ITS AFFILIATES.
                                                                                                      From 6/28/2011 To Present

           Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                      Do not include Social Security number or
                                                                                                      ITIN.

25.2.      HOLY TRINITY DRIVE LAND                      501(C ) 3, ARCHBISHOP IS PRESIDENT EIN: XX-XXXXXXX
           CORPORATION                                  OF CORPORATION. THE COMPANY
           7887 WALMSLEY AVENUE                         LEASES A PARCEL OF PROPERTY FOR Dates business existed
           NEW ORLEANS LA 70125                         THE DEVELOPMENT AND OPERATION
                                                                                           From 4/25/2017 To Present
                                                        OF A NURSING HOME.

           Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                      Do not include Social Security number or
                                                                                                      ITIN.

25.3.2     ST. TAMMANY CATHOLIC CEMETARY                501(C ) 3, ARCHBISHOP IS PRESIDENT            EIN: XX-XXXXXXX
           7887 WALMSLEY AVENUE                         OF CORPORATION. THE COMPANY
           NEW ORLEANS LA 70125                         OWNS, ADMINISTER AND OPERATE                  Dates business existed
                                                        CEMETARIES WITHIN THE
                                                                                                      From 5/23/2016 To Present
                                                        ARCHDIOCESE OF NEW ORLEANS, TO
                                                        BUILD MAUSOLEUMS, TOMBS, AND IN
                                                        GENERAL TO UNDERTAKE, OPERATE,
                                                        AND MAINTAIN ALL PHASES IN
                                                        CONNECTION WITH BURIAL,
                                                        MANAGEMENT OF CEMETARIES.


1
  FORMED IN 2011, A VERMONT-BASED CAPTIVE INSURANCE COMPANY WHICH IS A WHOLLY-OWNED SUBSIDIARY OF 7887
WALMSLEY, INC., WHICH IS A WHOLLY-OWNED SUBSIDIARY OF THE ROMAN CATHOLIC ARCHDIOCESE OF NEW ORLEANS. THE
VERMONT DOI HAS A STATUTORY MINIMUM CAPITAL REQUIREMENT OF $250,000. MEMBER'S EQUITY AT 2/29/2020 IS $3,262,208.
2
    IRS 509(A ) 3 TYPE 1 SUPPORTING ORGANIZATION OF THE ARCHDIOCESE OF NEW ORLEANS, ARCHBISHOP IS PRESIDENT.




26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

      ¨ None
           Name and address                                                                           Dates of service

26a.1.     ALEXANDER, ALICEIA                                                                         From 7/30/2001 To Present
           1000 SALESIAN LANE
           MARRERO LA 70072

           Name and address                                                                           Dates of service

26a.2.     BRANDLEY, HELEN                                                                            From 1/11/2016 To Present
           7887 WALMSLEY AVENUE
           NEW ORLEANS LA 70125
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          Name and address                                                              Dates of service

26a.3.    BREAUX, ANNA                                                                  From 10/2/2017 To Present
          1901 JAGUAR DRIVE
          SLIDELL LA 70461

          Name and address                                                              Dates of service

26a.4.    CARRIGEE, CONNIE                                                              From 6/4/1984 To Present
          1901 SEVERN AVENUE
          METAIRIE LA 70001-2893

          Name and address                                                              Dates of service

26a.5.    CORB, JOHN                                                                    From 8/15/1976 To Present
          1000 SALESIAN LANE
          MARRERO LA 70072

          Name and address                                                              Dates of service

26a.6.    COUNTISS, CHRISTOPHER                                                         From 7/31/2019 To Present
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

          Name and address                                                              Dates of service

26a.7.    EADS, MELANIE                                                                 From 7/2009 To Present
          1901 JAGUAR DRIVE
          SLIDELL LA 70461

          Name and address                                                              Dates of service

26a.8.    ENTWISLE, JEFFREY                                                             From 4/1/2002 To Present
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

          Name and address                                                              Dates of service

26a.9.    EUMONT, ELIZABETH                                                             From 8/5/2019 To Present
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

           Name and address                                                             Dates of service

26a.10.    FASULLO, ROYLYNE                                                             From 7/2019 To Present
           1901 JAGUAR DRIVE
           SLIDELL LA 70461

           Name and address                                                             Dates of service

26a.11.    FLETCHER, JENNIFER                                                           From 8/16/2018 To Present
           615 PERE ALLEY
           NEW ORLEANS LA 70116

           Name and address                                                             Dates of service

26a.12.    HEBERT, KATHLEEN                                                             From 4/27/2016 To Present
           7887 WALMSLEY AVENUE
           NEW ORLEANS LA 70125

           Name and address                                                             Dates of service

26a.13.    JAYROE, KENNETH                                                              From 2/26/2007 To 5/2019
           7887 WALMSLEY AVENUE
           NEW ORLEANS LA 70125

           Name and address                                                             Dates of service

26a.14.    LAMBERT, MICHELLE                                                            From 11/1/1988 To Present
           8800 VETERANS MEMORIAL BLVD
           METAIRIE LA 70003



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          Name and address                                                             Dates of service

26a.15.   LEMOINE, DENISE                                                              From 8/12/2019 To Present
          122 S. MASSACHUSETTS STREET
          COVINGTON LA 70433

          Name and address                                                             Dates of service

26a.16.   MERRELL, KEVIN                                                               From 7/31/2019 To Present
          7887 WALMSLEY AVENUE
          METAIRIE LA 70125

          Name and address                                                             Dates of service

26a.17.   PRICE, KEITH                                                                 From 7/1/1984 To Present
          411 N. RAMPART ST.
          NEW ORLEANS LA 70112

          Name and address                                                             Dates of service

26a.18.   ROGERS, LOU                                                                  From 5/1/2009 To 7/2017
          1522 CHIPPEWA ST
          NEW ORLEANS LA 70130

          Name and address                                                             Dates of service

26a.19.   ROUSSEL, ANN                                                                 From 11/2/1998 To 10/31/2019
          7887 WALMSLEY AVENUE
          METAIRIE LA 70125

          Name and address                                                             Dates of service

26a.20.   RUMBELOW CONSULTING                                                          From 9/2018 To Present
          5501 WESTBANK EXPWY
          MARRERO LA 70072

          Name and address                                                             Dates of service

26a.21.   SCHEUERMANN, MAUREEN                                                         From 8/12/2013 To Present
          615 PERE ALLEY
          NEW ORLEANS LA 70116

          Name and address                                                             Dates of service

26a.22.   SCHEXNAYDER, JERRY                                                           From 1/5/2005 To Present
          100 DOMINICAN DRIVE
          LA PLACE LA 70068

          Name and address                                                             Dates of service

26a.23.   SCHEXNAYDRE, DENIS                                                           From 6/20/2016 To Present
          713524 HWY 1077
          COVINGTON LA 70433

          Name and address                                                             Dates of service

26a.24.   VICARI, KATHY                                                                From 10/18/1990 To Present
          5501 WESTBANK EXPWY
          MARRERO LA 70072

          Name and address                                                             Dates of service

26a.25.   WILCOX, ANGELA                                                               From 5/23/2011 To Present
          7887 WALMSLEY AVENUE
          COVINGTON LA 70125

          Name and address                                                             Dates of service

26a.26.   WILLEM, MARY BETH                                                            From 6/6/2000 To 2/17/2020
          122 S. MASSACHUSETTS STREET
          COVINGTON LA 70433



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26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
within 2 years before filing this case.

      ¨ None
             Name and address                                                                         Dates of service

26b.1.1      BOURGEOIS BENNETT CPAS                                                                   From 4/2008 To Present
             111 VETERANS BLVD.
             17TH FLOOR
             METAIRIE LA 70005

             Name and address                                                                         Dates of service

26b.2.3      KUSHNER LAGRAIZE, L.L.C.                                                                 From 4/2016 To Present
             3330 W ESPLANADE AVE S
             STE 100
             METAIRIE LA 70002

             Name and address                                                                         Dates of service
         2
26b.3.       JOHNSON LAMBERT LLP                                                                      From 2011 To Present
             1 LAWSON LANE
             BURLINGTON VT 05401


1
    AUDIT THE FINANCIAL STATEMENTS OF THE ADMINISTRATIVE OFFICES AND THE 9 HIGH SCHOOLS.
2
    AUDIT THE FINANCIAL STATEMENTS OF THE CAPTIVE INSURANCE COMPANY , ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC.
3
  AUDIT THE FINANCIAL STATEMENTS OF THE 401(K) PLAN AND THE HEALTH AND WELFARE BENEFIT PLAN FOR EMPLOYEES OF THE
ARCHDIOCESE




26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

      ¨ None
             Name and address                                                                         If any books of account and records are
                                                                                                      unavailable, explain why

26c.1.       ALICEIA ALEXANDER                                                                        ____________________________________
             1000 SALESIAN LANE
             MARRERO LA 70072

             Name and address                                                                         If any books of account and records are
                                                                                                      unavailable, explain why

26c.2.       ANGELA WILCOX                                                                            ____________________________________
             7887 WALMSLEY AVENUE
             NEW ORLEANS LA 70125

             Name and address                                                                         If any books of account and records are
                                                                                                      unavailable, explain why

26c.3.       ANN ROUSSEL                                                                              ____________________________________
             7887 WALMSLEY AVENUE
             NEW ORLEANS LA 70125

             Name and address                                                                         If any books of account and records are
                                                                                                      unavailable, explain why

26c.4.       ANNA BREAUX                                                                              ____________________________________
             1901 JAGUAR DRIVE
             SLIDELL LA 70461




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          Name and address                                                              If any books of account and records are
                                                                                        unavailable, explain why

26c.5.    CHRISTOPHER COUNTISS                                                          ____________________________________
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

          Name and address                                                              If any books of account and records are
                                                                                        unavailable, explain why

26c.6.    CONNIE CARRIGEE                                                               ____________________________________
          1901 SEVERN AVENUE
          METAIRIE LA 70001-2893

          Name and address                                                              If any books of account and records are
                                                                                        unavailable, explain why

26c.7.    DENIS SCHEXNAYDRE                                                             ____________________________________
          713524 HWY 1077
          COVINGTON LA 70433

          Name and address                                                              If any books of account and records are
                                                                                        unavailable, explain why

26c.8.    DENISE LEMOINE                                                                ____________________________________
          122 S. MASSACHUSETTS STREET
          COVINGTON LA 70433

          Name and address                                                              If any books of account and records are
                                                                                        unavailable, explain why

26c.9.    ELIZABETH EUMONT                                                              ____________________________________
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

           Name and address                                                             If any books of account and records are
                                                                                        unavailable, explain why

26c.10.    HELEN BRANDLEY                                                               ____________________________________
           7887 WALMSLEY AVENUE
           NEW ORLEANS LA 70125

           Name and address                                                             If any books of account and records are
                                                                                        unavailable, explain why

26c.11.    JEFFREY ENTWISLE                                                             ____________________________________
           7887 WALMSLEY AVENUE
           NEW ORLEANS LA 70125

           Name and address                                                             If any books of account and records are
                                                                                        unavailable, explain why

26c.12.    JENNIFER FLETCHER                                                            ____________________________________
           615 PERE ALLEY
           NEW ORLEANS LA 70116

           Name and address                                                             If any books of account and records are
                                                                                        unavailable, explain why

26c.13.    JERRY SCHEXNAYDER                                                            ____________________________________
           100 DOMINICAN DRIVE
           LA PLACE LA 70068

           Name and address                                                             If any books of account and records are
                                                                                        unavailable, explain why

26c.14.    JOHN CORB                                                                    ____________________________________
           1000 SALESIAN LANE
           MARRERO LA 70072




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          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.15.   KATHLEEN HEBERT                                                              ____________________________________
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.16.   KATHY VICARI                                                                 ____________________________________
          5501 WESTBANK EXPWY
          MARRERO LA 70072

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.17.   KEITH PRICE                                                                  ____________________________________
          411 N. RAMPART ST.
          NEW ORLEANS LA 70112

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.18.   KENNETH JAYROE                                                               ____________________________________
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.19.   KEVIN MERRELL                                                                ____________________________________
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.20.   LOU ROGERS                                                                   ____________________________________
          1522 CHIPPEWA ST
          NEW ORLEANS LA 70130

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.21.   MARY BETH WILLEM                                                             ____________________________________
          122 S. MASSACHUSETTS STREET
          COVINGTON LA 70433

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.22.   MAUREEN SCHEUERMANN                                                          ____________________________________
          615 PERE ALLEY
          NEW ORLEANS LA 70116

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.23.   MELANIE EADS                                                                 ____________________________________
          1901 JAGUAR DRIVE
          SLIDELL LA 70461

          Name and address                                                             If any books of account and records are
                                                                                       unavailable, explain why

26c.24.   MICHELLE LAMBERT                                                             ____________________________________
          8800 VETERANS MEMORIAL BLVD
          METAIRIE LA 70003




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           Name and address                                                                             If any books of account and records are
                                                                                                        unavailable, explain why

26c.25.    ROYLYNE FASULLO                                                                              ____________________________________
           1901 JAGUAR DRIVE
           SLIDELL LA 70461

           Name and address                                                                             If any books of account and records are
                                                                                                        unavailable, explain why

26c.26.    RUMBELOW CONSULTING                                                                          ____________________________________
           3309 EAST CATAHOULA COURT
           KENNER LA 70065




26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

    ¨ None
          Name and address

26d.1.    DEPARTMENT OF FINANCIAL REGULATION
          89 MAIN ST.
          SUITE 21
          MONTPELIER VT 05062

          Name and address

26d.2.    FOLEY AND JUDELL LLP
          1 ONE AMERICAN PLACE
          SUITE 1950
          BATON ROUGE LA 70825

          Name and address

26d.3.    HANCOCK WHITNEY BANK - TRUST DEPARTMENT
          365 CANAL STREET
          SUITE 2280
          NEW ORLEANS LA 70130

          Name and address

26d.4.    LOUISIANA LEGISLATIVE AUDITOR
          1600 N. 3RD STREET
          BATON ROUGE LA 70802

          Name and address

26d.5.    MUNICIPAL SECURITIES RULEMAKING BOARD -
          ELECTRONIC MUNICIPAL MARKET ACCESS (EMMA)
          1300 I ST. NW
          SUITE 1000
          WASHINGTON DC 20005

          Name and address

26d.6.    OFFICE OF MANAGEMENT AND BUDGET -
          FEDERAL AUDIT CLEARINGHOUSE
          725 17TH STREET NW
          WASHINGTON DC 20503




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27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

    þ No
    ¨ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory               Date of inventory   The dollar amount and basis (cost,
                                                                                                          market, or other basis) of each
                                                                                                          inventory

27.1.     __________________________________________________________                  _______________ $_____________________________
          Name and address of the person who has possession of inventory
          records
          __________________________________________________________
          __________________________________________________________
          __________________________________________________________
          __________________________________________________________




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling
    shareholders, or other people in control of the debtor at the time of the filing of this case.
          Name and address                        Position                               Nature of any interest            % of interest, if any

28.1.     ARCHBISHOP GREGORY M.                   ARCHBISHOP OF NEW                      N/A                               N/A
          AYMOND                                  ORLEANS
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

          Name and address                        Position                               Nature of any interest            % of interest, if any

28.2.     FR. PATRICK CARR                        VICAR GENERAL, VICAR OF                N/A                               N/A
          7887 WALMSLEY AVENUE                    FINANCE, THIRD VICE
          NEW ORLEANS LA 70125                    PRESIDENT AND DIRECTOR

          Name and address                        Position                               Nature of any interest            % of interest, if any

28.3.     JEFFERY J. ENTWISLE                     CHIEF FINANCIAL OFFICER,               N/A                               N/A
          7887 WALMSLEY AVENUE                    SECRETARY AND BOARD
          NEW ORLEANS LA 70125                    MEMBER

          Name and address                        Position                               Nature of any interest            % of interest, if any

28.4.     THE MOST REVEREND FERNAND J.            FIRST VICE-PRESIDENT, VICAR            N/A                               N/A
          CHERI, III, O.F.M.                      GENERAL AND BOARD MEMBER
          7887 WALMSLEY AVENUE
          NEW ORLEANS LA 70125

          Name and address                        Position                               Nature of any interest            % of interest, if any

28.5.     THE VERY REVEREND PETER O.              SECOND VICE PRESIDENT,                 N/A                               N/A
          AKPOGHIRAN, J.C.D.                      JUDICIAL VICAR, CHANCELLOR
          7887 WALMSLEY AVENUE                    AND BOARD MEMBER
          NEW ORLEANS LA 70125




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29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general
    partners, members in control of the debtor, or shareholders in control of the debtor who no longer hold these
    positions?
    þ No
    ¨ Yes. Identify below.
          Name and address                  Position                            Nature of any interest              Period during which position
                                                                                                                    or interest was held

29.1.     __________________________ __________________________ __________________________ From _________ To _________
          __________________________
          __________________________
          __________________________




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

    ¨ No
    þ Yes. Identify below
          Name and address of recipient            Amount of             Description of property Dates                    Reason for providing
                                                   money or value                                                         the value
                                                   of property

30.1.     SEE RESPONSE AT PART 2, NO. 4            $_____________        ____________________ _______________ ____________________
          Relationship to debtor
          _______________________________




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
    þ No
    ¨ Yes. Identify below
          Name of the parent corporation                                               Employer Identification number of the parent
                                                                                       corporation

31.1.     __________________________________________________________                   EIN: __ __-__ __ __ __ __ __ __
          __________________________________________________________
          __________________________________________________________
          __________________________________________________________




32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension
    fund?
    ¨ No
    þ Yes. Identify below
          Name of the pension fund                                                     Employer Identification number of the pension fund

32.1.     THE ARCHDIOCESE OF NEW ORLEANS 401(K) PLAN                                   EIN: XX-XXXXXXX


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 Part 14: Signature and Declaration

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
    is true and correct.

    I declare under penalty of perjury that the foregoing is true and correct.


                           5/22/2020
                           MM/DD/YYYY




    û      /s/ Fr. Patrick Carr                                    Printed name    Fr. Patrick Carr
         Signature of individual signing on behalf of the debtor




         Position or relationship to debtor                        Third Vice President, Director and Vicar of Finance


    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    þ No
    ¨ Yes




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